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                      FINAL REPORT
      INDEPENDENT REVIEW OF THE
         2017 PROTEST EVENTS IN
       CHARLOTTESVILLE, VIRGINIA
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PREFACE


The founders of our democratic government believed in an ordered liberty that guarantees
all Americans the right to express themselves in the public square. Thomas Jefferson helped
enshrine that value in the early days of the republic. It is therefore only fitting that his
hometown of Charlottesville, Virginia, continues to serve as a forum for emerging
intersections of speech and security.
In 2017, a series of events in Charlottesville made this community a flashpoint in a larger
American discussion about race, history, and the challenges of free speech. When our City
Council voted to remove two statues of generals who fought for the confederacy during the
Civil War, the action triggered a series of events that brought hatred, violence, and despair
to our community. Three people lost their lives, and numerous other lives were
dramatically and unalterably changed by what happened in our community.
In the following pages, we try to make sense of the tragic events of 2017. We start with the
facts, as truth must be the foundation for any constructive effort to learn and improve. We
have tried to assemble a coherent narrative of the protest events that occurred in
Charlottesville on May 13 and 14, July 8, and August 11 and 12, 2017. To construct the
narrative contained in this report, we spoke to hundreds of people and gathered a wide array
of perspectives about these events. We reviewed hundreds of thousands of documents that
provide important information. We viewed many hours of video and thousands of
photographs, which have allowed us to re-experience those difficult days. We sifted
through and consolidated all of this information to produce a cogent summary of what
happened in Charlottesville during the turbulent summer of 2017.
We intend for those facts to be the foundation for learning how this community and other
small cities can better handle large protest events. We document what went right and what
went wrong on each occasion. We consider issues of public safety, communications,
permitting, and interagency coordination.            We look ahead and make specific
recommendations to guide preparation for and response to future events in Charlottesville
and elsewhere.
Throughout the process of our review, we have endeavored to be objective and approach
our serious task without preconceived opinions. Our client has facilitated that objective
approach and made available to us whatever we requested. We have not been limited or
directed in any way by any person or agency within City government. Consequently, what
follows is our independent assessment of these events.
Our goal in preparing this report is to enhance our community’s ability to understand and
learn from the difficult events of 2017. We also hope the facts and recommendations herein
lead to constructive discussion in Charlottesville and elsewhere about the important issues
raised by the protest events.
Today, we are a fractured city. The divisions within our community surfaced at multiple
points during our review, and they continue to hamper our ability to heal and move



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forward. We hope that an honest pursuit of the issues identified in this report leads to more
informed discussion, increased understanding, and a more unified Charlottesville.
                                                  Timothy J. Heaphy
                                                  Hunton & Williams LLP
                                                  November 24, 2017




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ACKNOWLEDGMENTS


Many people contributed to the work of our independent review and helped put this report
together. Each of the individuals cited herein deserves a share of the credit for the final
product and the gratitude of everyone who will read it.

A.   Hunton & Williams

A very strong team of associates at Hunton & Williams provided invaluable assistance from
the onset of our engagement. Trevor Garmey, Kevin Elliker, and Jon Caulder each traveled
to Charlottesville for multiple interviews, pored over documents and video images, and
composed drafts of substantial sections of the report. Their diligence and cooperative spirit
was indispensable and helped make the enormous challenge if our work more manageable.
Associates Brittany Davidson, Suzanne Hosseini, Martha Condyles, and Britt Anderson,
and Temporary Attorney Max Holland contributed time reviewing documents and
summarizing interview information, providing raw material that is embedded in these
pages.

In addition to attorneys, a large number of professional staff at Hunton & Williams
contributed their unique talents to our team. Research librarians Jon Hartnett and Alexis
Sharp scoured open sources of information and helped us identify important witnesses.
Senior Marketing and Communications Manager Katie Abbott and the outstanding
Document Processing team of Rhonda Wash, Danelle Gager, and Katie Bullock lent their
creative skills and ensured that our final report was visually appealing. Paralegal Michelle
Hayden-Winston pitched in on a variety of tasks. Finally, my Professional Assistants Ye-
Eun Sung and Barbara Butler kept me on task and ensured that nothing fell through the
cracks during our immersion in this project.

B.   Cognicion

As detailed above, we gathered more than a half million documents over the course of our
independent review. That large volume of material was received and made usable by the
team of litigation support professionals at Cognicion LLC. They traveled to Charlottesville
and worked with IT and other City staff to create an efficient system of document
production and review. Their work was timely and ensured our access to important
information. Chris McDaniel managed the project with help from Mike Perkins and
Geoffrey Swanson. In light of the public-service focus of this matter, Cognicion agreed to
provide their services to the City of Charlottesville at no charge, saving the City tens of
thousands of dollars.

C.   The Police Foundation and Law Enforcement Consultants

As our review focused on the actions of multiple law enforcement agencies, we enlisted the
expertise of law enforcement consultants . The Police Foundation provided us with Eddie
Reyes and Kim Dine, both of whom lent their considerable experience and insight to our
review. We supplemented The Police Foundation’s Team with two local experts, former


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Roanoke, Virginia Police Chief Chris Perkins and Rachel Harmon from the University of
Virginia School of Law. The former Chiefs brought direct personal experience in handling
large protest events to our work. Professor Harmon provided insights into best practices
and research on law enforcement practices. All four experts provided important work, and
they did so pro bono given the important public benefit of this work. Without the time and
effort expended by our experts, our report would have been incomplete.

D.   Others

We received many photographs and a great deal of video footage documenting the events at
issue in our review. Photographers Patrick Morrissey and Jill Mumie shared their stories of
the protest rallies with us. They also provided the photographs that are included in this
report. The images they captured help tell the story of July 8 and August 12, and we are
grateful for their inclusion in the pages that follow. Victoria Pearson at the Office of
Attorney General was extremely helpful in navigating the issues involved in our exchange
of information with the Commonwealth of Virginia. We appreciate her professionalism and
sense of humor, and we are grateful for her assistance over the course of our review.




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EXECUTIVE SUMMARY


The three protest events we were asked to evaluate in this report all took place in the
immediate vicinity of two statues of confederate generals – Robert E. Lee and Thomas
“Stonewall” Jackson. While these statues have stood in our town squares for years, they are
not universally celebrated or embraced. To some members of our community, the statues
are symbols of discrimination and violence. To others, they are proud symbols of a history
from which we must learn, not ignore.
This conflict played out in a public discussion facilitated by a Blue Ribbon Commission on
Race, Memorials, and Public Spaces, a group convened by City leaders to evaluate the
future of the iconic statues. After receiving recommendations from the Commission, the
City Council voted to remove one of them from the park where it stood for years. The
Council decision was challenged in court and remains stalled by litigation involving the
interpretation of a state law governing “war memorials.”
The statue controversy has drawn interest from people around the world, on both sides of
the issue. Many members of our community embraced the effort to remove the statues,
believing them symbols of white supremacy. They began talking not just about the statues,
but more systemic issues like race, immigration, and economic opportunity. The election of
President Trump further motivated progressives in Charlottesville. City leaders encouraged
this liberal activism and declared Charlottesville the “capital of the resistance” to oppressive
policies and systemic inequality.
Local resident Jason Kessler strongly opposed the City’s efforts to remove the statues and
the broader effort to brand Charlottesville as a haven for liberal opposition to President
Trump. Others shared his views, particularly members of the self-proclaimed “Alt-Right”
community that had largely communicated in electronic forums. Kessler found an ally in
Richard Spencer, a white nationalist who had developed a following of like-minded
individuals through the National Policy Institute.

I.     May 13-14

Spencer and Kessler joined forces to organize the first protest events that are discussed in
our report. They convened two events on Saturday, May 13 – a daytime march from
McGuffey Park to Jackson Park and a nighttime event at Lee Park at which white
nationalists carried torches. Over 100 people attended both events, carrying flags and
chanting Nazi slogans such as “blood and soil” and “you will not replace us.” Several
speakers addressed the crowd at these events, suggesting that Charlottesville’s attempt to
remove the civil war statues was part of a broader war against white people and their
heritage.
These events were not promoted in advance. Organizers did not obtain permits for either
one. Accordingly, they did not attract counter-protesters until near the end of each event,
when small groups came to confront the racist ideology. Similarly, they did not draw law
enforcement attention. Officers responded to calls for service for both events and arrived
well after each event began. They monitored crowds but made no arrests.


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The May 13 events prompted a strong, immediate reaction among Charlottesville’s
progressive community and broadened its focus beyond the statues themselves. Political
leaders criticized the symbolism of the use of torches and the racist ideology espoused at the
events. A group quickly organized a counter-protest on Sunday, May 14 – a candlelight
vigil at the Lee statue. A large crowd gathered at the Lee statue that Sunday night.
Speakers at the event focused on embracing diversity and inclusion and rejecting imagery
and tactics used by Kessler and Spencer. Several fights occurred when Kessler arrived and
disrupted the event. Several people including Kessler were arrested.
The events of May 13 and 14 hardened the resolve of both sides to continue their ongoing
battle over the statues and broader issues of race and history. While the views expressed at
the May 13 protests were not shared by all who supported keeping the statues in place, they
attracted attention to our City’s ongoing debate. Kessler and Spencer promoted their role in
the events and used them to attract more followers. Community organizations in
Charlottesville similarly used these events to attract new followers concerned with the tenor
and substance of the words used at the events. Police officials realized they had a gap in
intelligence gathering, as they were caught unaware of the events until they took place.
Many in Charlottesville began to expect future events on the horizon.
All three of the events of May 13 – 14 were arguably covered by the City’s special events
regulation. Nonetheless, no permits were obtained for any of the individual gatherings and
no effort to restrict the events took place. The nighttime events both violated the City’s
open flame ordinance, though no enforcement action was taken.

II.   July 8

Shortly after the May 13-14 events, a Ku Klux Klan group in North Carolina applied for a
permit to conduct a demonstration in Charlottesville on July 8. The Klan group wanted to
protest the potential removal of the civil war statues and “stop cultural genocide.” The City
immediately began preparing for this event, as leaders knew it would generate a great deal
of interest and controversy.
City officials prepared to protect both free expression and public safety at this event. They
gathered information, secured the assistance of other agencies, and formulated an
Operational Plan for July 8. Police reached out to both the permit holders and
representatives of groups opposed to their speech, though their efforts were criticized as an
attempt to “intimidate” and “curtail leftist speech and expressive conduct.” CPD
commanders worked with their counterparts at the Virginia State Police and other agencies
to bring police, fire and rescue resources to the event. They created a plan that attempted to
ensure separation between the Klan and counter-protesters, who were expected to vastly
outnumber the permitted protest group.
City officials worked together to discourage attendance at the Klan event. In meetings with
various groups and in multiple public statements, City Councilors, the City Manager and
the Chief of Police recommended that Charlottesville residents not give the Klan an
audience. City officials helped organize and promote a series of alternative events that
would take place on July 8, with an eye toward minimizing crowds and potential danger of
the Klan event. They provided ample information about logistics of all events and were


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  responsive to community concerns. The communications strategy was effective, as
  thorough information allowed citizens to make informed decisions about potential
  responses to the Klan event.
  The Klan rally took place on July 8. Law enforcement was able to facilitate the Klan’s
  arrival, speech, and departure while protecting public safety. While there were arrests and
  minor disturbances, no person in attendance was seriously injured and no property
  damaged. The City also protected the free expression of the Klan, despite its odious
  character. The City’s response to the Klan event adequately accommodated both
  compelling interests at stake on July 8 – free speech and public safety.

      The City’s response to the Klan event adequately accommodated both compelling
                  interests at stake on July 8 – free speech and public safety.

  Despite the overall success of the event, law enforcement made several critical mistakes on
  July 8. CPD and VSP did not operate with sufficient coordination before, during or after
  the event. There was no joint training, unified operational plan, or joint radio
  communication between the agencies. VSP operated largely independently throughout the
  Klan rally, rather than in an integrated multi-agency force. CPD planners failed to
  anticipate the counter-protesters’ desire to disrupt the event by impeding the Klan’s arrival
  and departure. To protect the safety of all participants, officers had to adjust plans and use
  an enclosed parking garage for Klan vehicles and a mobile field force to clear a path of
  ingress and egress into the park. While officers created separation between the Klan and
  counter-protesters, they left too little space between barricades and allowed media
  representatives into the buffer zone between the conflicting groups.
                                                     After the Klan’s departure, a group of
                                                     counter-protesters focused their anger at
                                                     law enforcement.       Crowds failed to
                                                     disperse when directed to do so and
                                                     obstructed the actions of officers. This
                                                     led to scuffles between officers and
                                                     counter-protesters, multiple arrests, and
                                                     the declaration of the event as an
                                                     unlawful assembly.         VSP ultimately
                                                     deployed three canisters of CS dispersion
                                                     powder to disperse the crowd, which
                                                     impacted both counter-protesters and
Photo Source: Patrick Morrissey                     officers. The decision to deploy a chemical
                                                    agent     was    based     on     incomplete
   information and did not follow the protocol that had been established for its use.

  The use of military-type equipment, number of arrests, and deployment of chemical
  dispersants generated strong opposition in the community. City leaders failed to adequately
  respond to that criticism. They did not provide a complete explanation of the reasons for
  the use of chemical irritants and other tactical decisions made on July 8, in part because
  they turned immediately to preparations for the larger August 12 Unite The Right rally.


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The City’s inability or unwillingness to engage with community members concerned about
the July 8 event created distrust in law enforcement and City government.

III. August 11-12

Jason Kessler obtained a permit to convene a rally at the Lee statue at which he planned to
bring together a wide array of right-wing and white nationalist groups. This event was
called “Unite The Right” and was expected to be a much larger event and more significant
public safety challenge than the July 8 Klan rally. Counter-protesters began mobilizing for
this event and similarly recruited a range of left-wing groups to come to Charlottesville to
confront the racist ideology of the Unite The Right groups. Charlottesville was destined to
become the latest arena for a conflict between various groups who had clashed in Portland,
Oregon; Berkeley, California; Pikeville, Kentucky, and various other locations where these
so-called “Alt-Right” gatherings had taken place.
                                                         City planners understood the scope and
                                                         challenge presented by the August 12
                                                         event.    CPD commanders obtained
                                                         accurate information about expected
                                                         attendance at the Unite The Right rally,
                                                         from online and human sources. They
                                                         knew the event would attract hundreds if
                                                         not thousands of people on both sides.
                                                         They also were aware that many
                                                         attendees would be armed, which
                                                         created the potential for significant
                                                         violence.    They effectively gathered
Photo Source: Patrick Morrissey                          accurate, timely intelligence about the
                                                         event, which informed planning efforts.
Citizens of Charlottesville began preparing for the Unite The Right event as well. A new
faith-based organization called Congregate Charlottesville was formed and organized a
series of trainings in nonviolent civil disobedience for those interested in engaging in those
tactics on August 12. Local anti-racist groups prepared to disrupt the event and hinder law
enforcement response to specific threats. Business owners and neighborhood groups sought
information from City leaders and were frustrated by the lack of communication they
received.
In the face of strong community opposition to the Unite The Right rally, City leaders
wanted to deny Kessler’s permit application. City Councilors responded to this pressure by
injecting themselves into the operational details of the City’s response to this event—a
function typically reserved for City staff. In a closed meeting 10 days before the event, they
considered the prospect of moving the Unite The Right event to McIntire Park. City
Manager Maurice Jones and CPD Chief Al Thomas voiced concerns with moving the event
to McIntire Park, particularly just days from the event. City attorneys and outside lawyers
cautioned that an attempt to move the event was likely to be struck down by courts.
Nonetheless, four of the five Councilors emerged from the closed meeting in favor of



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moving the event to McIntire Park. This put strong pressure on City Manager Jones and
Chief Thomas to comply with their desire to move the event.
The late decision to shift the event’s location had a negative impact on preparations for this
challenging event. Uncertainty about the location prevented City leaders from providing
thorough information to the public about the event beyond its potential danger. The limited
communication by the City frustrated many residents already on edge after the July 8
events. Law enforcement leaders had to plan for two possible scenarios, complicating their
efforts. The move to McIntire was ultimately unsuccessful; a federal judge granted Kessler
an injunction that prevented the move and guaranteed his group access to Emancipation
Park.
Even apart from the complexity introduced by the possible move, police planning for
August 12 was inadequate and disconnected. CPD commanders did not reach out to
officials in other jurisdictions where these groups had clashed previously to seek information
and advice. CPD supervisors did not provide adequate training or information to line
officers, leaving them uncertain and unprepared for a challenging enforcement environment.
CPD planners waited too long to request the assistance of the state agency skilled in
emergency response. CPD command staff also received inadequate legal advice and did not
implement a prohibition of certain items that could be used as weapons.
CPD devised a flawed Operational Plan for the Unite The Right rally. Constraints on
access to private property adjacent to Emancipation Park forced planners to stage particular
law enforcement units far from the areas of potential need. The plan did not ensure
adequate separation between conflicting groups. Officers were not stationed along routes of
ingress and egress to and from Emancipation Park but rather remained behind barricades in
relatively empty zones within the park and around the Command Center. Officers were
inadequately equipped to respond to disorders, and tactical gear was not accessible to
officers when they needed it.
CPD commanders did not sufficiently coordinate with the Virginia State Police in a unified
command on or before August 12. VSP never shared its formal planning document with
CPD, a crucial failure that prevented CPD from recognizing the limits of VSP’s intended
engagement. CPD and VSP personnel were unable to communicate via radio, as their
respective systems were not connected despite plans to ensure they were. There was no
joint training or all-hands briefing on or before August 12. Chief Thomas did not exercise
functional control of VSP forces despite his role as overall incident commander. These
failures undercut cohesion and operational effectiveness. CPD and VSP operated largely
independently on August 12, a clear failure of unified command.
On Friday, August 11, the Unite The Right organizers held another unpermitted torch lit
march, this time at the University of Virginia. University officials were aware of this event
for hours before it began but took no action to enforce separation between groups or
otherwise prevent violence. They were unprepared when hundreds of white nationalists
walked through the University grounds and surrounded a small group of counter-protesters
at the base of a statue of Thomas Jefferson next to the Rotunda. As more and more
marchers arrived, shouting and chanting became punching and kicking. When the
University Police Department invoked mutual aid—only after repeated offers from CPD—


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officers from both agencies dispersed the unruly crowd. The tenor of this event set an
ominous tone for the following day. So did the relative passivity of law enforcement whose
failure to anticipate violence and prevent disorders would be repeated on Saturday at
Emancipation Park.
The planning and coordination breakdowns prior to August 12 produced disastrous results.
Because of their misalignment and lack of accessible protective gear, officers failed to
intervene in physical altercations that took place in areas adjacent to Emancipation Park.
VSP directed its officers to remain behind barricades rather than risk injury responding to
conflicts between protesters and counter-protesters. CPD commanders similarly instructed
their officers not to intervene in all but the most serious physical confrontations. Neither
agency deployed available field forces or other units to protect public safety at the locations
where violence took place. Instead, command staff prepared to declare an unlawful
assembly and disperse the crowd. When violence was most prevalent, CPD commanders
pulled officers back to a protected area of the park, where they remained for over an hour as
people in the large crowd fought on Market Street.
Once the unlawful assembly was declared, law enforcement efforts to disperse the crowd
generated more violence as Alt-Right protesters were pushed back toward the counter-
protesters with whom they had been in conflict. Once Emancipation Park was clear, the
violent conflicts spread beyond the park. Small groups of people wandered through the

Because of their misalignment and lack of accessible protective gear, officers failed to
intervene in physical altercations that took place in areas adjacent to Emancipation Park.

streets and engaged in frequent skirmishes unimpeded by police. Violence erupted at the
Market Street parking garage, Justice Park, High Street, the Water Street parking area, and
on the Downtown Mall. Police attempted to respond to these violent conflicts, but were too
far away and too late to intervene. The result was a period of lawlessness and tension that
threatened the safety of the entire community.
The most tragic manifestation of the failure to protect public safety after the event was
declared unlawful was the death of Heather Heyer. Early on August 12, CPD had placed a
school resource officer alone at the intersection of 4th Street NE and Market Street. This
officer feared for her safety as groups of angry Alt-Right protesters and counter-protesters
streamed by her as they left Emancipation Park. The officer called for assistance and was
relieved of her post. Unfortunately, CPD commanders did not replace her or make other
arrangements to prevent traffic from traveling across the Downtown Mall on 4th Street. A
single wooden saw horse was all that impeded traffic down 4th Street as large groups of
people continued to roam the streets. This vulnerability was exposed when James Fields
drove his vehicle down the unprotected street into a large crowd of counter-protesters at the
intersection of 4th Street SE and Water Street, killing Ms. Heyer.
CFD and the UVA Health System had effective plans and promptly responded to the
vehicle incident at the intersection of 4th and Water. Every person who was injured and
needed hospitalization was removed from the scene and received treatment within thirty
minutes, a remarkable feat given the circumstances. This prompt, effective response
represents a bright success on a day largely filled with failure.


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Several hours after the incident at 4th and Water Streets, a VSP helicopter crashed, killing
two troopers inside. While the crash appears to have been an accident, the loss of the
troopers is another disheartening tragedy. Their loss compounded the earlier loss of
Heather Heyer and emphatically reinforced the terrible toll this event took on our
community.
In contrast to the July 8 event, the City of Charlottesville protected neither free expression
nor public safety on August 12. The City was unable to protect the right of free expression
and facilitate the permit holder’s offensive speech. This represents a failure of one of
government’s core functions – the protection of fundamental rights. Law enforcement also
failed to maintain order and protect citizens from harm, injury, and death. Charlottesville
preserved neither of those principles on August 12, which has led to deep distrust of
government within this community.

IV. Recommendations

Looking ahead, we recommend the following steps to improve response to future events.
We hope these suggestions also provide guidance to other small cities faced with managing
volatile protest events.

     A.   Preparing for Civil Disturbance

Better preparation is critical. We recommend that CPD and CFD planners follow Incident
Command System (ICS) procedures implemented by the National Incident Management
System (NIMS) in anticipation of future large protest events. Police agencies should ensure
that they have adequate means to gather and vet intelligence and incorporate that
information into operational plans. They should reach out to peers in other jurisdictions and
learn from their experience. Officers charged with protecting public safety during protest
events need specialized training with partner agencies that includes standards of law, field
training, tactics and equipment to be used during civil unrest situations. City leaders should
provide comprehensive information to the public about plans for future large demonstration
events. Operational plans that ensue from this process should seek to protect both free
expression and public safety.

     B.   Effective Management of Protest Events

When a protest threatens to be volatile, the City should consider creating a secure perimeter
with designated points of entry and enforced separation of conflicting groups. While this
“stadium approach” will not be possible in every situation, it is a sensible default approach
to planning for large, potentially violent events. Regardless of the specific plan adopted,
state and local law enforcement planners should ensure all personnel share a common
understanding of each involved agency’s role in protecting public safety in a large protest
event. All agency personnel should be prepared to respond safety, but immediately to
violence of any kind. Operational plans need to allow flexibility and contemplate the
movement of specialized units in response to emerging conditions.                Finally, the
Commonwealth of Virginia should assemble best practices and become a consistent source
of training, legal advice, resources, and information to assist localities in handling large
protest events.


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     C.   Changes in Law

Charlottesville should modify its permitting regulations to explicitly codify the prohibition
of certain objects at large protest events and require permits for all events involving open
flames. The Virginia General Assembly should criminalize the use of a flame to intimidate.
The General Assembly should empower municipalities to enact reasonable restrictions on
the right to carry firearms at large protest events.

     D.   Restoring Faith in Government

Our evaluation revealed a city divided. We recommend that the City address the issues
raised in the wake of these events as a means to restore confidence in government. For
CPD, this means not only better planning and event management, but also more
community engagement, a necessary condition for proactive, effective policing. CPD must
work with other parts of City government, business and community groups, and citizens as
a partner in promoting community well-being. City Council needs to find ways to solicit
community input more effectively and identify specific areas of potential change. Citizens
can contribute to better communication by approaching the City and efforts to change our
community with both flexibility and patience. Our dialogue must be constructive, not
accusatory. We should encourage all voices to participate in a robust discussion of the
issues that have come to light since the summer protest events.




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METHODOLOGY


I.     Introduction

In this section, we describe the process by which we prepared this report. We set forth the
terms of our engagement and subsequent interaction with our client, the City of
Charlottesville. We discuss the processes we used to solicit and obtain relevant information
and document specific sources of information obtained. We also describe the resistance we
encountered over the course of our review and our inability to obtain information from
various individuals and organizations.

II.    Scope of Engagement

On August 24, 2017, the City of Charlottesville retained Hunton & Williams LLP to
perform an independent evaluation of the City’s handling of the summer protest events.
The engagement letter executed by City Manager Maurice Jones specifically indicates that
our firm will perform “an independent assessment on the City’s handling of several protest
events in the summer of 2017.” 1 The letter goes on to specify that the firm’s work “will
include an evaluation of the City’s compliance with applicable laws and regulations, as well
as recommendations for potential changes in law and other actions for improved response to
future events.” 2
Upon our engagement, City Manager Maurice Jones made clear that he wanted us to
perform an objective review of the City’s handling of these challenging events. He asked
that we consider all of the summer protest events, including the unpermitted May 13
appearances at the Jackson and Lee statues by Richard Spencer and others, the July 8 Klan
event, and the August 12 Unite The Right rally. He asked that we evaluate the City’s
comprehensive response to each event and consider issues such as permitting,
communications, legal restrictions, public safety, and interagency coordination. He directed
us to pursue all relevant facts and document findings regardless of whether those facts
reflected favorably upon the City government or various individuals. He asked us to offer
advice to the City for improving its future handling of large demonstrations, particularly
those that threaten public safety.
At no time has Mr. Jones or anyone else within City government modified those
instructions. To the contrary, Mr. Jones and others have reinforced their desire for an
objective, independent review in both word and deed. Mr. Jones has facilitated our access
to relevant information and directed City employees to comply with our requests. City
Attorney Craig Brown and his staff supervised the collection of documents and ensured that
all employees were aware of their obligation to cooperate with our review. Neither Mr.
Jones nor Mr. Brown ever directed us toward or away from any particular source of
information. They did not supervise our investigation but rather stood back and allowed us
access to the sources of information within their control. At no time did Mr. Jones or Mr.
Brown interfere with our review. Their approach to our work has been consistent, and it
has allowed us to perform a truly independent assessment of these events.




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III. Sources of Information

Over the course of our evaluation of these events, we reviewed hundreds of thousands of
documents, watched or listened to countless hours of video and audio recordings, reviewed
numerous still images, and interviewed hundreds of witnesses. Although we did not obtain
all information we sought, we were able to access a tremendous volume of information from
a wide array of sources. We believe this information provides a thorough factual basis for
the findings and recommendations outlined below.

     A.   Documents

We began our review by obtaining all relevant information from our client, the City of
Charlottesville. We made a specific request for access to all documents that touched upon
the summer protest events. We asked for all communications regarding those events,
including e-mails and text messages. We requested any documents prepared before or after
the events, including briefings, presentations, drafts, and final versions. We coordinated
with the City’s Department of Information Technology to directly obtain e-mails and
electronically stored information for sixty-two City custodians. In obtaining these
documents, we followed best practices in electronic document collection and maintained an
appropriate chain of custody.
The City Attorney’s office also established a process through which City employees,
including the Charlottesville Police Department, could provide us with information. First,
the City Attorney directed that all City employees preserve all relevant information. The
City Attorney’s office then created a process through which employees could upload
documents for our review. This process resulted in the production of voluminous
documents from City employees. Hunton & Williams lawyers reviewed all documents and
isolated particularly significant documents for internal and external discussion.
We submitted FOIA requests to several agencies of the Commonwealth of Virginia,
including the Virginia State Police (VSP), the Department of Emergency Management
(VDEM), the National Guard, the Office of the Governor, and the Attorney General’s
Office. The Virginia State Police provided some documents in response to our FOIA
request. However, they failed to provide information regarding VSP briefings, trainings,
presentations, intelligence reports, video footage, plans, after-action reviews, meeting notes,
or minutes, indicating that “release of those materials would jeopardize law-enforcement
and the general public.” 3 VDEM turned over three boxes of documents generated during
the August 12 event, which helped us understand the work of the Incident Management
Team described below. The Office of the Governor also provided documents in response to
our FOIA request. The Virginia National Guard responded to our request with a letter
indicating a “preliminary estimated completion date of April 30, 2019.” 4 The Office of the
Attorney General has indicated that all materials that office possesses are protected by the
attorney-client privileged or otherwise excepted from disclosure under FOIA.
We obtained a limited range of documents from the University of Virginia through an
informal request for information. We also received documents from various churches,
businesses, and community organizations. Overall, we received and reviewed over 545,000
documents that in some way pertained to the summer protest events.


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     B.   Images and Recordings

During each of the protest events that are encompassed in our review, a large number of
people present created images documenting their respective experiences. Much of this
information was posted to publicly available open sources, either during or after the events.
A team of Hunton & Williams professionals scoured open source media to identify relevant
video clips and images. Other such material was obtained directly from the people who
produced the images. Numerous witnesses provided us with video footage and still
photographs taken during the various events. We were able to access a great deal of
information from individuals documenting their own experience during the events.
In sum, we received nearly 2,000 still images and over 300 hours of video footage over the
course of our review. The large amount of video and still images available electronically
created both a burden and an opportunity. The value of these images is tremendous. We
were able to actually view these events from numerous perspectives via the social media
feeds and images available on the internet. Rather than relying on witnesses’ memories and
second-hand reports, we were able to see for ourselves what actually happened as these large
demonstrations unfolded. Our review of video informed our interviews and facilitated
additional fact-gathering. These were well-documented events, which gave us a unique
birds-eye view of conditions on the ground from a wide array of sources.
The volume of images, however, did require a substantial amount of time to review and
incorporate into our ongoing evaluation. A team of professionals at Hunton & Williams
sought out these images from various sources and reviewed all information submitted to us
directly. Much like the document review described above, the video reviewers flagged
particular moments for follow up and subsequent factual development.
We also obtained images and audio recordings from law enforcement sources. We were
able to view footage from several cameras mounted in Justice and Emancipation Parks
during the protest events as well as the footage recorded by CPD officers’ body cameras.
We also obtained footage taken by cameras mounted to Virginia State Police helicopters
during both events. These videos were the same images available to law enforcement
leaders in the command centers during the events. The cameras were specifically focused by
officers in the command centers or in the helicopter in response to particular events on the
ground. We also obtained more than seventy hours of radio communications of
Charlottesville Police Department from July 8 and August 12. We were able to synch the
radio communications to the video images, creating a real time account of the tactical
decisions made by police agencies during the events.

     C.   Witness Interviews

Witness interviews served as our primary vehicle for obtaining information during the
review. We conducted formal interviews and had informal conversations with a wide array
of people. We interviewed City employees, law enforcement personnel, and representatives
of various organizations that participated in the rallies. We also spoke to a large number of
people in our community who were not affiliated with any particular organization but
simply attended these events on their own. We respected individuals’ requests to remain



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anonymous or provide information without attribution. We ultimately interviewed more
than 150 people over the course of our review.
We cast a wide net in the process of seeking information from individuals. Our goal was to
speak to people with diverse perspectives on these events. We spoke to the people who
obtained the original permits on July 8 and August 12 as well as those who organized
alternative events on those dates. We spoke with individuals who claimed affiliation with
various organizations that mobilized for these events. We interviewed representatives of
both far-right white nationalist organizations and groups who organized in opposition to the
permitted events. We approached local representatives of these groups as well as national
figures that came to Charlottesville for the demonstrations.
In addition to organizational representatives, we talked to dozens of people who were
simply present at these rallies. Some of these people we identified from documents or
images and directly contacted. Others reached out to our review team and asked to speak
with us. These individuals provided vitally important information that informed the
conclusions and recommendations outlined below.

     D.   Independent Review Web Site and Tipline

Soon after we were retained to conduct this review, we created two resources for public
input. We created a web site (www.charlottesvilleindependentreview.com) at which
members of the public could provide information directly to our review team. The web site
included a field for a narrative description of events, as well as a link to submit photographs
and video images. We also created a tipline (1-877-4HUNTON) for the public to use to
provide us with specific information regarding the protest events. Over the course of our
review, we received sixty-two web site submissions and tipline calls with information.
Both the web site and tipline asked those who submitted information if they wanted to be
contacted for further discussion. A member of the review team contacted every person who
asked for follow-up. These contacts often resulted in long interviews and useful
information. The community members who reached out to us via these outlets provided
valuable perspectives on the relevant events.

IV. Resistance to Cooperation

Over the course of our review, we were unable to access certain information that we
requested from various sources. Some of our requests for information were denied due to
pending litigation. Others were rejected due to skepticism about the independence of our
review and potential uses of the information we collected. Despite this resistance, we
believe we obtained sufficient information to understand these events from diverse
perspectives and ultimately justify our conclusions.

     A.   Charlottesville Police Department

The approach to our review within the Charlottesville Police Department evolved over time.
Chief Al Thomas initially attempted to sequence our review by limiting our access to
information about various topics. He directed subordinates to provide us only with


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information regarding the planning for the protest events, not the events themselves. He
later admitted to us in an interview that his goal in this process was to educate our review
team in a methodical process which he controlled. He told officers that he wanted to first
convince us that the planning for the protest events was thorough and considered all
contingencies before going into the unexpected turns during the events themselves.
Pursuant to the Chief’s strategy of controlling the flow of information to our review team,
we had several interviews with officers in which they refused to discuss certain topics. We
objected to those limitations, after which they were removed by the Chief. Nonetheless, we
had to schedule multiple interviews with several lieutenants and other key personnel. The
initial limitation made those interviews less productive and unduly lengthened and
complicated our review process.
In our interviews with CPD personnel, we learned that Chief Thomas and other CPD
command staff deleted text messages that were relevant to our review. Chief Thomas also
used a personal e-mail account to conduct some CPD business, then falsely denied using
personal e-mail in response to a specific FOIA request. Chief Thomas and the commanders
with whom we spoke denied any effort to hide information from our review team.
Conversely, they indicated that we received everything in the Department’s possession that
bears upon the issues at stake in our evaluation.
In addition to limiting our initial access to all relevant information, Chief Thomas directed
the creation of various documents that outlined CPD’s preparation for these events. For
example, Chief Thomas asked his captains to create a “checklist” to document CPD’s
preparation for each event. In response to the Chief’s direction, Captain David Shifflett
located a Department of Justice Document entitled “Checklist for the Preparation of Mass
Unrest Events.” This document is essentially a planning guide, designed to be used in
advance of large demonstrations. Captain Shifflett asked the Chief’s executive assistant to
convert this checklist to a format in which it could be edited. She did so, and sent the
template to Captain Shifflett for his use in creating a checklist for the July 8 event. Captain
Shifflett then went through the various items in the checklist and “checked” each task that
had been performed. He then sent the completed document to the Chief’s assistant, who
affixed a CPD logo to the front of the document and created a finished checklist for delivery
to our independent review team.
When the July 8 checklist was uploaded to the system created for production of documents
to our review team, Deputy City Attorney Lisa Robertson noticed that it was undated. Ms.
Robertson then directed that the checklist and other documents created for our review be
dated to reflect the time of their creation and contain a footer that makes clear the document
was created for Hunton & Williams for the purpose of the firm’s provision of legal services
to the City of Charlottesville. Captain Shifflett then complied with that request and
produced a finished checklist with the footer included.
Chief Thomas and Captain Shifflett both denied any intent to “back-date” the checklist or
any other document. They indicated that the checklist was created as a mechanism to
catalogue the preparation that informed the Department’s approach to the July 8 event.
Chief Thomas acknowledged that the document was designed to be used in advance of




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these events, though he denied any intention to suggest it had been used in advance of these
events.
In addition, Chief Thomas attempted to gather information from CPD personnel about the
substance and tenor of our interviews. He questioned his assistant and members of the
command staff after interviews occurred, asking about what areas were covered. His
attempts to follow our interviews resulted in the City Manager directing all CPD employees
to refrain from discussing the substance of our interviews with others.
Chief Thomas’s attempts to influence our review illustrate a deeper issue within CPD—a
fear of retribution for criticism. Many officers with whom we spoke expressed concern that
their truthful provision of critical information about the protest events would result in
retaliation from Chief Thomas. They described a culture of conformity within the
Department that discourages officers from raising issues and providing feedback. These
officers suggested that this hierarchical approach hampered the planning for the July 8 and
August 12 events, as lieutenants, sergeants, and line officers were not sufficiently consulted
or asked to provide input.
Regardless of these issues, we were able to develop fulsome information from CPD
regarding the handling of the protest events. We eventually obtained all requested
documents and got access to all CPD personnel with whom we requested to speak. In the
face of the culture of conformity described above, many officers were willing to criticize the
Department’s planning for the rallies and conduct during the events. Some officers
provided information without attribution, but others openly provided important details that
appear in this report. Without the cooperation of a large number of dedicated professionals
within CPD who elevated duty over fear of retaliation, we would not have gotten the
truthful information that informs the findings and recommendations below.

     B.   State Government

Upon our retention in this matter, we immediately contacted state officials to discuss access
to information maintained by various agencies within state government involved in
preparations for and responses to the Charlottesville protest events. We first contacted
Secretary of Public Safety Brian Moran, who initially expressed a willingness to coordinate
the various after-action reviews that were underway or contemplated. He referred us to a
lawyer in the Office of the Governor to discuss the specifics of such coordination, which led
to a series of discussions with counsel Noah Sullivan.
Mr. Sullivan initially expressed the same willingness to cooperate with our review.
However, Mr. Sullivan informed us on September 8, 2017, that Secretary Moran would not
meet with us or provide information regarding the protest events. He explained that the
Commonwealth wanted to maintain executive privilege over the information we requested
and was concerned about the prospect of anticipated litigation against the state. Mr.
Sullivan indicated that the Governor was planning to appoint a Task Force on Public Safety
Preparedness and Response to Civil Unrest which would separately conduct its own review
of the Charlottesville protest events.




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On Monday, September 11, 2017, we reached out to Colonel W. Steven Flaherty, the
Superintendent of the Virginia State Police, in an attempt to schedule a meeting to discuss
the State Police response to the summer protest events. We received a call from Victoria
Pearson in the Office of the Attorney General, who indicated that her office represents VSP
for purposes of this matter. Ms. Pearson expressed concerns similar to Mr. Sullivan’s
regarding the confidentiality of the requested materials, given the prospect of litigation
against the Commonwealth. She indicated that she would facilitate our request for
information from the State Police and attempt to find a way to minimize her client’s
concern. On September 15, 2017, we delivered a letter to Ms. Pearson requesting
information from the Virginia State Police. 5 We specifically requested the opportunity to
interview Colonel Flaherty and other Virginia State Police personnel who were involved in
the Charlottesville protest events, and we identified categories of documents and recordings
we wished to obtain. We also suggested cooperation between the law enforcement experts
from The Police Foundation we had retained to assist our review and those working with
the Governor’s Task Force from the International Association of Chiefs of Police (IACP).
We sent a similar letter to Mr. Sullivan, reiterating our request to speak to Secretary
Moran. 6
On September 15, 2017, we submitted Freedom of Information Act (FOIA) requests to the
Virginia State Police, the Virginia National Guard, the Virginia Department of Emergency
Management, the Office of the Governor, and the Office of the Attorney General. These
identical FOIA requests sought information regarding assistance provided by each agency to
the City of Charlottesville before, during, and after the summer protest events.
On September 22, 2017, Mr. Sullivan sent us a proposal to govern the sharing of
information between all state agencies and our independent review. He specifically
requested certain documents regarding the August 12 event, and he asked that IACP be
given the opportunity to interview four specific individuals in Charlottesville: Chief
Thomas, Captain Victor Mitchell, Lieutenant Steve Knick, and Deputy Fire Chief Mike
Rogers. In response to this request, we submitted a request for five narrow categories of
documents we wished to obtain from VSP and identified five specific VSP personnel we
wished to interview. We also requested an opportunity to meet with the VDEM personnel
who were involved in the Incident Management Team sent to Charlottesville on August 12,
2017. Our hope was to facilitate an information-sharing agreement by which the
Governor’s Task Force and our independent review could coordinate efforts to access facts
regarding the effectiveness of state/local agency coordination—an important issue for each
after-action review.
The City of Charlottesville agreed to accommodate the Governor’s request for information.
Subsequently, we provided the specific documents identified in Mr. Sullivan’s September 22
proposal. We also facilitated interviews of the four individuals identified in that request by
the team of consultants from IACP. That information was provided, and those interviews
took place before IACP completed its report to the Governor’s Task Force on November 15,
2017.
Despite the City’s cooperation with the IACP review, VSP provided only limited
information in response to our requests. The agency provided us with only one document—



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the VSP operational plan for the July 8 event. VSP did not provide documents regarding
training of officers prior to the protest events, radio communications, briefings, timelines of
the agency’s role in that event, or after-action reviews. VSP did allow us to interview
Colonel Flaherty, along with two troopers who were not present in Charlottesville on
August 12. They refused our requests to interview the other four individuals we had
identified as important to our evaluation, including the major who was primarily
responsible for pre-event coordination with CPD, the lieutenant who served as the VSP
ground commander in Emancipation Park, the sergeant in charge of communications, and a
lieutenant who supervised one of the VSP mobile field forces. 7 The level of VSP
cooperation was disappointing, given the agency’s substantial role in the summer protest
events.
VSP’s refusal to cooperate with our independent review is consistent with the agency’s
relative independence before and during the August 12 event. As we develop in detail
below, VSP did not share its formal planning document for the Unite The Right event with
the Charlottesville Police Department. VSP conducted separate trainings and convened an
exclusive briefing for its on-scene personnel on the morning of August 12. VSP utilized
separate radio communications channels during that event, in clear contravention of the
IMT plan and CPD’s expectations. When viewed in the context of these failures in
coordination, VSP’s refusal to cooperate with an evaluation commissioned by the City of
Charlottesville is not surprising.
While disappointing, the lack of cooperation from VSP and other state agencies did not
ultimately undermine our ability to draw certain conclusions about the nature and
effectiveness of state/local agency coordination during the protest events. We obtained a
large amount of VSP information about the protest events from other sources, including
material that was in the possession of CPD and other departments of City government. We
received a copy of the VSP operations plan for August 12, which troopers had mistakenly
left behind in a field force staging area. We obtained video images recorded by the State
Police and were able to hear some but not all of the VSP radio communications. We
developed substantial information about the VSP preparations for and specific actions
during these events from people with whom troopers interacted, both law enforcement
personnel and citizens. In our interview, Colonel Flaherty provided helpful perspective
about VSP’s role in these events. This information allowed us to develop a sufficient
understanding of the aspects of VSP’s role that are detailed in this report.
VDEM was more forthcoming with information. We interviewed Gene Stewart, the
agency’s Regional Coordinator for territory that includes Charlottesville. Mr. Stewart
provided important information about the use of the Incident Management Team (IMT)
that was implemented in Charlottesville. We also conducted telephone interviews of two
local officials who participated in the IMT, who provided useful information about the
team’s preparation of an Incident Action Plan. VDEM provided us with that Incident
Action Plan as well as other documents generated during the IMT mobilization. VDEM’s
cooperation with our review is another manifestation of the agency’s cooperative approach
to emergency events and fulsome coordination with local agencies.




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     C.   Organizational Responses

Over the course of our review, we attempted to obtain information from a wide array of
organizations that were represented at the summer protest events. We had varying levels of
success with these efforts.
Early in our review process, we contacted the individuals who obtained the permits on
July 8 (Amanda Barker) and August 12 (Jason Kessler). We were able to interview each of
them and incorporate their perspectives into this report. We were also able to interview a
number of white nationalist leaders who attended the August 12 rally, including Chris
Cantwell, Mike Enoch, and Trace Chiles. We also attempted to interview individuals
associated with various groups who participated in the Unite The Right Rally, including
Identity Evropa, the National Workers Front, the League of the South, the National Policy
Institute, the Nationalist Front. We had discussions with Sam Dickson, an attorney who
indicated that he represents many of these organizations. Mr. Dickson initially indicated
that Richard Spencer, Nathan Damigo, Evan McLaren, Eli Mosley, and Michael Hill, were
unwilling to speak with us. He cited the City’s pending lawsuit filed against his clients and
their affiliate organizations as reasons for their lack of cooperation with our review.
Nevertheless, on November 20, 2017, we received a short letter from Mr. Spencer restating
his position that police had failed to protect his group’s First Amendment rights. 8 We also
received a longer narrative from Mr. Dickson describing his experience on August 12. 9
We also attempted to speak with individuals who organized counter-protests or actively
resisted the Klan and Unite The Right protest events. We interviewed a number of anti-
racist activists, including Emily Gorcenski, Seth Wispelwey, Willis Jenkins, Ann Marie
Smith, Rebekah Menning, Tanesha Hudson, and Lawton Tufts. We also reached out to
representatives of Black Lives Matter, Solidarity Charlottesville, Standing Up for Racial
Justice, and Congregate Charlottesville. As with the organizations above, we were unable
to obtain fulsome cooperation from these groups. We also attempted to interview Walter
Heinecke, who obtained permits for counter-demonstration events on August 12 at
McGuffey and Justice Parks. Mr. Heinecke refused to speak with us, citing the
“implications” of our review and his participation in litigation surrounding the protest
events. 10
In response to efforts to contact voices in the progressive community and gather their
perspective on the protest events, we received an inquiry from the National Lawyers’ Guild
(NLG), a legal organization that claimed to have advised many members of anti-racist
groups with respect to the protest events. NLG made a number of requests of our firm
before agreeing to speak with us and advise others to do so. Specifically, NLG wanted us to
keep information received during interviews with various individuals confidential from our
client, the City of Charlottesville. NLG also asked us to modify our engagement with the
City of Charlottesville to compel public release of all information gathered. 11 As explained
in our response, we were unable to accommodate those requests due to our ethical
obligations. 12 Accordingly, we have not been able to access information from NLG or
others who they advised.
Much like the VSP resistance outlined above, the lack of cooperation from various
organizations and individuals engaged in counter-protest activities mirrored their approach


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to the protest events themselves. For example, when CPD detectives attempted to obtain
information from various groups who had openly promoted resistance to the July 8 event,
their efforts were criticized as “an intimidation tactic intended to curtail leftist speech and
expressive conduct.” 13 NLG made a similar allegation in response to our attempts to
interview people who were present in opposition to the permitted events. Many of the
individuals in this category do not trust local government or law enforcement, and that
distrust informed their reluctance to talk with police in advance of the protest events. They
viewed our review as an extension of City government, as we were retained by the City to
conduct this review.
In addition to the protesters and counter-protesters present for these events, we attempted to
interview the militia personnel who appeared on August 12. In public statements and in
conversations with us, the militia members claimed objectivity. They indicated that they
appeared in Charlottesville to protect free speech and discourage violence on all sides. We
had constructive discussions with several militia members, though we were unable to
arrange formal interviews with any of them. As described above, the City’s lawsuit against
the militia groups halted our constructive efforts to obtain their cooperation. Once the
lawsuit was filed, the militia groups told us they were no longer willing to provide
information to our review. 14

     D.   Community Members

In addition to the organizational efforts described above, we attempted to interview other
unaffiliated members of our community who were present during the protest events. In
addition to the open call for submissions to our web site and tipline, we reached out to
people who were identified from open source video or by other witnesses. With all
witnesses, we expressed the desire to obtain relevant information about the protest events
and incorporate diverse perspectives into our findings and recommendations. We promised
all witnesses confidentiality and non-attribution of information provided. We stressed our
independence throughout the process and reiterated our desire to make credible findings at
the end of our review.
We met with a group of community leaders at the Legal Aid Justice Center on
September 13, 2017. At this meeting, some attendees expressed the view that our
evaluation is not truly independent, as the City of Charlottesville is our client and is paying
our firm to conduct the review. Others expressed a deep distrust of City government and its
leaders and the belief that any negative findings would be suppressed from public disclosure.
Some individuals were concerned that Mr. Heaphy’s law enforcement experience would
result in a report that was biased toward the police. Others believed he was too close to the
Mayor and others in City and state government to be openly critical of those officials. The
views expressed at the Legal Aid meeting were repeated elsewhere, including at City
Council meetings, over the course of our review.
We persistently pushed back against these objections by declaring our objectivity and
attempting to assure people that our process would be fair and balanced. We stressed that
non-cooperation would be a missed opportunity to inform the process of learning from these
events and improving future response. We attempted to meet objections head on and



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disabuse people of their concerns by addressing them directly. We cajoled, encouraged, and
coaxed cooperation, with varying degrees of success.
While the reluctance of certain individuals to speak with us was disappointing, it did not
ultimately undermine our ability to gather diverse perspectives or our confidence in the facts
we obtained. In the face of objections to our review, many people in our community
provided a large amount of important information. Indeed, several individuals who were
most vocal in their objections to our review, in private and in public, ultimately spoke with
us and provided useful information. We believe we obtained a comprehensive perspective
of these events that is informed by people with diverse perspectives. Of course, we cannot
know how the voices left unheard during our review may have impacted our conclusions.
Nonetheless, we believe the voices that did emerge were comprehensive, informed, and
diverse. We spoke to enough white nationalists, anti-racists, and curious onlookers to
develop a thorough understanding of how the protest events unfolded. Accordingly, we
believe the information that follows is firmly grounded and well-informed.

V.   Consultants

Several law enforcement professionals served as consultants to our independent review.
We enlisted the assistance of The Police Foundation, an independent, non-partisan
organization devoted to improving policing through innovation and science. The
Foundation has provided expertise to several critical incident reviews in the past, including
after-action reviews of recent civil unrest in Charlotte, North Carolina, the occupation of a
police station in North Minneapolis, Minnesota, and the San Bernardino, California
terrorist attacks. The Foundation agreed to provide consulting services to our review as a
pro bono service to the City of Charlottesville. 15 The Police Foundation provided us with
two consultants who contributed their time and expertise to our review – Kim C. Dine and
Eddie Reyes. Mr. Dine is the retired Chief of Police in Frederick, Maryland. He also
served with the Metropolitan Police Department in Washington, D.C. and U.S. Capitol
Police. Mr. Reyes is the retired Deputy Chief of Police in Alexandria, Virginia. He also
served with the Amtrak Police Department.
In addition to The Police Foundation, we identified two additional experts and enlisted
their assistance to our review. Chris Perkins is the retired Chief of Police in Roanoke,
Virginia. When we were first retained, CPD Chief Thomas suggested that we solicit the
expertise of Mr. Perkins. While he is not regularly engaged as a consultant, Mr. Perkins
agreed to work with our team and provide his insight and expertise to our review on a pro
bono basis. 16 We also reached out to Rachel Harmon, a tenured professor at the University
of Virginia School of Law. Professor Harmon is a recognized expert on police practices and
has published widely on issues related to effective policing. She is also a former prosecutor
in the Civil Rights Division at the United States Department of Justice. Professor Harmon
also agreed to provide consulting services to our review free of charge. 17
The four consultants provided invaluable assistance to this review. They traveled to
Charlottesville and reviewed a substantial amount of information about the protest events
we had assembled. They participated in interviews with CPD and VSP personnel and
helped derive important information from those witnesses. They reviewed documents and
video images and helped us shape the issues involved in our inquiry. They made cogent


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observations and insightful recommendations, many of which are included in this report.
Their assistance has been indispensable to the information that follows.




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FACTUAL FINDINGS


I.     Why Charlottesville?

The racially charged events that roiled Charlottesville in the summer of 2017 did not occur
in a vacuum. These demonstrations have deep roots in our community and stem from
events that occurred much earlier. The Ku Klux Klan and Unite The Right rallies were not
anomalous events but rather particularly sad chapters in a lengthy record of social and racial
discord in Charlottesville.
This section will provide a brief introduction to the form of government used by the City of
Charlottesville, summarize the history of the statues, then shift to a broader examination of
how City officials and activists led a coordinated campaign to remove them, in hopes of
reshaping the City’s architectural and cultural character. These efforts sparked a fiery
backlash from a small but highly motivated group of people who capitalized on attention
generated by the statue debate to place Charlottesville squarely in the crosshairs of a heated
national debate about race and cultural heritage.

       A.   Charlottesville’s City Government and Event Permitting Process

A brief discussion of the Charlottesville City Government is helpful to understanding both
the controversy involving the Lee and Jackson statues and the events of the summer of
2017. The City of Charlottesville follows a professional model of municipal governance.
The City is overseen by a City Manager selected by and responsible to a five-member City
Council. Councilors serve staggered four-year terms, with elections held every two years.
After each election, Councilors elect a Mayor and Vice-Mayor. The Mayor’s primary role is
to preside over City Council meetings, with the Vice-Mayor presiding if the Mayor is absent
or recused. The Mayor holds no veto power or special authority over City Council
decisions. 18
The executive power for the City Government is vested in a City Manager. Selected by City
Council, the City Manager is the “chief executive and administrative officer” for the City
Government and thus responsible for enforcing the laws of the City and ensuring that City
employees faithfully perform their administrative responsibilities. The City Manager is also
explicitly named as the “director of public safety” and given general powers of supervision
over the Charlottesville Fire Department (CFD) and the Charlottesville Police Department
(CPD). 19 The City Manager serves at the will of City Council.
City of Charlottesville Standard Operating Procedure § 3.2 governs “special events” within
the City. That regulation defines a “demonstration” as non-commercial expression
protected by the First Amendment of the United States Constitution (such as picketing,
political marches, speechmaking, vigils, walks, etc.) conducted on public property, the
conduct of which has the intent or propensity to draw a crowd of onlookers. 20
The regulation provides that a “demonstration” within the City “may only be held pursuant
to a permit issued by the Events Coordinator.”            It contains an exception for
“demonstrations involving 50 or fewer persons, or which will not occur in any City rights-


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of-way.” Such events may take place without a permit if they are “otherwise conducted in
accordance” with certain conditions regarding time, date, amplified sound, and waste
disposal, and do not “unreasonably interfere with other demonstrations or special events
scheduled or taking place concurrently.” 21
Michelle Christian, the Special Events Coordinator for the City’s Department of Parks and
Recreation, manages permit applications and facilitates the City’s review of them. To that
end, the City has a Special Events Committee with members from various departments,
including the Police Department, the Fire Department, Neighborhood Development
Services, Parks and Recreation, Public Works, and Charlottesville Area Transit. After
Christian receives a permit application, she sends it to the Special Events Committee for
review. Members of the Special Events Committee may raise concerns they have about the
permit application. Under such circumstances, the Committee can make changes to the
permit or request that the applicant take steps to resolve those concerns. Christian then
sends the applicant a “certificate of approval” and coordinates any post-event bills, if
assessed by the City. If the application is not approved, or if the applicant disagrees with the
Committee’s changes or conditions, then the applicant may appeal to the City Manager.

     B.    History of the Lee and Jackson Statues

Charlottesville received the property now known as Emancipation Park as a gift from
resident Paul Goodloe McIntire in 1918. McIntire transferred the land to the City to serve
as a public park bearing a statue of Robert E. Lee. The deed also granted the City the right
to “control, regulate, and restrict the use” of the property, which was then known as Lee
Park. The statue of Lee on his horse Traveler was installed in 1924. The Blue Ribbon
Commission later appointed by the City to study the potential removal of the statue noted
that “[r]eflecting many of the racist attitudes of the Jim Crow-era South, an unveiling
ceremony for the sculpture was organized by local chapters of the Confederate Veterans,
Sons of Confederate veterans, and United Daughters of the Confederacy.” Virginia Military
Institute cadets also marched in the dedication ceremony. The Blue Ribbon Commission
report further noted that “[a]lthough a public park, the landscape surrounding the Lee
sculpture retained a reputation as a segregated ‘whites only’ space for decades.” 22
McIntire gifted the land for what is now called Justice Park in late 1918. Three years later,
he donated a statue of Thomas “Stonewall” Jackson on his horse Little Sorrel to stand in
the park. The City dedicated Jackson Park and the statue on October 19, 1921. At the time,
“the sculpture … was considered to be one of the best equestrian statues in the country” and
was listed on the Virginia Landmarks Register and the National Register of Historic
Places. 23 As the Blue Ribbon Commission report noted, “[l]ike the dedication of the Lee
sculpture … the dedication of the Jackson sculpture was organized by local chapters of the
Confederate Veterans, Sons of Confederate Veterans, and United Daughters of the
Confederacy and included a parade, dances, and decoration of [Charlottesville] with
Confederate colors and flags.” 24
For much of their existence, the Lee and Jackson statues were relatively uncontroversial. In
1997, the City accepted funds from a private donor for the care of the statues. Restoration
work was complete in 1999, and the City accepted the gift in a re-dedication ceremony.



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     C.    The First Hint of Controversy

The dynamic shifted in March 2016. Vice-Mayor Wes Bellamy held a press conference
alongside University of Virginia professor and Charlottesville NAACP chairman M. Rick
Turner to express his distaste for the Lee statue. 25 The trigger for Bellamy’s press conference
was an online petition started by a student at Charlottesville High School. The student had
argued that “keeping a statue here in representing hate and a subliminal message of racism
that has existed in Charlottesville for a very long time. 26 Turner agreed, commenting that
the statue “means all the horror and legacy of black people. It romanticizes citizens who
don’t know. They look at that statue, they think it was a gallant person that saved us, but he
was a terrorist.” 27 Citing decisions by jurisdictions in South Carolina to remove
Confederate monuments after the racially-charged shooting in Charleston, South Carolina,
Bellamy urged the City to join the movement and remove the statues of Lee and Jackson.
Vice Mayor Bellamy’s attempt to move the statues was met with both praise and criticism in
our community. While some praised the potential removal of the statues as a step toward a
more tolerant, progressive city, others were virulently opposed. Those against the statue
removal cited a reverence for history and desire to recognize and preserve Southern heritage
in support of their view that the statues should remain.
In the face of the division of opinion regarding the potential removal of the Civil War
statues, Mayor Mike Signer released a plan to create a commission to seek public input on
the future of the Lee and Jackson statues and consider options, including the removal of the
statues and the addition of additional monuments to add historical context. 28 On May 28,
2016, City Council passed a resolution to assemble a Blue Ribbon Commission on Race,
Memorials, and Public Spaces, with the objective of providing City Council with options for
“telling the full story of Charlottesville’s history of race” and “changing the City’s narrative
through [its] public spaces.” 29
The Blue Ribbon Commission reported its recommendations to the City in December 2016.
The Commission s did not affirmatively recommend relocating the statues or keeping them
and adding “contex,” but rather sent both options to Council for deliberation. 30 The
commission also recommended renaming the parks.. 31

     D.    Jason Kessler and the Attempted Removal of Wes Bellamy

The debate over the future of the Lee and Jackson statues was a significant factor in the
radicalization of the key figure behind the Unite The Right rally, Jason Kessler. In a
lengthy interview with us, Kessler described himself as an advocate for “white civil rights.”
He told us that he was angered by the potential removal of the statues, believing that whites
were unfairly asked to “apologize for history” and deny their cultural heritage.
The movement to remove the statues coincided with another event that captured Kessler’s
attention. In October 2016, a Charlottesville entrepreneur and University of Virginia
lecturer named Douglas Muir posted a public comment on Facebook that was highly critical
of Black Lives Matter (BLM). Muir’s post stated “Black lives matter is the biggest rasist[sic]
organisation [sic] the [Ku Klux Klan]. Are you kidding me. Disgusting!” 32 The public
backlash against Muir was bolstered when Vice-Mayor Bellamy took to social media to


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condemn Muir and urge Charlottesville citizens to boycott Muir’s restaurant.              Muir
ultimately took a leave of absence from his position at the University.
Kessler believed that Bellamy had exploited his official position to unfairly malign Muir.
Kessler began conducting research on Bellamy. He found that, prior to moving to
Charlottesville in 2011, Bellamy posted racially offensive and inflammatory statements on
Twitter. Kessler incorporated screen shots of these postings into an article on Bellamy that
he published on his personal webpage. Kessler also began seeking signatures for a legal
petition to recall Bellamy from office. The petition was dismissed by the Charlottesville
Circuit Court in March 2017. Nonetheless, Bellamy resigned his position at Albemarle
High School. Sometime thereafter, Kessler interrupted an event attended by Bellamy at the
Jefferson School by reading Bellamy’s tweets to the crowd. Some attendees attempted to
remove Kessler, resulting in an altercation. Kessler filed assault charges after the incident,
but no criminal case was pursued. 33

     E.   The Capital of the Resistance

On January 31, 2017, Mayor Signer drew additional attention to Charlottesville with an
unscheduled rally to protest the recent inauguration of President Donald Trump. Hundreds
of people gathered on Charlottesville’s Downtown Mall to proclaim the City the “Capital of
the Resistance” to Trump’s agenda. During his brief address, Signer focused his comments
on issues related to immigration. 34 The defiant tone of the event attracted attention, which,
like the potential removal of the statues, was mixed. CPD Lieutenant Brian O’Donnell
recalled his dismay at the aggressive posture taken by the Mayor, noting that the Mayor’s
event was “tantamount to war rhetoric” and a recipe for undermining the legitimacy of
institutions of government. When conservatives raised questions about whether Signer
should have obtained a permit for this event, Signer stated that the City had “never required
permits for press conferences, no matter how big, right in that area.” 35

     F.   Charlottesville Moves Forward

City Council considered the issue of statue removal on February 6, 2017. During the public
comment period, numerous speakers urged Council to remove the statues. Jalane Shmitt
argued that the statues promoted an inaccurate narrative about the reasons for the defeat of
the Confederacy and noted the lack of empathy for “generations of African-American
refugees who fled Charlottesville.” 36 Supporters of the statues showed up in large numbers
wearing Confederate-themed apparel and decried the removal of symbols of the City’s
Confederate heritage. Councilor Bob Fenwick noted that the conduct of these supporters
contributed to his vote in favor of removal, commenting that the supporters did not act like
Southern gentlemen and noting prophetically that “[t]here’s something deeper and darker
going on ….” 37 At the conclusion of the meeting, City Council voted 3-2 to remove the Lee
statue from Lee Park. 38 City Council asked City staff to provide recommendations on
removal within sixty days. 39
The City’s decision resulted in severe criticism from some corners.               Republican
gubernatorial candidate Corey Stewart held two rallies in Charlottesville after the vote. The
first, in Lee Park, was interrupted by a large crowd of demonstrators when Stewart appeared
beside supporters waving a Confederate battle flag. 40 The second Stewart rally occurred on


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February 21 on Charlottesville’s Downtown Mall. Jason Kessler spoke at that rally, and he
framed the battle over the statues as a generational struggle, noting that “every generation
has a fight, and our fight is this.” 41
Litigation over the statues was initiated soon after the Council voted to remove them. On
March 22, a non-profit organization called the Monument Fund joined with the Virginia
Division of the Sons of Confederate Veterans, a relative of the Lee statue sculptor, and the
donor of funds for the 1997 statue restoration in a suit against the City in the Charlottesville
Circuit Court. 42 The suit alleged that the City’s plans violated several Virginia state laws
protecting Civil War monuments and requested that the Court enjoin the City from moving
forward with its plans. 43 The suit argued that the City was “required by law to protect and
preserve” the statues and asked the Court to “freeze the status quo” while the litigation
proceeded. 44
On May 2, 2017, less than two weeks before the first of the protest events that form the basis
for this report, Charlottesville Circuit Judge Richard Moore ruled on the Monument Fund’s
motion for a preliminary injunction. Judge Moore granted the motion and ordered that the
public interest required preservation of the Lee statue for a minimum of six months. Judge
Moore authorized the City to rename Lee Park, however and allowed the City to continue
planning for the ultimate relocation of the statue. 45 The lawsuit remains pending today.

      G.   Jason Kessler Meets Richard Spencer

Kessler’s involvement in the statue controversy elevated his profile within the burgeoning
“alt-right.” He contributed to various conservative publications, including The Daily Caller,
VDARE, and GotNews. In April 2017, Kessler traveled to Washington, D.C., to attend a
protest against the President’s authorization of a missile strike against the Syrian
government. While in Washington, Kessler met Richard Spencer, an Alexandria resident
and the President of the National Policy Institute. Kessler also met Eli Mosley (also known
as Elliot Kline), the leader of Identity Evropa, a “fraternal organization for people of
European heritage.” 46 At this protest, Spencer, an avowed white nationalist, learned that
Kessler was from Charlottesville. Spencer informed Kessler that he hoped to conduct a rally
in Charlottesville for like-minded activists on May 13. Spencer specifically noted that he
was attracted to Charlottesville by the controversy over the statues and the appeal of the
issue to his supporters. Kessler agreed to participate.

II.   Initial Events of May 13-14

      A.   May 13 Demonstrations

The first protest events we have been asked to evaluate took place on May 13, 2017. On
that date, Richard Spencer organized two rallies at the Lee statue focused on “white
nationalism.” Spencer organized the events in collaboration with Identity Evropa. Other
groups involved included the Traditionalist Worker’s Party and American Vanguard. 47
Spencer did not contact the City of Charlottesville in advance, and he did not apply for a
permit.




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          1.    The Jackson Park Event

Around 12:00 p.m. on May 13, Spencer and his colleagues gathered in Charlottesville’s
McGuffey Park. 48 Around 100 people attended, some of whom carried flags and signs and
dressed in white polo shirts and khaki trousers. They marched in two lines from McGuffey
Park eastbound on Jefferson Street. They passed by Lee Park, where the annual Festival of
Cultures was taking place, and entered Jackson Park at approximately 12:30 p.m.
In his remarks in Jackson Park, Spencer castigated Charlottesville for the pending removal
of the Lee statue. He linked the pending removal of the statue to the removal of
Confederate monuments in New Orleans and the removal of a portrait of William
Shakespeare at “some Ivy League college.”49 Spencer characterized the attendees as the “tip
of the spear” on a mission to give voice to these concerns and grievances. Spencer
prophesied a moral and psychological war of genocide against whites and pledged to fight
that war “on the battlefield of symbolism.” Spencer concluded by praising Lee and Jackson
as “gods” and alleging that Charlottesville’s leadership sought to replace them with some
“monument to slavery or the holocaust … or some statue to Lady Gaga.” 50
Podcast host Mike Enoch also spoke at the event. Although he was surrounded by
Confederate flags, he said the event was about “more than just Confederate monuments.”
Enoch decried the destruction of “images of white people” and “white heroes” to “attack
and demoralize our people” and “make us think that we do not have a future.” Enoch
speculated that Charlottesville leaders wanted to “replace us with some mixed, muddy
people that will just be easy consumers and won’t stand up for themselves.” 51
The protesters chanted various slogans, including “you will not replace us.” Protester Orry
Van Dize commented to a reporter from Charlottesville’s NBC29 station that there was “no
reason why we can’t celebrate the history that has brought us to the glorious future that we
are emboldened in now.” He described the gathering as “just white people that love our
heritage, our culture, our European identity.” 52 Spencer also spoke to NBC29, noting that
he had traveled from Alexandria to “take part in this great celebration of our heritage and to
say ‘no’ to the City of Charlottesville.” Spencer warned that Charlottesville would not be
permitted to “tear down our statue” and would not “replace us.” 53
Spencer and Van Dize denied that the rally was designed to intimidate or inspire fear in the
Charlottesville African-American community. Van Dize noted that those gathered were
“not white supremacists,” while Spencer described the event as a “peaceful demonstration”
designed to allow him and his colleagues to discuss “who we are and what we are about.” 54
Spencer noted that “[n]obody here is committing violence.” 55
Congregation Beth Israel (CBI), the oldest standing synagogue in Virginia, hosted a bar
mitzvah that afternoon. The synagogue is located less than one block from Jackson Park.
CBI President Alan Zimmerman recalled that during the ceremony, the congregation heard
loud noises coming from Jackson Park. Zimmerman’s son, who is in his early twenties and
wears a yarmulke, left the ceremony to “see what was up.” Zimmerman recalled his son
telling him that when he reached Justice Park, he encountered a large group of aggressive
white males who accosted him for wearing a yarmulke and made abrasive comments about
his Jewish heritage.


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As this was a non-permitted event, there was no law enforcement presence. Charlottesville
Sherriff James Brown, whose office in the Charlottesville Circuit Courthouse is directly
across East High Street from Jackson Park, recalled hearing the chanting as he prepared to
depart that afternoon. Brown left his office and walked to the street, where he observed a
“bunch of flags” and groups chanting. Brown noted the absence of any visible law
enforcement presence in the vicinity of the park.
The May 13 event ended on a tense note. As the rally was breaking up, an African-
American counter-protester arrived in Jackson Park to confront Spencer and his
followers. She was soon joined by several supporters. When the counter-protesters began
chanting “Black Lives Matter,” a large number of Spencer’s followers encircled them and
chanted “anti-white.” Charlottesville residents Allison Firster and Matt Sellman were
driving past Jackson Park on their way to the Festival of Cultures when they saw this
disturbance. Firster and Sellman left their vehicle and joined the counter-protesters. Firster
described the atmosphere as “highly tense” and very dangerous. A physical altercation
ensued, during which a counter-protester fell to the ground. Spencer’s followers then
rapidly withdrew from the area. No arrests were made.

          2.    The Lee Park Event

The afternoon event at Jackson Park on May 13 was simply a precursor to a second event
that took place later that night. At approximately 9:00 p.m., Spencer, Enoch, Kessler, and
large number of supporters marched in two single-file lines into Lee Park from East
Jefferson Street, carrying lit tiki torches. The group formed into ranks five lines deep in
front of the statue of Robert E. Lee, and chanted “blood and soil,” “you will not replace
us,” and “Russia is our friend.” 56 Organizers filmed the event with a drone and posted the
footage online. A drone captured video of the event, and the footage was posted online a
few days later. 57
According to Spencer, unannounced events like the May 13 gatherings “illustrated how
matters proceed and people with whom [he] associate[s] conduct themselves when elements
of the political Left do not appear to disrupt and attack peaceful demonstrators.” 58
Similarly, Kessler told us that the evening gathering was meant to be a “flash
demonstration”—a gathering with no prior publicity—to minimize the risk of violence and
prevent counter-protesters from undermining Spencer’s message. Kessler also explained
that the torches were not meant to intimidate, but rather to mimic the ancient funeral rites
and commemorate the “fallen dead” from so-called “brother wars” in Europe, referring to
the conflicts between European peoples. Kessler attributed the “blood and soil” chant to
individuals who believe that the Second World War “is not accurately depicted by the
history books.” The white polo shirts and khaki trousers worn by Spencer’s followers were
chosen as a deliberate contrast to the black worn by Antifa. 59
CPD was on alert after the Jackson Park event earlier that afternoon. At the roll call for the
May 13 evening shift, Sergeant Lee Gibson noted the event at Jackson Park and informed
his officers that “men in white polo shirts and khaki pants” had attempted to disrupt the
Festival of Cultures earlier in the day. 60 Sergeant Bradley Pleasants passed Lee Park while
driving to CPD headquarters for the midnight shift. Pleasants was on the phone with his
father, CPD Major and Deputy Chief Gary Pleasants, when he saw a “mass of torches.”


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Sergeant Pleasants was struck by the spectacle and communicated the disturbance to his
father, who instructed him to investigate. Sergeant Pleasants drove to CPD headquarters,
parked his car and ran inside to alert the evening shift desk sergeant, who had already
summoned all available officers to the incident. Pleasants then returned to his car and drove
immediately to the park.
Around the same time, the Charlottesville-UVA-Albemarle County Regional Emergency
Communications Center (ECC) received a 911 call from an anonymous source, who
reported a gathering of more than 100 individuals in Lee Park with torches. The ECC
immediately put out a request for CPD officers to investigate. 61 Nine CPD officers
responded to the ECC request. When Officer E.A. Maney arrived at 9:20 p.m., he
encountered more than one hundred torch-bearing demonstrators shouting “we will not be
overcome.” Maney also observed Charlottesville resident Jordan McNeish urging Spencer
and his followers to “get out of my town.” Maney noted that McNeish was rapidly
surrounded by men with torches and a confrontation ensued. 62
Maney began issuing orders to Spencer and his colleagues to leave Lee Park. Maney then
moved to break up the altercation with McNeish. 63 Other CPD officers arrived shortly
thereafter, and Sergeant Pleasants assumed command. No arrests were made, and
Pleasants stationed two officers to monitor Lee Park for the rest of the evening. 64
Charlottesville political figures and social activists quickly denounced the event. Mayor
Signer indicated that the event was “either profoundly ignorant or designed to instill fear in
our minority populations in a way that hearkens back to the days of the KKK.” 65
Charlottesville’s delegate in the Virginia General Assembly, David Toscano, took to Twitter
to condemn the “outrageous protests … by apparent white supremacists.” 66 The
Charlottesville Clergy Collective issued a statement condemning “acts of hate and bigotry
that threaten to intimidate and undermine the peace and well-being of our neighbors.” 67
The event also captured the attention of the national media. TIME ran a story on the torch-
lit march quoting Mayor Signer and noting that the Mayor received “anti-Semitic tweets”
after criticizing Spencer. 68

     B.   May 14 Counter-Protest

Outraged by the content of Spencer’s message, activists and anti-racist demonstrators in
Charlottesville quickly organized a response to Spencer’s event. On Sunday Morning,
May 14, University of Virginia law professor Anne Coughlin circulated an e-mail to a group
of like-minded activists, including Mayor Signer and Charlottesville Office of Human Rights
Manager Charlene Green, asking if plans were underway for a response to the “protest in
Lee Park.” Coughlin noted “if not, God help us all.” 69
Coughlin’s e-mail resulted in an outpouring of responses; nearly all recognized the need to
respond to Spencer and demonstrate the unity of the Charlottesville community. Erik
Wikstrom, a Unitarian-Universalist minister at the Thomas Jefferson Memorial Church,
proposed a silent gathering that evening to show “solidarity with all those who have been
silenced by the evil of white supremacy.” 70 Shortly thereafter, Wikstrom forwarded a
message from a parishioner. The parishioner noted that Showing Up for Racial Justice


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Charlottesville (SURJ) and other groups were planning a vigil that evening in Lee Park.
The parishioner shared an e-mail stating that on the evening of May 14, activists would
“take back Lee Park” at 9 p.m. The message referenced the powerful visual images from the
previous evening and stated, in pertinent part:

       TAKE BACK LEE PARK: we are taking back the park tonight at 9P (or
       whenever folx think the sun will be fully set) bring all the candles you can
       find. [W]e will outshine their torches with our love, but we will also be
       sending a message that they will not come here to intimidate us unchallenged.
       [T]hat their statues WILL COME DOWN. [A]nd we will be standing
       here together to love and protect one another. [w]e will recreate that
       monstrous photo of them but our light will radiate with our families and
       communities standing in solidarity for justice …. Tell everyone you know to
       meet us in lee with candles and flowers and balloons… but don’t put this out
       in public… face to face and private messages/telephone. [S]urj antifa phar
       apoc uva students united and living wage… all of us. [T]ogether. 71
City leaders were made aware of the plans for a candle-lit march on May 14. Charlene
Green forwarded the above message to Charlottesville City Manager Maurice Jones and
assistant City Manager Mike Murphy at 2:44 p.m. Murphy responded at 3:02 p.m., noting
that he “heard about [the event] a while ago,” and that it “[s]ounds like a peaceful effort to
respond to last night’s event.” 72 There was no effort to obtain or grant a permit for the
event.
The candle-lit event began at 9:00 p.m., and was led by members of SURJ, Black Lives
Matter, and other activist groups. Five CPD officers and a sergeant were dispatched and
were present for the event. 73 Anti-racist demonstrators covered the Lee statue with a drape
that read “Black Lives Matter – Fuck White Supremacy.” Speakers at the event focused on
two messages: embracing diversity and inclusion, and rejecting the imagery and tactics used
by Spencer. Charlottesville resident Don Gathers, the chair of Charlottesville’s Blue Ribbon
Commission on Race, Memorials, and Public Spaces, told a local reporter that the protest
was designed to tell white nationalists, “We will not let you come in and take over, and
have your way.” Gathers further explained, “We are going to take control of this City and
we are going to do it in the proper way. It might take six months to take care of this
situation, but we’re not going to give up the fight.” 74
The tenor of the event changed around 10:00 p.m., when CPD announced that the park was
scheduled to close. Around the same time, Kessler arrived. Kessler claimed that he had
been watching the event on a livestream by Emerson Stern, an African-American man who
Kessler considered an ally. Kessler believed that Stern was being “bullied and called a
Nazi,” which prompted him to go to Lee Park. Kessler brought a bullhorn so that he could
be “heard over the crowd.” When Kessler saw the sign covering the Lee statue, he decided
that the sign was vandalism and tore it down. A scuffle between Kessler and others at the
event ensued. At one point during this spectacle, Jordan McNeish spat on Kessler, resulting
in McNeish’s arrest for disorderly conduct. McNeish recalled seeing Kessler “with a loud
speaker being obnoxious,” but did not realize that a CPD officer was behind him. 75 Kessler
was also charged with disorderly conduct, after being arrested for refusing to comply with


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CPD instructions to desist from the use of the megaphone. 76 CPD also arrested Charles W.
Best, a 21-year old male from Richmond, Virginia, for disorderly conduct and carrying a
concealed weapon. 77

     C.   Aftermath

The May 13 event at Lee Park hardened the resolve of Charlottesville elected officials to
remove the Lee statue. Three weeks later, on June 5, the Charlottesville City Council voted
unanimously to change the name of Jackson Park to “Justice Park,” and to change the
name of Lee Park to “Emancipation Park.” 78
Spencer and Kessler viewed the publicity surrounding the May 13 event at Lee Park as a
significant victory. Spencer celebrated the event on Twitter, engaging in a debate with
former congressman Tom Perriello, then a candidate for Governor. 79 Kessler’s antagonism
of counter-protesters at the candlelight event similarly elevated his profile, both among Alt-
Right followers and local progressive activists.
The May 14 event demonstrated a degree of coordination between various activist groups in
Charlottesville and their ability to rapidly mobilize a large-scale response to a perceived
threat using social media and interpersonal networks. SURJ, Black Lives Matter, Antifa,
Solidarity Charlottesville, and other interested individuals united in opposition to Spencer,
Kessler, and the images of torches in downtown Charlottesville. While we were unable to
develop extensive information on the role of anti-racist demonstrators in these events, we
believe that the May rallies motivated increased activism in Charlottesville. The events also
heightened preexisting skepticism about City officials and the CPD among certain groups
and individuals.
For CPD, the events led to a reassessment of the Department’s approach to intelligence-
gathering. CPD Chief Al Thomas told us that the events of May 13 revealed an
“operational blind spot.” Thomas noted that CPD lacked advanced capabilities for social
media monitoring that may have helped the Department anticipate these events. Chief
Thomas moved forward with a request to purchase software capable of pinpointing
potential threats based on social media activity. Thomas also ordered his investigations
division, led by Captain Wendy Lewis, to begin gathering intelligence about Spencer,
Kessler, and other white nationalists. Lewis assigned this task to Detective Braden Kirby.
Kirby gathered open-source information about May 13 and 14. He also worked with Carla
Hill from the Anti-Defamation League to assemble a dossier about white nationalists,
including Spencer, Kessler, Enoch, Nathan Damigo, and Sam Dickson. Kirby told us that
he began contacting representatives of the various organizations that participated in the
events, “to see what they were about.”
For senior employees of the City of Charlottesville, the May events led to significant
discussions about the permitting process. Assistant City Manager Mike Murphy was away
from Charlottesville when the events occurred, but returned to work on May 15 and quickly
realized that the public was very concerned about the events of May 13. Murphy recalled
receiving a number of questions from other City officials about whether Spencer had a
permit, or should have been cited for failing to obtain a permit. Murphy noted that while
the Charlottesville Permitting Standard Operating Procedures for special events and


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demonstrations may have technically applied to Spencer’s event, there has been an
“understanding” among City officials that permits would not be required for political
speech. Murphy cited Mayor Signer’s “Capital of the Resistance” speech as an example,
noting that the Mayor held an unpermitted event on a City right-of-way for more than fifty
people without securing a permit. Murphy noted that it would have been difficult to cite
Spencer for violating Charlottesville’s rules in light of the Mayor’s conduct. Special Events
Coordinator Michelle Christian echoed Murphy’s comments, noting that the City has
traditionally not required permits for political events unless the event could “potentially
impede traffic.”
The most important outcome of the events of May 13 and May 14, however, was an
escalation of the attention to and participation in the debate surrounding the removal of the
Lee statue. What had been a local dispute moved to the forefront of a national debate on
race and cultural heritage. The event in Lee Park on May 13 also demonstrated that
Spencer and Kessler planned to use the Lee statue as a vehicle to transmit their white
nationalist message to a broader audience. It also revealed their willingness to employ
tactics and evoke images drawn directly from Nazi Germany and the Ku Klux Klan.

     D.    What Went Right and What Went Wrong

It is difficult to fault CPD or others within City government for their failure to anticipate the
May protest events. The organizers of the Saturday rallies provided no notice to City
officials, which prevented any preparation. CPD promptly responded to calls for service
that arose during these events. City officials had several hours’ notice of the Sunday
evening candle light event, and they responded appropriately by dispatching officers to the
park to protect the safety of all participants.

All three events that took place in May were arguably covered by the City’s Special Events
regulation. They fell within the definition of “demonstration” quoted above, and they
crossed the threshold limit of 50 people. The lack of a permit for any of the three May
events gave the City the authority to prevent or interrupt any of the events. That did not
occur, as the City has traditionally ignored its own permit regulation for demonstrations.
We explore the wisdom of that permissive approach to protest events in the
Recommendations section, below.

III. July 8 Ku Klux Klan Rally

     A.    Preparation

           1.   Permit Application, Review, and Approval

The Loyal White Knights of the Ku Klux Klan is a group based in Pelham, North Carolina,
with an estimated membership of 150 to 200. 80 Amanda Barker serves as the “Imperial
Kommander” of the women’s division, and her husband Christopher serves as the “Imperial
Wizard.” 81 In an interview, Ms. Barker indicated that she routinely participates in Klan
events across the country, having attended rallies in Berkeley, California; Danville, Virginia;
Columbia, South Carolina; Raleigh, North Carolina; and Stuart, Virginia.



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The Klan chose to organize a rally in Charlottesville because of the City’s decision to
remove the Robert E. Lee statue from Emancipation Park. Ms. Barker identified the
Charlottesville City Circuit Courthouse steps as the location for the Klan’s rally based on
the mistaken belief that “that is where the votes were put in to remove the statue.” 82 On
May 24, Barker drove to Charlottesville to “scope out” the courthouse and observed that it
has a sizeable rear parking lot. Deciding that this location would suffice, Barker drove to
the City’s Department of Parks and Recreation and filed the Klan’s permit application. The
application requested a “public demonstration” to “stop cultural genocide rally at the
courthouse” on July 8 from 3:00 p.m. to 4:00 p.m. and estimated that 100 participants
would attend. 83
On May 24—the same day Barker filed the permit application—Michelle Christian sent it to
the Special Events Committee for review. 84 Given the involvement of the Klan, Parks and
Recreation Director Brian Daly immediately forwarded the application to City Manager
Maurice Jones, CPD Chief Al Thomas, and the City’s Director of Communications Miriam
Dickler. 85 Thus, the City’s key personnel learned of the Klan event on the same day of the
permit application’s filing. City Manager Jones informed City Council of the permit
application about one week later on June 2. 86
CPD raised the first concern about the Klan event: the location. Specifically, CPD worried
that the Charlottesville City Circuit Courthouse steps were inadequate for the estimated
number of attendees. CPD Captain David Shifflett contacted Barker and proposed moving
the Klan event from the courthouse steps to nearby Justice Park, offering a larger space
away from surrounding businesses and private property. 87 On June 8, Barker accepted
Captain Shifflett’s offer and agreed to “shift everyone to that location.” 88 According to
Captain Shifflett, the Klan agreed to the move because Justice Park provided visibility of the
courthouse and the Stonewall Jackson statue. Amanda Barker told us she “felt like we were
running out of options so we better take what [Captain Shifflett] is recommending.”
According to CPD Major Gary Pleasants, Barker “had no issue with the change.” 89
Regardless of the reasons, both CPD and the Klan agreed to move the event to Justice Park.
On behalf of CPD, Captain Shifflett continued to communicate with Barker before the Klan
event. In the weeks leading up to the event, Barker and Shifflett spoke over the phone and
exchanged e-mails. They discussed planning issues such as transportation, parking, and
legal behavior. Barker asked Captain Shifflett to acquire buses, meet the Klan at a secret
location, and transport them to Justice Park on July 8. In Barker’s experience, jurisdictions
that use this strategy effectively keep the Klan separated from counter-protesters. According
to Barker, Captain Shifflett rejected the bussing request because the City “felt it was not
needed.” Next, Captain Shifflett informed Barker that the parking lot she saw behind the
Charlottesville City Courthouse was unavailable for Klan parking, but he could arrange for
the group to park across from Justice Park at the Albemarle County Juvenile and Domestic
Relations Courthouse (JDR Court) surface parking lot. He told Barker that the Klan would
have to consolidate into no more than twenty-five cars to park at that location. 90
Captain Shifflett developed and shared a transportation plan with Barker in light of the
parking arrangement. The Klan would drive to a secret location on City property just
outside of the downtown area. There, the Klan would consolidate vehicles, leaving excess



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cars parked at the City property. Then, a CPD lead car and tail car would escort them to
the JDR Court surface parking lot near Justice Park. Captain Shifflett instructed Barker to
call him when the Klan was about ten miles outside of the City so he could coordinate
appropriate police resources. 91
Barker also raised several legal issues with Captain Shifflett. She revealed that some Klan
members would bring guns pursuant to Virginia’s open carry laws. She also explained that
some Klan members intended to wear full robes complete with head gear. Captain Shifflett
cautioned her that CPD would arrest Klan members who cover their faces in violation of
Virginia’s anti-masking law. Barker knew about this legal issue and the Klan members
agreed to roll up the face flap on their head gear, exposing their faces in compliance with the
law.
Overall, Captain Shifflett described Barker as “very cooperative.” Chief Thomas likewise
told us that the Klan “adhered to the plan” created by police. During the planning phase,
Barker expressed displeasure about only one issue: publicity. When filing her permit
application, Barker asked that the City delay announcing the Klan event to the public “until
the last minute.” In Barker’s experience, a delay in publicity about a Klan event results in a
smaller and less hostile crowd of counter-protesters. The City did not comply with Barker’s
delayed publicity request, announcing it to the public shortly after Barker filed her permit
application. Barker disagreed with this step. She reached out to Captain Shifflett to inform
him that counter-protesters had begun organizing on social media to attend the Klan event
while armed, and she urged a weapons check at Justice Park to avoid a “blood bath.” 92
Captain Shifflett assured Barker that CPD planned to protect free speech and keep everyone
safe.
Several days prior to the Klan event, Barker contacted Captain Shifflett and offered to drive
to Charlottesville to visit Justice Park and learn about the operational plan. Captain
Shifflett replied that he was vacation and could not meet with Barker, and he did not offer to
arrange for other CPD personnel to meet with Barker. According to Captain Shifflett, he
offered to have her visit on another day. Barker never came back to Charlottesville to
review the operational plan before the Klan event.

          2.    Intelligence Gathering

CPD engaged in substantial intelligence gathering for the Klan event through its
investigations unit, which is supervised by Captain Wendy Lewis. On June 2, Lewis held a
meeting to commence intelligence research on the Klan gathering and to request updated
weekly intelligence reports for CPD command staff. 93 CPD detectives reviewed open-
source and social-media information about the Klan and groups expected to come in
opposition to the Klan. On June 14, Captain Lewis’s team completed its first intelligence
report. It identified Klan members, potential protest groups such as Identity Evropa and
the Traditionalist Worker Party, and potential counter-protest groups such as BLM and
SURJ as possible attendees. 94
When the first intelligence report regarding the Klan rally was presented to Chief Thomas,
he expressed frustration at the relative paucity of information. He indicated that he wanted
to know expected attendance numbers, criminal histories, and tactics of potential protest


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and counter-protest groups. He further instructed Captain Lewis and her team to knock on
doors in the community and ask for information from known BLM and SURJ members.
Chief Thomas told us that the early efforts to gather information in anticipation of the Klan
rally was an example of the “blind spot” of insufficient intelligence that he had identified
after the May events.
On June 20 and 21, Captain Lewis’s team complied with Chief Thomas’s direction by
knocking on doors, making phone calls, and sending e-mails to local activists affiliated with
BLM and SURJ. A member of Captain Lewis’s team also attended a SURJ meeting. A
few days later, Pamela Starsia—an attorney “representing a number of anti-racist activists
and organizations in Charlottesville”—delivered a strongly worded letter to Chief Thomas
accusing CPD of using “aggressive inquiries” as “an intimidation tactic intended to curtail
leftist speech and expressive conduct.” 95 Starsia also held a press conference to allege that
CPD had tried to interrogate City residents. In response, CPD issued a press release
emphasizing its investigation of all groups attending the Klan event. 96 Indeed, CPD visited
the home of Jason Kessler to gather information about his plans for July 8. Starsia’s
accusations halted CPD’s efforts to gather information directly from local activists, hurting
CPD’s intelligence-gathering efforts.
Taking a new approach, CPD personnel received research assignments for specific protest
and counter-protest groups using online resources. 97 Police also received information about
the July 8 event from law enforcement in other jurisdictions. For example, the Greensboro,
North Carolina police shared a flyer from social media advertising for counter-protesters to
attend the Klan rally in Charlottesville to “shut them down.” They also informed CPD that
the Klan planned to meet in a park and stay at hotels in Waynesboro, Virginia, before the
rally. 98
CPD’s intelligence-gathering efforts did not include reaching out to other jurisdictions that
have dealt with Klan events for tactical advice. Captain Lewis’s team discussed taking this
step but ultimately did not take it. Captain Shifflett confirmed in an interview that he did
not speak with other jurisdictions about tactical advice. CPD Lieutenant Brian O’Donnell
knew of no CPD efforts to contact other jurisdictions that had previously managed Klan
events. Thus, CPD missed did not try to learn about successful strategies for managing the
Klan and counter-protesters from law enforcement personnel with experience at similar
events.
Captain Lewis’s team ultimately produced three intelligence reports. A June 19 report
provided a summary of events, persons, and groups related to the Robert E. Lee statue in
Emancipation Park. 99 A report dated the next day updated the first intelligence report. 100 A
third report dated June 22 provided more in-depth information about the Klan based on the
group’s web site, past rallies, and criminal records. 101 Together, these reports provided
substantial information about the Klan and its membership, potential protest groups,
potential counter-protest groups, and recent activities of all groups at a local and national
level. On June 23, CPD held an intelligence update meeting to review and discuss the
intelligence gathered thus far. 102
CPD’s intelligence-gathering efforts continued into the next week. On June 27, an updated
report revealed additional groups that might join the Klan for the event. 103 On June 30,


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CPD received a Special Event Assessment from the Virginia Fusion Center confirming that
counter-protesters planned to appear in Justice Park and suggesting that civil disturbances
could result. 104 On the same day, CPD drafted an intelligence report about Antifa. 105 Based
on the intelligence gathered, CPD believed that internal conflicts within the Klan would
keep their numbers under 100 on July 8. Police expected between 600 and 800 counter-
protesters would attend. Officers knew that at least some Klan members would be armed
and that counter-protesters would also be armed and planned to disrupt the Klan event. 106
Intelligence regarding the event was conveyed to CPD officers in advance of July 8. 107 CPD
Lieutenant Mike Gore recalled that his officers received daily and weekly intelligence
briefings at roll calls leading up to the Klan rally. CPD Lieutenant Steve Upman shared all
intelligence with his SWAT members and actively encouraged lieutenants to push
intelligence down to officers. The sharing of intelligence made clear to all CPD personnel
that the July 8 event would likely be a large, confrontational, and potentially violent event.

           3.   Training

CPD’s training efforts to prepare for the Klan event were fragmented, unfocused, and
inadequate. Although policies were reviewed during roll calls, CPD did not engage in any
specific training for the Klan event.
The CPD command staff provided general directions for lieutenants to discuss policies with
officers during rolls calls. For example, Captain Victor Mitchell—the interior commander
for the Klan event—directed shift commanders to have “refresh” discussions with officers
about constitutionally protected activity and responses to illegal behavior. Captain Lewis
sent a “First Amendment Refresher” to two lieutenants and explained “it might be useful to
send out to your personnel as a refresher.” 108 Lieutenant Mike Gore did as instructed and
reviewed that document during roll calls. Lieutenant Brian O’Donnell encouraged officers
to re-familiarize themselves with statutes relevant to the event. Lieutenant Jim Mooney
discussed several policies at roll call with his officers.
CPD did not provide officers with any specific training for the Klan event, such as civil
disturbance or field force training. Captain Mitchell told us that he did not recall
completing any specific training for the Klan event with CPD officers. And although Major
Pleasants conducted crowd control training for the daylight and evening shifts at the end of
June, that training did not include field exercises. Lieutenant Dwayne Jones admitted that
officers needed a refresher in field force training, noting that he has not had such training for
at least five years. He stated that CPD completed a lot of “academic” training before events
but not enough “hands on” training, either in terms of working on arrests and de-escalation,
or in terms of practicing with riot gear. The CPD SWAT unit held its normal training about
two weeks prior to the event, where Lieutenant Upman provided overall plans for the Klan
event and shared intelligence with officers. CPD provided us with a Charlottesville Police
Officer Training List that confirms CPD officers received no specific training for the Klan
event. 109
CPD likewise failed to provide its officers with basic information about the use of riot gear.
Officer Lisa Best indicated that she received no riot gear training. Even more alarming, on
June 28, Chief Thomas’ assistant Emily Lantz asked the Albemarle County Police


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Department if CPD could borrow helmets after a meeting revealed that 80% of CPD officers
lacked helmets. 110 Thus, some CPD personnel entered the Klan event without proper riot
gear at all, while others who did possess riot gear lacked practice or familiarity using it.
These fractured efforts left CPD officers feeling ill prepared. Officer Best told us she
received “absolutely no” intelligence or training ahead of the Klan event. Thus, she had no
individual instructions about what to expect at the Klan event. The lack of training created
a great deal of uncertainty which undercut operational effectiveness on July 8.

          4.    Agency Coordination

                a.   Charlottesville Fire Department

Many agencies were involved in preparations for the Klan event. The Charlottesville Fire
Department was responsible for fire protection and emergency management systems at the
Klan event. In mid-June, CPD and CFD personnel held several planning meetings. 111
Deputy Fire Chief Mike Rogers oversees special operations and training for CFD. He
recalled meeting attendees discussing basic information about staffing requirements,
overhead needs, traffic plans, and staging resources. CPD shared intelligence and revealed
its intention to involve the Virginia State Police with the Klan event. On June 28, Deputy
Chief Rogers attended a large meeting organized by CPD. There, multiple agencies
received a draft of CPD’s Operational Plan, which included detailed aerial maps and a
traffic plan.
Deputy Chief Rogers told us that he received enough information at these June meetings to
develop plans for the fire/EMS personnel on July 8. He aimed to stage fire/EMS assets
close enough to the Klan event to treat patients effectively but far enough away to ensure the
safety of personnel. To achieve this goal, Rogers used a “hot/warm/cold” area system.
Justice Park served as the “hot” area, the City blocks surrounding Justice Park served as the
“warm” area, and City blocks farther away served as the “cold” area. Deputy Chief Rogers
concluded that the “hot” area was unsafe for staging fire/EMS assets. As a result, he
planned to stage lighter fire/EMS assets in the “warm” area of the Levy Opera House
parking lot and heavier fire/EMS assets in the “cold” area of the COB McIntire building
and parking lot. Rogers also established decontamination zones in the “warm” area to
triage, treat, and transport patients near Justice Park as well as landing zones in the “cold”
area for medical helicopters to transport patients to regional hospitals.
Deputy Chief Rogers memorialized his plans in a CFD Incident Action Plan. 112 In the week
before the event, he ensured that CFD personnel received accurate, timely, and repeated
updates. On July 3 and 6, Deputy Chief Rogers held shift briefings and invited CPD. 113 At
these shift briefings, Rogers gave presentations that covered updated intelligence, task
assignments, zone and traffic maps, staging areas, and the CFD Incident Action Plan. 114
CFD Deputy Chief Emily Pelliccia told us that there was “good sharing [of plans] among
the City entities.” She was aware, for example, of intelligence suggesting that Antifa would
travel with street medics, which prepared fire/EMS personnel to encounter them at the
Klan event.




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                b.   Department of Parks and Recreation

Captain Shifflett considered several barricade options for the Klan event. He consulted with
employees at the Sprint Pavilion on the Downtown Mall and learned that the plastic
barriers used at that facility were likely not strong enough for the Klan rally. Captain
Shifflett researched construction fences for possible use but did not pursue acquiring them.
Captain Shifflett learned that the University of Virginia’s John Paul Jones Arena had bike-
rack barricades, but the venue suggested they were not very heavy and might not be effective
“as a frontal barricade.” Arena staff also worried about barricades—which are painted with
the JPJ Arena logo—appearing in media coverage of the event. 115
Out of options, Captain Shifflett consulted Doug Ehman, the Parks Division Manager of the
City’s Department of Parks and Recreation, about barricade options. Ehman told Captain
Shifflett that the City had access to two types of barriers. The City owns a small number of
large plastic containers that can be filled with water and used as barricades. Ehman also
told Shifflett that the University of Virginia owns an abundance of bike-rack barricades, or
heavy metal barriers that lock together at the joints. He indicated that the City could rent
them from the University. Captain Shifflett decided that the University’s bike-rack
barricades provided the best option for enforcing separation between conflicting groups at
the Klan event. He provided Ehman with an estimate of the total linear feet of barricades
he needed. Parks and Recreation then coordinated the City’s rental and acquisition of the
bike-rack barricades from Scott Stadium. 116
At the end of June, Captain Shifflett met with Parks and Recreation to discuss logistics. 117
On July 5, representatives from CPD, Parks and Recreation, and Public Works met in
Justice Park. The group examined the barricade plan and made recommendations. 118 Brian
Daly described CPD’s ingress/egress plan at that meeting as “well thought out” and that the
goal to separate protesters from counter-protesters “made a ton of sense.” On July 7, CPD
gave Ehman a Justice Park diagram with a final layout for barricade placement so the Parks
and Recreation crew could setup the bike-rack barricades for the Klan event.

                c.   Department of Public Works

The City’s Department of Public Works provided important support to CPD in preparing
for the Klan event. At the July 5 meeting described above, Oberdorfer received the CPD
traffic plan. The City’s traffic engineer approved the plan, which Oberdorfer and his staff
subsequently implemented it. Oberdorfer also gave Captain Shifflett permission to use a
Public Works facility as the secret, off-site location for the Klan and CPD to meet for
escorting to the Klan event.

                d.   Charlottesville Sheriff

CPD called upon Charlottesville Sheriff James Brown to prepare the Charlottesville Circuit
Courthouse for processing arrests at the Klan event. Sheriff Brown recalled attending at
least one CPD planning meeting and sharing information about the courthouse. 119 At the
end of June, Captain Shifflett learned about the courthouse’s IT capabilities, including its
video system for magistrate hearings. 120 Captain Shifflett planned for a magistrate to
conduct hearings via the video system for arrestees at the Klan event. Consistent with this


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plan, Sheriff Brown stationed two deputies on the interior and two deputies on the exterior
of the courthouse to process arrests on July 8.

                e.   Legal Advice

CPD sought legal advice from City Attorney Craig Brown’s office for multiple legal issues.
Mr. Brown and Deputy City Attorney Lisa Robertson provided CPD with information
about Virginia’s anti-masking law and the possibility of banning weapons from Justice Park
on July 8. They also considered the First Amendment restrictions on the event, including
possible separation between the Klan from counter-protesters. 121
Charlottesville Commonwealth Attorney Dave Chapman provided a summary of offenses
against peace and order, 122 gathered information about Christopher Barker’s bond
restrictions from another jurisdiction, 123 and prepared unlawful-assembly declaration
instructions. 124 On June 27, Chapman met with CPD command staff and lieutenants to
share this legal advice. 125 Notably, Chapman also offered his legal help for training
assistance and preparation for the Klan event. 126

                f.   Virginia State Police

Perhaps the most important partner in the preparation for and handling of the July 8 event
was the Virginia State Police. That agency provided a substantial commitment of personnel
and other resources to the City for this event. Given VSP’s significant presence at the event,
successful coordination between CPD and VSP was critical.                Unfortunately, that
coordination was erratic and produced inconsistent approaches to the event.
Colonel W. Steven Flaherty, the Superintendent of the Virginia State Police, told us that
one of VSP’s a core functions is to provide support to local police agencies during large-
scale events. He stressed that while VSP has significant experience dealing with protest
rallies and other significant public safety threats across the Commonwealth, the agency does
not assume control over any particular event. Rather, VSP provides support to local police
agencies in preparation for and handling of large events. Colonel Flaherty stressed to us
that “the locality is always in charge” even if VSP has a greater number of personnel and
resources at a particular event.
Consistent with Colonel Flaherty’s statements regarding local control, VSP was largely
deferential to CPD during the planning process for the July 8 rally. On June 20, CPD and
VSP command staff met for the first time to discuss the Klan event. 127 CPD Lieutenant
Mike Gore recalled that Chief Thomas and Captain Shifflett led the meeting, at which
Captain Shifflett discussed the operational plan, the unlawful-assembly declaration process,
mobile field force procedures, and intelligence. At the end of June, VSP attended another
CPD-led meeting, received a draft of the CPD operational plan, and obtained Justice Park
aerial maps and the traffic plan. 128 In the week before the Klan event, CPD continued to
provide VSP with updated drafts of park maps, traffic patterns, and the CPD operational
plan. 129
Although CPD frequently shared and updated VSP with information, the relationship
operated as a one-way street. VSP devised its own planning document for July 8, but that


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plan was never shared with CPD. Captain Shifflett told us that no one from VSP ever
offered specific suggestions or objected to any part of the CPD operational plan. VSP’s
passive role in the planning and failure to share information with CPD represented another
missed opportunity for an experienced agency to offer critical insight into how to adequately
prepare for a mass protest event.
CPD and VSP failed to jointly prepare for the Klan rally or otherwise ensure a uniform
approach to the event. Captain Shifflett told us that CPD and VSP held no joint trainings or
exercises, nor was there any “down-chain coordination” among troopers and officers.
According to Lieutenant Upman, CPD SWAT and VSP SWAT never trained together.
Major Pleasants told us that the two agencies held no joint field force or tabletop exercises
prior to the Klan event. Lieutenant Gore—a zone commander for the Klan event—told us
that he had no direct communication with VSP although multiple VSP troopers were
assigned to his zone and under his command. Lieutenant O’Donnell similarly told us that
he met the VSP sergeant and troopers assigned to his zone for the first time on July 8. This
lack of down-chain coordination meant that VSP troopers and CPD officers would work
side-by-side during the Klan event without meeting each other beforehand.
                                                         Despite      these    shortcomings      in
                                                         preparation and coordination, VSP
                                                         supplied the City with much-needed
                                                         resources for July 8. Troopers served
                                                         within each zone and also patrolled the
                                                         Downtown Mall. 130 A VSP helicopter
                                                         monitored the Klan event and provided
                                                         images to the command center. 131
                                                         According to the VSP Operational Plan
                                                         for July 8, the agency provided a total of
                                                         91 people to support the event. 132 CPD
                                                         would not have been able to protect
Photo Source: Patrick Morrissey
                                                         public safety on July 8 without the
                                                         substantial commitment of VSP.

                   g.    Albemarle County

In contrast to VSP, CPD and the Albemarle County Police Department (ACPD) engaged in
strong coordination and planning for the Klan rally. On June 29, Major Pleasants sent an
unofficial request to ACPD asking for the assistance of law enforcement personnel during
the Klan event. 133 ACPD agreed to provide assistance and ultimately provided 41 law
enforcement personnel, including an 11-member mobile field force team, a 7-member
SWAT team, and a 20-member patrol team to handle service calls. 134 ACPD prepared an
Operational Plan for its personnel on July 8, and shared two drafts of that plan with CPD. 135
On July 7, City Manager Jones formalized the City’s request for assistance pursuant to a
Police Mutual Aid Agreement between the City and Albemarle County. 136 Overall, ACPD
Chief Rick Lantz told us that the City and Albemarle County engaged in a good degree of
coordination. Likewise, Assistant City Manager Mike Murphy characterized ACPD as
providing “universal support” to the City for the Klan event.


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CPD also coordinated with Albemarle County Sheriff J.E. Harding in anticipation of the
July 8 event. On June 15, Captain Shifflett asked Sheriff Harding to meet to discuss
resources, including access to Albemarle County’s JDR Court, which is located directly
across from Justice Park. 137 Several days later, Captain Shifflett and Sheriff Harding
conducted a walkthrough of the JDR Court and discussed CPD’s resource request. 138 Sheriff
Harding communicated with the JDR Court’s judges and obtained permission for CPD to
access the JDR Court facilities on July 8. As a result, a VSP mobile field force unit was
staged in a courtroom on July 8, and public safety personnel used the building to cool off
and access restroom facilities. Sheriff Harding also arranged for the Klan to park multiple
vehicles in the JDR Court’s surface parking lot across the street.

               h.    University of Virginia

CPD and the University of Virginia Police Department (UPD) coordinated and planned for
the Klan event to limited degree. The City sent UPD a mutual aid request in advance of
July 8. UPD Captain Melissa Fielding told us that the University “could not fully commit”
to providing resources, however, as there was a desire to protect the University’s campus on
July 8. As a result, UPD did not provide officers to assist with crowd control at the Klan
event. Instead, UPD played a “support” role during preparations and agreed to answer
priority calls for service within the City during the event. Captain Fielding recalled
attending several planning meetings and received the CPD Operational Plan, though she
criticized CPD’s shared intelligence as both limited and late.
The University of Virginia Health System planned for the potential of significant injuries
during the Klan event. Tom Berry, the Director of Emergency Management at the UVA
Health System, told us that he began preparations about ten days before the Klan event. He
instructed his IT department to gather intelligence via social media, blogs, and web sites,
while he sought information from CPD via informal discussions with Lieutenant Upman.
Mr. Berry also organized small staff groups to perform detailed planning, share information,
and coordinate with local, regional, and state-wide resources to know and understand the
UVA Health System’s needs. During the event, Mr. Berry increased medical and security
staff and established a UVA Health System Command Center.

               i.    Emergency Communications Center

In advance of July 8, CPD coordinated with the Charlottesville–UVA–Albemarle County
Emergency Communications Center (ECC). Allison Farole, the ECC’s Emergency
Management Coordinator, explained that the three jurisdictions share a common 911
system and regional emergency management protocol. ECC’s primary role is to provide
radio communications and coordinate emergency responders for the Charlottesville and
Albemarle County regions.
For the Klan event, Captain Shifflett requested ECC’s help with establishing shared radio
communications for VSP and CPD. 139 He also met with ECC personnel to bring them “up
to speed” on the Klan event planning and provided a draft of the CPD Operational Plan.
Based on these communications, Captain Shifflett understood that CPD and VSP radios
would patch together so the agencies could communicate on shared channels during the
Klan event.


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For certain events, the ECC will also establish an Emergency Operations Center, or EOC.
City leadership decided not to do so for the Klan event. As an alternative, Farole
established a Virtual Emergency Operations Center Interface, also known as a “VEOCI,”
on July 8. VEOCI allows users to view maps, share files, assign tasks, and access
information about emergency broadcasts from an electronic device. Upon Captain
Shifflett’s request, Farole visited CPD on July 7 and provided an overview and training for
VEOCI’s use. 140 Farole recalled uploading the CPD and ACPD operational plans to the
VEOCI system before the Klan event. Importantly, Tom Berry of the UVA Health Systems
emphasized his use of the VEOCI to receive updated information during the Klan event.

     B.   CPD Operational Plan

As the overall incident commander for the Klan rally, Captain Shifflett had responsibility
for drafting the CPD Operational Plan. He began planning for July 8 during the first week
of June. Internal CPD planning meetings for the Plan began as early as June 12th. 141
Captain Shifflett delegated drafting responsibilities for portions of the Plan: CPD Lieutenant
Tito Durrette drafted the “traffic” section, 142 Major Pleasants drafted the “CPD Mobile
Field Force” section, Captain Lewis drafted a section, 143 CPD Lieutenant Steve Knick
drafted aerial maps of Justice Park as well as traffic plans, 144 and Captain Mitchell drafted
the interior plan section.
By June 26, Captain Shifflett secured use of the Charlottesville office of the McGuireWoods
law firm at 310 Fourth Street, N.E. and designated it as the Command Center for the Klan
event. 145 He told us that this Command Center location offered the following advantages:
(1) a large conference room with big windows overlooking Justice Park; (2) a proximity to
Justice Park close enough to view the Klan event in real time but far enough away so it did
not feel unsafe; (3) sophisticated technology capabilities with multiple large screen
televisions for live streaming of helicopter and pole camera footage; and (4) an opportunity
for Command Center personnel to exit the building and stand outside to “get a feel from the
crowd” without relying solely on radio traffic and video systems.
Captain Shifflett investigated CPD’s resources for the Klan event. He gathered information
from Captains Lewis and Mitchell regarding how many officers would be available on July
8. 146 He also inquired about using unsworn CPD personnel for traffic control, including a
forensic technician and an animal control officer. 147 By June 22, Major Pleasants assigned
CPD resources to staging areas in and around Justice Park and identified resources needed
from partner agencies. 148 Captain Shifflett also held a CPD command staff meeting to solicit
recommendations and foster discussions about choosing zone commanders for the Klan
event.
In formulating the Operational Plan, Captain Shifflett considered assigning CPD officers to
locations of potential threats beyond Justice Park. Alan Zimmerman, the President of
Congregation Beth Israel, asked the City to provide an off-duty police officer at the
synagogue on July 8. Zimmerman noted that CPD frequently provides off-duty officers on
major Jewish holidays, and the synagogue compensates the officers for their time. CPD
declined to provide an officer on July 8. Captain Shifflett explained that he believed CBI
would be adequately protected by the amount of officers patrolling the park and



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surrounding areas. Without an off-duty CPD officer to provide security, Zimmerman
retained a private security firm to provide protection for the synagogue on July 8.
Captain Shifflett convened a series of meetings to refine the Operational Plan during the
last week of June, including a June 26 logistics meeting with CPD lieutenants 149 and an
interior and exterior command meeting with Captains Lewis and Mitchell on June 27. 150
On June 28, Captain Shifflett organized a meeting for lieutenants designated as zone
commanders, during which he reviewed the Operational Plan and solicited input. 151
Lieutenant Upman visited Justice Park and selected observation points for SWAT sniper
units, which were also added to the Operational Plan. Captain Shifflett’s coordination and
planning with City and non-City agencies informed the Plan as it endured multiple
revisions. Chief Thomas, Major Pleasants, Captain Lewis, and Captain Mitchell also
reviewed and revised the Plan. 152
On July 5, Captain Shifflett announced the schedule for July 8 to all CPD personnel. He
specifically directed them to report to a command briefing in the COB McIntire auditorium
on July 8 at 10:00 a.m., which would be followed by individual unit meetings with assigned
zone commanders. He further directed that all CPD personnel should be at their assigned
post by noon on July 8. 153 The day before the event, Captain Shifflett again met with zone
commanders and provided them with an updated Operational Plan which included their list
of assigned officers and staging areas. 154 Lieutenant Mooney told us that zone commanders
viewed maps from the Plan and gave input on safety and equipment needs at this meeting.
Officer Lisa Best recalled that Lieutenant O’Donnell forwarded the Plan to his assigned
zone officers. Overall, Lieutenant Mooney told us that “multiple briefings allowed for input
at all levels” which facilitated “significant adjustments to plans . . . based on all factors
known prior to the event.” He believed the Plan was “solid.” 155




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The final Operational Plan segregated Justice Park into five zones with the goal of
separating the Klan and counter-protesters at all times:




           Aerial view of area of the July 8 rally, showing KKK protest area
                           and designated enforcement zones
The Plan provided a protected area between the Jackson statue and the Albemarle County
Circuit Courthouse for the Klan’s rally to occur. Double barriers—or two rows of bike-rack
barricades spread 10 feet apart—surrounded the KKK Zone on three sides with the
Courthouse serving as a natural barrier on the fourth side. The remaining four numbered
zones were established for counter-protesters around the KKK Zone.




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The Plan also called for street closures around Justice Park:




These street closures began at 12:00 p.m. and established a traffic perimeter securing Justice
Park for the Klan event.
The Plan utilized the following locations around Justice Park as staging areas on July 8:

   x   McGuireWoods Conference Room. Directly across from Justice Park, this area
       served as the Command Center. The building’s lobby also housed riot gear for one
       zone of police personnel.

   x   Charlottesville Circuit Courthouse. The courthouse served as the processing center
       for arrestees. Officers were to transport arrestees there to either issue a summons or
       conduct a hearing with a magistrate through a remote video system. The building’s
       lobby also housed riot gear for one zone of police personnel. Restrooms were
       available for public safety personnel.

   x   Albemarle Juvenile & Domestic Relations Courthouse (JDR Court). The VSP
       mobile field force as well as the CPD SWAT team and Bearcat were staged at the
       courthouse. Also, restrooms were available for public safety personnel.


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   x   Albemarle General District Courthouse. The courthouse served as a natural barrier
       for the east side of the Klan’s designated area. It also housed riot gear for two zones
       of police personnel. Restrooms were available for public safety personnel.

   x   Levy Opera House. The VSP SWAT team and Bearcat as well as fire/EMS
       resources were staged in the Levy Opera House parking lot.

   x   Albemarle County Office Building – McIntire (COB McIntire). The ACPD mobile
       field force and Fire/EMS resources were staged at COB McIntire.

   x   400 and 500 Blocks of E. Jefferson Street. Members of the media were designated to
       park in the 500 block and to stage in 400 block of E. Jefferson Street close to Zone 4.

The Plan called for the Klan to consolidate into vehicles at an off-site location and follow
police escorts to the JDR Court’s surface parking lot. From there, police would escort the
Klan members as they walked behind the JDR Court, across High Street, and into the KKK
Zone inside Justice Park. This ingress/egress strategy aimed to provide the Klan with safe
passage to their designated area while maintaining separation from counter-protesters at all
times.
Throughout the Klan event, both CPD and VSP police personnel planned to be stationed
inside the four numbered zones. Each zone consisted of one CPD commander, two CPD
supervisors, one VSP supervisor, and a team of uniformed CPD officers and VSP troopers.
Police personnel staged in these zones would wear regular uniforms with riot gear staged
nearby in buildings if needed. Captain Shifflett did not want officers in zones wearing riot
gear. He planned a “softer approach,” citing research suggesting that the appearance of riot
gear at events suggests to crowds that police are “there looking for a fight.” Each zone also
included detectives wearing plain clothes to monitor crowd behavior and serve as “eyes and
ears” for law enforcement.
The Plan directed officers to “maintain close observation of the crowd,” and watch for
people “who are exhibiting behaviors which could become violent.” The Plan directed
officers to “make arrests when appropriate for unlawful behavior.” Each zone’s CPD
officers and VSP troopers would be paired to form arrest and cover teams. To make an
arrest, a two-member team would perform the arrest while a two-member cover team would
protect the arrest team and the arrestee from the crowd. The arrest team would then escort
the arrestee to the designated processing area at the Charlottesville Circuit Courthouse. The
arrestee would either be released on summons with a debarment notice not to return to
Justice Park or taken before a magistrate for a hearing over a video system. Arrestees
committed to jail would be placed in the Charlottesville Circuit Courthouse holding cells
until transported to a regional jail via police transport vans.
Other than to escort an arrestee to the processing area, officers would not be permitted to
leave their assigned zone without permission from their zone commander. Zone
commanders would, however, have authority to adjust staffing within the double barricades
and zones based on operational needs.




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The Plan established procedures for the possible declaration of an unlawful assembly. Chief
Thomas or his designee held authority to issue the order for an unlawful-assembly
declaration “should circumstances warrant such declaration.” If he did so, Captain Shifflett
would direct the Zone 1 commander and the logistics commander to communicate the
unlawful-assembly declaration over bull horns and notify the VSP and ACPD mobile field
force commanders to prepare for deployment. CPD officers staged within the numbered
zones would relocate to buildings around Justice Park to retrieve and put on riot gear, meet
at a location nearby, and await deployment. 156
If the crowd failed to disperse “after an appropriate amount of time,” Captain Shifflett
would deploy the VSP mobile field force team to clear the unlawful assembly area. The
VSP mobile field force would march south pushing people out of Justice Park, with the
potential assistance of the ACPD mobile field force. CPD officers would retrieve their riot
gear and form their own mobile field force to provide perimeter and rear support. The Plan
directed that if the crowd remains passive and non-violent, then “no pain compliance
instruments or chemical agents will be used” to disperse the crowd. CPD had stretchers and
cots staged close to Justice Park for transporting those who failed to disperse.
Finally, the Plan addressed demobilization. After the Klan event ended, Captain Shifflett
would disengage officers as appropriate, assign officers to the area “to prevent recurrence of
trouble,” discontinue the Command Center, relieve personnel, account for all department
members, and collect department equipment.
CPD shared the Operational Plan with all agencies involved in the July 8 event. On
June 28, CPD hosted a large meeting for the heads of City departments. 157 At this meeting,
CPD shared a draft of its Operational Plan, discussed traffic restrictions, and revealed road
closures. In the final days before the Klan event, Captain Shifflett shared the Plan with
other agencies, including UPD, ACPD, the UVA Health System, and VSP. 158 Assistant
City Manager Mike Murphy criticized CPD for looping in other agencies “at the eleventh
hour.” On July 7, Chief Thomas gave his approval to upload the Plan to VEOCI for
sharing with regional authorities. 159

     C.   Public Communications

          1.    Efforts to Discourage Attendance

The City made a concerted and unified effort to discourage attendance at the Klan event
and to schedule alternative events. 160 Chief Thomas’s approach to public communications
was “don’t take the bait,” which he repeated to multiple audiences as a means of
encouraging people to stay away from the Klan event. Assistant City Manager Mike
Murphy told us that City Council and staff made a conscious to discourage residents from
attending the Klan event and to encourage businesses and non-profits to host alternative
programs. Assistant City Manager Leslie Beauregard recalled attending two meetings about
alternative programming that the City planned to coordinate with third-parties. Mayor
Mike Signer wanted to send out a “stay away” message and, with City Manager Jones,
created an organizing committee for the purpose of creating alternative events for
Charlottesville residents.



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Instigated by the City, community organizers planned “counter-programming” events for
July 8. City Manager Jones and Mayor Signer attended a Clergy Collective meeting and
asked the faith community to take a lead in organizing a community-wide response.
Reverend Will Peyton, the Rector of St. Paul’s Memorial Church, understood from this
meeting that the City wanted residents to stay away from Justice Park and leave the Klan
alone. The Charlottesville-Albemarle NAACP organized a counterprogramming event at
Jack Jouett Middle School. The Black Student Alliance at the University of Virginia sent an
organization-wide e-mail warning that the Klan would be armed and encouraging students
to attend the NAACP’s counterprogramming event from 2:00 p.m. to 5:00 p.m. 161
Downtown business owners also told us that the City made an explicit effort to keep people
away from the Klan event.
On June 20, Charlottesville City Councilors, Chief Thomas, City Manager Jones, and
community members held a press conference to discuss “Unity Day.” 162 Specifically, City
representatives discussed public safety and addressed community concerns about the
upcoming Klan rally. After this announcement, representatives of the Clergy Collective and
the Jefferson School African-American Heritage Center promoted “Unity Day” with the
following schedule of counterprogramming events for July 8: 163
9:00 a.m.–11:00 a.m.: Programming at the Jefferson School African-American Heritage
Center, including meditation, gospel choir performances, and presentations on the history of
the Klan and Charlottesville. 164
11:30 a.m.–1:30 p.m.: Community lunch and potluck picnic at IX Art Park.
2:00 p.m. – 5:00 p.m.: Unity Day concert at the Sprint Pavilion on the Downtown Mall.
The City agreed to fund at least some of these counterprogramming events. 165
The City’s attempts to discourage counter-protests at the Klan rally alienated some members
of this community. Reverend Seth Wispelwey recalled that City Manager Jones’ and Chief
Thomas’ request that members of the clergy help “tell the story” of the day by discouraging
attendance and promoting alternative programs was not universally accepted. Wispelwey
told us that the request “rubbed people wrong” as alienating and patronizing because some
people felt strongly that they should confront the Klan and their hateful speech. The
differing reactions to the City’s counter-programming strategy created a division within the
faith community, which only deepened after July 8.

           2.   Informing the Public

CPD waited until the eve of the Klan rally to inform the public of logistics for July 8. On
July 6, Captain Shifflett drafted a press release addressing road closures, parking restrictions,
the ACPD/UVA response to emergency calls for service, and alternative reporting options
for non-emergency calls during the Klan event. 166 That same day, Lieutenant Upman
distributed to media members a map of traffic patterns and street closures for the Klan
event. 167 On July 7, Lieutenant Upman provided media members with additional
information related to road closures, parking, and alternative reporting options. 168




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     D.    Events of July 8

           1.   Preparing Justice Park

The City’s preparations inside Justice Park began two days before the Klan event. On
July 6, Parks and Recreation secured bike-rack barricades from UVA’s Scott Stadium and,
with the help of Public Works, transported them to Justice Park and chained them up
securely. On the morning of July 7, CPD provided Parks and Recreation with a diagram
depicting the final barricade layout and crews set up the bike-rack barricades accordingly. 169
That same day, Sheriff Brown had his deputies remove trash cans and other potentially
dangerous items from the Charlottesville Circuit Courthouse’s vicinity.
CPD Sergeant Bradley Pleasants worked the midnight shift between July 7 and July 8.
Around midnight, Sergeant Pleasants received a call about unusual activity at Justice Park.
Upon arrival, he discovered hundreds of photographs of CareBears covering the barricades.
He and other officers removed them during the shift. He also ensured the barricades were
interwoven with police tape to create a police line, because in Virginia it is unlawful to cross
a police line. 170
In the early morning of July 8, CPD stationed officers in Justice Park to secure the Klan-
designated area. Together, CPD, Parks and Recreation, and Public Works swept the area
and removed potentially dangerous objects, such as newspaper boxes, loose bricks, rocks,
benches, sticks, and guts of trash cans.

           2.   All-Hands Briefing

At 10:00 a.m., CPD hosted an all-hands briefing in the COB McIntire auditorium. 171 All
major agencies attended, including representatives from UPD, ACPD, and CFD, as well as
officers on duty for the day from CPD and VSP. According to CPD Lieutenant Tom
McKean, this briefing was clearly a “CPD operation.” Chief Thomas spoke first, urging
officers to be professional, exercise discretion, and use de-escalation techniques. Captain
Shifflett then presented a plan overview, where he explained the street closures, the
ingress/egress plan for the Klan, the barricade arrangement, the staging of officers in and
around Justice Park, and how to process arrestees. CPD Sergeant Tony Newberry
remembered receiving a handout with guidance and citations for criminal offenses. Major
Pleasants recalled that CPD officers were told to “set the tone early” by making arrests.
Captain Lewis remembered that the CPD instructions were to arrest “early and often” and
that VSP was also very clear about its intent to arrest disruptive counter-protesters.
At the end of the all-hands briefing, Captain Shifflett introduced the CPD lieutenants who
would serve as zone commanders for the Klan event. Attendees then broke into groups and
met with their assigned zone commanders in different areas of the auditorium. The zone
commanders provided additional arrest instructions. Lieutenant O’Donnell asked his
officers to focus on behavior beyond mere yelling and screaming and to arrest for significant
violations of the law, such as felonies. CPD Lieutenant Joe Hatter understood his duties to
include “watching the crowd,” so he instructed his officers to look for violent behaviors and
make arrests if they saw unlawful conduct. Lieutenant Hatter also encouraged his officers
to step out beyond the barricades and to remain out on High Street. Lieutenant Gore


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instructed his officers not to arrest for speech, but to focus on assaults and impediments to
the free movement of individuals. He also urged his officers to give warnings first and, if
counter-protesters refused to comply, then arrest them. Lieutenant O’Donnell told us that
because his officers lacked riot gear in the zone, he had no intention of sending them into
brawls among large numbers of people without a clear threat to life.
CPD Lieutenant James Mooney observed later that the “multi-agency debrief prior to the
event put all agencies on the same page with the mission of the operation stated clearly.” 172
However, all attendees did not hold that same view. CPD Officer Lisa Best told us she did
not receive complete instructions at the all-hands briefings on what to do. She was told the
location of her assigned zone and informed where to take arrestees, but she did not know
the exact identity of her VSP cover team. Her understanding was that she was to protect her
zone and arrest anyone who came over the barricades. CPD forensic technician Diane
Hueschen guarded the 3rd Street and Jefferson Street intersection. At the all-hands briefing,
she was not told anything specific about her role other than to block the street and not let
anyone through except law enforcement. Lieutenant Mooney recalled that there was no
particular guidance on how to conduct arrests, other than the fact that zone commanders
needed to establish arrest teams.
The lack of “down the chain of command” coordination between CPD and VSP was also
revealed early on July 8. Unbeknownst to CPD, VSP personnel held an all-hands briefing
at a state facility in Charlottesville at 9:00 a.m., prior to the “all-hands briefing” with CPD.
Many VSP troopers who came to Charlottesville for the Klan met each other for the first
time that morning. VSP troopers were also meeting CPD personnel for the first time.
Lieutenant Mooney was uncomfortable with this arrangement. He described these
unacquainted circumstances as “tricky” because he was responsible for people he had never
met. He was concerned that if the VSP troopers did not keep track of each other, then he
would have no way of knowing their location. Lieutenant O’Donnell explained he had “no
familiarity” with the VSP troopers he was to supervise that morning.

           3.   Opening the Command Center

On July 8, the Command Center opened at 11:49 a.m. 173 The large conference room
contained multiple large screen televisions for monitoring live video feeds from the VSP
helicopter and pole cameras. The Plan identified fifteen individuals as Command Center
personnel:




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In addition to these individuals, City Manager Maurice Jones, Assistant City Manager
Mike Murphy, Mayor Mike Signer, VSP Major Terry, CFD Fire Chief Andrew Baxter, VSP
Lieutenant Cooper, and UPD Lieutenant Tabler were also present in the Command Center
for at least part of the day on July 8.
Farole explained her role in the Command Center mainly as providing important updates
through VEOCI. Before the event, she trained a group of volunteers—Virtual Operations
Support Team (VOST)—to monitor open source media during emergencies. During the
Klan event, the VOST team monitored social media because people in the crowds were
tweeting and sharing videos. Farole acted as a “funnel” for that information and shared it
on VEOCI.

          4.    The Crowd Gathers

By noon on July 8, VSP had swept the Justice Park area for explosives, road closures had
commenced, and all public safety personnel had reported to their posts. 174
The crowd at Justice Park built slowly over the early afternoon hours, with reports trickling
in about small disturbances or the arrival of known counter-protest groups. From
12:00 p.m. to 1:30 p.m., Justice Park remained sparsely populated and peaceful with officers
communicating with the crowd. At 1:10 p.m., City Manager Jones sent an e-mail to City
Council indicating that that several dozen people were in the park and noting that it was
“very peaceful at the moment.” 175 At 1:20 p.m., police spotted people putting on Black
Lives Matter shirts. 176 From 12:00 p.m. to 1:30 p.m., Lieutenant Mooney described foot
traffic in Zone 4 as “light with small groups or individuals arriving” with fifteen individuals
“carrying firearms and/or knives openly.” 177 Similarly, Lieutenant Hatter observed that
“traffic was very light in Zone 1 with small groups or individuals arriving in the park.


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Officers were able to engage citizens in conversation including members supporting Black
Lives Matter and the ACLU monitors.” 178
At approximately 1:30 p.m., “opposition groups and various factions arrived,” including a
religious leader with a bullhorn who “incite[d] various individuals about their lifestyle
choices.” These opposition groups continued to float between Zones 2, 3, and 4. At
1:33 p.m., police spotted Antifa members with banners beside a corner of Justice Park.
CPD Officer Lisa Best observed that people began trickling into the park around 1:30 p.m.
and that it was peaceful at first. At 1:42 p.m., multiple people were seen carrying firearms,
knives, and swords. By 1:50 p.m., the Command Center estimated that 200 people were in
Justice Park. 179
Starting at 2:00 p.m., the crowd size at Justice Park increased significantly. Lieutenant
Hatter recalled that various opposition groups, including a religious group, BLM, and
Antifa, all arrived at the event. People began marching through Justice Park carrying signs,
chanting slogans, singing, and using drums and noise makers. 180 By 2:10 p.m., the
Command Center estimated that 400 people were Justice Park. At 2:12 p.m., a SURJ group
was spotted in Justice Park. 181 Around 2:00 p.m., an anonymous eyewitness who toted a
BLM sign told us she arrived at Justice Park and had “never been somewhere with so many
police officers.”
Law enforcement personnel immediately noticed Antifa’s sophisticated level of
organization. Lieutenant Hatter observed that Antifa coordinated with local activists, had
logistics and medical support, and figured out the Klan’s entrance location to the park.
Lieutenant O’Donnell characterized Antifa as “very organized” and “totally coordinated.”
He spoke with a “street medic” who revealed that she had protested at Standing Rock,
South Dakota for eight months before arriving in Charlottesville. At 2:15 p.m., Antifa was
spotted wearing gas masks, padded clothing, and body armor. 182 Captain Shifflett recalled
being surprised at the planning by some counter-protesters who brought organized medics,
used walkie-talkies to share information, and wore helmets, full body pads, gas masks, and
shields. CPD Lieutenant Dwayne Jones observed counter-protesters actively monitoring
scanners and other devices to track the movements and communications of the police.
Charlottesville resident Dan Haig served as a street medic during the Klan event. He has
first aid training though is not certified. Mr. Haig explained to us that the street medics are
a private group of people who volunteer for major community events. The street medics
gathered at Jefferson Theater and walked over to Justice Park prior to the Klan’s arrival.
They wore vests with red tape on the back symbolizing that they provide medical help.
During the day, Haig mainly directed people to a first aid station for water to avoid
dehydration. At 2:41 p.m., “Antifa medics” were spotted carrying gas masks and stated
they were “here to help.” 183 CFD Deputy Chief Emily Pelliccia told us that the street
medic’s red tape crosses made them appear affiliated with the Red Cross, creating confusion
and misleading people in Justice Park about the identity of the fire/EMS personnel.

          5.         March of the Clergy Collective

The Clergy Collective organized a large interfaith service prior to the Klan rally at the First
United Methodist Church, which is located just three blocks from Justice Park. At the


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service, members of different faith groups spoke and sang. After the service, the Clergy
Collective split into two groups and left the church. The first group preferred to attend
alternative events to express their thoughts without engaging the Klan. Rabbi Gutherz of
Congregation Beth Israel joined this group. They marched down 1st Street, entered the
Downtown Mall, and marched to the Sprint Pavilion for counterprogramming complete
with bands, prayers, and speeches. Rabbi Gutherz spoke at the event. The Command
Center took notice, indicating that at 2:14 p.m., a “large, peaceful group” of people was
spotted entering the Sprint Pavilion the Downtown Mall. 184
A second group of attendees at the interfaith service chose to march to Justice Park, witness
the Klan event, and serve as a pastoral presence for people looking for guidance. According
to several faith leaders present, some members of this group had hostile intentions toward
the Klan. Reverend Seth Wispelwey joined the group marching to Justice Park, though he
was concerned about the lack of non-violent and de-escalation training. Wispelwey
provided a short briefing at the First United Methodist Church in which he asked marchers
not to engage those with contrary views. Around 2:30 p.m., a large group of clergy was
spotted marching in a circle near the northwest corner of Justice Park. 185

          6.    Media

When the clergy group arrived at Justice Park, the Command Center estimated that the
crowd in Justice Park had tripled to about 600 people. 186 Before 3:00 p.m., Lieutenant
O’Donnell observed that Justice Park and Zone 2 were calm. At that point, CPD permitted
reporters to enter the barricaded area.
The CPD Operational Plan for July 8 designated the 400 and 500 blocks of E. Jefferson
Street as the media staging area. This zone was immediately adjacent to Justice Park and in
close proximity to both the protected space in which the Klan held its permitted rally and
zones designated for counter-protesters. The media staging area was near but not within the
large “buffer zone” between the Klan’s reserved area and the larger counter-protest areas.
This “buffer zone” was intended to be reserved for law enforcement personnel who would
monitor the crowd and respond to disturbances.
Law enforcement did not enforce the plan as contemplated. Instead, they allowed reporters
within the “buffer zone” between the Klan protest area and the zones designated for
counter-protesters. Lieutenant O’Donnell told us that because reporters are permitted to
cross police lines under Virginia law, CPD “let them in there.” Lieutenant Mooney recalled
that because it “took considerable time” for police to “check the credentials of each person,
the media entered at various locations.” Mooney estimated that “at least 50 entered
through the zone 4 barricades and continued to do so throughout the event.” He told us
that “only a few were turned away who failed to produce adequate credentials.”

          7.    The First Arrests

Just before 3:00 p.m., the size of the crowd increased and the atmosphere in the park
intensified. At 2:56 p.m., “most of Zone 1 was full of marchers, counter-protesters, and
bystanders.” 187 Sergeant Newberry said the streets surrounding Justice Park and adjacent
sidewalks were “filled up.” Lieutenant Mooney remembered pulling his officers out of the


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public area and ordering them between the barricades because they were in “a terrible safety
situation with their backs to people.” He told us that the zones became packed with people
who began pressing against the barricades. The Command Center also knew by 3:10 p.m.
that counter-protesters were pushing against the barricades in Justice Park. 188 Around this
time, Major Pleasants left the Command Center to “get a feel for the crowd.”
Counter-protesters identified the area through which the Klan would enter Justice Park. At
3:16 p.m., about a dozen people locked arms on High Street to form a human wall blocking
entrance into the Klan’s zone. 189 Because this occurred in Zone 1, Lieutenant Hatter and
officers assigned to that Zone responded. Lieutenant Hatter repeatedly warned the counter-
protesters via a bullhorn that they must move or risk arrest. 190 The counter-protesters told
Lieutenant Hatter that they would not voluntarily clear the entry point and disperse.
                                              At 3:18 p.m., the VSP mobile field force came out of
                                              their staging area inside the JDR Court and
                                              prepared to clear the counter-protesters blocking
                                              High Street. 191 Around 3:30 p.m., CPD personnel
                                              arrested the counter-protesters while the VSP mobile
                                              field force created a human corridor on High Street
                                              for the Klan to use. 192 Emily Gorcenski positioned
                                              herself at the end of the counter-protesters locking
                                              arms to livestream it on social media.          Ms.
                                              Gorcenski told us that police were overly aggressive
                                              in the way they arrested people who were simply
                                              standing in the way.             Lieutenant Hatter
                                              acknowledged that the arrests and the VSP Field
                                              Force “fired up” the crowd. Nevertheless, law
                                              enforcement personnel cleared a path for the Klan’s
                                              entrance into Justice Park. 193
Photo Source: Patrick Morrissey         The crowd moved within Justice Park in
                                        anticipation of the Klan’s arrival. Officer Best
explained that counter-protesters flooded from Zones 2, 3, and 4 into Zone 1 on High Street,
nearly overwhelming the law enforcement in that zone. Lieutenant Durrette stated that
“the number of people in Zone 1 was growing and we had to make some arrests for blocking
the entrance to the park, sidewalks.” 194 Lieutenant Hatter stated that the Zone 1 crowd
“became more agitated with the large majority obviously in opposition” to the Klan. The
barricades were closed off and “officers were removed from the crowd and placed inside the
barricaded area. This was an officer safety decision where the officers were severely out-
numbered by the large crowd.” 195 Lieutenant O’Donnell observed that large numbers of
counter-protesters began flooding Zones 1 and 2, prompting him to send some officers to
assist Lieutenant Hatter in Zone 1.

            8.     The Arrival of the Klan

As the crowd at Justice Park swelled, members of the Klan were gathering for the rally. At
1:02 p.m., about a dozen Klan members showed up at Coyner Springs Park in Waynesboro,
Virginia. 196 Around 2:30 p.m., Captain Shifflett instructed Lieutenant McKean and his


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team to travel to the prearranged off-site location to meet the Klan. Lieutenant McKean
traveled with two unmarked police vehicles and eight CPD officers to the off-site location.
Twenty minutes later, Captain Shifflett spoke on the phone with Barker, who reported the
Klan was 15 minutes away with approximately 60 members.
The Klan arrived at the off-site location and met Lieutenant McKean’s team at 3:13 p.m.
Lieutenant McKean observed that because the Klan group only had 18 vehicles, there was
no need for them to consolidate into fewer cars or leave any cars parked at the off-site
location. The Command Center instructed Lieutenant McKean to hold the Klan at the off-
site location as officers cleared the Klan’s entrance point on High Street. 197 While waiting
for notice from the Command Center, Lieutenant McKean told the Klan members that due
to the sizable crowd in and around Justice Park, they would have “no time to fiddle around
in the parking lot.” The Klan then dressed in robes and completed a few rituals. Klan
members revealed that they were armed, and an officer inspected their vehicles. 198 Shortly
thereafter, Captain Shifflett gave the order to bring the Klan to Justice Park. Lieutenant
McKean instructed the Klan not to stop at traffic lights along the way as two police vehicles
guided them from the off-site location.
By 3:30 p.m., the Klan cars were on the way to Justice Park with police escorts crossing the
Belmont Bridge. 199 Barker recalled that the commute from the off-site location to Justice
Park was a “dangerous and unsafe” route that took about 10 minutes. In the lead car,
Lieutenant McKean arrived on 4th Street just north of Justice Park. While Lieutenant
McKean parked in the surface lot as planned, about half of the Klan cars were directed into
the JDR Court parking garage by a Sheriff’s Deputy standing nearby. The Deputy had
secured permission from Sheriff Harding to allow the Klan vehicles into the garage due to
his belief that the surface parking was an unsafe area. Upon seeing this change in plans,
Lieutenant McKean directed the remainder of the Klan vehicles into the garage.
Lieutenant McKean told us that the impromptu use of the JDR Court parking garage
“saved a lot of issues.” Lieutenant Hatter similarly observed that “we were just lucky” with
the decision to allow Klan to park in the garage because parking them on the surface lot
would have been a disaster. Lieutenant Durrette told us “thank god we parked them in the
garage, otherwise we probably would have had to shoot someone” to get the Klan out later.
Once the Klan entered the JDR Court garage at 3:39 p.m., the garage door closed. 200
Lieutenant McKean instructed the Klan to line up inside the garage and, once outside,
squeeze through the narrow path in the crowd created by the VSP mobile field force.
Amanda Barker said that the Klan was told to “line up, stay together, and move quickly.”
Many Klan members toted confederate flags and wore Klan robes with hoods and exposed
faces. Around 3:45 p.m., police escorted the Klan through the crowd of counter-protesters
on High Street and into Justice Park. 201 Barker recalled that, even with police presence and
protection, the counter-protesters gathered on both sides of the human police wall threw
punches, launched bottles and fruit, and shouted ugly chants at the Klan. A photographer
recalled that counter-protesters were “trying to jump over” the police wearing riot gear yet
the VSP troopers remained very professional and non-confrontational.




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 This aerial photograph shows the path taken by the Klan between the JDR garage and
  Justice Park, along with the locations of the first unlawful assembly declaration and
                       subsequent tear gas deployment on July 8

          9.   The Klan Speaks

By 3:50 p.m., the Klan reached their designated zone in Justice Park. 202 From High Street,
many counter-protesters shifted into Justice Park’s numbered zones. Officer Best said that
the crowd began pressing against the barricades as the Klan event took place. Amanda
Barker described Justice Park as a “zoo,” with counter-protesters staged too close to the
Klan and reaching through the barricades. According to Barker, the “gap was not big
enough” so “counter-protesters were right up on us.” Charlottesville resident Ann Marie
Smith told us that Antifa members she had never met before asked her to stand between
them and police during the Klan rally, which she did for a period of time.
The emotional intensity at Justice Park during the Klan rally was most acute near the
barricades encircling the Klan. Farther away, the event remained largely peaceful.
Charlottesville residents Bo and Maureen Perriello stood in Zone 1 and never felt a sense of
danger. They noted a clear separation between counter-protesters and the Klan, though
they did see a couple of “scuffles” in the crowd.
The Klan stayed in Justice Park from approximately 3:50 p.m. to 4:25 p.m., where several
Klan members made speeches. Lieutenant Mooney reported that while “exchanges
between the Klan members and individuals in the crowd were constant, . . . [n]o one


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crossed the barricades [or] . . . threw anything at the Klan.” 203 Officer Best recalled that the
crowd noise muffled the Klan’s speeches. Sergeant Newberry confirmed that “it was so
loud in our section, you could not hear what the Klan were saying.” An anonymous
eyewitness toting a BLM sign told us that the counter-protesters aimed to be louder than the
Klan so they could not hold their rally.
In addition to noise, counter-protesters launched projectiles at the Klan, including apples,
tomatoes, oranges, and water bottles. 204 An anonymous eye witness saw a counter-protester
throw an orange at the Klan. A Klan member caught it and threw it back into the crowd.
At 4:00 p.m., City Manager Jones reported to City Council that the Command Center
“received reports of some objects being thrown at the police” but there are no injuries. 205
Charlottesville resident Casey Landrum observed people throwing bottles at the Klan. She
also noted that the Klan members were attempting to provoke counter-protesters.
                                                     Ms. Landrum and others characterized
                                                     law enforcement as “too aggressive” and
                                                     suggested that police did not make an
                                                     effort to protect or preserve the speech
                                                     rights of counter-protesters.        An
                                                     anonymous eyewitness felt that the
                                                     police went out of their way to protect
                                                     the Klan. She told us that the police
                                                     presence was so strong that “even if I
                                                     wanted to jump the barricades and
                                                     attack the KKK I could not.” She felt
                                                     that the police protected the Klan more
Photo Source: Patrick Morrissey                      than counter-protesters.     Ann Marie
                                                     Smith suggested that the positioning of
the police between the barricades was “unsettling” because the police faced the counter-
protesters with their backs to the Klan, giving the crowd the impression that the police were
protecting the Klan while suspicious of the crowd.
Eyewitnesses estimated that the Klan had 40 to 60 members while the crowd contained
1,500 to 2,000 counter-protesters. City Manager Jones reported to City Council that the
Klan has about 60 members. 206 CPD Executive Assistance Emily Lantz reported about 40
Klan members in Justice Park. 207 According to Emily Gorcenski, the Klan had close 50
members and the crowd contained perhaps 1,500 to 2,000 people. Lieutenant Hatter
estimated that nearly 2,000 counter-protesters showed up. Captain Shifflett also believed
that 1,500 to 2,000 counter-protesters attended.
Around 4:00 p.m.—the scheduled end time for the Klan event—the crowd began chanting
for the police to shut it down. According to eyewitness Elizabeth Pettit, the crowd was
frustrated that the police allowed the Klan to exceed their time. Captain Shifflett told us
that because the event was delayed by the arrest of counter-protesters blocking the Klan’s
point of ingress, Chief Thomas agreed to give them 20 more minutes. Shortly after
4:00 p.m., Lieutenants McKean and Hatter spoke with Barker and informed her that the
Klan had 20 more minutes to conclude their program. 208



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At 4:22 p.m., Lieutenant Hatter told Barker that the Klan’s “time is up” and police would
escort them back to their vehicles. 209 The Klan did not object. According to Major
Pleasants, they were “ready to go.” Amanda Barker confirmed that fact later, telling us that
she applied for a one-hour permit and felt satisfied with the amount of time the Klan
actually spent in the park. As the Klan prepared to exit, many counter-protesters relocated
to the Klan’s egress area on High Street.

            10. The Klan Exits

At approximately 4:25 p.m., the Klan left Justice Park. 210 Police told the Klan to return
through the path in the crowd on High Street created and maintained by the VSP mobile
field force. Again, police lined up the Klan and told them to move quickly. Police formed a
wall to separate the Klan from counter-protesters. Barker believed the path was unduly
narrow, which allowed counter-protesters to reach through the “human cop wall.” Police
shouted at the Klan to keep moving, even after one member was punched in the face.
According to Barker, the Klan struggled to exit the park. Lieutenant Durrette noted that “as
we escorted the KKK from the rally to the garage, we encountered people that threw
tomatoes, water bottles, and some officers were spit on.”
                                                         As the Klan exited Justice Park,
                                                         hundreds of counter-protesters surged
                                                         down 4th Street to the JDR Court
                                                         parking garage where the Klan
                                                         parked. 211   Watching this unfold,
                                                         Lieutenant Hatter and his team quickly
                                                         moved to the front of the parking garage
                                                         and spoke with the ACPD mobile field
                                                         force stationed nearby.       Lieutenant
                                                         Hatter “knew we would need [the
                                                         ACPD mobile field force]” and alerted
                                                         them that the Klan was on the way. 212
Photo Source: Patrick Morrissey                    Around this time, the Command Center
                                                   ordered Lieutenant O’Donnell to bring
officers assigned to Zone 2 to the JDR Court garage entrance to assist Lieutenant Hatter.
Law enforcement personnel in front of the parking garage quickly linked up to maintain a
separation between the Klan and counter-protesters, whose numbers continued to increase.
By 4:30 p.m., the Klan entered the parking garage. The Command Center issued an order
to hold the Klan inside because counter-protesters were blocking the door. 213
Coincidentally, one of the Klan’s vehicles broke down inside the garage, which required
that it be pushed aside and left behind. Amanda Barker explained that police instructed the
Klan to stay in their vehicles. She described it as “terrifying” because the Klan were
“trapped inside the garage” and could hear the counter-protesters outside. Police instructed
the Klan to line up their cars and prepare to quickly exit the garage.




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With the increasing amount of counter-protesters gathering outside of the garage door and
blocking the Klan’s exit, Lieutenant Hatter told the Command Center “this is serious” and
requested permission to declare an unlawful assembly. He also asked for more officers from
zones to assist at the parking garage and informed the VSP mobile field force that he
planned to declare an unlawful assembly. Chief Thomas gave permission to make the
unlawful-assembly declaration. An all-hands call subsequently went out to CPD officers to
report to 4th Street. Captain Shifflett recalled that CPD officers were not instructed to put
on riot gear prior to responding to the all-hands call.
At 4:35 p.m., Lieutenant Hatter organized CPD, ACPD, and VSP officers as well as several
sheriff’s deputies into a line in front of the parking garage. He then used a bullhorn to
announce that the gathering had been declared an unlawful assembly. At 4:38 p.m., Major
Pleasants left the Command Center and walked towards the JDR Court area. 214 He
observed counter-protesters surrounding Lieutenant Hatter at the parking garage. Major
Pleasants assumed command of the remaining CPD officers in Justice Park and moved
them to assist Lieutenant Hatter.
The line of law enforcement personnel in front of the parking garage pivoted and pushed the
crowd away from the garage door and across 4th Street. 215 With the driving path cleared,
the Klan exited the parking garage around 4:45 p.m.. 216 Lieutenant McKean again drove
the lead car to escort the Klan. Barker told us that as she and the other Klan members drove
away, counter-protesters confronted the cars, hit them with weapons, and “stood in our
way.” Lieutenant McKean told us that the exit plan did not go smoothly because, on
Hedge Street, he and some Klan vehicles turned right yet other Klan vehicles turned left.
All of the Klan vehicles made it to the 250 Bypass and immediately left the City.

          11. The Crowd Turns on Law Enforcement

By all accounts, the crowd of counter-protesters became hostile to law enforcement
personnel after the Klan vehicles exited the JDR Court parking garage. Frank Buck, a
former City Mayor, was present for the July 8 event. He told us that after the Klan left,
counter-protesters turned on law enforcement and “things got crazy.” Elizabeth Pettit, an
eyewitness, observed that counter-protesters and police had hostile interactions, facilitated
by counter-protesters who taunted the police for helping the Klan. Reverend Seth
Wispelwey said the “police became the enemy” to many in the crowd, as people were angry
that the police “protected the Klan.” Ann Marie Smith told us that the crowd “turned
against the police” after the Klan left, partly because of the riot gear and aggressive actions
of officers. Some crowd members chanted “Cops and Klan go hand in hand!”
Lieutenant O’Donnell expected counter-protesters to disperse after the Klan departed. He
told us that while much of the crowd left the area, some counter-protesters remained and
had an “ax to grind.” Lieutenant Hatter explained that CPD and VSP “did a piss-poor job
of retreating” to Justice Park. He feared that officers became isolated and had to “fend for
themselves in dangerous spots with hundreds of people around them.” Lieutenant Mooney
lost track of his assigned VSP troopers at this point and did not have a way to communicate



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with them. Lieutenant O’Donnell similarly told us that when he brought his assigned
officers to the JDR Court garage, the VSP troopers assigned to his zone “disappeared.”
A large group of counter-protesters moved toward an alley next to the JDR Court where the
CPD SWAT team and its armored Bearcat vehicle were staged. Counter-protesters
approached the Bearcat, prompting Lieutenant Upman to call for assistance from VSP.
CPD SWAT officers established a perimeter around the Bearcat and Lieutenant Upman
commanded the crowd to disperse from the area. VSP SWAT responded to Lieutenant
Upman’s call for help, moving into the alley and keeping the crowd away from the Bearcat.
Major Pleasants then ordered CPD SWAT to move to the Levy Opera House parking lot.
CPD officers and counter-protesters were also gathered on an outdoor ramp near the JDR
Court. A female counter-protester kicked CPD Officer Eric Thomas in the groin, provoking
Officer Thomas to arrest her for assaulting an officer. In an attempt to disrupt the arrest,
two counter-protesters linked arms with the arrestee and fell to the ground. Officer Thomas
ordered the group to separate and warned them several times that he planned to deploy OC
spray. After the three individuals repeatedly refused to cooperate, Officer Thomas sprayed
the arrestee and the two linked counter-protesters with OC spray. Officer Thomas then
arrested the female counter-protester and one of the people who had interfered with his
arrest. He escorted the arrestees to a van near the JDR Court operated by the
Charlottesville Sheriff and described the scene as a “mad house.” Lieutenant Mooney
reported to the area and recalled detecting OC spray in the air.

          12. Deployment of Tear Gas

The intermingling and clashes of CPD, VSP, and counter-protesters along High Street and
near the JDR Court prompted Major Pleasants to declare a second unlawful assembly. He
used a bullhorn to announce the unlawful assembly and order the crowd to disperse. The
crowd failed to disperse, despite repeated commands. Major Pleasants told us that counter-
protesters continued to engage law enforcement personnel, who struggled to maintain
control. CPD Detective Braden Kirby was told to get his riot gear, which was stored at the
Charlottesville Circuit Courthouse. He was unable to do so, given the substantial crowd
and simultaneous need to respond to the disturbances on High Street.
As the commotion on High Street continued, a VSP 1st Sergeant asked Chief Thomas for
permission to deploy tear gas to disperse the crowd. Chief Thomas denied that request. He
told us that before using a chemical agent, he wanted to give officers time to retreat to
Justice Park and put on their gas masks and riot gear. His denial was not, however,
communicated to VSP or CPD supervisors on the ground. Unaware of Chief Thomas’s
denial of permission, a VSP mobile field force sergeant approached Major Pleasants and
asked for consent to deploy a chemical agent. Without consulting with the Command
Center, Major Pleasants said “absolutely.” Major Pleasants believed that the Operational
Plan called for the VSP mobile field force Commander Lieutenant Cooper to consent to
VSP’s deployment of tear gas, not Chief Thomas. Major Pleasants noted that Lieutenant
Cooper was near the JDR Court’s patio, which led him to assume that the VSP sergeant
with whom he spoke was acting on Lieutenant Cooper’s authority.




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                                                  Using a bullhorn, Major Pleasants
                                                  issued a dispersal order to the crowd
                                                  and announced three times that
                                                  chemical agents would be used. No
                                                  warning, however, went out over CPD
                                                  or VSP communications warning law
                                                  enforcement personnel on the ground.
                                                  Charlottesville resident Mason Pickett
                                                  heard a dispersal order and noticed that
                                                  counter-protesters did not disperse. He
                                                  observed law enforcement “acting
                                                  responsibly” by issuing warnings and
Photo Source: Patrick Morrissey                   putting on gas masks. Photographer
                                                  Patrick Morrissey said that police made
repeated demands over bullhorns to disperse and threatened to use tear gas if counter-
protesters did not leave the area. Reverend Seth Wispelwey recalled seeing troopers put on
gas masks but did not hear any warning regarding the impending tear gas deployment.
Alan Zimmerman, president of Congregation Beth Israel, similarly observed law
enforcement donning gas masks but did not recall any warnings from police before the
release of tear gas.


VSP deployed three canisters of CS dispersion powder, a localized chemical irritant
commonly referred to as tear gas. 217 Colonel Flaherty told us that VSP chose to use this less
abrasive “skin irritant” instead of more powerful tear gas options. Photographer Patrick
Morrissey told us that he heard a “pop pop pop” sound and saw that police shot off tear gas
around 5:07 p.m. Emily Gorcenski told us that at the time the gas was deployed, a line of
counter-protesters stood about 15 feet in front of the VSP Field Force, though they were not
obstructing or blocking the street. Gorcenski heard screams of pain in the crowd when VSP
deployed the first tear gas canister. She was also affected by the tear gas and was forced to
flush her eyes. Less than a minute later, Gorcenski heard a second tear gas canister fired by
police. Reverend Seth Wispelwey remembered seeing people in the crowd washing their
eyes out due to tear gas exposure while police escorted arrestees away for processing. Ann
Marie Smith saw people struggling after exposure—crowd members laid down on the
ground and received treatment from street medics using milk and water.
The crowd reacted negatively to the tear gas, with counter-protesters calling for medics and
screaming at the police officers. Gorcenski criticized the use of tear gas, explaining that
there was no major crowd to warrant tear gas use and that the counter-protesters in the
street had their backs to the police. Ann Marie Smith believes that the tear gas was
deployed unnecessarily and without adequate warning.
Law enforcement personnel were exposed to the tear gas without adequate protection.
Lieutenant Hatter explained that his team did not have on their riot gear with gas masks
when the tear gas was deployed by VSP. An officer at the traffic post on High Street also
did not have a gas mask and was affected. Lieutenant O’Donnell described the deployment



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of tear gas as a surprise and explained that his zone’s riot gear and gas masks were
inaccessible because they locked in the McGuireWoods building.
CFD Deputy Chief Emily Pelliccia’s crew was staged nearby in the Levy Opera House
parking lot. She observed street medics extract members from the High Street area for tear
gas exposure. She offered to assist but the street medics and victims refused CFD’s help.
Rather, they screamed at CFD to “go away.” As a result, CFD did not tend to many
victims of tear gas exposure. When Deputy Chief Pelliccia questioned one of the street
medics, she was spat upon and informed that they travel with Antifa for Antifa’s protection.
Officers in the Command Center learned that tear gas had been deployed when they saw it
on video feeds. Deputy Chief Rogers observed tear gas on a Twitter feed. He recalled
confusion in the Command Center from CPD leaders, who exclaimed “we did not deploy
anything.” Assistant City Manager Mike Murphy recalled the Chief’s reaction as being
“what the hell just happened?” At 5:12 p.m., the Command Center confirmed that VSP
deployed the tear gas. Major Pleasants gave a statement to media about the tear gas
deployment and then returned to the Command Center. 218
Chief Thomas was upset over the tear gas deployment, as he had insisted that gas not be
used without his direct instruction. When Major Pleasants returned to the Command
Center, Chief Thomas confronted him about the decision to use gas. Major Pleasants
specifically told the Chief “you are damn right I gassed them, it needed to be done.” He
further explained that CPD was “under attack.” VSP Major Terry likewise expressed
displeasure over the tear gas deployment because VSP informed CPD before the Klan event
that VSP would only deploy tear gas on orders from a VSP senior official. Miriam Dickler
was upset that Major Pleasants spoke with the media before returning to the Command
Center and consulting her first. Major Pleasants responded that he “told the media what
they needed to be told.”
Despite the manner in which the decision was made, Chief Thomas now believes that the
use of tear gas was appropriate. Chief Thomas noted that the gas had the desired effect and
caused the crowd to disperse quickly. He also pointed to the fact that because of the use of
tear gas, neither CPD nor VSP had to become physical with the crowd. Colonel Flaherty
similarly told us that he agrees with the decision to deploy gas. He told us despite confusion
about the who gave the order, he believes that based on the circumstances that arose on
July 8, tear gas was going to be deployed “regardless.”

          13. The Crowd Disperses

After the tear gas was deployed, the crowd along High Street dissipated. Some counter-
protesters returned to Justice Park and congregated in Zone 4, where officers equipped
themselves with riot gear in anticipation of confrontations. A bullhorn was again used to
declare a third unlawful assembly at 5:22 p.m., prompting the crowd to disperse. 219 All
police units began withdrawing from Justice Park. 220 The remaining counter-protesters left
the park peacefully and without incident.” 221 At 5:29 p.m., Maurice Jones reported to City
Council that the crowds were “slowly but surely” dispersing. 222 By 5:38 p.m., most police
units had been relieved and the Command Center closed. 223



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After the Klan event, Public Works disassembled the bike-rack barricades and secured them
in Justice Park. Public Works also picked up trash in the park, finding discarded body
armor and a stretcher. On Monday, July 9, Parks and Recreation completed an additional
cleanup of Justice Park and returned the bike-rack barricades to Scott Stadium.

          14. After-Action

                a.   Statistics

Law enforcement personnel made 22 total arrests at the Klan event: 224

                 Agency        Offense                          Arrests

                               Obstruction of Justice              6
                 VSP 225
                               Obstruction of Free Passage         1

                               Obstruction of Justice              3

                               Obstruction of Free Passage         5

                               Assault 227                        1.5
                       226
                 CPD
                               Failure to Disperse                 1

                               Disorderly Conduct                 1.5

                               Wearing Mask in Public              3

                               Total                              22


Most arrestees were released on summons according to Sheriff Brown, and he recalled that
one was taken to jail for assaulting an officer. One of his deputies conducted background
checks on arrested individuals.
Three patients were transported to the hospital: two for heat-related issues and one for an
alcohol-related issue. 228 UVA Health Systems reported that it did not experience many
disruptions to its normal operations on July 8 and treated a total of 35 patients from the
Klan event.

                b.   Community Criticism

Law enforcement faced criticism in the wake of the Klan rally. Some community members
were concerned about the “militarization” of the police response. On July 17, the Legal
Aid Justice Center, National Lawyer Guild, ACLU, and the Rutherford Institute sent a
letter to Governor McAuliffe, Charlottesville City Counselors, City Manager Jones, and
Chief Thomas which criticized the “outsized and militaristic governmental response” to
counter-protesters on July 8. The letter asserted that counter-protesters “were met with a
highly militarized law enforcement presence who, prior to any clear and present danger of


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violence, descended on the scene dressed in riot gear, driving armored vehicles, and carrying
weapons typically used only in war zones.” The July 17 letter also criticized the use of tear
gas: “[w]e are highly concerned about the use of chemical agents to facilitate the dispersal of
demonstrators.” The letter alleged that counter-protesters were “standing a good distance
away from the line of riot police” yet “three gas grenades were deployed” in front of the
JDR Court. 229
Reverend Seth Wispelwey explained that community progressives and faith leaders had an
extremely strong reaction to the tear gas after July 8. To many, “it seemed like [the police]
had no plan, other than protecting white supremacy.” Wispelwey worried that City leaders
and law enforcement “didn’t know what they were doing.” The image of police focusing
exclusively on protecting the Klan then acting aggressively toward the counter-protesters
angered others in the community. Ann Marie Smith was disappointed by the lack of
explanation of tear gas use by CPD. Like many others, she came away from the event with
less trust in police. Assistant City Manager Mike Murphy observed that the crowd’s angry
mood was exacerbated by the VSP riot gear and presence of Bearcat armored vehicles.

                c.   Evolving Explanations for Deployment of Tear Gas

The City’s explanation for the tear gas deployment evolved after the Klan event. Shortly
after July 8, Chief Thomas informed the public that he personally ordered and agreed with
the tear gas deployment. This statement was not factually accurate. Assistant City
Manager Mike Murphy confronted Thomas about publicly taking responsibility for the tear
gas deployment. Mr. Murphy told us that Chief Thomas replied that he “partnered” with
VSP and could not “hang them out to dry” because he “needed VSP for August 12.”
Chief Thomas also indicated that the tear gas deployment was based in part on the use of
chemical agents against law enforcement. 230 Indeed, police discovered a canister of pepper
gel shortly after the Klan event. 231 However, it is unclear whether this pepper gel was used
by a counter-protester or even used at the Klan event at all. Chief Thomas confirmed to us
that he was unaware of the use of chemical agents against police at any time on July 8.
Major Pleasants did perceive pepper spray before the tear gas deployment, though given his
location we believe that resulted from Officer Thomas’s use of OC spray to effectuate an
arrest.
In response to the criticism of the use of tear gas, Mayor Mike Signer requested that Chief
Thomas appear before City Council to explain the tear gas response. According to Mr.
Signer, Chief Thomas “refused to come” speak at City Council and explain the use of tear
gas. City Manager Jones told us that the City did provide information to the public about
the use of tear gas through press statements and reports at City Council meetings.
Commonwealth Attorney Dave Chapman encouraged a more complete public explanation
of law enforcement’s tactics and use of tear gas on July 8. In a memo sent to City Manager
Jones and Assistant City Manager Murphy on July 19, Mr. Chapman recommended “a
systematic public effort to document and explain elements of law enforcement planning for
and performance at the KKK demonstration on July 8.” 232 Mr. Chapman told us that
despite his encouragement, there was no such “systematic public effort” to explain the
decisions made by law enforcement. The City did not explain to the public the role of the


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VSP and ACPD mobile field forces on July 8, the predicates for the declarations of unlawful
assembly, or the reasons for Major Pleasants’ decision to deploy tear gas. The lack of such
information diminished community trust in law enforcement.

                d.    After-Action Meetings, Reports, and Takeaways

CPD did endeavor to learn from the July 8 rally by conducting a debriefing meeting with
the lieutenants who had commanded zones or specialized units. Captain Shifflett told us
that during that meeting, lieutenants criticized the lack of a field commander to coordinate
actions, the difficulty in hearing radio communications due to crowd noise and the resulting
need to communicate via cell phone, the remote staging of riot gear, and the lack of
coordination with VSP. In anticipation of the August 12 rally, commanders suggested
additional Mobile Field Forces and the removal of media from the barricaded area.
Lieutenant Mooney recalled Chief Thomas stating, in reference to the August 12 event, that
“I’m not going to get them in and out” of the event.

     E.    What Went Right and Want Went Wrong

In this section, we evaluate the successes and failures of the City’s handling of the Klan rally
on July 8. City officials adequately prepared for this event and were able to prevent
significant injury despite the large, unruly crowd. The law enforcement response lacked
clear lines of authority, which led to a series of spontaneous decisions. The deployment of
tear gas and subsequent public criticism informed preparations for the larger August 12
event, as described below.

           1.   What Went Right

                a.    City Officials Provided Thorough Information to the Community

In the weeks prior to July 8, City officials came together to devise and implement a plan to
minimize the number of people attending the Klan rally as a means of reducing the prospect
of violence and protecting public safety. They achieved this goal through a combination of
discouraging attendance and promoting counterprogramming in partnership with
community representatives.
The City’s communication strategy and affirmative outreach effort allowed citizens to make
informed decisions about their individual responses to the Klan event. Some people agreed
with the City’s strategy to avoid the event. Others felt compelled to attend the event and
express strong opposition to the racist views of the Klan speakers. Regardless of which path
people chose, they had clear information about the event and options as to how to respond.
The City’s clear communication facilitated the flow of information and informed individual
choice on July 8.
While the fact of communication by City leaders was clearly a success, the content of that
communication was not universally appreciated. Several people with whom we spoke
expressed the view that the City should not have discouraged attendance, but rather just set
forth counterprogramming options for the Klan event. These witnesses believe that a
decision to confront or avoid hate-based speech is a personal choice which the City should


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not have attempted to influence. The City’s attempt to discourage attendance was seen by
some as disrespectful of this personal choice, resulting in a lack of faith in City leadership
and law enforcement at and after July 8.

                b.   Law Enforcement Protected the Free Speech of All Participants

The First Amendment to the United States Constitution guarantees all citizens the right to
express their views in public places, however objectionable those views may be. Law
enforcement is tasked with protecting that right, as well as ensuring public safety. Those
values often conflict, particularly when the content of speech provokes strong, sometimes
violent reactions.
In the context of public demonstrations in parks and plazas, the United States Supreme
Court has made clear that both protesters and counter-protesters have a constitutionally
protected interest in being seen and heard. The First Amendment will similarly protect the
interest of protesters and counter-protesters who seek to show one another that their
message is wrong or otherwise unacceptable. 233 Again, law enforcement must protect the
safety of all participants in these events – both protesters and counter-protesters.
The CPD Operational Plan for July 8 appropriately balanced these conflicting rights and
ultimately protected the free speech rights of all persons present. The City fulfilled its
constitutional obligation to protect the Klan’s exercise of free speech. Those individuals
secured a permit and worked with law enforcement in advance of the event. They were able
to convene in Justice Park and express their views, however unpopular. Police similarly
protected the rights of counter-protesters to confront the Klan and express their disapproval
of the permit-holder’s speech. The counter-protesters were within sufficient proximity to the
vastly outnumbered Klan and were able to directly confront the permitted speech.
Barricades separated the groups and protected everyone’s safety while the confrontational
speech occurred. The City was able to successfully balance free speech and public safety
without violating anyone’s First Amendment rights.

                c.   No Significant Injuries or Property Damage

There is broad disagreement about the nature and extent of police activity on July 8. Many
people told us that they were extremely troubled by the anti-police rhetoric and aggression
directed at police after the Klan event concluded. These witnesses indicated that officers
exhibited extreme patience and professionalism in the midst of an angry, confrontational
crowd. Law enforcement witnesses described their fear of assault during these events. One
longtime officer told us that his disappointment over the extreme negative reaction to his
actions in protecting free speech led him to question why he had become a police officer.
Officers did use force to make arrests and disperse the crowd. We heard strong criticism of
these actions, as detailed above. Some witnesses indicated that the police provoked the
aggressive reaction and expressed the view that the event would have ended peacefully if
officers had simply stood down after the Klan departed. Most people complied with police
efforts to disperse, even if they disagreed with that direction.




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The one point of agreement that we can identify from these interviews is the conclusion that
the July 8 event could have been much worse than it turned out to be. The elements of a
mass unrest and civil disturbance were undoubtedly present on July 8. The fact that the
event did not produce serious injury, property damage, or wide scale disorder is a positive
outcome.

          2.    What Went Wrong

                a.   Law Enforcement Failed to Operate Within a Unified Command

When large scale protest events occur in small communities like Charlottesville, local
officials must depend upon the assistance of other agencies to protect public safety. Many
police agencies stepped forward and offered assistance to CPD on July 8. Albemarle
County Police Department, the University Police Department and the Virginia State Police
all sent personnel to Justice Park to manage this large and difficult event. The assistance of
these agencies was instrumental in the overall protection of public safety on July 8.
Unfortunately, the agencies that did send personnel to assist CPD on July 8 were not well
integrated. The disconnect between the agencies’ respective approaches to the Klan event
began well in advance of July 8. There were no joint trainings for all personnel detailing the
rules of engagement for this event. VSP and CPD operated under separate operational
plans on July 8. While CPD shared their plan with VSP leadership, VSP did not disclose its
plan to CPD. The CPD officers and VSP officers who were assigned to work together in
particular zones did not meet each other or have any communication prior to July 8. This
represents a failure in preparation that undercut operational cohesion and effectiveness
during the event.
As the Klan event unfolded, CPD and VSP personnel operated on separate communications
channels. CPD zone commanders could not communicate with assigned VSP personnel via
radio on July 8. Instead, CPD supervisors had to find their VSP counterparts to request
assistance or respond to specific issues. Several CPD lieutenants told us that they were
uncomfortable directing officers from another agency, particularly given the lack of
introduction, joint training, or other preparation beforehand. CPD officers assigned to
several zones told us that VSP personnel did not accompany them to 4th Street, where a
crowd had blocked the parking garage in which the Klan vehicles were parked and an
unlawful assembly was declared. CPD lieutenants described a situation in which CPD and
VSP operated largely independently throughout the course of the day.

                b.   Law Enforcement Allowed Media Inside a Law Enforcement Zone

The Code of Virginia guarantees members of the news media unique access to certain
restricted areas. Section 15.2-1714 provides that “personnel from information services such
as press, radio, television, when gathering news, shall be exempt” from the prohibition of
crossing a police line or barricade. This Virginia law requires planners to provide reporters
with access to areas close enough to the event to allow them to hear and broadcast the
speeches made.




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This law was misinterpreted by CPD during the July 8 event, resulting in reporters being
present in a zone that should have been reserved for law enforcement. The press was
literally caught between conflicting groups as they exchanged angry words and hurled
projectiles over the barricades. Had people on either side of the barricades pushed through
or surmounted these barricades, the press would have been trapped in the middle of a
violent conflict. Moreover, their presence interfered with law enforcement’s ability to
preserve the separation between the groups. Officers’ ability to move freely within the
“buffer zone” was hampered by the presence of reporters and their equipment. While law
enforcement was able to enforce the designated separation between groups, the reporters
made that task more difficult.

                c.   The Operational Plan Created Insufficient Space for Opposing
                     Groups

The CPD Operational Plan failed to adequately ensure the separation of the Klan and
counter-protesters during the Klan’s entry to and exit from the event. Thankfully, law
enforcement disregarded the plan and modified their actions in several specific ways. These
spontaneous decisions protected all attendees from potential violence. However, the fact
that they were necessary illustrates a significant mistake in the planning and preparation for
this event.
There were multiple flaws in the Operational Plan that required real-time modification
decisions by law enforcement. Parking the Klan members inside the JDR Court garage,
bringing the VSP Field Force onto High Street to clear a path of entry and exit, and
dispersing the crowd that gathered at the entrance to the garage after the Klan event were
steps made necessary by failures in the Operational Plan to anticipate and prepare for
predictable conditions. Poor planning led to several unlawful-assembly declarations, which
required aggressive actions by law enforcement to enforce.
It is hard to understate the significance of this mistake, give how markedly the unlawful-
assembly declarations and forced dispersal of the crowd changed the tenor of this event.
Animosity toward law enforcement informed multiple confrontations and ultimately led to
tear gas deployment. Had planners done a better job of ensuring separation through the
Klan’s exit, the event could have ended when the Klan vehicles departed. While we will
never know what would have happened if officers had been able to ensure the Klan’s exit
without the necessity of dispersal, it seems likely that much of the acrimony and disorder
that followed this event would have been avoided.

                d.   The Deployment of Tear Gas Was Unauthorized by Command

The most significant manifestation of the lack of a unified command in Justice Park on
July 8 was the decision to deploy tear gas. CPD and VSP officers approached this crucial
decision with different understandings of the conditions necessary to use chemical
dispersants, and who was authorized to make such a decision. The circumstances that led
to the use of tear gas demonstrate the risks involved when agencies fail to adequately
prepare, communicate, and operate under a clear unified command.




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Chief Thomas told us that he gave clear orders that chemical dispersants should not be used
without his explicit approval. But the CPD Operational Plan stated that chemical
dispersants would be deployed by order of Major Pleasants. VSP’s plan indicated that that
agency’s field force would only disperse tear gas upon order of the VSP commander. This
inconsistency shows that there was no unified plan or understanding as to who would
authorize the use of tear gas on July 8.
It is difficult for us to assess whether the decision to use tear gas on July 8 was or was not a
sound one. We have heard widely divergent views on that decision from people impacted
by the tear gas. Both officers and some community members asserted to us a belief that the
tear gas was an appropriate response to a dangerous crowd and averted violence. Others
strongly disagree with that assessment and believe that the use of tear gas was an
overreaction. 234 We cannot reconcile this conflict to the degree of certainty we need to
make a firm conclusion. Consequently, we can neither criticize nor justify the tactical
decision to deploy tear gas on July 8.
We can, however, conclude that the decision to take a significant action like the use of a
chemical dispersant was made outside of a well-defined chain of unified command. Major
Pleasants and the VSP Field Force improvised at the time of this decision. They were not
coordinated in a clear chain of authority or even aware of who was authorized to deploy the
tear gas canisters. This ad hoc decision represents a planning failure. The fundamental
concept of unified command was not followed on July 8, which substantially undermined
the effectiveness of the law enforcement response to the Klan event.

                e.    City Leadership Failed to Respond to Community Criticism

City leaders did not effectively respond to vocal community criticism of the law
enforcement actions on July 8. There was little explanation of the specific predicates for
police action over the course of the event, but for a self-serving and incorrect press statement
by Chief Thomas about the tear gas deployment and the City Manager’s brief explanation to
City Council. Little information about the broader issues faced by law enforcement during
this volatile event was put forth to the community. Similarly, there was no effort to convene
a “town hall” or other opportunity for citizens to voice concerns and get answers to
important questions.
Chief Thomas told us that CPD did not have sufficient time to do a careful review of the
July 8 events because the agency immediately became immersed in planning for August 12.
His explanation is unsatisfying. While preparations for August 12 were certainly urgent and
time-consuming, it would not have been difficult to task someone with gathering the
important facts regarding the Klan rally and providing them to City Council and the public.
City leaders should have done as Commonwealth’s Attorney Chapman suggested and
provided more fulsome information about July 8 soon after that event occurred.
The City’s failure to communicate with the public after July 8 stands in stark contrast to its
effective, unified communications before the event. The City’s consistent messaging before
the event helped the community understand and prepare for the KKK rally and make
informed decisions about individual responses. Conversely, the relative silence after that
event left questions unanswered and created confusion.


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The failure to provide information to the public or give people an opportunity to express
concerns had direct consequences in the preparations for August 12. More information
about the tactics used on July 8 could have helped our community understand how the First
Amendment intersects with public safety. Placing the police actions into a broader context
would have mitigated some of the concern with their actions. If the City had undertaken a
conscientious effort to facilitate understanding of those complex issues, our community
would have been more prepared for August 12. The City should have responded to July 8
with more speech, not less—particularly in anticipation of the larger Unite The Right event
on the horizon.

IV. August 12 Unite The Right Rally

     A.   Preparation

          1.    The Permit Application

On May 30, Jason Kessler filed a Special Event Application Request with the City, seeking
a permit to hold a demonstration at Emancipation Park on August 12, 2017—an event he
dubbed “Unite The Right” on social media. His permit described the event as a “free
speech rally in support of the Lee Monument” and estimated that 400 participants would
attend. He wrote that the rally would last from 12:00 p.m. until 5:00 p.m. He handed the
request to the receptionist and told her he expected City Council would “try to shut this
down.” He mentioned that he would look into getting event insurance. Kessler did later get
event insurance, but it was subsequently cancelled by the insurer. The cancellation
apparently did not affect the permit, however, because insurance is required only for
“special events,” not “demonstrations.”
When Charlottesville Special Events Coordinator Michelle Christian received Kessler’s
application, she immediately forwarded the request to City Manager Jones, Director of
Communications Miriam Dickler, and Director of Parks and Recreation Brian Daly. She
also escalated the request to the Special Events Committee. All involved understood that
Kessler’s event would be bigger than the July 8 Ku Klux Klan rally at Justice Park and
would attract various disjointed groups from the right and left. As City Manager Jones
explained to us, there was unanimity among City officials that Kessler’s permit could not be
denied based on the anticipated message of his rally. The chief focus of the City became the
prevention of violence.

          2.    Law Enforcement Efforts to Gather Information

Kessler filed his request six days after the City received Amanda Barker’s permit application
for the July 8 demonstration. Accordingly, the City’s efforts to prepare for both events ran
parallel. In particular, CPD gathered information on a variety of political activists and
affiliated groups to determine whether those persons—and how many of them—would
attend either event. CPD’s information-gathering efforts ran through its investigations unit,
a group of detectives overseen by Lieutenant Joe Hatter. In turn, Hatter reported to Captain
Wendy Lewis.




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               a.    Open-Source Review

Each detective in the investigations unit was assigned people and groups to research. Those
people and groups included anyone that CPD believed might attend either event, whether in
support of or opposition to the events’ speakers. 235 Detectives attempted to reach out to
individuals if possible, but many groups had no discernable leadership structure. Others
showed no contact information on their web sites or had information that was outdated.
Thus, most information came from open sources—news reports, internet postings, social
media, etc. That information was compiled and presented in intelligence reports, which
were then submitted to CPD’s command staff. The intelligence reports were completed
prior to the July 8 event and were subsequently updated before August 12. Additionally, the
CPD Chief’s personal assistant was assigned to monitor web sites and social media accounts
throughout the weeks leading up to August 12.
Based on their intelligence gathering efforts, CPD planners expected that the Unite The
Right event would attract as many as 1,000 supporters. And while estimates for the
counter-protester side were difficult to obtain, experience on July 8 suggested that the
opposition might be as many as 2,000 people. CPD planners also recognized that the
groups associated with the Unite The Right demonstration had violently clashed at various
events within the last year, including rallies in Portland, Berkeley, Sacramento, and
Anaheim. Based on that size and recent history, Captain Lewis believed that CPD should
expect “similar or greater violent clashes” on August 12. 236

               b.    Law Enforcement Agencies and Advocacy Groups

CPD officers received some information from outside agencies and groups. For example,
one detective spoke with the police chief in Pikeville, Kentucky and an FBI agent in
Louisville to discuss how the Traditionalist Worker Party had behaved during a recent event
in Pikeville. The Kentucky officials advised the detective that the TWP had arrived in town
early to perform their own intelligence ahead of the rally. The FBI agent told the detective
that the TWP was not likely to cause problems, though groups that might show up to
oppose them could.
CPD also received an “event assessment” from an investigator at the Anti-Defamation
League. The event assessment discussed the Loyal White Knights and several of the groups
and speakers associated with the Unite The Right event. The ADL event assessment also
provided insight into the schism between some white supremacist groups and the Oath
Keepers, a self-styled neutral peacekeeping militia. The ADL noted that the publicity
surrounding the Unite The Right event “will likely result in an extremely boisterous
counter-protest from militant anti-fascist groups.”
CPD also received information and threat assessments from the FBI’s Richmond field office
and the Virginia Fusion Center. These updates suggested that Unite The Right supporters
bring bats, batons, flag sticks, knives, and firearms to confront their political opponents.
Similarly, it was suggested that left-wing counter-protesters, such as Antifa, would attempt
to disrupt the event using soda cans filled with cement and balloons or water bottles filled
with paint, urine, or fuel. The reports also warned that groups on either side might bring
pepper spray.


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                c.   Human Intelligence

Throughout the planning stages for August 12, detectives and officers attempted to contact
individuals associated with the various groups that might attend or protest against the Unite
The Right event. Some efforts were unsuccessful because groups—like Antifa—have no
discernable leadership structure or prefer to remain anonymous.
Efforts to contact local Charlottesville residents associated with counter-protester groups
were met with extreme resistance. As described above, officers attempted to speak with
members of Standing Up for Racial Justice and Black Lives Matter, resulting in demands by
a local attorney that such contacts cease. As a result, detectives were instructed not to reach
out to anyone affiliated with those groups. Officers told us that they were frustrated that
their safety-focused information-gathering actions were construed as harassment against
vocal members of the community and by the resulting limitation in their ability to gather
important intelligence.
Members of several militia groups contacted CPD, including George Curbelo and Christian
Yingling, the commanders of the New York Lightfoot Militia and Pennsylvania Lightfoot
Militia, respectively. Captain Mitchell told us that CPD explicitly rejected coordinating
with these groups and asked them to “stay away.” Likewise, Lieutenant Hatter told us that
he instructed one of his detectives to contact Yingling and tell him, “do not come to
Charlottesville, we do not need your assistance.” From Mitchell’s perspective, inviting the
militia would simply increase tension with additional firearms at the event.
Detective Braden Kirby and Officer Logan Woodzell recalled communications with
Curbelo. Kirby received e-mails and phone calls from Curbelo asking whether CPD would
request the militia’s assistance, which he described as “peace-making.” Kirby told him that
CPD did not want assistance, but conceded that the militia had a right to attend. Curbelo
said he would send Kirby the militia’s plans, but Kirby never received them. Woodzell
spoke with Curbelo on August 11, and Curbelo advised him that they planned to arrive in
Charlottesville at 7:00 a.m. on Saturday morning. Woodzell told us that he explained to
Curbelo that CPD did not want the assistance, but offered to meet up with the group and
escort them to Emancipation Park to make sure they avoided any issues.
Jason Kessler was the most informative human source CPD had in advance of August 12.
Captain Lewis was Kessler’s primary point of contact within CPD, and they exchanged e-
mails and met on several occasions between early June and the first week of August. Lewis
told us that her goal with these exchanges was to determine how far Kessler was willing to
work with law enforcement. And, initially, it seemed he would cooperate. For example,
they discussed whether Kessler would be able to set up tents in the event of inclement
weather and how he could drop off and load audio equipment. On one occasion in July,
Kessler came to the police station with his associate Brian Brathovd to review the CPD
security plan.
Kessler delegated many police discussions to associates who he designated as “security” for
the event. One such individual was Jack Pierce, who Kessler indicated was affiliated with
Richard Spencer. Lewis passed Pierce’s contact information to Sergeant Tony Newberry on



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August 8—four days before the event—to coordinate the arrival of the event speakers at
Emancipation Park. Newberry also used their conversations to gather more intelligence.
In addition to Kessler, Brathovd, and Pierce, several other Unite The Right speakers or
attendees spoke with CPD officers ahead of the August 12 event. Mike Enoch, an Alt-Right
podcast host and event speaker, and Trace Chiles, a former member of the Fraternal Order
of Alt-Knights, told us they had brief conversations with officers. Each told CPD that he
expected a peaceful rally and hoped the police would protect Alt-Right groups from violent
counter-protesters. We also learned that officers spoke with Eli Mosley and speaker Johnny
Monoxide in advance of the event.

          3.    Community Preparation

While CPD endeavored to gather information about what to expect on August 12, various
groups within the Charlottesville community banded together to prepare for Unite The
Right. We interviewed various stakeholders involved in these groups, including members of
the clergy, social activists, business owners, and community members.

                a.   The Clergy Collective and Congregate Charlottesville

The Clergy Collective formed in the aftermath of the June 2015 Charleston church shooting
with the goal to create interfaith and interracial conversations and opportunities for
fellowship. Nominally led by Pastor Alvin Edwards of Mount Zion First African Baptist
Church, the Clergy Collective began with fifteen pastors but eventually grew to over ninety
people, both clergy and laity.
In advance of the July 8 Klan event, Mayor Signer and City Manager Jones came to a
Clergy Collective meeting and asked for the group’s help in “telling the story” of the day. In
particular, Signer and Jones hoped to discourage attendance at the Klan event, and thought
that the Clergy Collective could help organize and promote alternative programming that
would take place simultaneously. Some within the Clergy Collective were put off by Signer
and Jones’s message, because many in the group felt called to confront the Klan and the
speech they would present. Any attempt to push that confrontation away felt patronizing.
After the July 8 rally, the division within the Clergy Collective split. Many of the members
who had gone to Justice Park on that day thought CPD had planned to do nothing but
“protect white supremacy” and lacked a basis to use tear gas. The image of police focusing
exclusively on protecting the Klan and then acting aggressively toward counter-protesters
angered many, and that memory informed preparations for August 12.
Led by Seth Wispelwey and Brittany Caine-Conley, these individuals formed a new group
called Congregate Charlottesville. Wispelwey told us that the Clergy Collective was too
close to the City “establishment” and lacked transparency. He explained that Congregate
Charlottesville’s goal was to “equip faith leaders to show up on matters of justice.” They
put out a call for 1,000 clergy to attend the August 12 event. In the weeks leading up to
August 12, Congregate organized a series of trainings for nonviolent direct action to anyone
who was interested in participating. They brought in trainers from out of town, including
Reverend Osagyefo Sekou. We learned that some trainings were attended by as many as


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100 people, and participants were repeatedly warned about the potential for significant
violence on August 12. Members of Black Lives Matter and Standing Up for Racial Justice
also attended the trainings.
Individuals who attended these trainings told us that their goal was to create “cognitive
dissonance” and to delay and obstruct the hate speech that they expected. They wanted to
be visible in the opposition to the right-wing groups and make it harder for them to have a
platform to express racism. In service of that mission, they were willing to break the law
and expected to be arrested. Although they had been warned about the potential for
violence, few expected it.
Reverend Edwards and the Clergy Collective were not part of this nonviolent training effort
or otherwise affiliated with Congregate Charlottesville. Wispelwey told us that his group
came to view Edwards as “working for the City” given his close coordination with City
leaders and law enforcement. Such coordination is unsurprising in light of Reverend
Edwards’s past roles as School Board member, Mayor, and City Councilor in
Charlottesville. In any event, many were frustrated by the lack of success produced by
engaging with City leaders. Congregate’s formation thus marked a sharp conflict between
the “old guard” clergy and a younger, more confrontational generation of faith leaders.
On July 31, Congregate held a press conference to announce that several national leaders
would be coming to Charlottesville for the weekend of August 12, including Cornel West
and Traci Blackmon. Reverend Edwards was not told about the press conference or invited.
According to Wispelwey, “sides were chosen.”
The Congregate organizers planned to host an interfaith prayer service on the evening of
August 11 at St. Paul’s Memorial Episcopal Church. Located on University Avenue, St.
Paul’s sits just across the street from the University of Virginia, a stone’s throw away from
the iconic Rotunda and the statue of Thomas Jefferson.

                b.   Local Activist Groups

Local chapters of Black Lives Matter and Standing Up for Racial Justice were tangentially,
though not entirely, affiliated with the faith community in the weeks leading up to
August 12. Some members of those groups participated in the nonviolent resistance training
sponsored by Congregate Charlottesville. The distrust these groups felt towards City
leadership created distance ahead of the event.
Lawton Tufts and Anne Coughlin played a role in facilitating communication between
members of BLM and SURJ and City officials. Tufts is an employee of the UVA School of
Law and a former public defender who serves as a member of the Police Citizen’s Advisory
Panel. Coughlin is a professor of criminal law at UVA. Tufts attempted to arrange a
meeting between Reverend Edwards, BLM, Congregate Charlottesville, and CPD. BLM
refused to attend the meeting if Chief Thomas attended, so the City sent Assistant City
Manager Mike Murphy.
During the meeting, Murphy shared the City’s prediction that the right-wing groups present
at Unite The Right would be armed. This alarmed Coughlin, who told us that she thought



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the City’s laissez-faire approach was “crazy and terrifying.” Tufts discussed the need for
comprehensive community messaging, including sharing CPD’s operational plan and using
Tufts as an intermediary between CPD and BLM and SURJ. Murphy offered to give Tufts
the contact information for Lieutenant Cheryl Sandridge. Tufts told us that his
communications with Sandridge on August 12 amounted to a few unanswered text
messages about a militia group. Unbeknownst to Tufts, Sandridge was not even stationed
downtown on August 12 but was rather at the Emergency Operations Center at Zehmer
Hall at UVA.
Tufts shared with us that the messaging he received in advance of August 12 suggested that
law enforcement’s focus was on restoring order after it broke down, not preserving order
before conflict began. He noted that Lieutenant Brian O’Donnell told him before August 12
that CPD would be unable to prevent every act of violence, and that CPD officers would
not enter a crowd unless and until the VSP mobile field force dispersed the crowd. Tufts
took that to mean that CPD expected serious violence, and members of the community
needed to be aware of the serious risk of injury. Tufts conveyed as much to BLM and
SURJ, who continued to meet on a weekly basis until August 12. They were unsurprised.
The groups resolved to avoid violence at all costs but record law enforcement conduct.
An organization called Solidarity Cville, “a community defense network of Charlottesville
activists acting in solidarity with communities of color locally and globally to fight all forms
of white supremacy,” was also involved in organizing opposition to the Unite The Right
rally. 237 With membership that overlaps with BLM, SURJ, and Congregate, Solidarity
Cville was described to us as an umbrella group that focuses on social media strategies.
Initially, the Solidarity Cville web site contained a list of demands to City Council,
including the revocation of Kessler’s permit. Then, in the days leading up to the Unite The
Right rally, the site hosted links to events and efforts put on by BLM, SURJ, and
Congregate.
On August 5, a Solidarity Cville post titled “How to Prepare for August 12 (and action in
general)” offered advice and tips for anyone intending to attend Unite The Right as a
counter-protester. The post warned attendees to expect to see firearms and lots of law
enforcement. The post also advised bringing water and first aid kits. Notably, the post
explained that if an attendee ever needed aid, like in the event of tear gas or pepper spray,
“simply shout ‘medic!’ if you are in need.” 238

                c.    Houses of Worship

Separate from the interfaith groups, individual houses of worship located near
Emancipation Park made preparations for August 12.
Paul Walker and Marilu Thomas, the Rector and Associate Rector at Christ Episcopal
Church—located one block west of Emancipation Park—were concerned about the safety of
their church on August 12. Walker contacted nearby Hill & Wood Funeral Home to
inquire how they planned to secure their building on the day of the event. He learned that
the funeral home had already reached out to Captain Mitchell and offered law enforcement
the use of the Hill & Wood building during the demonstration. Walker called Captain
Mitchell and described his concerns about security and property damage. Mitchell replied


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by asking if CPD could stage sixty state troopers in one of the church’s buildings. Walker
thought this would provide Christ Episcopal Church extra protection, so he offered up the
church parish hall.
Sometime after that conversation, a group of state troopers came to Christ Episcopal
Church unannounced. The troopers did not ask for permission to explore the premises but
nonetheless roamed throughout the church buildings to evaluate possible uses of the
facilities. VSP troopers specifically discussed a plan to stage snipers on top of a church
building. This episode concerned staff at Christ Episcopal, as it suggested that police
planned more extensive use of church property than simply “staging” in the parish hall.
Christ Episcopal’s leaders held an emergency meeting, and they voted to deny law
enforcement access to the church. The church later decided to permit EMT vehicles in their
parking lot, but the buildings were otherwise shut down on August 12.
Leaders of Congregation Beth Israel—located one block east of Emancipation Park—
likewise expressed concern about their safety on August 12. The synagogue’s executive
director contacted CPD to ask for an officer to be present that day. The request was passed
down the chain of command to Lieutenant Gore, who met with CBI’s leadership on
July 26. Lieutenant Gore explained that CPD would have a community service officer
stationed at a nearby street corner. The officer would not be armed but would have direct
radio contact to CPD. 239 Even with the knowledge that an officer would be stationed
nearby, CBI hired a private security guard for the synagogue on August 10, 11, and 12, and
they consented to allow the guard to carry a firearm. Rabbis also removed the synagogue’s
sacred scrolls for safekeeping outside of the downtown area.
The leadership of CBI offered the synagogue as a staging area for the police. CPD did not
accept the offer. We asked the president of CBI whether they would have considered
moving Saturday services to further accommodate police staging. He explained that,
although he had no intention of sacrificing his right to practice his religion because of the
actions of groups whose messages he abhorred, he would have recommended such an
accommodation if there was a compelling public safety interest.
Several United Methodist churches in Charlottesville offered their space and services to
support those protesting against the Unite The Right rally. The First United Methodist
Church, which overlooks Emancipation Park from the north, supported efforts of both the
Clergy Collective and Congregate Charlottesville. The interior of the church was to be open
for prayer and pastoral care throughout the day. The church’s back parking lot would serve
as a staging area for snacks, water, and medical care. In support of the efforts to bring
clergy from out of town, other Methodist churches in Charlottesville offered space for
sleeping, showering, and parking.

                d.   Downtown Businesses

Throughout the summer, business owners expressed concern to the City and CPD regarding
safety and protection of their stores and restaurants. Several downtown merchants told us
that the various protest events had cast “a pall on the downtown area,” and that, despite
excellent weather, business had been very soft throughout the summer. We also learned
that the only interaction business owners had with City officials or CPD were the result of


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their own repeated efforts; there was no reciprocal outreach initiated by the local
government.
Without effective communication, rumors easily spread. For example, we learned that one
business owner told others that CPD had recommended all businesses close from August 11
through August 13 and board up their windows. When Joan Fenton, chair of the
Downtown Business Association of Charlottesville (DBAC), raised the issue with City
officials, it became clear that the City and police made no such recommendation. Fenton
asked the City to make that clear to business owners, but no statement ever came.
Downtown business owners told us that the lack of information about the City’s response to
the July 8 Klan rally prompted a request for a meeting with City officials. A meeting took
place on July 25 at the Violet Crown theatre, and more than forty business owners attended.
Fenton told us that business owners made several simple requests of the City at this
meeting: communicate to business owners through the DBAC; implement a reverse 911
system to provide rapid communications to businesses about emergency situations; provide
business owners insight into the City’s plan for August 12; use barricades to channel access
away from the Downtown Mall; and use a web site to communicate updates with City
residents. In exchange, business owners offered to provide food, water, and shelter for
officers during the event on August 12.
Restaurant owner Mike Rodi arranged a second meeting on July 25 among business owners
to discuss what rights they had to deny service, enforce dress codes, and prohibit the
possession of weapons on August 12. At this meeting, attendees collected phone numbers
to create a group text thread. This ultimately became a Slack chat—a group messaging
system that allowed for easy and real-time communication among members. The meeting
also allowed for the collection of signatures for a letter to the City, which requested the
enforcement of certain permitting codes and regulations that might require the cancellation
or transfer of the Unite The Right event. As Rodi explained, the letter said “go ahead and
enforce your own codes.”
Business owners did not get a specific response to the requests made on July 25.
Accordingly, they requested a second meeting with City leaders. On August 9, at least a
hundred business owners met with City Manager Jones and Chief Thomas. Business
owners again voiced their concern about the lack of guidance from City and police officials,
including whether businesses should remain open or closed on August 12. Jones attempted
to reassure those gathered that the City had an effective safety plan for the Unite The Right
rally. Chief Thomas ultimately shared contact information for the officer in charge of the
Downtown Mall on August 12, but advised them to call 911 if there was an emergency.
Even as the City attempted to move the event away from Emancipation Park, there was no
direct communication to business owners. Without guidance or advice from the City or
police, business owners took it upon themselves to organize whether to be open for police
relief, limit their hours, or close their doors on August 12. Todd Howard, the owner of
Escafe, told us that he decided to board up his restaurant out of fear that it would be a target
as a gay establishment. Mike Rodi, owner of the restaurant Rapture, sent word to CPD that
he would stock up on bottles of water and have snacks available. Various business owners
decided to close or reduce staff needs out of safety concerns for customers and employees.


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                e.    Neighborhood Associations

The North Downtown Residents Association (NDRA), which includes McGuffey,
Emancipation, and Justice Parks, sought information from and attempted to provide
information to the City and police. NDRA President Heather Hill told us that the NDRA
requested a point of contact within CPD and access to traffic plans so that residents could
plan ahead. NDRA also offered to provide assistance in the form of shelter, food and water,
and bathrooms. Ms. Hill told us that CPD was too disorganized to accept the offer and they
were uncertain of their specific plans given the late-breaking attempt to move the event to
McIntire Park.
Conversations with neighborhood associations could have improved intelligence and
reassured the community. We heard from witnesses who hosted Unite The Right
demonstrators through Airbnb listings or discovered demonstrators were staying in a rented
home nearby. A resident of the Fry’s Spring neighborhood told us that he found racist and
anti-Semitic literature from the Loyal White Knights of the Ku Klux Klan—who planned
the July 8 rally, but also attended Unite The Right—scattered in plastic bags on his
neighbors’ yards on the morning of August 12. Later in the day, he convened an informal
neighborhood watch group after another resident saw a large white van drop off a group of
men carrying Confederate flags and sticks.

                f.    Counter-Protesters in McGuffey and Justice Parks

On July 13, UVA professor Walt Heinecke filed a special events permit request to the City
to use Justice and McGuffey Parks on August 12. The request described the event as an
effort “to allow citizens of Charlottesville the ability to lawfully assemble and engage in free
speech about unity and love and justice.” He requested use of the two parks from 8:00 a.m.
until 8:00 p.m. and estimated that 75 to 100 participants would attend. The hand-drawn
diagrams in Heneicke’s application showed that both parks would house “medic tents.” 240
Professor Heinecke refused to speak with us, but we were able to glean information about
his plans for August 12 from e-mails he sent to media outlets that then were forwarded to
various City officials. In his view, police had needlessly declared an unlawful assembly on
July 8, and the speed with which officers did so left protesters “no place to go that allowed
for lawful assembly.” So he sought to reserve space at Justice and McGuffey Parks “to
allow assembly for citizens protesting the white supremacist groups that will occupy
Emancipation Park.” He did so for the sake of “the safety and security of citizens of
Charlottesville.” 241
After receiving Heinecke’s request, Special Events Coordinator Michelle Christian
immediately forwarded the application to the special events committee as well as the
command staff at CPD. Captain Wendy Lewis suggested to the other police leadership that
CPD recommend the denial of the application. She was concerned that police would need
the parks for staging equipment and support response on August 12. Captain Victor
Mitchell, the incident commander for CPD’s August 12 operations, disagreed. He did not
object to the granting of the permit so long as there was no promise of security from CPD.




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Christian e-mailed Heinecke on July 31 to inform him his request had been approved as a
demonstration. Heinecke responded by asking whether he could meet with her and a
representative of the police department to speak about logistical and security concerns. The
CPD command staff conferred and responded that there were no available police assets to
provide security at either park on August 12. Nevertheless, Heinecke met with Christian
and Captain Lewis in advance of August 12, and it became clear that the true focus of the
Justice and McGuffey events was to use the parks as staging areas for counter-protesters.
Heinecke discussed the possibility of hiring private security, and Captain Lewis provided
him with her contact information in case he needed direct contact with CPD on August 12.
Our review of e-mails suggests that Chief Thomas advised Heinecke to update CPD if he
learned of a “credible threat” that might require a shift in law enforcement resources. Late
in the evening on August 11, Heinecke sent an e-mail to Chief Thomas with a narrative of
the events at the Rotunda. His email concluded, “If this is a sign of things to come, the
white supremacists will be violent tomorrow. I want police protection at McGuffey and
Justice Parks.” Late that evening, Thomas responded to Heinecke that CPD would bring
additional officers “to monitor McGuffey and Justice.” 242
Finally, on July 29, Charlottesville resident Don Gathers submitted a special event
application request for August 12 for a parade and march. Gathers explained that a group
of approximately 200 individuals would march from the Jefferson School—located on
Commerce Street, about a quarter-mile west of the Downtown Mall—to McGuffey Park.
The permit sought the closure of the in-between sections of 4th Street NW, Preston Avenue,
and High Street from 10:30 a.m. until 11:00 a.m. Although Gathers’ permit request was not
formally granted by the City, the march from the Jefferson School to McGuffey Park went
forward on the morning of August 12.

                g.   Unite The Right Preparation

Jason Kessler told us that his organizing principle for Unite The Right “was that anybody
could come to the event so long as they were peaceful and willing to respect our speakers.”
He indicated that the July 8 rally bothered him, because he did not want to be associated
with the Klan. Kessler told us that in advance of July 8, he contacted the Barkers and asked
them to reconsider their rally, telling them that “if you really care about white people, you
can’t bring this KKK stuff in.” Ultimately, the Klan rejected Kessler’s request and came on
July 8. Kessler did not attend.
In July, Kessler reached out to speakers and started working on flyers for the August 12
demonstration. The Alt-Right groups who were interested frequently interact and organize
through private message boards and anonymous chat applications like Discord. Although
Kessler obtained the help of anonymous supporters, he also reached out to Eli Mosley and
Brian Brathovd for security help.
Unite The Right speaker Mike Enoch was not involved in the planning for the event, but he
noted that, because it was “one of the largest” Alt-Right events ever held, rally planners
recognized the need to be organized. They provided guidance on whether and how
attendees could be armed and formulated plans for entering and existing McIntire Park in a
convoy. Maps were drawn up and plans were distributed.


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One of those planning documents was posted online after August 12, along with an audio
recording of a meeting hosted by Eli Mosley to go over planning details in the days prior to
the event. During the meeting, Mosley went over the guidance for attendees, which
included warnings about “enemies/counter protesters,” which they expected would exceed
3,000 people. The planning document circulated among various group leaders also
indicated that the organizers had arranged for legal assistance for anyone whose lodging
reservations had been cancelled or got into trouble on August 12. The planning document
also advised attendees about the items they could permissibly bring to the park. Firearms
were legal, but organizers implored gun owners to be sure they were complying with
Virginia law. They advised against bringing knives, tasers, or masks. Shields, flags, and
flagpoles could be brought, but attendees should avoid using anything that could be
construed as a weapon and shields should only be used “defensively.” Helmets were
recommended, and pepper spray was allowed—but they discouraged its deployment. 243
With respect to conduct, the planning document advised all attendees to avoid violence “at
all costs outside of what is needed to defend our people.” The Unite The Right rally was to
be “as open as friendly as possible,” so attendees were warned to “refrain from being overly
edgy for the sake of edginess.” In other words, they should remember “that we are trying to
gain sympathy from whites and the general right wing.” Attendees were asked to “refrain
from roman salutes”—akin to the Nazi salute—and remember cameras would be
everywhere on August 12. 244
Mosley went over the three plans organizers had developed. He described a color-coded
system—green, yellow, and red—for each contingency. If the permit for Emancipation
Park stayed in place, then Plan Green called for attendees to arrive as planned for an event
to start at noon. If police refused to secure Emancipation Park, then Plan Yellow called for
attendees to get to the park early to secure the area and start speeches at 10:00 a.m. Finally,
if police refused to secure the area and intended to arrest attendees, then Plan Red called for
them to go to the park “to engage in civil disobedience.” 245
As for transportation to the park, the planning document explained that there would be a
rally point from which transport vans would take attendees to Emancipation Park. The
document suggested that they would attempt to get the vans beyond the traffic barricades, if
police would allow it. Barring that, however, the document stated, “we will form all forces
at the Line of Departure and march into the park together, using the shield wall to keep
hostile forces away from our civilians and HVT’s [high-value targets].” 246
The document also advised attendees of two other events that would be held in
Charlottesville. On Friday night, attendees were invited to participate in a torch-lit rally at
the “Jefferson Monument” on UVA’s campus. Then, on Saturday night, the organizers
would host an after party. Party-goers were required to send money through PayPal to buy
a ticket. 247




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                h.   City Council Preparation

                     1)   Community Response

The City did not officially sponsor any alternative events to divert attention away from the
August 12 Unite The Right event. Instead, City leadership encouraged local groups and
organizations to hold their own programs. We heard from members of the Charlottesville
Clergy Collective that City leaders encouraged the faith community to “take the lead in a
community-wide response.” Mayor Signer reached out to UVA professor and Vice-Provost
for Academic Outreach Louis Nelson in mid-July to encourage the University to develop
alternative programming for City residents. Nelson jumped into action and ultimately
developed a schedule of forty-five programs put on by various faculty members, which
would begin at 11:00 a.m. on August 12. Mayor Signer encouraged local leaders and
community stakeholders to participate in these events. 248
Mayor Signer told us that, in the weeks leading up to the event, he consulted with mayors of
other major cities about how to manage racially charged events. He was advised of the need
to separate groups and try to conduct the events in large, open areas. Mayor Signer also
tried to coordinate efforts to bring a national figure to Charlottesville before the rally to
“calm nerves.” Names like John Lewis, Jesse Jackson and Michelle Obama were
suggested, but the event never occurred.
Despite the behind-the-scenes coordination with the University and some other cities, there
was no comprehensive effort on the part of the City to communicate with residents about
what to expect on August 12. Signer told us that City staff promised Council that a town
hall meeting would be held, at which Jones, Chief Thomas, Miriam Dickler, and Craig
Brown would discuss the City’s plan, give background on the use of riot gear, and explain
why the City could not cancel the rally. Fire Chief Andrew Baxter and Office of Human
Rights manager Charlene Green were also expected to speak. The event never happened
because, in Signer’s words, employees “ran out of bandwidth” and “were all crazed.”
Similarly, daily press briefings that had been promised by Jones and Dickler never occurred.
Instead, the City held a press conference on August 7 to explain the decision to grant the
permit for McIntire Park. Two days later, Miriam Dickler released a series of bullet points
advising the public that CPD was planning for both McIntire and Emancipation Parks and
asking residents to assemble peaceably. The traffic plan for the downtown area was finally
released to the public on August 11.
The City hired the Powell Tate public relations firm to provide expert guidance on how to
communicate in a crisis. Mayor Signer indicated that the Powell Tate team was prepared to
provide “messaging” advice to the City and work with Communications Director Miriam
Dickler to provide information about the Unite The Right rally to the public. They did not
ultimately perform this service. The Powell Tate team was not present in the command
center on August 12 and instead remained with Mayor Signer throughout the day.




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                     2)    Efforts to Move Unite The Right

In early July, City Attorney Craig Brown and his deputy Lisa Robertson advised the City
Manager and City Council of the legal difficulty—if not impossibility—of cancelling
Kessler’s permit. Although there were murmurings of the potential for violence on
August 12, state and local law enforcement explained that most of that “noise” arose from
groups which planned to come in opposition to the Unite The Right protesters. Those
threats were viewed by the City’s lawyers as a potential “heckler’s veto,” which meant that
they did not provide a valid basis for any decision to cancel the permit without violating the
First Amendment. 249




 Map of Charlottesville showing McIntire, McGuffey, Emancipation, and Justice Parks
In the face of this clear authority, the City—with Mayor Signer acting as the driving force—
shifted focus to whether it could force the rally to move out of downtown to McIntire



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Park. 250 Located a little more than a mile north of the Downtown Mall, McIntire Park
offered dozens of acres of open, green space that could easily contain the thousands of
people anticipated on August 12. Signer told us that members of City Council were uniform
in their interest in exploring the idea, a consensus reached through behind-the-scenes
discussions in numbers small enough to avoid public-meeting requirements.
On July 31, Mayor Signer called for a closed session of City Council to take place on
August 2, at which time Council could receive legal advice on the issue. 251 In anticipation
that a decision to move the event would instigate litigation by Kessler—and, in part, due to
Signer’s concern that the City Attorney’s approach to this issue was “conservative”—Signer
suggested the City hire outside counsel. 252 City staff agreed and hired the firm of Boies
Schiller Flexner LLP (BSF) to help evaluate the potential legality of moving the event.253
During the closed session on August 2, Council received legal advice from the City
Attorney, lawyers from BSF, and an attorney from the Thomas Jefferson Center for the
Protection of Free Expression. The consensus of this advice was that a decision to move the
permit away from Emancipation Park would require evidence of a “specific, credible threat”
to public safety posed by rally organizers. Council was told that generalized threats of
violence, promises to use violence in self-defense, and information that counter-protesters
planned to use violence to quell a permit holder’s speech were insufficient bases to move the
event from Emancipation Park.
In addition to legal advice, City Council received intelligence information about the event
and solicited the views of law enforcement about a proposed move to McIntire Park. Two
troopers from the Virginia State Police provided Council with a briefing about expected
attendance and the potential for violence at the Unite The Right event. Council also heard
from Chief Thomas, who expressed reluctance to move the location so close to the
scheduled event. Chief Thomas acknowledged that the proposed relocation of the event
might be “marginally better” to solve some safety concerns. He indicated, however, that
CPD had been working on the Unite The Right Operational Plan for six weeks and worried
that a sudden change would pose logistical problems. He told Council it would be
extremely difficult to manage the event on two fronts, which would become necessary
regardless of the outcome of any legal battle. Council asked the law enforcement officers
about imminent danger, but received no information suggesting a “specific, credible threat”
of violence. Chief Thomas told us that the information presented to Council did not, in his
view, meet the threshold that would justify moving the event to McIntire Park.
Despite the legal and operational concerns of City staff, Council indicated a strong
preference for moving the Unite The Right event to McIntire Park. During the closed
meeting, Councilors made clear by a 4-1 margin that they wanted the event moved to
McIntire. 254 While the decision about the granting, revocation, or amendment to the permit
was technically in the hands of City Manager Jones, members of City Council made clear
their expectation that Jones would move the event to McIntire Park.
City Manager Jones recalled that after the closed session of City Council, he asked for 24
hours to make a decision about moving the August 12 event. He wanted to ensure that
Charlottesville High School would allow parking; otherwise there would be no way to
separate the groups at McIntire Park. Chief Thomas told us that he was concerned that



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continued opposition to the move would result in City Council firing the City Manager.
Accordingly, Chief Thomas told us that he suggested to Jones that he should go ahead and
support the move despite their joint opposition. After considering the various pros and
cons, Jones called Councilors on August 3 and individually and told them he would support
the move to McIntire Park.
Preparations to move the event to McIntire Park proceeded immediately. On August 4, the
City hired BSF to provide legal advice and agreed to pay the firm a flat rate of $30,000. 255
Over the weekend of August 4-6, Signer corresponded with BSF regarding the appropriate
basis and analysis for requiring the move to McIntire, which focused on logistical concerns
based on the high numbers of attendees rather than concerns over threats of violence. BSF
produced a memorandum of legal analysis and a draft letter to send to Kessler when the
decision was finalized. That information was shared with the rest of City Council in the
evening on Sunday, August 6. Signer also shared his intent to hold a press conference the
following day to discuss the City’s decision to move the event to McIntire Park. 256
On Monday, August 7, Michelle Christian—who had been receiving e-mails from Kessler
asking whether his permit had been approved—invited Kessler to an 11:00 a.m. meeting at
the Parks and Recreation office. When Kessler arrived, he was greeted not only by
Christian, but also City Manager Jones and Captain Wendy Lewis. During the hour-long
meeting, Jones inquired as to the anticipated size of the event, noting media estimates that
the event could attract thousands of people—far more than the 400 listed on Kessler’s
permit. Kessler resisted that estimate, stating that his numbers were closer to the estimated
size and, in any event, he could not be responsible for how many participants decided to
come. Kessler also voiced his concern that the City had granted permits for simultaneous
events at Justice and McGuffey Parks. Ultimately, Jones explained that the City would be
granting Kessler’s permit for August 12, but only for an event to be held at McIntire Park.
Kessler responded by stating he and the other Unite The Right organizers would be going to
Emancipation Park regardless of the permit decision. He also promised that he would
challenge the City’s decision in federal court. 257
Later that afternoon, Jones sent Kessler a letter that explained the City’s decision to allow
the event only at McIntire Park. The letter explained that, despite Kessler’s statement that
the event would have 400 participants, “it has come to the City’s attention that many
thousands of individuals are likely to attend the demonstration.” Given the small space
provided by Emancipation Park, the City reasoned that “law enforcement, fire and
emergency medical services personnel cannot adequately protect people and property in and
around Emancipation Park.” 258 Shortly after sending the letter, the City held a press
conference to explain the decision to the public. 259
On Tuesday, August 8, Kessler went to the police station, where he met with Chief
Thomas, Captain Mitchell, and Captain Lewis. At that ten-minute meeting, which Lewis
recorded, Chief Thomas reiterated the department’s goal to hold a peaceful and safe rally
that respects everyone’s rights, and explained that CPD believed that an event at McIntire
would be much safer. Kessler was adamant that the event would go on in Emancipation
Park, permit or not. He wanted to know whether the police would still stick to the earlier




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security plan that he had seen. Thomas conveyed that the police would plan for either
contingency.

                     3)    The ACLU Litigation

Represented by a team of lawyers including the American Civil Liberties Foundation of
Virginia and the Rutherford Institute, Kessler sued the City on August 10. The lawsuit
asked the federal court to enjoin the cancellation of Kessler’s permit and order the City to
allow the demonstration to go on in Emancipation Park. 260
To prepare the City’s response to the lawsuit, City Attorney Craig Brown asked Chief
Thomas to prepare an affidavit. Thomas’s affidavit included information gathered by CPD
indicating that thousands of participants were likely to attend in support of Unite The Right.
The affidavit related the logistical and safety concerns related to managing such large
numbers in a confined downtown area and suggested that moving the event to McIntire
Park would address those concerns. 261
Captain Mitchell told us that the command staff “knew it [the rally] was going to happen in
Emancipation Park no matter what.” Other officers conveyed to us that members of the
command staff—including Chief Thomas and Captain Mitchell—expressed hope that the
City would lose the lawsuit. Chief Thomas admitted saying to other officers that he “hoped
Kessler would win” the lawsuit. He believed that allowing the event to go forward at
Emancipation Park would give CPD greater ability to “maintain control” of the event. That
position was made clear to Captain Lewis when she suggested that Chief Thomas include
actionable intelligence CPD possessed about the violent intentions of Unite The Right
attendees. According to Captain Lewis, Thomas responded he did not want his affidavit to
“look too good.” Chief Thomas denied to us that he left information out of the affidavit.
He attributed any omissions from his affidavit to lawyers working with the City.
On Friday, August 11, the court held a hearing on Kessler’s motion for a preliminary
injunction. That evening, in a six-page opinion, the court granted the motion and enjoined
the revocation of the permit for Unite The Right rally at Emancipation Park.

                     4)    Discussions with State Officials

State officials were concerned about the City’s preparations for the Unite The Right rally.
Documents we received pursuant to a FOIA request show that on August 1, Secretary of
Public Safety Brian Moran recommended that the Governor call Mayor Signer to discuss
preparations for the August 12 event. Secretary Moran sent the Governor a memorandum
outlining talking points for the call. First, Moran suggested that the Governor ask the City
to modify the event permit to prohibit any firearms or weapons within a “10 block vehicular
restriction area.” He noted that the change “could draw attention from pro-second
amendment groups, so discussion is needed.” Curiously, the memorandum reflects a
misunderstanding of Virginia law, which unambiguously prohibits Charlottesville from
restricting the open carrying of firearms at this or any other event. Secretary Moran also
recommended that the Governor encourage the City to designate parking areas, bus
protesters in and out of the area, reduce the length of the rally, prohibit items that could be
used as weapons, and require the event’s organizers to meet with law enforcement before


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the event. The memorandum did not offer insight into the logistics that would be required
to take those steps.
Second, Moran also proposed coordinated messaging between the Governor and City to
convey support of both law enforcement and First Amendment rights. The talking points
emphasized that violence should not be tolerated and the failure to obey the law would
result in immediate arrest. Further, Moran suggested that the City deny any additional
permits for demonstrations on August 12—apparently unaware that “demonstrations” do
not necessarily require a permit under Charlottesville’s operating procedures. Finally,
Moran asked the Governor to stress to elected officials and City staff “the necessity of
meeting with Law Enforcement leadership for situational briefing to understand the
potential dynamics of multiple protests in one area.” 262
Signer told us that the Governor called him personally on August 2 to convey that his office
had significant fears about the violent tenor of the event. The Governor further explained
that VSP had a “list of demands” for CPD to adopt before coming to assist on August 12.
Signer told us he never received that list, but recalled the Governor listing a few examples,
such as searching backpacks and prohibiting weapons. Signer was adamant that the
Governor did not mention the potential use of a vehicle as a weapon. Signer shared with us
that Vice Mayor Wes Bellamy also had separate conversations with the Governor and
Secretary of Public Safety Brian Moran, but those conversations “never went anywhere.”

           4.   Law Enforcement Preparation

                a.    Community Outreach

Within CPD, community outreach took a backseat to tactical planning. But that did not
stop some officers from offering up suggestions that might have assured citizens in advance
of August 12. For example, Captain Lewis suggested that CPD issue regular updates to the
community about their planning efforts. She also thought that the community should be
informed of the predicate for police to be dressed in riot gear, which might allay concerns
raised about the “militarization” of the police force after July 8.
Lewis also devised a novel approach to “change the narrative” surrounding the event. She
proposed sending a letter to every group likely to attend the Unite The Right demonstration
on both sides be asked to commit to nonviolence. The letter would simultaneously be
released to the media. The draft letter circulated by Lewis suggested all parties could agree
that free speech rights deserved protection and asked everyone to reflect on their shared civil
and constitutional values. The letter requested that each group sign a written commitment
to nonviolence and return it to Chief Thomas. In recognition that some groups may intend
to practice civil disobedience, the letter did not ask attendees to foreswear violating the law,
but instead simply asked that any disobedience be taken on with nonviolent means. 263
All of Lewis’s suggestions were rejected. Chief Thomas never took her letter idea seriously,
and he privately derided her public communications proposal as “Wendy’s propaganda
campaign.” Similarly, we learned that Chief Thomas skipped a meeting with a
representative of the Rutherford Institute that was focused on nonviolent de-escalation by
law enforcement and sent Captain Mitchell in his place. It is unclear whether the details of


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that meeting were communicated to the rest of the CPD leadership or whether they affected
Mitchell’s planning for August 12.

                b.   Training

Efforts to train police officers ahead of August 12 were meager if not nonexistent. We
learned that the primary method of conveying information to officers was through roll call
training, which involved brief discussions of written policies. Lieutenant Mooney told us
that these verbal briefings on case law and code sections would have meant little to officers
relatively new to the department.
There was no field training of any kind in advance of August 12. Officers did not try on riot
gear, including new ballistic helmets that had been purchased specifically for the August 12
event. As a result, many officers likely did not put on their gear or helmets until ordered to
do so on the day of the event. CPD officers did not engage in any joint training exercises
with their counterparts in the state police or their local partners in Albemarle County.
In the week leading up to the Unite The Right rally, CPD leadership ordered every officer to
attend three hour-long training sessions focused on “stress, trauma, and resiliency.” The
goal of the training was “to help understand the human responses to the situations that the
Department has recently been facing.” The sessions were led by Dr. Jeff Fracher, a local
psychologist. Lieutenant Mooney, who supervises the evening shift and served as a zone
commander on August 12, believed that these “three breathing trainings” got in the way of
time he could have used to prepare his officers, and he made that concern clear to his
supervisors.
On the afternoon of August 8—four days before the event—Lieutenant Cheryl Sandridge
sent an e-mail to all CPD officers titled “information to review.” The e-mail asked officers
to “take a few minutes to read this information before the weekend,” noting that it was
compiled in one e-mail “for easy access.” Attached to the e-mail were four files: (1) CPD’s
General Order regarding constitutional procedures—policies for compliance with the First,
Second, Fourth, Fifth, Sixth, and Fourteenth Amendments to the U.S. Constitution; (2)
CPD’s General Order regarding the use of force; (3) CPD’s General Order regarding civil
disturbance and unrest mobilization plans; and (4) a PowerPoint slide deck reviewing the
role of peace officers under the First Amendment. In sum, the four files numbered more
than 75 pages of written materials. The e-mail did not make review of these documents
mandatory. 264
Captain Mitchell candidly admitted to us that, prior to August 12, he did not check to make
sure CPD officers received sufficient training. Instead, he intended for zone commanders to
convey to the CPD and VSP officers in each zone the expectations and procedures for
arrests prior to the start of the event. Of course, that presumed that CPD zone commanders
would be able to meet with all the state troopers in their zones on Saturday morning, given
that there was no all-hands meeting with every law enforcement officer participating. When
VSP arrived at the park late, that opportunity disappeared.




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                c.   Consultation with Outside Agencies

Starting in July, CPD held weekly planning meetings to prepare for the August 12 event.
Those meetings were attended by officials from a broad spectrum of agencies, including
VSP, CFD, the Charlottesville-Albemarle Rescue Squad, the Emergency Communications
Center, the Albemarle County Police Department, and the National Guard. Throughout
this process, however, VSP remained CPD’s primary partner in planning for the event.

                     1)    Virginia State Police

The Virginia State Police offered their expertise to CPD for August 12 preparation. Chief
Thomas ordered Captain Mitchell to coordinate with VSP Captain Craig Worsham in
formulating the Operational Plan for the event. Worsham and other VSP supervisors
attended planning meetings in Charlottesville in the weeks leading up to August 12, and
Chief Thomas traveled to Richmond a few times to meet with VSP leadership. Mitchell
said that he and Captain Worsham worked well together. He indicated that VSP provided
an increasing amount of resources as the event drew near, including additional staffing for
the Downtown Mall and the installation of surveillance cameras in and around
Emancipation Park.
As the CPD Operational Plan evolved in advance of August 12, Captain Mitchell regularly
provided copies to his VSP counterparts. He told us that Captain Worsham and others
offered some suggestions, such as checking backpacks and barring flagpoles, but overall
deemed the plan “fine as written.” Captain Lewis, who also attended these meetings,
conveyed that VSP’s role was conceptual rather than “down in the weeds.” She recalled
that on at least one occasion, VSP officers shared their experiences with protest events and
noted the importance of making arrests early to “set the tone.” She also told us that, during
a meeting, VSP had to be corrected about the procedures for arrests during the event. VSP
had been under the impression that troopers could make arrests and then simply take the
arrestees to a Bureau of Criminal Investigation area. Charlottesville officials corrected them
by explaining that any arresting officer would be required to accompany the arrestee to the
City’s processing area and appear in front of a magistrate.
We discovered that, in addition to participating in CPD’s planning efforts, VSP had written
its own detailed plan for VSP resources on August 12. No one in CPD was aware of that
plan, and the plan was never shared with anyone at CPD. In fact, CPD learned of the VSP
plan only after copies were accidentally left behind in a staging area after August 12.
Captain Mitchell told us he was bothered by VSP’s decision not to share their plan with
CPD, as he would have reviewed it to ensure there were no conflicts between the City’s and
State’s efforts.
Beyond these interactions among high-ranking officers in the two agencies, there was little
meaningful coordination regarding training for officers in advance of August 12. VSP held
three training sessions for commanders and officers, to which CPD officials were invited.
None attended, citing schedule constraints. VSP also invited CPD officers to participate in
the state’s mobile field force training, but CPD likewise declined that offer given the need to
have officers work their regular shifts. Captain Mitchell also told us that CPD had its own
mobile field force training over the summer, though such training was in a classroom rather


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than in an open field. Lieutenant Gore received training in how to lead a mobile field force
in advance of August 12, as Major Pleasants was scheduled to be on vacation. As a result,
August 12 was to be Lieutenant Gore’s first experience leading officers in a mobile field
force – most of whom had never themselves participated in one.

                     2)    Agencies Outside Virginia

Given the recent rise in events like Unite The Right, several officers recognized the value of
conferring with departments in cities or towns where such rallies had occurred previously—
including Berkeley, California; Portland, Oregon; and Pikeville, Kentucky.                The
investigations unit made contacts with Pikeville, Kentucky officials to discuss how law
enforcement managed an Alt-Right event on May 1, 2017. Those contacts suggested that
the Alt-Right groups were generally cooperative with law enforcement, but also that the
opposing groups needed to be physically separated.
Based on this intelligence, Lieutenant Joe Hatter, the supervisor of the investigations unit,
suggested the department purchase a wrought-iron fence to control entry to Emancipation
Park and that officers on horseback be used for crowd control. Multiple officers involved in
the investigations unit told us that they implored the command staff that large-scale violence
should be expected and that people would be traveling to Charlottesville “to fight, to
disrupt, and even to throw urine and feces.” Detective Newberry told us that, with the
number of unprotected alleys in the downtown area, he wondered “how many murders are
we going to be investigating?”
In addition to the Kentucky intelligence, CPD received valuable information from law
enforcement in Portland, Oregon—although it is notable that the conversation took place
because VSP, not CPD, reached out and asked for it. Nevertheless, Captain Lewis spoke
with a detective from Portland who had recently worked an event involving Antifa and the
Alt-Right. He emphasized the importance of keeping protesters and counter-protesters
separated and recommended the use of barricades as “force multipliers.” He also warned
Lewis that members of the Alt-Right often attempt to ingratiate themselves with law
enforcement. Unfortunately, the information received from other jurisdictions did not
impact CPD’s Operational Plan for the Unite The Right rally. Captain Mitchell candidly
admitted that the input from outside jurisdictions was not a factor in planning for
August 12.
Planners similarly disregarded internal concerns about the potential for violence. Captain
Lewis told us that when she shared the concerns of investigators she supervised, the
command staff was dismissive of a “worst case scenario” that they deemed unlikely to
happen. Lieutenant Hatter suggested to us that CPD leadership was approaching August 12
like a “concert” event, not like the potentially violent confrontation about which they had
been warned. He told us that when he offered suggestions regarding plans for August 12 to
Captain Mitchell, “it was like talking to a brick wall.” When we asked Captain Mitchell
about whether he had ever planned for an event like Unite The Right, he pointed to his role
organizing police for the annual Wertland Street Block Party, a social event informally
organized by UVA students. Captain Shifflett likened preparations for summer protest
events to CPD’s planning for visits from President Obama, Bill and Hillary Clinton, and the
Dalai Lama.


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Other agencies were available to CPD, but officers declined to make the connections. CFD
Chief Andrew Baxter met officials in Charlotte, North Carolina, who had experience
handling civil disturbances in the wake of an officer-involved shooting of an unarmed
African-American man. Those officials were interested in sharing their experiences from
those protest events with Charlottesville officials. Chief Baxter offered to connect Chief
Thomas to his counterpart in Charlotte, but Chief Thomas responded that he did not have
time. As a result, no one from CPD spoke with officers from Charlotte. We also learned
that a New York City Police Department detective contacted CPD in the weeks before the
rally to convey intelligence that members of Black Lives Matter New York planned to travel
to Charlottesville on August 12.

           5.    CPD Operational Plan

CPD’s primary (if not exclusive) focus in advance of August 12 was the design of its
operational plan for the Unite The Right rally. Those efforts were headed by Captain Victor
Mitchell, who Chief Thomas tapped to be incident commander soon after the permit was
filed. Mitchell had been present in the command center on July 8, and he had the willing
input from all officers within the department. Nevertheless, our review suggests that the key
planning for August 12 remained confined to the command staff: Chief Thomas, Captain
Mitchell, Captain Shifflett, and Captain Lewis.
When we asked who was responsible for final decisions in CPD’s operational plan, the
command staff equivocated; some stated that decisions were reached as a matter of
consensus, while others indicated that there were sharp disagreements about overall strategy
and tactics. The resolution of such disagreements presumably would have been left to Chief
Thomas, but our interview with Chief Thomas suggested that he deferred entirely to his
captains when it came to tactical decisions for August 12.
After July 8, zone commanders had been asked to provide feedback to the command staff,
purportedly to influence the planning for August 12. Commanders offered many
constructive criticisms, including the sufficiency of staffing within the zones and the need
for officers to be wearing their riot gear, or alternatively have it at the ready in their zones if
and when events required its use. The latter suggestion was dismissed by command staff,
who were of the opinion that starting the day in riot gear would send a message to the
public that police expected and intended to engage in fighting. CPD leadership also rejected
the suggestion to have the gear with each officer, opting instead to have all riot gear stored
in a trailer on Jefferson Street, behind Emancipation Park. When Lieutenant Jim Mooney
asked Captain Mitchell why particular feedback was not being incorporated into the
August 12 plans, Mitchell responded, “Every time we ask, the plan changes.”

                 a.   Traffic and Street Closures

Given the anticipated crowds for August 12, CPD recognized the need to close streets and
redirect vehicle traffic in the downtown area. Captain Mitchell worked with Captain Lewis,
Lieutenant Steve Knick, and Traffic Lieutenant Tito Durrette to implement an appropriate
traffic plan. Lieutenant Knick told us that he had initially recommended CPD shut down
all traffic in the downtown area between Water Street and High Street, but that idea was



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rejected by Captain Mitchell based on the perceived lack of manpower to maintain such a
large perimeter.
Lieutenant Durrette was initially assigned responsibility for the design and supervision of
the traffic plan for August 12. He outlined the preliminary plan for traffic, which was
reviewed and revised by Captain Lewis and Lieutenant Knick. The preliminary traffic plan
did not close off the 4th Street southbound crossover of the downtown pedestrian mall.
This alarmed both Captain Lewis and Lieutenant Knick, who insisted that the Downtown
Mall be shut off to any vehicle traffic. After discussing the issue with Lieutenant Durrette,
the decision was made to block all southbound traffic at the intersection of Market Street
and 4th Street NE.
In early August, Mitchell, Lewis, Knick, and Durrette (and possibly Captain Shifflett) met
with Paul Oberdorfer, the City’s Director of Public Works. During the meeting, Oberdorfer
agreed to provide logistical support for the set-up of traffic barriers. He also suggested that
CPD use water-filled jersey barriers along 4th Street. Captain Mitchell resisted that
suggestion, noting the need for emergency services to enter the downtown area. Oberdorfer
responded that a fire truck or ambulance could easily push through the plastic, water-filled
barriers. Oberdorfer also pitched the idea of using dump trucks or school buses to block
roads at the event. He noted that the Public Works Department had fifteen dump trucks.
Oberdorfer told us that no one rejected the idea, but it “did not get any real response.” At
the conclusion of the meeting, both Knick and Lewis were under the impression that jersey
barriers would be used in the final plan. But Mitchell told us he understood the discussion
of jersey barriers to relate only to blocking vehicles from turning onto the pedestrian mall
itself, and that issue was mooted by the decision to block 4th Street NE at Market Street.
The final traffic plan ultimately called for a combination of manned and unmanned barriers
that would block off vehicle traffic around Emancipation Park. To the west of the park,
Market Street would be blocked at its intersection with High Street by three officers and a
squad car, who would divert any downtown traffic up High Street. Then, on High Street,
individual officers with squad cars would block southbound traffic toward Emancipation
Park at 2nd Street NW, 2nd Street NE, and 3rd Street NE; southbound traffic at 1st Street
would be blocked by a traffic barrier. Southbound traffic would be open on 4th Street NE
until Market Street, and officers with squad cars would prevent any westbound traffic back
towards Emancipation Park on Jefferson and Market Streets. The plan called for a traffic
barrier to block entry to the Downtown Mall crossover at 4th Street NE and Market Street,
and an officer in a squad car to block northbound Mall crossover at 2nd Street NW and
Water Street. Finally, traffic barriers would be set up to secure a law enforcement zone
along Jefferson Street behind Emancipation Park.
Captain Mitchell told us that police personnel were not staged at every altered intersection
due to a perceived lack of resources. Moreover, many of the manned traffic posts were
occupied by unsworn personnel like forensic technicians, animal control officers, and school
resource officers. Captain Lewis told us that she suggested Mitchell use state troopers for
traffic positions, but Mitchell responded that he would not take “VSP away from the action”
given the volume of resources they were committing to the City.




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Oberdorfer did not receive the final traffic plan until the morning of August 11. That late
notice required Public Works to immediately get to work posting No Parking signs and
coordinating logistical support. It also meant the City’s traffic engineer could not review
and approve the plan. The plan did not reference any jersey barriers, so Oberdorfer
arranged for traditional wooden traffic barriers to be used.




   Traffic Plan Map for August 12. Blue lines denote staffed barriers; red lines denote
                                  unmanned barriers.
Public Works employees put up the barriers at 6:30 a.m. on August 12. Oberdorfer and his
team of ten Public Works employees then staged in the parking lot of the Levy Opera House
alongside Lieutenant Knick’s logistical team. The Public Works team ultimately left that
position around 9:45 a.m. when the area was deemed “too volatile.” They fell back to the
Public Works building, where they barricaded the building’s gates with dump trucks filled
with sand.
As mentioned earlier, the intersection of 4th Street NE and Market Street had two
impediments to traffic: a traffic barrier blocking any southward movement on 4th Street NE
and an officer and squad car blocking any westward movement on Market Street. The
traffic plan called for Officer Jeff Sandridge to man that post.
Late in the week, two developments changed that plan. First, the Incident Management
Team advised Captain Lewis that Lieutenant Tito Durrette had too many roles for August
12. Second, Captain Shifflett found out that Officer Tammy Shiflett, a school resource
officer, was available to work after having spent most of June and July recovering from
elbow surgery. So on August 11, Lewis replaced Sandridge with Tammy Shiflett, which
freed up Sandridge to take over Durrette’s role as a roving traffic supervisor.    Officer
Shiflett was told about her assignment at Market Street and 4th Street NE, but she did not
receive any instruction other than that she would be “doing traffic.” She understood that
her role was to prevent “anything coming down East Market Street” to Emancipation Park.


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Video footage shot around 10:30 a.m. on August 12 shows Officer Shiflett standing at her
post next to her squad car in Market Street as scores of Unite The Right attendees streamed
past her towards Emancipation Park. The video also shows that the southbound route on
4th Street SE was obstructed by a single wooden sawhorse that spanned only the middle
third of the road.




  Witness video shows Officer Shiflett at Market Street and 4th Street NE around 10:30
 a.m. Her police vehicle is pictured blocking Westbound traffic on Market Street, and a
  single sawhorse blocks southbound traffic from accessing the Downtown Mall via 4th
                       Street. (Video provided by Tom Hubbard).

               b.    Placement of Officers Around Emancipation Park

CPD’s plans for stationing law enforcement officers on August 12 focused almost
exclusively on Emancipation Park and the Downtown Mall. There was little to no
consideration given to whether officers should be stationed between traffic barricades and
Emancipation Park. Mitchell also assigned thirty-plus officers to patrol the Downtown Mall
and a handful more to go back and forth between McGuffey and Justice Parks, as well as a
small contingent to McIntire Park. But, as one officer told us, “everything was focused on
the [Emancipation] Park.”
At one point during the planning process, command staff considered blocking off all of the
park for Unite The Right group. As Captain Mitchell explained to us, however, that plan
would give no designated space to counter-protesters, who would then likely fill the streets
surrounding the park. Captain Mitchell feared that would require police to unnecessarily
expand their footprint in the downtown area. Accordingly, the only designs seriously




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considered by CPD included designated areas within Emancipation Park for both Unite The
Right demonstrators and the expected counter-protesters.
CPD Planners considered many configurations and Operational Plans in the weeks prior to
August 12. Early versions of the plan assigned officers to areas inside and outside of
Emancipation Park and along likely routes of ingress and egress. In one version, planners
considered assigning as many as thirty officers to Market Street south of Emancipation Park
and twenty officers along 1st and 2nd Streets north of the park. When asked why this plan
was abandoned, no one on the CPD command staff could provide a specific answer. Chief
Thomas told us that he did not know why this plan had changed, and he suggested we ask
Captain Mitchell.




In one early plan, designed July 20 by Captain Lewis, sixty officers would be stationed
within one block of the park, with no barricades separating groups. The design also
called for staging riot gear in buses in 1st and 2nd Streets.
Subsequent versions of the plan had fewer and fewer officers assigned to areas outside of
Emancipation Park. On July 25, Captain Mitchell circulated a design to VSP that assigned
all officers to four zones: one south of the park along Market Street and three inside the
park. The park zones consisted of the northern area beyond the Lee statue, the southwest
quadrant, and the southeast quadrant. The northern zone would be a public safety area
where officers would stage their riot gear. The southern quadrants would be the designated


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areas for Unite The Right attendees (southeast) and counter-protesters (southwest).
Mitchell labeled these areas Zone 1 (southeast quadrant), Zone 2 (southwest quadrant),
Zone 3 (Market Street), and Zone 4 (northern area). The design also designated an area for
the Unite The Right speakers in front of the Lee statue. Mitchell sent this plan to his VSP
counterparts more than two weeks before the event, on July 25. 265




CPD’s four-zone plan as circulated on August 4. The zone labels indicate officers would
be stationed inside the protest areas and along Market Street.
Five days later, on July 30, Mitchell sent VSP an updated plan that shifted the law
enforcement footprint into five zones. The five-zone plan no longer called for officers to be
inside the Unite The Right or public quadrants in Emancipation Park. Instead, officers
would be assigned to areas outside of the quadrants—1st and 2nd Streets—as well as a
narrow gauntlet between them created by two rows of metal barriers. Thus, rather than
having officers stationed inside areas where Unite The Right demonstrators and counter-
protesters would be present, police were assigned to separate law-enforcement-only areas:
Zone 1 (2nd Street NE); Zone 2 (area between demonstrators and counter-protesters); and
Zone 3 (1st Street). The law enforcement area in the north remained Zone 4 and the Market
Street area became Zone 5. 266




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CPD’s five-zone plan as circulated on August 7. The zone labels indicate that officers
would be stationed between protest areas rather than inside of them. The Unite The
Right and Public Area were later swapped on August 11 when CPD learned Unite The
Right demonstrators would be arriving from the west.
When Mitchell sent another updated version of the plan to his VSP counterparts on
August 4—the primary revision appearing to be the addition of the McIntire Park
contingency plan—the Emancipation Park layout had shifted back to the original four-zone
design. 267 This may have been a mistake, because three days later, on August 7, Mitchell
sent yet another revision—this time achieving the plan that would remain substantively in
place on August 12—that reverted to the five-zone layout. 268 The five-zone design was
circulated to other agencies in the days leading up to the event and was shared internally
among the supervisors and zone commanders on August 9. Each zone would be manned
by one squad of CPD officers and three squads of VSP troopers; with eight officers per
squad, every zone would be staffed by at least thirty-two officers. 269
Despite Mitchell’s circulation of the substantively finalized five-zone plan to VSP on
August 7, various VSP commanders expressed surprise when they arrived in Charlottesville
and saw that there would be five zones instead of four. The VSP operational plan that was
accidentally left behind in Charlottesville may explain the confusion: that document
included the August 4 design with four zones.
Separate from the zone-switching in the weeks before Unite The Right, the Emancipation
Park operational plans changed in two other significant ways in the last twenty-four hours
before the event.
First, as discussed below, Sergeant Newberry relayed information on August 11 that the
Unite The Right demonstrators were planning to arrive via shuttles that would stop at the
intersection of Ridge McIntire Road and Market Street—west of Emancipation Park. Based


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on this information, Captain Mitchell switched the designated areas for demonstrators and
counter-protesters, placing the former in the southwest quadrant and the latter in the
southeast quadrant. That information was then conveyed to Jason Kessler by Captain
Lewis late on August 11. It appears that no efforts were made to communicate the zone
designation to counter-protest groups.
Second, Zone 5—the Market Street area—was not originally intended to be blocked off by
any barricades. Indeed, every iteration of the plan called for CPD and VSP officers to be
stationed in the parking lot on the opposite side of the street from Emancipation Park.
Captain Lewis told us that it was her understanding Zone 5 officers would be tasked with
“breaking up fights” on Market Street. But the parking lot backed up to the Wells Fargo
building, where the Unified Command Center would be hosted. VSP insisted that the entire
area be protected by barricades. CPD complied with that request and installed barricades
around the surface parking lot south of Emancipation Park. This crucial change effectively
stationed the officers in Zone 5 behind barricades, much like the officers assigned to the
other four zones. As a result, no officers were assigned to open areas in which protesters
and counter-protesters would interact.

                c.   Ingress and Egress of Crowds and Arrival of Speakers

Beyond the designated entry points and separated quadrants within Emancipation Park,
CPD did not contemplate how general attendees would arrive to and exit from the
downtown area. Nevertheless, conversations between the investigations unit and security
personnel for Unite The Right provided some insight into how and when various
demonstrators would be arriving at Emancipation Park.
Mitchell told us he intentionally channeled entry to and exit from the interior of the park
through the staircases at its southeast and southwest corners. He explained to us that such a
design would force attendees to walk around and enter at those controlled locations.
Through communications with Jason Kessler and his security personnel, CPD agreed to
allow Unite The Right security members to act as “doormen” at their entry point to ensure
only demonstrators would enter the appropriate quadrant of the park.
Sergeant Tony Newberry had several telephone conversations with Jack Pierce, who had
been designated as a security manager for the Unite The Right groups. On the afternoon of
Friday, August 11, Lieutenant Hatter and Sergeant Newberry met with Pierce to show him
around Emancipation Park and discuss the strategic layout for the event. Pierce told
Newberry that the event’s organizers were considering meeting up in a nearby area and
shuttling in to the downtown area in passenger vans. The shuttles would drop off
demonstrators at the intersection of Ridge McIntire Road and Market Street, about a
quarter-mile west of Emancipation Park, and the demonstrators would walk to the park
from there.
Newberry passed the shuttle information up the chain of command. Mitchell’s original plan
called for the Unite The Right demonstrators to occupy the eastern protest zone, but CPD
now understood that those individuals would be arriving from the west. On learning that
information, Mitchell swapped the zones so that the demonstrators would enter at the
southwest corner of Emancipation Park.


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Sergeant Newberry told us that when he passed the shuttle information up to his
supervisors, he also suggested that they consider posting law enforcement officers along
Market Street between the putative drop-off spot and Emancipation Park. Newberry does
not recall receiving a substantive response to his idea other than that the command staff
“needed to think about it.” The planning documents do not show any revisions
implementing Newberry’s suggestion. Relatedly, Lieutenant Jim Mooney, told us that
during the July 8 zone commanders debriefing, Chief Thomas said, in reference to
August 12, “I’m not going to get them in and out.”
In truth, Sergeant Newberry’s main purpose in communicating with Jack Pierce was to
coordinate the arrival of the event’s speakers. As Newberry explained, CPD worried that as
soon as counter-protesters learned the whereabouts of some of those people, their location
would become “a hot area.” Thus, CPD hoped to work with the speakers to safely escort
them to and from Emancipation Park—similar to the escort provided to the Klan on July 8.
Jack Pierce was open to assistance for the seventeen individuals identified as either speakers
or “VIPs” at the Unite The Right rally. Newberry suggested the speakers load into one or
two passenger vans and then join a convoy of unmarked police vehicles. The vans would be
waived through barricaded streets and park on Jefferson Street, directly behind the Park.
Then, Newberry would coordinate with the appropriate zone commander to allow the
speakers direct entry into the event.
Pierce was in agreement with that plan, but he and Newberry could not settle on precisely
when the speakers would arrive. Newberry hoped to bring the speakers in very early—
perhaps as early as 7:30 or 8:00 a.m. Pierce resisted arriving so many hours before the
official noon start time. Ultimately, they agreed that the speakers would arrive sometime
around 10:00 or 11:00 a.m. Pierce was circumspect about where CPD could meet the VIP
vans to escort them, but agreed to call Newberry in the morning with their location when
they were ready to depart for Emancipation Park.

                d.    Arrest Guidance

Based on the experiences of July 8 and intelligence gathered in advance of August 12, the
CPD operational plan included guidance on potential criminal offenses and arrest
procedures. In particular, Captain Mitchell included a short primer on particular offenses
with which officers might be confronted, identified by the Commonwealth Attorney’s
Office: obstruction of free passage; rioting; failure to disperse; injury to property or person;
crossing established police lines; disorderly conduct; curse and abuse; wearing masks;
offense related to burning crosses and other objects; display of nooses; conspiracy to commit
crime; and unlawful assembly. The plan also advised officers to “maintain close
observation of the crowd and be mindful of potential open carry and concealed weapons”
and to “keep close watch of crowd members who are exhibiting behaviors which could
become violent.” Lieutenant Joe Hatter was in charge of Zone 5 (the Market Street zone)
and took those instructions literally, telling us that he understood that officers should make
arrests and actively engage if necessary.
According to the plan, officers were not limited to making arrests solely for those listed
offenses. Indeed, the plan stated, “Officers should make arrests when appropriate for
unlawful behavior and should use issued flex cuffs as restraints.” Moreover, the plan


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envisioned that each zone would have designated arrest and cover teams. Mitchell
designated Lieutenant Dwayne Jones and three other CPD officers to supervise arrest
processing at the Charlottesville General District Court on East Market Street, and even
broke down the step-by-step procedure officers should follow to efficiently process arrestees.
Despite these written instructions, officers had a very different understanding of the
expectations for arrests on August 12. We spoke to multiple officers at all levels who
expressed concern that normal arrest procedures would put officers in harm’s way. In the
week before August 12, the Virginia Fusion Center shared credible threats that members of
Antifa would bring soda cans filled with cement and might attack police. Then, on the
morning of August 12, rumors circulated among CPD that Antifa might attack officers with
fentanyl.
Out of concern for officer safety, Lieutenant Brian O’Donnell, commander of Zone 3 (1st
Street) instructed his officers to avoid engaging attendees over “every little thing.” Officer
Lisa Best was assigned to Lieutenant O’Donnell’s zone. She told us that officers “were not
going to go in and break up fights” or enter the crowd to make arrests “unless it was
something so serious that someone will get killed.” Sergeant Robert Haney described the
instructions he received as “do not interrupt mutual combat” unless someone is seriously
injured. Lieutenant McKean commanded Zone 1. He told us that he was “not sending
guys out there and getting them hurt.” This concern is reflected in our review of body
camera footage, which reflects multiple instances of officer uncertainty about potential
engagement with the crowd.
Rather than engage the crowd and disperse fights, the CPD plan was to declare the event
unlawful and disperse the crowd. The Operational Plan outlined the steps by which an
unlawful assembly could be declared. According to the plan, the Chief of Police or his
designee retained “the authority to issue the order for declaration of an unlawful assembly
should circumstances warrant such action.” At such time, zone commanders would use
bullhorns to alert the crowd that they must disperse. If that did not work to disperse the
crowd, then the VSP’s Mobile Field Force units would be called out in riot gear to clear the
area. At that time, all CPD officers located within the zones would revert to Zone 4—the
law enforcement area north of the Lee statue—to don protective gear and become the CPD
mobile field force under the command of Lieutenant Michael Gore. The CPD mobile field
force would then “take a position behind the VSP mobile field force and act as rear guards.”

                e.   Riot Gear

One of the lessons learned from July 8 was the need for officers to have easy access to their
riot gear- helmets, shields, and gas masks- in the event of an unlawful assembly. As
mentioned above, many officers believed that they should arrive at their posts wearing their
riot gear on August 12. In fact, numerous officers strongly endorsed starting the day in their
gear, or in the alternative, having the riot gear immediately at their side. Lieutenant
O’Donnell shared with us an email from one of his officers expressing the concern “that not
having our protective equipment accessible will place myself and others at risk of bodily
harm.” 270 Another officer assigned to zone 3 told us that she was so concerned about the
potential for violence and her lack of protection that she updated her will and left letters to
both of her children when she reported for duty on August 12.


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Ultimately, the command staff rejected the suggestion to have officers arrive already
wearing riot gear. Captain Lewis told us that Chief Thomas refused to consider such steps
in the aftermath of July 8, when CPD faced criticism for its deployment of tear gas. Captain
Mitchell explained he intentionally staged the VSP mobile field force units behind closed
doors because the “optics are bad” when citizens see officers wearing protective gear
suggesting police are “ready to fight.”
Accordingly, the plan called for all officers stationed in the zones in and around
Emancipation Park to pack their riot gear into bags, which were then stowed in a trailer in
Zone 4—north of the park on Jefferson Street. If and when the time came for CPD officers
to access their riot gear, they would retreat to that area and suit up. Notably, that
instruction applied equally to Zone 5—the officers assigned to Market Street. Lieutenant
Hatter recognized that this plan would require his officers to traverse Market Street and
Emancipation Park and face whatever conditions merited the call to wear protective gear.
So he exercised his command discretion and ordered his officers to stage their riot gear in
the lobby of the Wells Fargo building, which abutted Zone 5.

                f.   Staging of Tactical Field Forces and Other Assets

In addition to the 160 officers stationed in and around Emancipation Park—32 per zone—
the CPD plan called for the staging of four VSP mobile field force units nearby. Each of
these units consisted of 52 state troopers who had been trained to face riot conditions and
disperse unruly crowds. They would wear protective gear and carry large shields for crowd
control.
Unlike Justice Park, which is surrounded by various municipal office buildings,
Emancipation Park did not have many nearby public facilities where CPD could easily
arrange to stage the VSP mobile field force units. At one point in the planning process, the
command staff hoped to use air-conditioned buses on 1st, 2nd NE, and Jefferson Streets—
the western, eastern, and northern boundaries of the park, respectively—to stage the mobile
field force units. Unfortunately, the City would not make available its transit buses, offering
instead only school buses with no air conditioning. That was not viewed as a viable option.




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 There were many potential locations for staging mobile field forces. Ultimately CPD
  was only able to secure Hill & Wood, the Omni Hotel, City Space, and the Jessup
                           House, marked in yellow above.
Mitchell contacted various private buildings adjacent to the park to seek help. Mitchell
received the agreement of Hill & Wood Funeral Service for CPD to use their entire facility
and parking areas. That allowed Mitchell to stage a VSP mobile field force at the corner of
Market and 1st Streets. As described above, Mitchell initially received an agreement from
Christ Episcopal Church to house a field force, but that permission was withdrawn on
August 2. Mitchell faced similar difficulty securing the Jefferson-Madison Regional
Library, which is located at the corner of Market Street and 2nd Street NE, adjacent to the
southeast corner of Emancipation Park. The Library’s board denied permission to use the
building as a staging area, although it agreed to allow use of the building’s loading dock.
And Mitchell knew that the First United Methodist Church was unavailable as that facility
was being used by both Congregate and the Clergy Collective for counter-protester support.
Mitchell housed the remaining 3 VSP mobile field force units in three distance locations:
the Omni Hotel (three blocks to the southeast on the downtown pedestrian mall); the Jessup
House (five blocks west-northwest at the corner of High Street and 7th Street NE; and City
Space (four blocks west-southwest at the 5th Street pedestrian crossover of the Downtown
Mall).
According to Mitchell, the 200-plus VSP troopers stationed in these locations would only be
called out only in the event of an unlawful-assembly declaration. The plan called for the
field force units staged at the Hill & Wood and Jessup House units to deploy to the rear of
Emancipation Park to form the park-clearing line. The units at the Omni and City Space
would form lines across the Downtown Mall to control foot traffic from the crowds that


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would be pushed south. Colonel Flaherty told us that VSP did not contemplate deploying
the field forces to respond to disturbances on Market Street. Except in the event of an
unlawful assembly, the VSP mobile field forces would not exit their buildings or reveal their
locations to the public.
Early on the morning of August 11, Lieutenant Knick e-mailed Captain Lewis to confirm
updates to staffing changes and to let her know that the Paramount Theater—a concert
venue with a backdoor loading area less than a block east of Emancipation Park on Market
Street—had cancelled a show scheduled for August 12 and would perhaps be available to
stage a mobile field force. 271 Lewis forwarded the message to Captain Mitchell with the
message: “Just FYI, we talked about all of these last night except the paramount. I think it
is too late for that.” 272

                g.   Coordination with Albemarle County Police Department

The City has agreements with both the Albemarle County Police Department and
University Police Department that allow each law enforcement agency to ask for and
receive help from the others. Captain Mitchell told us he requested additional resources
from both UPD and ACPD, but was rebuffed. According to our interviews with multiple
CPD officers, Chief Thomas told his command that CPD did not have the support of its
“allies” on August 12. In particular, Chief Thomas criticized ACPD for refusing to provide
any assistance other than answering priority calls for service within the City. Additionally,
Assistant City Manager Mike Murphy told us that he was told ACPD units were not
available because the County did not want to have “its logo associated” with Unite The
Right.
Albemarle County Police Chief Rick Lantz and others within ACPD tell a far different story
regarding actual and potential cooperation between ACPD and CPD on August 12. Chief
Rick Lantz told us he repeatedly offered assistance to Chief Thomas and CPD, in the form
of police resources and information. He expressed the view that ACPD did all it could to
assist CPD on August 12, though he stressed that his officers were forced to respond to
multiple incidents within the County related to the Unite The Right event. Chief Lantz
indicated that in advance of August 12, he told Chief Thomas about his experience working
in Fairfax County, where he would assist law enforcement efforts for large demonstrations
in Washington, D.C. Lantz told us that Thomas never accepted help or reached out for
Lantz’s input.
ACPD Captain Sean Reeves similarly criticized CPD’s lack of flexibility and willingness to
accept help during preparations for the August 12 event. Captain Reeves attended the
weekly interagency planning meetings for August 12. He recalled that VSP began the
planning process and seemed to be in charge. They discussed “setting the tone” early in the
event by making arrests and deescalating fights. But as the event grew closer, CPD took the
lead and the tone changed. During meetings soon before August 12, VSP and others would
raise issues to Chief Thomas that he dismissed without consideration. For example, there
were suggestions that the Command Center was too close to Emancipation Park and that
the area in and around the Park should be “sanitized” for the event by removing newspaper
boxes and other items. Reeves also recalled a discussion about the risks of dispersing the
crowds toward the Downtown Mall in the event of an unlawful assembly. According to


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Reeves, Chief Thomas continued to minimize or ignore these concerns, exhibiting a
“hunkered down” mentality that was unwilling to consider alternative plans, particularly as
the event got closer.
With respect to ACPD assistance, Reeves explained that he understood that ACPD would
answer priority calls for service in the City on August 12. At one planning meeting, Captain
Mitchell suggested that ACPD’s coverage should include McGuffey and Justice Parks—the
locations where counter-protesters would be staging for the event. Reeves objected out of
the concern that those locations were within the area of potential disturbance, and not all of
his officers had been sufficiently trained in civil disturbance events.
As the event drew closer, Captain Reeves sent Captain Mitchell an e-mail that explained
ACPD’s officers would answer priority calls for service “not related to the protest rally”
from 11:00 a.m. until 7:00 p.m., and they could “hold over to continue to assist” if
requested. The e-mail also explained that ACPD would have its SWAT Team and mobile
field force “staged at the County Office Building on McIntire Road in the event they are
needed to assist CPD or respond to incidents in the county.” 273 Mitchell forwarded that e-
mail to Chief Thomas. Chief Thomas replied directly to Captain Reeves, expressing his
view that ACPD had “made it very clear that ACPD officers will not assist CPD with any
activities related to the Alt Right Rally.” 274 Reeves responded by reiterating that ACPD’s
SWAT Team and mobile field force would be available “in the event they are needed to
assist CPD with the planned rallies, protests and counter-protests. These assets will deploy
at the request of CPD.” 275 Thomas did not respond.

Chief Lantz told us he did not understand why Chief Thomas did not acknowledge the
availability of ACPD’s SWAT and mobile field force personnel, much less call them into
service on August 12. He denied that ACPD ever refused to provide assistance beyond
normal calls for service, and stressed that the officers in those units—who were stationed in
COB McIntire, about a quarter-mile from Emancipation Park—were anxious to deploy
when they saw the violence unfolding that morning. In fact, Lantz sent a text message to
Thomas on August 12 to remind him that his officers were standing by if “hell breaks
loose,” and they would deploy immediately if Thomas “hit the red button.” Lantz never
got a response.
Captain Reeves was stationed in the “overflow room” at the Command Center on
August 12. Throughout the day, he received no information from CPD about the events but
instead had to monitor conditions himself. The ACPD SWAT Team and mobile field force
were never discussed. He does not know why they were not called upon or used in the
midst of disturbances around Emancipation Park.

                h.   Coordination with University Police Department

We heard from City officials that UPD officers were unavailable to provide direct assistance
during the Unite The Right rally. Captain Mitchell told us that the University refused to
allow any officers to “go near” Emancipation Park because they saw the Unite The Right
rally as “radioactive.” That perception aligns with similar opinions we heard from others
who suggested that the University is particularly hesitant to intervene in any events that
implicate First Amendment speech rights. UPD Chief Michael Gibson admitted to us that


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UPD agreed to allow their officers to answer emergency calls in the City on August 12 but
could not agree to provide officers for crowd control. He suggested, however, that this
decision was based on the need for his officers to protect the University in the event of a
threat on August 12.

               i.    Contingency Plan for McIntire Park

When it became clear that City Council was seriously considering attempting to move the
event to McIntire Park, Captain Mitchell assigned Lieutenant Durrette responsibility for
designing a plan. The large layout reduced most of the complications posed by having a
rally in the congested downtown area. Durrette was able to quickly determine that two
baseball fields that sat next to each other created convenient areas to corral the Unite The
Right demonstrators and opposing counter-protesters. He staged a law enforcement safety
zone nearby, and drew up a map showing where additional barriers would need to be
placed. He submitted the plan to Captain Mitchell on July 31.

          6.   Virginia State Police Operational Plan

VSP had written its own operational plan for August 12. All of the CPD command staff
told us that they did not see that plan before the event, nor were they aware that VSP had
created their own document. Captain Mitchell told us that he would have liked to see it
ahead of time to ensure there were no conflicts with CPD’s planning. CPD officers became
aware of the VSP plan only when a copy was accidentally left behind at City Space, where
one of the mobile field forces had been staged.
The VSP plan appears to have been finalized on August 7 and ran more than 100 pages.
Much of the information contained in the VSP plan focused on general administrative
guidance for troopers, such as uniform requirements, meals, lodging, overtime
compensation, and so on. The plan also included intelligence and threat assessments and
outlined VSP’s general procedures for the use of force. Several pages of the plan explained
post-arrest procedures that conflicted with the post-arrest procedures outlined in the CPD
plan. 276 Finally, the VSP plan also includes the radio “talkgroups” that were to be used by
VSP—and there is no mention of whether and how CPD communications would be
patched in. Nor is there any guidance in the VSP plan suggesting that state troopers would
answer to anyone outside their internal chain of command—nothing to indicate how CPD
fit into the command structure for the event.
VSP’s plan called for a large contingent of officers—nearly 600 in total—for various
assignments on August 12. More than 100 troopers would be stationed in the various zones
in Emancipation Park. Plain clothes undercover officers would be circulating within the
crowd. A squad of 35 troopers would be dispatched to McIntire Park, with another 35
troopers assigned to the Downtown Mall. VSP would stage four mobile field forces, each
numbering over 50 troopers equipped with riot gear and trained to move crowds. A VSP
tactical team (akin to SWAT) of approximately 30 troopers would stand ready, too. Yet
more VSP personnel would perform other duties—K-9 units, arrest processing, medical
units, and communications oversight. Finally, VSP would deploy two aviation teams to fly
helicopters over the event and provide surveillance.



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The VSP plan included as its final appendix Captain Mitchell’s August 4 Operational Plan.
As explained above, the August 4 plan contemplated the use of four zones within
Emancipation Park. The CPD plan, as circulated to VSP on August 7, implemented five
zones. The distinction between the VSP and CPD plans may have been the cause for VSP
commanders’ confusion on August 12 as to the number of zones.

          7.   Emergency Services Plans

               a.    Charlottesville Fire Department

We received various documents from CFD and interviewed Deputy Fire Chiefs Mike
Rogers and Emily Pelliccia. Rogers drafted CFD’s incident action plan for August 12, and
his planning was informed by frequent interaction with CPD and larger conglomeration of
agencies involved in the overall planning process. The documents provided by CFD and
our conversations with CFD leadership reflect that the department had a comprehensive
plan for organizing both fire and EMS resources for August 12.
CFD’s plan called for fire and EMS assets to be staged at the County Office Building on
McIntire Road (COB McIntire) on August 12. Rogers included detailed schedules and
schematics for how COB McIntire should be organized. He divided assets into distinct
groups responsible for assisting law enforcement with extracting protesters, treating
individuals in need of medical attention, transporting such individuals, and responding in
the event of a hazardous material situation. He explained in detail various “Event Levels”
that could be used on August 12: Event Level 1 (normal tactics, responders on offensive);
Event Level 2 (normal tactics, but withdrawing assets from Zone 4 and rerouting them to
the COB Base); and Event Level 3 (defensive tactics, withdrawing all assets to COB Base,
and reserving radio traffic for emergency operations only). Rogers even designated
medevac landing zone areas for both the Downtown Mall and McIntire Park in the event
that emergency air transport would be required.
Rogers went so far as to even consider the appearance of his staff at the event. During the
planning for August 12, Rogers learned that crowds at similar events had been hostile to
police. So Rogers ordered all CFD and EMS staff to wear red shirts that would distinguish
them from other emergency services personnel in a crowd.
The CFD plan also included a rendering of the CPD’s five-zone plan for Emancipation
Park. It highlighted Zone 5 (Market Street) in red and white stripes and emphasized the
area with arrows. When we asked Deputy Chief Rogers why he had labeled Zone 5 in that
manner, he replied that he had major concerns with the area, both because he felt it was too
close to the Command Center and because he predicted demonstrators and counter-
protesters would clash there. The red labeling on CFD’s plan was to indicate that he would
not stage any CFD or EMS personnel or respond to complaints in that area given the safety
concerns. Instead, CPD would be required to extract injured individuals from that zone and
deliver them to an extraction team nearby for treatment. Rogers expressed this opinion to
CPD.
Rogers shared with us that his planning process was not without its own difficulties. He
expressed frustration with finding enough resources for the large-scale event. For example,


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he knew that he needed additional ambulances for August 12, but when he reached out to
state agencies requesting them, he encountered “bureaucratic red tape” for how to formally
make the request. The procurement process presented so many hurdles that Rogers
eventually maneuvered around them by contacting surrounding jurisdictions directly and
asking for their assistance. The neighboring jurisdictions agreed and provided the
ambulances Rogers needed.

                b.   University of Virginia Medical Center

We spoke with Tom Berry, the Director of Emergency Management at UVA Health
Systems, regarding the University of Virginia Medical Center’s planning for August 12.
Berry recognized that the Unite The Right rally had the potential to be a mass casualty
incident. His planning began immediately after the July 8 demonstration.
In subsequent weeks, he held two large incident management meetings that included
personnel from inside and outside the hospital, including the emergency room and
operating room staffs, radiology, blood bank, registration, supplies, peer logistics,
transporters, patient and guest services, trauma surgeons and emergency medical
physicians, CFD, and officials from Martha Jefferson Hospital. The nearly 100 people who
attended these meetings came together to share information, ensure clear and efficient
communication, and create accountability for August 12.
Berry also made tactical decisions that would make the hospital more available in the event
of a mass casualty incident. The hospital cancelled all elective surgeries. Berry also
established three rings of security around the hospital, which would allow him to lock down
facilities, ranging from specific units within the building all the way to the entire hospital
itself. He arranged for stretchers and trauma carts to be lined up inside and outside of the
hospital so that at any moment he could “flip the switch” to convert the hospital’s
emergency intake from the Emergency Room to the main lobby. And the hospital’s plan
called for a hazmat tent to be established at the Lee Street parking garage to decontaminate
patients from any chemicals, such as tear gas.
Notably, Berry told us how frustrated he was about the flow of information from CPD in
advance of the event. He repeatedly requested to be present at briefing meetings but was
never invited to any planning meetings for August 12. He told us that he could have learned
more from just sitting and listening for thirty minutes than he could by asking his IT
department to gather intelligence on social media (which he did). Accordingly, he was
denied the opportunity to get any information from CPD to prepare the hospital. He did tell
us he attended meetings organized by CFD, and he was able to tell Deputy Chief Rogers
that the University’s hospital could absorb 50 “red” patients—a number that affected
Rogers’s planning for triage in the event of a mass casualty incident.

                c.   Emergency Communications and Operations Center

We spoke with Allison Farole, the emergency management coordinator for the
Charlottesville-UVA-Albemarle County Office of Emergency Management, which is part of
the regional Emergency Communications Center (ECC). For August 12, Farole oversaw
the regional Emergency Operations Center (EOC), which was based at Zehmer Hall on the


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grounds of UVA. In general, the ECC operates on a regular basis to provide regional
communications and a common 911 system. For special events, Farole can recommend the
creation of a temporary EOC, but the decision is ultimately made by the responsible
executives in each jurisdiction: Charlottesville City Manager Maurice Jones; Albemarle
County Executive Doug Walker; and UVA Vice President and Chief Operating Officer Pat
Hogan.
Usually, the EOC operates in a conference room at the regional ECC building (2306 Ivy
Road—about a ten-minute drive from the downtown area). As discussed above, there was
no formal EOC for the July 8 event; instead Farole operated a Virtual Emergency
Operations Center Interface, which provides a workstation for any user granted access. For
August 12, however, Farole recommended, and the relevant executives agreed, to stand up
a full EOC at Zehmer Hall on the University Grounds.
EOC preparations for the Unite The Right rally began immediately after July 8. Farole
recalls attending weekly regional meetings with CPD, VSP, CFD, and various other
agencies. Farole shared that CPD and VSP controlled these meetings, and she believed that
the two agencies seemed to have “informal” plans for how to manage the incident. She
recalled intelligence about the event being discussed. Despite this close contact with law
enforcement, she only learned of the decision to move the rally to McIntire Park “at the
same time everyone else did.” She explained that her primary role was to work with fire
and emergency medical units. For example, they decided to seek additional 911 operators
from neighboring jurisdictions for August 12.

          8.   The Virginia National Guard

Colonel Flaherty told us that efforts to mobilize the Virginia National Guard began during
the week leading up to August 12. Flaherty spoke with Brigadier General Timothy
Williams, the National Guard’s Adjutant General, and on August 8 they agreed that VSP
would take command of the Guard’s company of 115 military police officers. The National
Guard unit would stage at their armory on Avon Street, about 2.5 miles from Emancipation
Park.
Although we received some communications regarding the National Guard pursuant to a
FOIA request to the Governor, we have not received any planning documents or been told
about the Guard’s tactical objectives or mission on August 12. Captain Wendy Lewis, who
served as the Unite The Right exterior commander, told us she was never informed about
the Guard’s mission or role. E-mail communications show that the National Guard held a
series of briefings on the afternoon of August 11. They first heard from the Adjutant
General, then they received a legal briefing from a Judge Advocate General. At 4:00 p.m.,
the National Guard received a briefing from the VSP.

          9.   VDEM and the Incident Management Team

The Virginia Department of Emergency Management (VDEM) provides assistance to local
governments in the event of emergencies beyond their capacity to handle alone. These
events typically involve storms and other weather events, though they also include large
gatherings of people presenting safety concerns. In preparation for particular emergencies,


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VDEM often convenes an “Incident Management Team” (IMT) to coordinate multi-agency
response. An IMT is made up of officials from local and state agencies trained in
emergency management. They travel to the location of a potential emergency to assist in a
local response. IMT personnel often collate multiple agencies’ operational plans into a
single plan using nomenclature identified by the National Incident Management System
(NICS). Having a final, consolidated operational plan helps ensure that everyone involved
in responding to a crisis event understands the command objectives.
On August 1, 2017, VDEM employee Lee Williams attended a meeting with CPD and VSP
at which planning for the Unite The Right rally was discussed. After learning details of the
CPD Operational Plan, Williams shared concerns with CPD and VSP, including the
absence of “overall incident objectives,” potential challenges with bandwidth and cellular
phone coverage, inadequate attention to the logistical requirements for the large VSP
population, and the absence of contingency plans in case the event lasted longer than
anticipated. Williams also commented that the Command Center was too close to the rally
site.
On August 8, 2017, Williams attended a second briefing with VSP, CPD, and CFD. At that
meeting, CFD Chief Andrew Baxter informed Chief Thomas that he planned to request an
IMT for August 12, regardless of whether Thomas wanted the assistance of VDEM.
However, Baxter invited Thomas to join him in making the request. Williams explained to
Thomas the benefits that an IMT could offer.
Chief Thomas and Captain Mitchell had resisted the suggestion to implement an IMT in the
weeks before August 12. From the Chief’s perspective, implementing an IMT would simply
put the existing CPD plan into Incident Command System (ICS) format, which used a
different nomenclature. Captain Mitchell told us that Captain Worsham—VSP’s incident
commander for August 12—had warned him that the IMT would attempt to formalize his
planning efforts and only “get in the way.”
Regardless of these concerns, Chief Thomas agreed to join Chief Baxter’s request for an
IMT on August 8 as it had become clear that CPD had to plan for the possibility of hosting
the event at McIntire Park. Chief Thomas told us that he thought there was insufficient
time to plan for two separate locations, so he agreed to request an IMT. 277 Thomas said that
VDEM seemed unconcerned about the late window of their involvement, because “they are
used to being brought into a crisis.”
CFD Deputy Fire Chief Emily Pelliccia assumed the role of IMT liaison for August 12.
Within twenty-four hours, she had fourteen IMT members stationed at the Fontaine
Avenue fire station, where they quickly got to work coordinating the planning efforts
between the agencies and arranging for various resources for the weekend. Among the
resources brought to bear by the IMT were GPS monitors to track the locations of law
enforcement officers, a cache of at least 100 additional radios, and hourly status reports that
were transmitted during and after the event. The IMT consolidated various agency plans
into a single Incident Action Plan (IAP).
In the few days left before August 12, the IMT held several meetings. The first meeting,
held August 9, was for “agency administrators” which included Chief Baxter and Allison


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Farole. CPD sent Lieutenant Steve Knick but no one from the command staff. Knick told
us that he was impressed by the IMT’s “tremendous” resources, and he expressed shock that
no one at CPD had been aware of their skills. Because none of CPD’s command staff
attended the agency administrators meeting, the IMT held a second meeting later in the day
for CPD. Captains Shifflett and Lewis attended; Chief Thomas and Captain Mitchell did
not. Shifflett and Lewis gave the IMT their operational plan and discussed the IMT’s
capabilities. One IMT official recalled that Captain Lewis was very excited about the
availability of GPS trackers.
August 10 saw a flurry of IMT meetings. In the morning, Chief Thomas finally attended a
meeting with the IMT, where he consented to the merger of the CPD and CFD operational
plans, and he agreed to be designated as the overall incident commander with Captain
Mitchell as operations section chief. These labels derive from the ICS protocols, which
VDEM and the Federal Emergency Management Agency impose as a condition of state and
federal reimbursement. In the afternoon the IMT held a meeting to “poke holes” in CPD’s
plan through tabletop exercises. Again only Captain Shifflett and Captain Lewis attended;
Chief Thomas and Captain Mitchell did not. Shifflett told us that these scenarios required
them to game out responses to various situations, including suspicious packages, explosive
devices, explosions, active shooters, and other disorders. Later that day, the IMT went over
the tactical plans outlined by CPD to ensure “clarity on expectations.” It was at this
meeting that Lieutenant Durrette was deemed to have too much responsibility—command
of the McIntire Park units, supervision of the traffic plan, and participation in CPD’s SWAT
plans. Accordingly, Captain Lewis agreed to shift traffic responsibility to Lieutenant Knick.
The IAP denoted various branches—Exterior, Emancipation Park, Fire/EMS, and
Response (i.e., SWAT and mobile field forces)—and listed the relevant supervisors in each
division within the branches. For example, the IAP noted that Zone 1 in Emancipation
Park fell under the leadership of both CPD Captain David Shifflett and VSP Lieutenant
Becky Crannis-Curl, showed that Lieutenant Thomas McKean would serve as zone
commander, and listed the four sergeants in charge of each squad assigned within that
Zone 1. The IAP also designated the radio channels to be used by various units, and it
contemplated all the officers in a given division, whether VSP or CPD, would be using the
same frequency.
For each Emancipation Park grouping, the IAP contained the following “Special
Instructions” regarding arrests: “Make arrests as necessary after notification to supervisor,
unless personal safety is compromised, in which supervisor notification should be done
immediately after arrest.” Kent Emerson, the Resources Unit head on the IMT, told us that
he composed that language after the August 10 strategy session at which Captains Lewis
and Shifflett discussed possible responses to contingencies. Captain Lewis told us that she
did not tell Mr. Emerson or otherwise mean to imply that officers needed to obtain
supervisory approval before making arrests on August 12. Rather, she wanted to ensure that
zone supervisors were aware of arrests and could shift resources accordingly. The “special
instructions” language in the final IAP did not contribute to officer uncertainty on August
12. The IAP plan was distributed to supervisory personnel and did not reach line CPD or
VSP officers who were assigned to particular zones in and around Emancipation Park.



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At noon on Friday, August 11, the IMT presented its consolidated IAP at a meeting of
supervisors from various agencies held in City Council chambers. An IMT member
described the meeting as a “sea of VSP” with a few CPD senior officers intermingled. At
that time, the IMT requested and received approval of its plan from Captain Mitchell.
A final briefing meeting was held that afternoon at the Fontaine fire station, which was
attended by VSP, CPD, CFD, and the National Guard. After that meeting, VSP Lieutenant
David Cooper informed the IMT that some of the personnel information listed in the IAP
was incorrect. The IMT worked quickly to amend the IAP, but did not complete the work
in time to redistribute the plan that evening. New copies were printed and delivered to
various locations early on August 12, including the Command Center.
Despite this quick and impressive work, Chief Thomas told us no one in the Command
Center looked at or operated from the IAP on August 12.

          10. Command Centers

Rather than culling down the number of vital decision makers who should be in the same
room on August 12, the various officials in charge of the multiple agencies involved were
spread out across three primary locations. Charlottesville and VSP command staff set up
their Command Center—referred to as a “Unified” Command Center,—in the Wells Fargo
building across Market Street from Emancipation Park. One room in the Wells Fargo
building was reserved for key decision makers from CPD and VSP. CPD was represented
by Chief Thomas, Captain Mitchell, Captain Lewis, Lieutenant Steve Upman, and
Thomas’s personal assistant Emily Lantz, who recorded the scribe notes for the event. The
plan also accounted for ten VSP officers, including the incident and deputy incident
commanders. Maurice Jones and Mike Murphy were present in that room, as were Colonel
Flaherty and intelligence analysts from the Virginia Fusion Center and the FBI. Murphy
told us he recalled officials from VDEM also being present. The law enforcement
conference room of the Command Center had multiple computer and television screens,
which showed live video feeds from pole cameras in and around Emancipation Park, a live
feed from the VSP helicopter units, and open source livestreams of the event.
A second room adjacent to the law enforcement base of operations in the Well Fargo
building was occupied by CFD Deputy Chief Mike Rogers, EOC Coordinator Allison
Farole, ACPD Captain Sean Reeves, UPD representative Don McGhee, the City Director
of Communications Miriam Dickler, VSP’s public information officer Corrine Geller, and
various representatives from the National Guard, VDEM, and IMT. In contrast to the
multimedia displays in the law enforcement room, the second conference room had no
technological capabilities.
The EOC stood up its operations at Zehmer Hall on the Grounds of UVA. Convened at
that location was the Regional Policy Group, which included Assistant City Manager Leslie
Beauregard, UVA President Teresa Sullivan, UVA Vice President and COO Pat Hogan,
Albemarle County Executive Doug Walker, CFD Chief Andrew Baxter, UVA Director of
Safety and Emergency Preparedness Marge Sidebottom, CPD Lieutenant Cheryl Sandridge,
Albemarle County Fire Department Chief Dan Eggleston, and ECC Executive Director
Tom Hanson. There were also “dozens” of UVA administrators gathered in a separate


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conference room. The Policy Group watched live feeds from social media and television
media. Captain Mitchell shared with us his view that the Zehmer Hall gathering existed
simply so that UVA decision makers would “have a place to go.”
The IMT was headquartered at the CFD Station 10 on Fontaine Avenue. We believe that
members of the IMT had some interaction with individuals who were also stationed in the
second conference room at the Command Center, but it is unclear how and whether
personnel at the Fontaine Avenue fire station were used. Captain Mitchell told us that the
work performed by the IMT at the Fontaine fire station had “no effect on what [CPD] was
doing” at the Command Center
We note that none of the command centers explicitly called for the presence of City
Councilors. We have learned that Mayor Signer spent some time at the EOC at Zehmer
Hall, but that he repeatedly requested access to the Command Center near Emancipation
Park. Both Chief Thomas and City Manager Jones deflected the Mayor’s requests and
expressed to Signer their view that his presence was not needed. Despite these assurances,
Signer made his way to the Wells Fargo building. He was refused entry to the Command
Center and was sent instead to a separate floor of the building. When City Manager Jones
left Command to meet with Signer, he had already departed. Mayor Signer told us that he
was frustrated by his lack of access to the Command Center, as he believed it was important
for elected officials to understand what was occurring to facilitate the provision of
information to the public. Mayor Signer also admitted that after he was denied entry to the
Command Center, he told City Manager Jones “you work for me” and suggested there
would be ramifications for his failure to admit Signer to the Command Center.

     B.   Events of August 11

The Unite The Right event began earlier than advertised. On the evening of Friday,
August 11, Jason Kessler, Richard Spencer, and more than three hundred torch-bearing
supporters marched to the Rotunda of the University of Virginia. The march set an
ominous tone for the rally that would follow on August 12.

          1.    Intelligence

There were early warnings about a Friday night event well in advance of August 11. On
July 14, VSP analyst Chanthu Phauk provided CPD Captain Wendy Lewis with a report
suggesting that Kessler has “mentioned people meeting up somewhere to hang out on
Friday before the event in Charlottesville.” Lewis forwarded the message to Captain
Mitchell and predicted that the “Friday leading up to the [Unite The Right] event will be
very very busy!” 278 In light of the report, Mitchell decided to deploy additional resources on
Friday evening and focus on protecting the Downtown Mall. 279
In early August, Lieutenant Hatter received information from a confidential source that
Kessler and others planned to march with torches at Darden Towe Park in Albemarle
County. Hatter shared this information with Captain Lewis. The VSP Fusion Center
corroborated these reports on August 8, noting that Kessler and others planned to meet at
Darden Towe at 8:00 p.m. on August 11, and march to an “unknown location” to “replicate



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a torch lighting.” The Fusion Center also noted that “anarchist groups” were aware of the
event. 280
CPD shared this information with UPD and discussed possible venues for the
march. Because Richard Spencer graduated from UVA, planners discussed the University
as a possible rally site. UPD Captain Don McGee advised UPD Chief Michael Gibson of
these concerns on August 9, noting “[t]here is a concern that the location [for the torch
rally] could be the Rotunda or Lawn area.” McGee went on to advise Gibson that the
march presented a “fire safety issue” and that UPD should “think ahead and plan.” 281
Lieutenant Hatter was also in communication with Jack Pierce, “head of security” for
Richard Spencer. Pierce confirmed to Hatter that an event would occur on August 11, but
refused to provide details. Hatter recalled that Pierce and his colleagues seemed
“determined to make a statement.” CPD was also in contact with Kessler throughout much
of June and July, but Kessler never revealed any details about his plans for August 11.
To conceal their planning efforts, Kessler, Richard Spencer, and other Unite The Right
organizers used Discord, an application that allows confidential communications in private
chat rooms. As indicated above, a Unite The Right planning document shared on Discord
was made public on August 16, 2017. 282 The document reveals that a core group began
planning for August 11 as early as June 6, and finished planning on August 10. The final
planning document, entitled “Operation Unite The Right Charlottesville 2.0”, stated, in
relevant part:
       The Torchlit rally will be at the Jefferson Monument near the UVA campus
       on Friday the 11th under cover of darkness. We will meet at 2130 in
       “Nameless Field” and march with our torches lit to the monument. Each
       person should bring their own torches which can be brought from a local
       Wal-Mart, Lowes, Home Depot, etc. Tiki Torches are fine. Once on the
       grounds of the monument a speech will be given, we do some chants, then
       sing dixie, then put out the torches. We will return to “Nameless Field” and
       back to our cars. 283
The section also emphasized that attendees should not “mention this torchlight beforehand
outside of extremely vetted circles,” and should not “post about [the torchlight event] on
social media until after.” 284
While law enforcement lacked concrete knowledge of Kessler’s plans, anti-racist activists
successfully penetrated Discord and developed significant intelligence about the August 11
event. According to Seth Wispelwey, it was common knowledge among activists that
Kessler planned to hold an event with torches on August 11. Similarly, Charlottesville
activist Emily Gorcenski recalled hearing about the plans for a Friday evening event as early
as Wednesday, August 9. Ms. Gorcenski knew that the event would involve torches, and
assumed that the event would be in the vicinity of the Rotunda. She did not inform CPD.




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          2.    Wal-Mart Parking Lot

The first hint of trouble on August 11 occurred in the Wal-Mart parking lot on U.S. Route
29 in Albemarle County at approximately 12:00 p.m. Chris Cantwell, the host of a right
wing podcast called the “Radical Agenda,” told us that he arranged to meet with a number
of paying customers at that location. Cantwell noted that he maintains a “pay wall” on his
web site in order to protect information regarding his whereabouts from Antifa and other
activist groups. Cantwell planned to meet his supporters, find a place to have lunch, and
discuss plans for Saturday morning.
When Cantwell and his supporters arrived, they were confronted by demonstrators. Emily
Gorcenski was part of the group; she recalled learning about the meeting through an “intel
ring” that had infiltrated Cantwell’s web site. Gorcenski drove to the Wal-Mart to take
pictures, and she posted the pictures on Twitter. Within minutes, the Albemarle County
Police Department received a report of a man with a firearm. When confronted by ACPD,
Cantwell indicated that he has a permit to carry a concealed weapon but denied brandishing
the firearm. ACPD declined to pursue charges, and Cantwell and his supporters departed

          3.    Law Enforcement Awareness and Planning

Soon after the Wal-Mart incident, UVA Vice-Provost for Community Engagement Louis
Nelson received a phone call from an anonymous source in the Charlottesville community
with more specific details about an event at the University on Friday night. At 3:13 p.m.,
the source informed Nelson that Jason Kessler and other members of the “alt-right” planned
to march that evening on the University Grounds with torches. Nelson immediately
escalated the information to University Chief Operating Officer Pat Hogan and other senior
members of the Provost’s office.
Nelson’s e-mail triggered a flurry of correspondence between senior administrators at the
University and local law enforcement. At 3:23 p.m., Vice Provost for Administration Anda
Webb distributed an e-mail to UPD Chief Michael Gibson and University Director of Safety
and Emergency Management Marge Sidebottom, summarizing Nelson’s information.
Webb specifically mentioned the “possibility of an alt-right march on-Grounds this evening,
beginning at the Jefferson statue.” 285 Webb also noted that the march would end near St.
Paul’s Memorial Episcopal Church. 286
Ten minutes later, Chief Gibson forwarded the e-mail to ACPD Chief Ron Lantz and to
Chief Thomas. Lantz responded at 4:10 p.m., noting that ACPD had already responded to
several troubling calls that afternoon involving large groups at Darden Towe Park. 287
Because the intelligence reports earlier that week suggested the park as the starting point for
the march, Lantz continued to stage units there, and worked with Albemarle County
officials to close the park early. However, Lantz also prepared to assist UPD. 288
Gibson developed what he believed was an adequate plan for the potential march. Before
leaving for the evening, Gibson doubled the number of officers on duty, and instructed his
staff to stage a group of UPD officers in the vicinity of the Rotunda to monitor the march,
with additional officers on call near UPD headquarters. However, Gibson failed to develop
a comprehensive plan to maintain separation between alt-right marchers and counter-


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protesters who would likely confront them. Nor did Gibson work directly with either Chief
Thomas or Chief Lantz to coordinate a unified response. Gibson did not recognize that
Kessler’s controversial ideology might result in violent encounters with students or other
demonstrators in Charlottesville for the events of August 12. In his interview with us, Chief
Gibson recalled that he considered Kessler’s march like any other political event on
grounds. He noted that the University’s public areas were fair game for any ideology, and
UPD would only intervene if laws were broken.
Gibson did not communicate the potential threat to other first responders that might be
required to manage a potential large-scale disruption, including the Charlottesville Fire
Department and the Charlottesville-Albemarle Rescue Squad. Thomas and Lantz each
took steps to prepare their respective departments to assist, but Gibson’s failure to fully
engage and leverage the law enforcement resources at his disposal, including VSP units
already staging in Charlottesville for the Unite The Right event on August 12, resulted in a
fragmented and disorganized response later that evening.
Chief Gibson also declined an offer of assistance from VSP. During his interview with us,
Colonel Flaherty recalled that VSP tracked intelligence reports about the August 11 march,
and troopers contacted UPD to offer assistance. According to Flaherty, Chief Gibson
responded that he was aware of the reports and was preparing to monitor Kessler’s
activities.
Kessler, Cantwell, and others arrived at McIntire Park at 5:00 p.m. to discuss the plans for
the evening. Cantwell asked if Kessler planned to coordinate with law enforcement.
Kessler responded that he did not want to inform law enforcement, because he wanted the
event to be a “secret.” Cantwell strongly disagreed, noting that Antifa and other anti-racist
groups often interfere with free speech events held in public areas. Cantwell refused to be a
part of the march unless Kessler contacted law enforcement. Kessler then placed a call to
Captain Lewis, who instructed Kessler to call UPD Patrol Lieutenant Angela Tabler.
Kessler called Lieutenant Tabler, then passed the phone to an associate, who informed
Tabler that the group planned to assemble at Nameless Field on the University grounds,
march to the statue of Thomas Jefferson in front of the Rotunda, and make a short speech.
There was no mention of torches.

          4.    Interfaith Service at St. Paul’s Memorial Episcopal Church

St. Paul’s Memorial Episcopal Church is located at the intersection of University Avenue
and Chancellor Street in Charlottesville, directly across the street from the University. In
the weeks leading up to August 12, St. Paul’s associate rector Elaine Ellis Thomas, an ally
of Congregate Charlottesville, asked the church rector, Will Peyton, for permission to host
an interfaith service on the evening of August 11. Thomas informed Peyton that Princeton
University Professor and longtime Civil Rights activist Cornel West planned to attend.
Peyton gave his consent, as he recognized that St. Paul’s was large enough to accommodate
the sizeable crowd that Thomas anticipated. Peyton told us that he felt that “an interfaith
service is never the wrong thing to do.”
Around noon on August 11, Peyton decided to close the St. Paul’s sanctuary for the
afternoon and lock the building. Peyton anticipated that the attendance of Cornel West


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would draw attention, and he wanted to prevent vandalism. Peyton and parish
administrator John Reed also contacted CPD and asked to hire off-duty officers to provide
security. CPD agreed and promised to send two off-duty officers.
Just before 4:00 p.m. that afternoon, Peyton returned to the church, expecting to find the
building empty. Instead, Peyton found Osagyefu Sekou, a minister from New York City
who achieved notoriety for his protest work in Ferguson, Missouri, leading a training
session of more than 100 activists in the parish hall. 289 Unbeknownst to Peyton, members of
Congregate Charlottesville had organized and presented a number of training sessions in
nonviolent direct action conducted by Reverend Sekou in the weeks before August 12.
Eugene Locke, a Charlottesville resident and retired minister, attended the training, and said
that Sekou instructed attendees on nonviolent techniques for disrupting hate speech and
obstructing law enforcement. A second session was scheduled for later that evening, at
9:30 p.m. 290
Sekou’s entourage informed Peyton that they were concerned about security at the interfaith
service later that night. When Peyton explained that he had arranged to have CPD officers
protect the service, Sekou responded that law enforcement “made [him] uneasy.” Instead,
Sekou proposed that Peyton allow his “security” to protect the parish. Shortly after this
conversation, Peyton received a call from CPD, informing him that the department would
be unable to provide off-duty officers.
University professor Willis Jenkins arrived at St. Paul’s at 5:00 p.m. He became part of the
security detail that was organized to protect the interfaith service. Mr. Jenkins met two
members of the security detail who indicated that they were affiliated with Redneck Revolt,
an anti-capitalist organization that also strongly endorses the Second Amendment. 291
Jenkins recalled that Redneck Revolt requested permission to carry firearms into the
sanctuary, but the request was denied. The security team scouted the external perimeter,
posted guards at ingress and egress points, and monitored the social media communications
of Spencer, Kessler, and other supporters of the Unite The Right event.
The service began as scheduled at 7:00 p.m. The security team screened entrants at the
door. Jenkins and others, including Casey Landrum, participated in searching backpacks.
Jenkins admitted that white males entering the service were subject to enhanced vetting and
asked multiple questions about their purpose in attending. Sekou asked to allow television
cameras into the service. Peyton firmly denied the request, stating “this is not a media
event, it is a prayer service.”
Multiple witnesses testified that despite the security concerns, the first ninety minutes of the
service were peaceful. Rabbi Tom Guthertz of Charlottesville’s Congregation Beth Israel
commented that the church was “full and overflowing,” and that the service was “uplifting”
due to the broad representation of different denominations and faiths.

           5.   Jason Kessler Moves Forward

After the service at St. Paul’s began, the University and the UPD obtained additional
information about Kessler’s plans. At 7:41 p.m., the University discovered a social media
post confirming that the event would take place on the University grounds. 292 Chief Gibson


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passed the information along to Chief Thomas and Chief Lantz. 293 However, Gibson made
no effort to prepare a unified law enforcement response. Chief Thomas shared the
developments with Charlottesville City Manager Maurice Jones. Jones immediately
recognized the gravity of the situation, and understood that CPD would be called upon to
assist. 294
The Mutual Aid Agreement between the City of Charlottesville, Albemarle County, and the
University permits UPD to request assistance from CPD in managing events on the
University grounds. However, for CPD officers to assist UPD, UPD must make a formal
request for assistance. 295 CPD expected mutual aid to be requested and prepared to
respond.
Lieutenant Dwayne Jones, the commander of the CPD midnight shift, informed his officers
about the interfaith service and shared intelligence about the Unite The Right event.
Lieutenant Jones departed from normal procedures and ordered his officers to travel two to
a car. 296 Lieutenant Jones further ordered that in the event of a disturbance, two units,
totaling four officers, were to respond.
At 8:10 p.m., one of Kessler’s representatives contacted CPD and stated that the march
would start at Nameless Field on the University grounds. 297 Chief Thomas passed the
information on to Lieutenant Jones and to Lieutenant James Mooney, whose evening shift
was guarding the Downtown Mall. 298 Lieutenant Mooney informed Chief Thomas that
CPD would provide assistance to UPD upon request. 299
Chief Gibson remained relatively unconcerned about the potential march, noting in an e-
mail to Thomas and Chief Lantz that his officers were “good for right now” and were
“watching this closely.” 300 Chief Gibson’s lack of concern was shared by senior members of
the UVA administration. Shortly after Gibson contacted Thomas and Lantz, City Manager
Maurice Jones e-mailed UVA Executive Vice President and Chief Operating Officer Pat
Hogan, asking if UVA required assistance that evening. Hogan replied that Chief Gibson
had “adequate coverage” for UVA, but asked if CPD would be “available to assist in other
areas.” Jones responded that he would “find out more.” 301

          6.    Difficulties at St. Paul’s

Mayor Signer was present at the interfaith service at St. Paul’s. At 8:21 p.m., he sent a text
message to City Manager Jones and Chief Thomas, informing them that “four alt right”
were inside the church and appeared to be dangerous. Signer noted that no officers were
present in the church. 302 Juvenile and Domestic Relations Judge Claude Worrell was also
present and reached out to Lieutenant Mooney, noting that more than seven hundred
parishioners were inside St. Paul’s and asking Mooney what CPD intended to do to protect
the crowd.
Willis Jenkins recalled that Congregate Charlottesville had allies monitoring social media
and providing information to the security detail. At some point during the service, the
security detail learned that an Alt-Right follower had sent a Twitter message from inside the
church. The security detail identified a suspect but declined to remove the individual from
the service, reasoning that he was unlikely to be armed.


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The ECC received the first of several calls related to the service at 8:43 p.m. An anonymous
male caller claimed to have an AR-15 rifle and threatened to open fire inside the church in
five minutes. 303 At the time, Lieutenant Jones was patrolling Chancellor Street, adjacent to
the church. 304 Eight additional CPD officers responded, including Sergeant Pleasants, the
second-in-command for the midnight shift. When Pleasants arrived, Lieutenant Jones and
two other CPD officers were already searching for a potential active shooter; no shooter was
found.
A second threat against the church was made at 8:56 p.m. An unidentified male called the
ECC and threatened to walk inside St. Paul’s and kill a large number of parishioners.305
CPD again failed to identify a suspect, but officers remained in the area. Based on these
threats, the security detail at the church decided to place the facility on “lock down,” and
prevented parishioners from leaving.
Lieutenant Jones received notification from the ECC that Kessler’s march was to begin at
Nameless Field. Jones placed Sergeant Pleasants in charge of the CPD officers in the area,
and Pleasants ordered the unit to move to the intersection of University Avenue and
Madison Lane, within visual range of the Rotunda. When Pleasants arrived at that
intersection, he encountered a UPD officer. Pleasants mentioned the march and asked if
UPD required assistance. The officer stated that UPD had the situation under control.
Lieutenant Jones then spoke by telephone with the UPD supervising officer, who stated that
UPD was monitoring the situation and did not require assistance. 306 UPD’s relaxed posture
concerned the CPD commanders. To provide additional manpower, Lieutenant Mooney
began moving evening shift units from the Downtown Mall to University Avenue.
At 9:02 p.m., Chief Gibson received an e-mail from Student Council Vice-President Alex
Cintron, indicating that a torch rally would occur at 9:30 p.m. Cintron asked if there was
“any safety information” available to students. 307 Gibson responded at 9:17 p.m., stating
that UPD was aware of the situation and “monitoring .... very closely to make sure
Grounds stay safe.” 308
Chief Gibson nor anyone else sent any notification about the pending event to the
University community. Body camera footage from later that evening shows pedestrians,
including one female in an evening gown, walking across the Lawn shortly after the march.
The failure to distribute timely information to the University community exposed
bystanders and raised the prospect of their unforeseen exposure to a contentious
demonstration.
Despite the lack of any warning from the University, students did learn about the torch lit
march and respond. At 9:15 p.m., a group of demonstrators began to assemble near the
Thomas Jefferson statue in front of the Rotunda. 309 Joined by supporters from the
community, the students formed a circle around the statue.

          7.    The March Begins

By 9:20 p.m., Kessler, Spencer and their supporters were preparing for the march. Emily
Gorcenski observed the preparations; the marchers passed out torches and gave instructions
on what to do if Antifa attacked. At 9:30 p.m., UPD attempted to contact Kessler; his


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associate informed UPD that the marchers would begin at 10:00 p.m. at Nameless Field,
walk up University Avenue, and stop at the Rotunda. 310
The march began early. UPD stationed several officers in the vicinity of Nameless Field,
and they followed the procession. 311 Chris Cantwell recalled that he was instructed to join
other “guards” on the outsides of the line. The guards were selected for their willingness to
“get physical” with Antifa. Cantwell was shocked by the absence of a law enforcement
presence, and noted in his interview that “if you notify law enforcement that white
nationalists were going to march on a public university with torches, you would think they
would take an interest.”




                    The path followed by the torch-bearing marchers.
Open-source video footage shows that contrary to representations made to UPD, the
marchers moved from Nameless Field, around Alderman Library, down McCormick Road,
and onto the Lawn. 312 By 10:07 p.m., the march reached the rear of the Rotunda. The
marchers then split, encircling the Rotunda and marching down the stairs to face University




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Avenue. 313 When Sergeant Pleasants saw the torches appear at the top of the Rotunda, he
again asked if UPD required assistance. Once again, he was told “no.”
Colonel Flaherty also observed the marchers encircle the Jefferson statue. His subordinates
had informed him about the march, and he and VSP Lieutenant Colonel George Daniels
decided to drive around the University. The two senior VSP officials saw the torches for the
first time while driving up University Avenue, and Colonel Flaherty pulled his VSP vehicle
into the parking lot of the University President’s home at Carrs Hill. When Flaherty saw
hundreds of torches emerge from behind the Rotunda, he recalled instructing Daniels to
give him a sidearm, as he anticipated trouble and he had no intention of “wading into white
supremacists unarmed.” Flaherty immediately contacted his dispatcher, who indicated that
VSP units staging at Hill & Wood for August 12 prepared to assist UPD. Col. Flaherty also
ordered a local VSP patrol detachment assigned to cover the Charlottesville area that
evening to converge on the University.
Marchers formed a semi-circle around the Jefferson statue. The small group of counter-
protesters who were waiting for them locked arms. Emily Gorcenski recalled that after
observing the march begin, she ran to the Jefferson statue, and warned the group that a large
crowd was coming, with torches. When she noticed that no police were in sight, Gorcenski
decided to remain with the group. When the torch bearing marchers arrived, confrontations
ensued, as the counter-protesters exchanged taunts with march participants. On at least one
occasion, a counter-protester attempted to knock down a torch, resulting in a physical
altercation. 314 At some point, Gorcenski recalled seeing Chris Cantwell deploy mace; both
Cantwell and Gorcenski claimed to have suffered injuries as the result of a chemical agent.
University Professor Walt Heinecke arrived at St. Paul’s to participate in the training
scheduled for 9:30, only to learn that his students were “surrounded by Nazis in front of the
Rotunda.” 315 Heinecke noted that the students involved had “taken nonviolent training,”
but were very frightened. 316 Heinecke recalled seeing a torch thrown in the direction of
University Dean of Students Allen Groves, who was also in the vicinity of the Jefferson
statue.

          8.    UPD Requests Mutual Assistance

At 10:16 p.m., as disorders broke out in front of the Rotunda and torches flew in the air,
UPD Officer Scott Smallwood crossed University Avenue and finally requested assistance
from Sergeant Pleasants. When Pleasants saw Smallwood approach, he radioed the ECC
for all available units, including the remaining evening shift officers on the Downtown Mall,
and VSP units stationed at the Hill & Wood funeral home. Unfortunately, by the time UPD
requested assistance, many of the disorders around the Jefferson statue were over and the
participants were either dazed or fleeing.
Recognizing that he was outnumbered, Sergeant Pleasants ordered his officers to stay
together and turn on their body cameras. Pleasants then moved across University Avenue,
and UPD asked him to take a position along the steps in front of the Jefferson statue, facing
University Avenue. CPD officers reached the steps at approximately 10:17 p.m.—one
minute after UPD first requested mutual aid. By then, the marchers had begun to retreat,
though a large crowds still surrounded the statue. More students began arriving in large


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numbers. A CPD officer drove into the plaza near the statue and parked a marked CPD
vehicle just below the stairs. Pleasants then attempted to organize the UPD officers, who
did not have a commander on scene.
At 10:18, Emily Gorcenski approached the line of CPD and UPD officers, asking “who is in
command.” Segeant Pleasants spoke to Gorcenski and provided his badge number. When
asked why his officers did not intervene during the confrontations at the Jefferson statue,
Sergeant Pleasants stated “there was no brawl when we got here.” Gorcenski called
Pleasants a “fucking liar,” and continued to walk up and down the line. Two minutes later,
having received no direction from UPD, Pleasants turned to a UPD officer and asked to
speak to a sergeant or lieutenant. He was told “they are scattered.” Pleasants responded
that it would be helpful to “figure out what [UPD] want[s] from us.” Meanwhile, marchers
continued to disperse toward Nameless Field, while counter-protesters criticized police for
failing to protect their rights.
At 10:22 p.m., UPD Sergeant Stuart approached Pleasants and asked him for CPD
assistance clearing the area surrounding the Jefferson statue. Pleasants moved his officers to
a clearing left of the statue and instructed UPD to prepare to assist his unit in pushing the
crowd. Sergeant Pleasants informed Stuart that before he could disperse the crowd, Stuart
needed to declare an unlawful assembly. Sergeant Pleasants noted that the declaration
required amplified sound; Stuart responded that UPD did not have a bullhorn. Pleasants
then instructed Stuart to use the public address microphone on a nearby CPD squad car to
declare the unlawful assembly and explained that the declaration must be given multiple
times. Pleasants also informed Stuart that he was required to give the crowd several
minutes from the time of the declaration before beginning forced dispersal.
Stuart moved to the squad car. Pleasants then moved the remaining CPD and UPD officers
into a two-deep line. Gorcenski saw law enforcement preparing to clear the area, and
requested permission to assist a student in a wheelchair. Pleasants agreed and allowed
Gorcenski to move the student. Stuart declared the unlawful assembly at 10:24 p.m. The
officers then drew collapsible batons and began marching across the front of the Rotunda,
funneling protesters away from the Jefferson statue. The area was clear by 10:29 p.m.
Sergeant Pleasants took a holding position at the top of the hill overlooking McCormick
Road and monitored foot traffic as EMS units provided assistance to victims of pepper
spray. At 10:43 p.m., with the mob dispersed, Pleasants and his officers departed the
area. 317

          9.    Aftermath

As the march ended and the crowd dispersed, the service at St. Paul’s was finally released
and parishioners returned to their vehicles. A few reported encounters with Kessler
supporters leaving the University grounds, but no serious altercations took place. UPD
made one arrest after the incident. EMS units treated several individuals for exposure to
pepper spray; others refused treatment. Small disorders continued in the vicinity of the
University for approximately twenty minutes, but no arrests were made.
In an interview with us, Chief Gibson downplayed the incident, noting that it lasted for less
than an hour and did not result in any serious injuries. Gibson also noted that following the


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incident, he learned that the University’s open-flame policy may have permitted him to
declare an unlawful assembly before disorders began. That policy prohibited open flame
devices on University property and facilities, absent approval by the University Office of
Environmental Health and Safety or the University of Virginia Medical Center Fire
Protection Inspector’s Office. 318 Gibson admitted that he was not aware of the policy on
August 11.
Chief Gibson’s comments notwithstanding, numerous witnesses commented that the
August 11 event had a significant emotional impact. Bo and Maureen Perriello, local
Charlottesville residents who are not affiliated with any of the anti-racist activist groups in
the area, commented that witnessing the sight of torches on the University lawn convinced
them to attend the event on August 12 to protest against white supremacy and bigotry. Seth
Wispelwey commented that the failure of law enforcement to actively intervene in disorders
and to permit a rally of this magnitude without close supervision fostered a permissive
attitude toward violence that continued into the morning of August 12. For Professor
Heinecke, who had received permits to hold two events the next day at McGuffey and
Justice Park, the torch rally suggested that the “white supremacists will be violent
tomorrow.” He consequently requested that CPD provide law enforcement protection for
his events. 319

     C.   Events of August 12

          1.    Early Movements

                a.   Law Enforcement Postings

There was no all-hands briefing for CPD officers on the morning of August 12. Instead, the
various zone commanders and operational heads met at the City Council chambers at
4:00 p.m. on Friday, August 11. At this meeting, the zone commanders met their VSP
command counterparts and discussed the formation of arrest teams and cover teams. They
were expected to convey information to officers within their assigned zones early on
August 12.
CPD officers were ordered to report to their posts by 7:00 a.m. on Saturday morning.
When they arrived, they were surprised by the absence of their state counterparts. As it
turns out, VSP held its own all-hands meeting for its several hundred troopers that morning
at the John Paul Jones Arena. No CPD officers were invited to that meeting. VSP
personnel did not fully arrive at Emancipation Park until 8:39 a.m., much later than CPD
expected. 320 The late arrival of VSP left little time to meet and review plans.

                b.   Interoperability

Had VSP arrived earlier, the two agencies might have quickly realized that they were not
communicating on the same radio channels. Captain Lewis noticed the lack of radio
connectivity immediately upon VSP’s arrival. She notified Captain Mitchell, who did not
attempt to remedy the problem. Captain David Shifflett told us that throughout the day, the
respective commanders from CPD and VSP had radio contact with their respective
subordinates, but not each other. VSP and CPD officers on the ground had no radio


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communications with each other. If a CPD officer needed to share information with a VSP
officer, the conversation had to happen face-to-face or the message had to be relayed
through the Command Center, where the VSP supervisors could then send the message
through VSP channels to troopers on the ground.
Colonel Flaherty told us that the lack of interoperability of communications could have
been easily and immediately remedied, but it did not occur because “CPD did not request
that it be done.” Chief Thomas indicated that he expected CPD and VSP to use linked
communications channels. He could not explain why that linkage did not occur. Chief
Thomas told us that by the time he learned of the problem, he was too immersed in
responding to changing conditions to address the interoperability issue. The bottom line
here is that despite identifying this exact issue—CPD and VSP interoperability—as a
problem from July 8, it had not been fixed for August 12. No one tried to fix it when they
realized it was an issue on August 12.

                c.   Going “Off Plan”

A few small events occurred that morning before participants began to arrive. Lieutenant
Jim Mooney told us he enlarged the southwest barricaded area designated for the Unite The
Right demonstrators. VSP K-9 units responded to a suspicious car in the Wells Fargo
parking lot. Other than the use of K-9 units, there does not appear to have been a concerted
effort on the morning of August 12 to sweep Emancipation Park to remove any items in or
around the area. As a result, newspaper boxes located near the entry areas remained in
place.
Shortly after VSP arrived at Emancipation Park, VSP Ground Commander Lieutenant
Becky Crannis-Curl made comments that suggested miscommunication and a change in
tactics by VSP. First, she commented to Captain David Shifflett that she was surprised to
see the area divided into five zones instead of four. Shifflett was surprised by this comment,
because he had gone over the five-zone plan the day before with another VSP supervisor.
Lieutenant Crannis-Curl reassigned some VSP troopers to Zone 5 and requested that metal
barricades be placed around the surface parking lot behind the Wells Fargo building within
that zone. Captain Shifflett and Lieutenant Crannis-Curl walked around the park, made
additional adjustments to the barricades, and set up their personnel in the zones.
When attendees began arriving sooner than expected and tensions rose, Lieutenant Crannis-
Curl told Captain Shifflett that she was going “off-plan” and was “not going to send arrest
teams into the street.” Shifflett told us that he thought nothing of her comment and did not
communicate it to anyone else in the CPD chain of command. He explained to us that he
believed Lieutenant Crannis-Curl simply meant that “they needed to be safe about how they
approached these issues within the mob of people.” He also pointed out to us that VSP
troopers did later respond to a disturbance on 2nd NE and High Streets, which suggested to
him that they were not entirely hands-off. 321
We developed substantial additional evidence that suggests that Lieutenant Crannis-Curl’s
“off-plan” directive had been passed along and adopted by all of the VSP troopers stationed
in and around Emancipation Park. Lieutenant McKean told us that the VSP sergeant
assigned as his counterpart in Zone 1 told him he would not send troopers over the


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barricades to engage the crowd if their safety was compromised. A trooper in Zone 3 told
Officer Lisa Best that VSP was “under orders not to go in.” Another VSP officer in Zone 3
indicated that troopers had been instructed “not to break up fights.” Lieutenant Jim
Mooney, the commander of Zone 2, told us that his VSP counterpart saw the isolated area
between demonstrators and counter-protesters and suggested that “if all hell breaks loose,
we’re not standing officers here without equipment.” CPD Officer Otis Collier told us that
a VSP Sergeant in his zone that morning simply said “we’re not ready.”
Multiple citizens provided further evidence of the VSP “off-plan” decision to refrain from
leaving barricaded areas adjacent to Emancipation Park. Several witnesses told us that they
directly solicited help from VSP troopers and were told that they were not available to assist.
For example, former Charlottesville Mayor Frank Buck observed an Alt-Right protester fire
a gun in the direction of a counter-protester on Market Street. He then followed the person
who had fired the gun and attempted to alert law enforcement. Mr. Buck told us that on
two separate occasions, he identified the man who had fired the gun to VSP troopers. Each
time, the trooper refrained from pursuing the man or taking other action.

                d.   The Clergy Arrives

The First Baptist Church held a 6:00 a.m. sunrise service on August 12. Members of both
the Clergy Collective and Congregate Charlottesville attended, as did other activists and
counter-protesters. Seth Wispelwey explained to us that after the service, attendees split up;
those trained in nonviolent resistance would stay behind to march to Emancipation Park
                                                  and engage in direct action, while all
                                                  others would go to the Jefferson School
                                                  to participate in the march to McGuffey
                                                  Park. One witness who joined the latter
                                                  group estimated that about 150 people
                                                  marched to McGuffey. The direct-
                                                  action group—whose goal was to
                                                  encircle Emancipation Park in a locked-
                                                  arm barricade—numbered only about
                                                  60. The witness suggested that those
                                                  numbers dwindled after leaders gave
                                                  stern warnings about the potential for
Photo Source: Patrick Morrissey                    violence.
The group that gathered at the Jefferson School set out around 8:00 a.m. They arrived at
McGuffey Park around 8:20 a.m., where their numbers grew to an estimated 300 people.
Organizers on the counter-protester side had set up first-aid stations and water areas under
tents. At McGuffey they heard speeches, sang songs, and milled about talking with each
other. One attendee told us he did not see any Unite The Right demonstrators moving
toward Emancipation Park. From his vantage point, “Charlottesville seemed so peaceful
that morning.”
Some who marched to McGuffey walked over to the First United Methodist Church, where
prayer services happened inside while medical tents and counter-protester support organized
in the back parking lot. Deborah Porras, a minister who traveled to Charlottesville to


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support counter-protest efforts, told us that FUMC had installed metal detectors and
required white males to have a “sponsor” to enter the building. We also learned that
FUMC went on “lockdown” at several points during the day, during which people were
barred from entering or exiting the building. Members of Antifa were asked to leave when
they refused to agree to avoid violence.
Others journeyed beyond Emancipation Park to Justice Park, where more counter-protesters
were gathering. Both McGuffey and Justice Parks had tents for water and medical
treatment. Both locations were staffed by an organized group of “marshals” who had
walkie-talkies and could communicate with each other and people who were at
Emancipation Park.
At 8:55 a.m., police reported that the clergy group gathered at First Baptist Church was
heading to the park. When they arrived at Emancipation Park a short time later, they
formed a line at the north edge of Market Street facing the park, locked arms, knelt, and
began to sing hymns. There was no barrier between them and the armed militia, who stood
just a few feet away. The clergy then stood and took turns saying prayers out loud. 322

                e.   The Militia Arrives

CPD received several phone calls from concerned citizens that morning about the presence
of armed militia at various locations. Security for counter-protesters at Justice Park was
provided by the Redneck Revolt group that had been present at St. Paul’s the night before.
One witness told us he spoke with a Redneck Revolt member and learned that they intended
to prevent Unite The Right demonstrators from coming to Justice Park. Professor Walt
Heinecke, the holder of the permit for Justice and McGuffey Parks, also hired private
security for the day.
                                                     Around the same time the marchers
                                                     arrived at McGuffey, other militia
                                                     groups were organizing their approach
                                                     to Emancipation Park. Officer Logan
                                                     Woodzell observed one group meeting
                                                     up in the Market Street garage around
                                                     8:26 a.m. and noted that they carried
                                                     long guns and wore body armor. Police
                                                     body camera footage shows the arrival
                                                     of the Pennsylvania and New York
                                                     Lightfoot Militias at 8:31 a.m. Around
                                                     thirty members walked up 2nd Street
Photo Source: Patrick Morrissey                      NE and entered the public area of
                                                     Emancipation Park.       After standing
around for a few minutes, the militia left the park and formed a line along the southern edge
of Emancipation Park between 1st and 2nd Streets. A VSP trooper who arrived a few
minutes later asked a colleague, “What are they, like military? They’re more armed than
we are.”




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                f.   The Alt-Right Arrives

Before 9:00 a.m., there were no organized groups inside Emancipation Park. Body camera
footage does indicate that a handful of people were present in and around the park, milling
about. For example, police body camera footage shows Richard Wilson Preston, the leader
of the Confederate White Knights of Ku Klux Klan, standing by himself inside
Emancipation shortly before 9:00 a.m.
At 8:45 a.m., police observed a large group of Unite The Right demonstrators gathering at
McIntire Park, many of them wearing white polo shirts and carrying white flags. Open
source video footage shows hundreds of people gathered in the McIntire parking lot, many
carrying shields or wearing helmets. Some apparently met for the first time that day after
having only interacted through online message boards. Several people livestreamed the
gathering. Prominent white nationalist and Alt-Right leaders were present, including
Richard Spencer, Mike Enoch, David Duke, and Jason Kessler. The demonstrators soon
began loading into white passenger vans, which would shuttle them from McIntire Park to
various locations around downtown Charlottesville. 323
Around 9:00 a.m., a white U-Haul truck arrived at a police barrier and requested entry to
the park to unload sound equipment for the rally. Lieutenant Michael Gore, the Zone 4
commander, conferred with Captain Shifflett, and they agreed that the truck could enter the
secured public safety area to unload the equipment. The truck parked at 2nd Street NE and
Jefferson Street. After they unloaded the equipment, they exited along East Jefferson Street.
Just after 9:00 a.m., Sergeant Tony Newberry—the detective who had been in touch with
Unite The Right security organizer Jack Pierce about getting speakers and VIPs into the
park—was driving around the downtown area with his partner in an unmarked van. Pierce
had refused to share where the speakers would be gathering that day to assemble for the
convoy, but Newberry knew by now that they were at McIntire Park. As the morning went
on and groups began to gather, Newberry was anxious to get the speakers and VIPs into the
park.
Newberry called Pierce’s cell phone and told him, “There’s never going to be a better time
than right now.” Pierce said he understood and responded that he would get everyone
together and call Newberry back. A few minutes later, Pierce called back and told
Newberry that the speakers had changed their minds about coming in separately because
they wanted to “walk in with their audiences.” There would be no police escort from
McIntire Park. Newberry told us that he had a hunch that Pierce had been tricked into
working with him and that the rally organizers had never planned to be brought in through
the back of the park. After the call ended, Newberry turned to his partner in the van and
told him, “They do not plan on this going well.”
The decision to forego a police escort may not have been clearly communicated to the Unite
The Right speakers who were supposed to be in the speakers’ convoy. Mike Enoch told us
that he believed that the plan had always been for all attendees to be dropped off a block or
so from the park and then parade in together. In contrast, Christopher Cantwell told us that
he understood the speakers would walk into Emancipation Park from behind the Lee statue



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with other speakers. He did not expect that he would have to walk through a gauntlet of
counter-protesters.
At 9:42 a.m., the first organized group of demonstrators—carrying the flag of Identity
Evropa and led by Eli Mosley—entered the public area of Emancipation Park through the
southeast entrance. Body camera footage shows Mosley walking over to the police officers
stationed in Zone 2 and asking whether they were in the right section of the Park. Officers
told Mosley that the designated Unite The Right area was in the opposite section. Mosley
called out to his group to form up and go around to the other side. The Identity Evropa
group marched to the southern edge of the Emancipation Park chanting “You will not
replace us.” They then turned right and made their way to the southwest entrance of the
park.
Another wave of passenger vans left McIntire Park at 9:46 a.m. Some groups were dropped
off near the Commonwealth Center, at the western terminus of Market Street down the hill
from Emancipation Park. But other vans dropped demonstrators off along High Street,
northeast of the park. Those groups would walk south on 3rd or 4th Streets NE, take a right
onto Market Street, and then walk into Emancipation Park from the southeast. Antifa
“marshals” stationed at Justice Park radioed down to their counterparts in Emancipation
Park to warn of the coming demonstrators. Like Mosley’s group, many of the Unite The
Right attendees entered the public area of the park only to learn that they needed to be on
the opposite side. They walked back out the southeast staircase and marched between the
clergy and militia to reach the southwest entrance.
As the groups marched to the southwest entrance of Emancipation Park, the counter-
protesters swelled around that area. Market Street was quickly filling up. Lieutenant
Hatter, who was supervising Zone 5 in the Wells Fargo parking lot, ordered his men to back
up from the barricades as tensions rose. In a conversation recorded by his body camera,
Sergeant Larry Jones explained to the officers that the extra space would create a “reaction
gap” in case someone came over the barricade. On Market Street, the crowds roared with
chants—”Love Has Already Won!” from the counter-protesters, followed by “Commie
Scum—off our streets!” and “Build the wall!” from the Alt-Right demonstrators.
As Sergeant Jones stood behind the barricades in the parking lot south of Market Street, he
remarked to other officers that the groups should “save their energy,” as it was not yet
10:00 a.m. An officer responded that the same thing had happened on July 8: “They
chanted, they came, they booed.” His colleague responded, “It was a little more controlled
back then.” A few minutes later, during a calm moment between waves of Unite The Right
arrivals, Sergeant Jones greeted a friend who had been at the farmer’s market on Water
Street. He cautioned him with a joking tone, “Be careful over there. If this turns south,
they’ll just rush across the mall. … That’s the plan, just get everyone out of here and vent
them to Water Street.”
At 10:00 a.m., Charlottesville resident Tanesha Hudson approached police officers standing
at the barricade in Zone 2, just above where the clergy and militia were facing each other.
She asked Sergeant Lee Gibson who was in charge that day. Sergeant Gibson responded,
“There’s a lot.” Hudson complained to him that the Unite The Right demonstrators were
lowering their flags into the faces of their opponents, and she wanted to know why there


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were no law enforcement officers on the outside of the barricades. Gibson replied, “We got
everyone we can out here to keep people safe. … They’ve gone through weeks and weeks of
planning to do the best they can. There’s no one in the middle this second. When things
happen, we’ll respond.” Hudson was taken aback. “When they happen?” she asked in
disbelief. “You’re supposed to prevent it from happening.”
Twenty minutes later, Hudson returned to the barricade to again request police presence on
Market Street. She asked Lieutenant Jim Mooney why police were not on the other side of
the barricades. Mooney responded, “We thought the counter-protesters would go into the
group that we designated for them, but they’re not doing that. … But if it overruns here,
we’ll have to adjust and be down there.” Hudson told him, “Y’all should already be down
there with us.” Mooney said he understood and assured her that they would adapt if they
needed to.
Sergeant Ronald Stayments then stepped in and said, “If we go here, Tanesha, they’re going
to go there. It doesn’t matter where we go.” She shot back, “There’s enough of y’all to be
everywhere!” Stayments responded, “There’s not that much of us.” When Hudson
suggested they could spare three to five officers to go to the southwest entrance of the park,
Stayments asked, “What are three or five cops going to do down there with that crowd?”
Hudson retorted, “What the hell are forty of y’all gonna do right here?”

          2.    Escalation

                a.   2nd Street NE Near First United Methodist Church

Shortly after the waves of Unite The Right demonstrators began arriving, so too did groups
of counter-protesters that had staged at McGuffey and Justice Parks. Just after 10:00 a.m.,
two of these opposing groups ran into each other behind the First United Methodist Church
on 2nd Street NE. Will Peyton, the Rector of St. Paul’s, was standing in the parking lot of
FUMC when a fight broke out between a group of counter-protesters in black shirts and
white-shirted Unite The Right demonstrators “with short haircuts and swastikas.”
Peyton saw law enforcement officers standing on either end of 2nd Street NE, bookending
the crowds. On the south end, at Jefferson Street, a large group of VSP troopers had
gathered behind the barricade creating Zone 4. On the north end near High Street, a lone
female CPD officer stood near her squad car. When the fight broke out, none of the officers
made a move. Peyton told us that the CPD officer “was clearly ordered to stand by the car
no matter what happens, and she wasn’t going to do a thing.” He was right.
Diane Hueschen, an unsworn civilian employee of CPD who works as a forensic
technician, was that lone officer standing at the corner of 2nd Street NE and High Street.
Her normal job requires her to maintain evidence collected from crime scenes, but she often
works traffic duty for football games. On August 12, she had been ordered to stand post at
2nd Street NE and High Street with a marked unit blocking southbound vehicle traffic on
2nd Street NE. She was not authorized to carry a weapon in her job, but she did have
pepper spray. Nevertheless, her traffic supervisor had instructed all the civilians manning
traffic posts that if things “went south” they “need to get out.” Hueschen was not given any
intelligence about the event, but she told us that her superiors “expected things to go south.”


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That morning, Hueschen had seen, in her words, “tons” of foot traffic. White passenger
vans had been running on a loop since mid-morning, continuously dropping Unite The
Right demonstrators off on High Street between 2nd and 3rd Streets NE, just to the east of
her location. She believed the van shuttles were clearly an organized effort.
Hueschen saw the fight break out at 10:00 a.m. just south of her position. She said people
had been arguing as they walked south towards the park. By the time they approached the
barricades at Jefferson Street—which were blocking off the law enforcement area of
Zone 4—there was a mob of thirty or forty people in a commotion. The fight broke out, but
she could not tell who was doing what. She told us that she expected the VSP troopers
standing nearby to react, but they did nothing. The scuffle lasted five minutes, until finally
some troopers started to walk towards the groups.
From Peyton’s perspective, it appeared that the Unite The Right demonstrators had focused
their aggression on a middle-aged black man. As the troopers approached, the Unite The
Right demonstrators took off running and darted through the FUMC parking lot. They
laughed among themselves and shouted, “You want some more?”
Lieutenant Gore reported the confrontation between the groups to the Command Center at
10:08 a.m. Five minutes later, he requested additional assistance, so the CPD squad from
Zone 2 was deployed. Body camera footage shows that, by the time they arrived, there
were nearly two dozen officers standing around the area and the fight had long since ended.
EMTs treated one person for a head injury, while street medics treated another injured
counter-protester. Some individuals refused treatment. After a few minutes, CPD officers
withdrew and returned to their zones. No arrests were made.
Eugene Locke witnessed the fight behind FUMC. Mr. Locke told us he walked over to
police at the corner of Jefferson Street and 2nd Street NE and told them he thought the lone
officer at the corner of 2nd and High was insufficient. He suggested one or two officers join
her. The police officer replied to the man, “I can’t spare anymore.”
Hueschen told us that people came to ask her why she had not intervened in skirmishes
during the day. She was reluctant to respond that she was not a police officer, because she
did not want to become a target. But she also knew she could not run a mob of people off
on her own. She remained at her post all day.

                b.   2nd Street NE and East Market Street

At 10:21 a.m., a large group of counter-protesters wearing helmets and carrying a banner
reading “Fascist Scum” confronted Alt-Right demonstrators on Market Street between 1st
Street and 2nd Street NE. At 10:26 a.m., a scuffle broke out when a counter-protester tried
to grab a demonstrator’s flag in the center of Market Street directly south of the Lee statue.
CPD officers in Zone 5 walked up to the barricade, and Sergeant Larry Jones reported to
Captain Shifflett, “We’ve got a disorder in middle of Market.” Shifflett responded, “Let’s
give them a second,” then asked whether Zone 3—which was situated behind two rows of
barricades more than twenty feet from the fighting—needed more units. Officers in Zone 5
watched as militia stepped in to separate people. Officer Maney turned to a fellow officer
and said, “We need clarification of when we’re jumping in or not.”


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A minute or so later, Lieutenant Hatter jumped over the barricade to deescalate the tension
between the flag-toting demonstrator and the crowd around him. Followed by a VSP
trooper, Hatter drew his retractable baton and walked over to step between the parties.
Officer E.A. Maney, who had moved to the back of the parking lot for a moment, noticed
Lieutenant Hatter go over the barrier and confront the demonstrator. Maney’s body camera
footage shows Hatter and the state trooper walking the demonstrator away from the crowd
with members of the militia appearing to guard Hatter’s rear. Maney then jumped the
barrier to assist Hatter. Hatter spoke a few words to calm the demonstrator down then
walked back around to 2nd Street to re-enter Zone 5. This is the only instance we identified
of a police officer leaving a barricaded safe zone to enter the crowd and de-escalate a
potentially violent situation on August 12.




Lieutenant Joe Hatter entered the crowd on Market Street around 10:30 a.m. to separate
a Unite The Right demonstrator from counter-protesters who were grabbing at his flag.
Seeing officers enter the crowd on Market Street, an officer in Zone 1 asked Sergeant Paul
Best, “What happened to not going outside the gate if they’re beating the crap out of each
other?” Sergeant Best responded, “Yeah, well, that was somebody else’s zone.” Back in
Zone 5, Officer Maney told a fellow officer, “I like those militia guys.” His colleague
replied, “Yeah, they’re doing a good job.”
When skirmishes began at the southwest entrance to the park, a group of the clergy broke
away from their line on Market Street and moved to the southeast staircase. Wispelwey
told us that they intended to block entry for the Unite The Right demonstrators. He said
there were no police present at the intersection, but the clergy hoped they might “create a
scene” that would lead to a police response.




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Officers in Zone 1 saw the clergy stop on the stairs. Sergeant Best remarked that they were
blocking free passage, but said, “That’s OK—they keep people out of that area, I’m fine
with that.” The officers apparently believed the ministers were attempting to keep counter-
protesters from entering the public area to engage with demonstrators on the other side.
Officer Johnston responded, “Until the others side tries to get in there, then that becomes a
problem. We’ll address it at that point.”
The clergy stood at the top of those stairs for about ten minutes before any Unite The Right
demonstrators arrived. During that time, the counter-protesters that had been crowding
around the southwest entrance began to move east. Pole camera footage shows that at
10:36 a.m., Reverend Sekou walked down to the crowd that was gathering around the
bottom of the staircase and got them to move away to clear the area.
Ann Marie Smith and Rebekah Menning were part of the group that formed a line at the top
of the stairs. They indicated that Antifa counter-protesters had agreed to “stand down” as
the Alt-Right demonstrators approached. Antifa indicated, however, that they would “jump
in if things got violent.” Smith and Menning told us that they expected to be arrested for
blocking entry to Emancipation Park. But officers did nothing. As indicated above, the
closest police officers were behind two rows of barricades on 2nd Street NE, discussing their
hope that the clergy would keep others out of the park.
Just as the Antifa group cleared from the street in front of the clergy blockade, a large
column of Unite The Right demonstrators wielding shields arrived from the east. The
demonstrators stood at the corner of Market and 2nd Street NE for about a minute before
pushing forward. They marched up the stairs, shields first, and pushed through the line of
clergy. Wispelwey told us that Cornel West, who was standing in the blockade, said they
should break the line to let the Unite The Right demonstrators through rather than risk
injury. This group was followed by more than 100 Unite The Right demonstrators who
marched into the public area of Emancipation Park. But just like the previous groups to
enter from the southeast, they quickly realized they had entered the wrong area of the park.
They walked back out of the park, along Market Street and around to the southwest
entrance. The clergy reformed their line.
By 10:40 a.m., the Command Center was taking steps to secure the area. The National
Guard began to gear up and prepare to be deployed. Logistical assets were evacuated from
the Levy Opera House to City Yard on the other side of Ridge-McIntire Road. The VSP’s
Tactical Field Force began to suit up. Nevertheless, it would still be almost an hour until
the unlawful assembly was declared.
At 10:45 a.m., a man with an American flag approached officers in Zone 1 and asked,
“What’s a good way to get into the park?” An officer responded, “Right now, there is no
good way.” Another officer suggested that “up the front” would be easiest. The man
pointed at the clergy blocking the southeast staircase and asked, “Through that?” The
officer responded, “That’s the only way.” The man walked away. One officer turned to his
colleague and said, “Welcome to Charlottesville.”




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               c.    Police Fail to Intervene as Violence Increases

At that moment, a massive column of hundreds of Unite The Right demonstrators marched
west down Market Street towards the southeast entrance of Emancipation Park. Led by
members of the League of the South and the Traditionalist Worker Party, they wore helmets
and carried shields, flagpoles, and pepper spray. The crowd of counter-protesters saw this,
and they rushed east to form their own blockade in front of the clergy. They locked arms
and blocked Market Street. 324
Captain Shifflett called out the sudden movement of counter-protesters at 10:52 a.m.
Around that same time, an officer in Zone 2 observed, “They’re trying to take over the
street.” Officer Hulme saw this and remarked, “This is going to get ugly—they’re blocking
their passage. This is going to get really ugly if they don’t get out of the way.” He paused
for a moment then commented, “I thought we had a Zone 5 right here,” as he pointed out
to the area where the groups were coming together in the middle of the street. Of course,
Zone 5 was another twenty feet beyond that intersection behind a row of metal barricades,
and the officers in that zone were standing another twenty feet from the road.
Seconds later, a brawl broke out on Market Street. Unite The Right demonstrators pushed
forward with their shields and hit the counter-protesters with flagpoles. Open source video
footage shows demonstrators violently jabbing the poles at counter-protesters’ faces. The
counter-protesters fought back and tried to grab the flagpoles away. Eventually, the
demonstrators pushed the counter-protesters away with brute force and a cloud of pepper
spray.
Body camera footage shows that police officers in Zone 1 witnessed all of this. They called
out the fight and observed that pepper spray had been deployed. Body camera footage
shows people attacking each other in plain view of the officers. The officers stood behind
the barricades and watched.




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Body camera footage recorded at 10:55 a.m. shows officers and troopers standing behind
two rows of barricades in Zone 1, watching the crowds converge and engage in violence
at the intersection of Market Street and 2nd Street NE.
After the first salvo of the fight, a legal observer wearing a neon green hat turned to the
police as if to motion in the direction of something near the stairway. A woman walked up
to the barricade and shouted to the officers, “You tear-gassed us last time, what are you
doing?” Another woman who stood near the barricade had been turning back and forth for
a few minutes, watching the police, like she was waiting to see if and when they might react.
Seeing no reaction, she finally shouted with emotion:
       This is shameful! I am a teacher, I am a community member, take care of your
       people! What the fuck are you doing? I am the wife of a priest, I am a teacher, I
       love this City! Take care of your people!
The officers continued to stand in silence. None responded. The cry for medics can be
heard in the officers’ body camera recordings.
For a moment, it appeared that a squad of VSP troopers would go into the area, as they
maneuvered around the first barricade into the buffer zone. CPD officers standing next to
them turned and said, “What are we doing? Are we going in?” Another officer responded,
“No, we’re not. We’re not going in. We need the riot squad, fast.” The VSP troopers did
not go into the melee. A cloud of pepper spray wafted over to Zone 1, and the troopers
returned behind the second barricade. A minute or so later, the CPD officers wondered
whether the unlawful assembly would be declared before the event started. Soon objects
were being thrown out of the park into the crowd.




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At 10:57 a.m., a woman approached the outer barricade outside of Zone 1 and got Officer
Ernest Johnston’s attention. She asked, “Are you going to engage the crowd at all?”
“Not unless I get a command to,” Officer Johnson responded.
“Even if there are people physically hurting one another?” she asked.
“If I’m given the command to act, yes ma’am, I will.” She repeated her question, and he
gave the same answer: he would engage if and when he was commanded to do so.
Tim Messer, a witness with whom we spoke, explained that the skirmishes he observed
followed a consistent pattern. As the Unite The Right groups approached Emancipation
Park, counter-protesters shouted “here they come” and formed blockades.                   The
demonstrators then used shields, flags, or fists to start skirmishes, all of which were
eventually broken up by pepper spray. The crowd would then part and allow them entry
into the park. That scenario played out at least half a dozen times. Mr. Messer encountered
a VSP trooper near 2nd and Market Streets and asked him why police had been standing
back. The trooper replied, “Our policy today is that we cannot get involved in every
skirmish, and we are here to protect the public’s safety.” The witness was incredulous that
police would allow the fights to go on, but the trooper reiterated, “That is our policy.”
At 10:59 a.m., Captain Shifflett relayed to the Command Center that 2nd and Market Street
were once again “getting ready to erupt any second now.” A moment later, he reported
another fight of “about forty people going at it, they’re using sticks.” He again radioed,
“Weapons are being used on Market and Second Street.” He added, “Recommend
unlawful assembly.”

                d.   Withdrawal of CPD To Rear of Park

At 11:01 a.m., the Command Center ordered all CPD units to go to Zone 4 to suit up. All
Charlottesville officers stationed inside the park and along the sides near the park entrances
withdrew to the back of Emancipation Park to put on their riot gear. CPD Officers in
Zone 5 withdrew to the lobby of the Wells Fargo building for the same purpose. When
CPD withdrew, only VSP troopers remained within the five zones in and around
Emancipation Park. The troopers did not have riot gear and remained standing behind the
barricades.
When the CPD officers arrived at the supply trailer, they had to fish through plastic bins to
find their gear, which included gas masks, riot shields, and ballistic helmets. For many of
them, it was the first time they had ever worn this equipment. At one point, officers called
for more gas masks, only to learn that all the department’s gas masks were already there. It
took about fifteen minutes before all officers were suited up. And, much to their chagrin,
the zone commanders could not locate all of the bullhorns that would be needed to disperse
the crowd.
In the meantime, the intersection at Market and Second Street descended into chaos. The
brawling continued and only got more violent as Unite The Right demonstrators who had
just entered the park began to rove out from the southeast staircase, forming shield walls to
push the counter-protesters back. Bottles, balloons filled with unknown substances, and


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debris flew through the air. The clouds of pepper spray rose every few minutes. By
11:08 a.m., Maurice Jones and the Regional Policy Group declared a local and regional
state of emergency. At 11:13 a.m., COB McIntire was put on lockdown.
Chief Thomas’s response to the increasing violence on Market Street was disappointingly
passive. Captain Lewis and Chief Thomas’ personal assistant Emily Lantz both told us
that upon the first signs of open violence on Market Street, Chief Thomas said “let them
fight, it will make it easier to declare an unlawful assembly.” Thomas did not recall making
that statement, though he did confirm that he waited to “see how things played out” before
declaring the unlawful assembly. Regardless of what he said, Chief Thomas’ slow-footed
response to violence put the safety of all at risk and created indelible images of this chaotic
event.

          3.    Unlawful Assembly

At 11:31 a.m., thirty minutes after Captain Shifflett requested authority to declare the event
unlawful and CPD officers were ordered to withdraw to Zone 4, Chief Thomas called for
the declaration of unlawful assembly. Zone commanders were instructed to announce the
unlawful assembly and that all present must disperse or else be arrested. A few moments
later, the Command Center clarified that zone commanders should “declare but do not
move” from their position near the back of the park, as they needed to wait for the VSP
mobile field force to deploy and get into position. The commanders made the
announcements from Zone 4, but remained at least half a block away from the melee at 2nd
and Market.
At almost the exact moment the unlawful assembly order went out, a smoke grenade was
deployed by someone at the southeast corner of the Park. The crowd scattered. Overhead,
the VSP helicopter footage showed the smoke tail of the grenade trailing back and forth as
demonstrators and counter-protesters picked it up and threw it back at each other. Out of
the pure happenstance of that smoke grenade, much of the crowd dissipated—for a
moment.
                                                   As CPD made the announcement of an
                                                   unlawful assembly over their bullhorns,
                                                   the barricades running down the center
                                                   of Emancipation Park to form Zone 2
                                                   were toppled by Unite The Right
                                                   demonstrators.    Many demonstrators
                                                   crossed the open area to the western half
                                                   of the park and waited in the crush of
                                                   people     filing  out    through     the
                                                   bottlenecked southwest entrance. Other
                                                   belligerent Alt-Right demonstrators
                                                   remained at the southeast entrance,
Photo Source: Patrick Morrissey                    continuing to throw objects and hurl
                                                   insults at their opponents in Market
Street. Sam Dickson, a lawyer who attended the Unite The Right event, told us that he
asked to help police officers clear the park by making an announcement to those gathered


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and explaining why they needed to leave, but he was “rudely rebuffed” by law
enforcement. 325
We asked every member of the CPD command staff why the unlawful assembly took so
long to call. Uniformly, everyone ascribed the delay to the time it took to bring the VSP
mobile field force to Emancipation Park from the Jessup House. They also told us that VSP
insisted on extracting its undercover officers from the crowd before the unlawful assembly
was declared, and that process took much longer than expected. Colonel Flaherty
acknowledged that some portion of the delay in declaring the unlawful assembly was due to
the failure to locate one VSP undercover officer who had been deployed within the crowd.
He indicated, however, that the undercover agent had been out of the park for some time.




             Map of the deployment paths of VSP’s mobile field force units.
The VSP mobile field force began entering Emancipation Park at 11:44 a.m. By that time,
the majority of Unite The Right demonstrators had cleared out of the park through the
southwest entrance. The mobile field force formed an east-west line just south of the Lee
Statue and stood shoulder-to-shoulder with their shields in front of them. At 11:49 a.m.,
they started to inch south, showing those still present that they needed to leave. By this
time, demonstrators and counter-protesters were fighting inside the park, and they engaged
in more violent confrontations—throwing debris, attacking each other with sticks, and
recklessly spraying pepper spray—within a few yards of the approaching mobile field force
line.




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          4.    Dispersal of the Crowd

Much like the plan for entry to Emancipation Park, the dispersal of crowds following the
unlawful-assembly declaration did not ensure separation between conflicting groups.
Rather, the mobile field force units pushed the Unite The Right protesters right back onto
Market Street, where a larger group of counter-protesters were waiting for them. Captain
Mitchell indicated that he believed the field forces would disperse the crowds from their
separate zones within the park. Unfortunately, the barriers had been trampled by the time
the unlawful assembly was declared and there were very few counter-protesters within the
park itself.
Lieutenant Hatter described the dispersal of Emancipation Park on August 12 as the “most
messed up thing I ever saw.” Hatter noted that the Alt-Right demonstrators were screaming
at the VSP and CPD officers as the mobile field force pushed from the rear of Emancipation
Park, commenting that “you are pushing us right into the crowd.” Hatter agreed with this
assessment, noting that the effort was “causing confrontations and pushing [the Alt-Right]
right into their enemies.” Lieutenant Mooney similarly told us that several of the Alt-Right
demonstrators complained to him that the dispersal order “is pushing us right into our
enemies.”
Seeing the VSP field force begin to disperse the park, a small group of Unite The Right
demonstrators, including Richard Spencer, attempted to resist by locking arms and refusing
to leave the park. A handful were taken into custody, and the rest eventually gave way and
left the park. As the wall of shields moved closer to the fights in the southern half of the
park, VSP troopers deployed OC spray to disperse the crowd.
Throughout the lead up to the unlawful-assembly declaration and the clearing of the park by
the VSP field force, CPD officers remained in Zone 4 waiting for further command.
Lieutenant Jim Mooney related to us how frustrated he and other CPD officers were,
having been removed from their zones almost an hour earlier. “We were sitting there with
our thumbs up our asses,” he told us. Lieutenant Hatter had a similarly strong reaction.
Because of the withdrawal of all CPD officers to Zone 4, “we were prevented from doing
police work.” Lieutenant Hatter lamented the fact that there were “people getting hurt, and
I’m standing around behind a steel fence.” Rather than breaking up fights, he was
“guarding an empty parking lot.” Hatter commented that CPD should have been in the
street, rather than standing around twiddling their thumbs in a secure area of Emancipation
Park. Hatter noted that one of his concerns about July 8 was that CPD acted as “human
shields” rather than police officers, and “it happened again.”
We asked the command staff why no order was given to send a CPD squad in riot gear or
another field force out into the streets—particularly given that the plan as written and
enacted simply called for the clearing of the park. They explained their view that, had
officers been sent into the crowd, officers would have been put into a deadly force situation.
Colonel Flaherty concurred with that assessment. He explained that he feels that only
“fools rush in” to a situation in which they are not adequately protected. Colonel Flaherty
indicated that for the safety of both his people and the people VSP will encounter in a mass
unrest situation, he would prefer to have his officers exercise caution.



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Finally, at 11:56 a.m., the CPD officers were ordered to form up VSP’s rear guard inside the
park. At 12:06 p.m., the Governor declared a state of emergency. By 12:13 p.m.,
Emancipation Park had been cleared.

          5.    After the Unlawful Assembly

The crowds in and around Emancipation Park dissipated in various directions. The field
forces that had cleared the park formed two groups, facing east and west on Market Street.
Their goal was to prevent any pedestrians from returning to the park. The demonstrators
and counter-protesters dispersed in various directions. Other than the route south across the
Downtown Mall on 1st and 2nd Streets, there were no officers stationed along the routes of
egress. Violence broke out in all directions.

                a.   A Gunshot and Punches at 1st and Market

Most of the Unite The Right groups left Emancipation Park through the southwest stairs.
As the VSP field force pushed the crowd south onto Market Street, it forced the
demonstrators into the angry crowd of counter-protesters. Predictably, several violent acts
ensued.
The most notorious incident from those tense moments involved a homemade flamethrower
and a gunshot. As Alt-Right demonstrators left the park and turned right to move west
down Market Street, they passed by counter-protester Corey Long. Video taken by a
bystander shows Long igniting the spray from an aerosol canister and pointing the flames at
passing demonstrators. Richard Wilson Preston, a Ku Klux Klan leader from Maryland,
saw this as he exited the park. He drew his handgun and pointed it at Long while
screaming at him to stop. Preston loaded a round into the chamber of his gun then fired a
single shot at the ground next to Long. He holstered his gun and walked away. VSP
troopers, identified by their neon yellow vests, stood in a line behind two barricades about
twenty feet away. None appeared to react. 326
An unprovoked assault happened at that same corner, shortly before or after the Long-
Preston interaction. The victim, a counter-protester who asked to remain anonymous, told
us she was standing about where Preston had fired his gun, and she was yelling at the
demonstrators as they walked by. One Unite The Right demonstrator walked up to her and
punched her in the face. She provided us with a video of the incident, which shows the
incident as she described. The victim of this assault told us that after she was punched, she
stumbled up to the state troopers standing at the barricades to ask for help. None of them
responded. She later learned she suffered a concussion. 327
Samuel LeBeau told us that he was at the southwest corner of the park around the time of
the gunshot. Mr. LeBeau told us he witnessed an assault against a Unite The Right
attendee. He told us that as the Alt-Right demonstrators filed out of the park, a counter-
protester emerged from the crowd with a clear liquid. He threw it in the demonstrator’s
face, inflicting visible pain. Again, no law enforcement officers responded to the scene.
That witness told us he saw a state trooper as he left the downtown area and told the
trooper, “I thought the police did a pretty bad job today.” The state trooper nodded and
replied, “It wasn’t our call.”


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                                                    As     groups     moved      away     from
                                                    Emancipation Park to the west, they
                                                    engaged in more pushing and shoving.
                                                    A group of militia had moved away
                                                    from the park at the declaration of the
                                                    unlawful assembly and taken refuge in
                                                    the alley off of Market Street behind
                                                    Hill & Wood. Police had actually taped
                                                    off the alley earlier in the day, but with
                                                    all the police in the back of
                                                    Emancipation Park, there was no one
                                                    there to stop entry. Several people who
Photo Source: Patrick Morrissey                     were injured made their way into the
                                                    alley, and it became a makeshift safe
zone with the militia members pushing agitators from all sides away. One video shows Eli
Mosley sitting on the ground, holding his face as though he had been pepper sprayed. 328
Many of the Unite The Right groups that left Emancipation Park walked back to McIntire
Park. CPD radio traffic suggests that a large group arrived back at McIntire around
12:20 p.m. The demonstrators held an impromptu rally where Richard Spencer, Mike
Enoch, and David Duke spoke. As Duke finished, Eli Mosley stood up and advised
everyone to get to their vehicles immediately and leave before Antifa and the police arrived.
As for counter-protesters who left westbound, many of them regrouped at McGuffey Park,
where they waited to determine where they should go next.

                b.   Assault At The Market Street Parking Garage

Not all Alt-Right demonstrators moved west down Market Street back towards McIntire
Park. Many of them marched east, and they were followed by vocal counter-protesters.
One such group was the conglomeration of League of the South and Traditionalist Worker
Party members that had been in the massive column whose entrance sparked the fighting
that caused CPD to withdraw to put on their riot gear. As the group passed the rear of the
Paramount Theater near 3rd Street, they walked by counter-protesters who shouted at them.
Several counter-protesters picked up and followed the group, wielding sticks and engaging
in profane arguments. Physical threats were made, and the groups threw objects at each
other.
At about 12:07 p.m., the group stopped in front of the Market Street garage and a fight
broke out. From our review of the ample open source video footage of this confrontation, it
appears that a counter-protester attempted to yank a flag away from a Unite The Right
demonstrator who resisted and fought back. During that struggle, a second counter-
protester named Deandre Harris rushed in and used a club—possibly a Maglite flashlight—
to strike the Alt-Right demonstrator’s head or shoulder. 329 Nearby demonstrators rushed
over to fight back and deployed pepper spray. The struggle moved into the parking garage.
Harris appears to have tripped or been pushed to the ground, which left him defenseless



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against a mob of angry Alt-Right demonstrators that descended upon him with flagsticks,
shields, and pieces of wood. 330
Charlottesville Sheriff James Brown was standing outside the CPD station, which is located
next to the Market Street garage. Brown told us that he had no communication with CPD
on the morning of August 12, and he did not realize that crowds would be pushed east
down Market Street in the aftermath of an unlawful-assembly declaration. When the
commotion broke out near the garage, Brown responded and moved closer. Someone
stopped him and said that a Unite The Right member had drawn a firearm, but then Brown
heard the sound of heavy sticks hitting the pavement. Sheriff Brown turned and saw Harris
being beaten, attempt to get up, and then stumble to the stairwell. Brown went to assist
Harris. As he walked towards him, he picked up a 36-inch baton that had been carried by a
Unite The Right demonstrator.
Sheriff Brown reached Harris and attempted to render aid in the stairwell. Harris’s head
had been split open and he was bleeding. He described the scene as “surreal.” When
Brown looked around, he realized he was the only law enforcement officer in the garage.
Brown was then approached by another individual who was bleeding from a head wound.
The demonstrators moved out of the garage and continued to moved down Market Street.
Another brief fight broke out, in which an older Alt-Right demonstrator suffered a head
injury. In response to this fight, Sheriff’s Deputies who had been standing outside the CPD
headquarters came out and ordered everyone to keep moving. They pulled Taser devices to
disperse the small crowd. They did not, however, attempt to detain anyone or make any
arrests. 331
Lieutenant Dwayne Jones was assigned to the CPD headquarters on August 12 to oversee
arrest processing, and he was standing outside along with the Sheriff and his deputies when
the Harris incident happened. Lieutenant Jones told us that he did not order anyone into
the garage because the CPD officers under his command were in civilian clothes and
assigned to light duty. But when he realized Sheriff Brown was in the garage, Lieutenant
Jones went in to make sure he was safe.
At 12:08 p.m., a radio call went out that there were multiple injuries at the Market Street
garage. Sergeant Russell Handy and his squad of officers stationed on the Downtown Mall
responded. They arrived at 12:13 p.m. and formed a line across Market Street in front of
the garage’s entrance. A few minutes later, the CPD SWAT unit arrived in their Bearcat
armored vehicle. Street medics and police officers moved Harris across the street to the
alcove in front of NBC 29’s studio. By 12:28 p.m., paramedics arrived and transported
Harris to the triage center at COB McIntire.




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 Deandre Harris is moved from the Market Street parking garage at 12:11 p.m. Sheriff
 James Brown is to the left of Harris carrying a black club. (Photo provided by Patrick
                                      Morrissey).

                c.   Officer in Distress at 4th and Market

One block to the east, Tammy Shiflett—the school resource officer stationed at 4th Street
NE and Market Street—was standing alone with no protective gear. She felt she was in
danger. As people started to pass, they made profane and aggressive statements toward her.
She smelled pepper spray in the air. Just as Sergeant Handy and his unit arrived at the
Market Street garage, Shiflett radioed Captain Lewis and said, “They are pushing the crowd
my way, and I have nobody here to help me.” Lewis radioed to Sergeant Handy and
instructed him to help Shiflett.
Sergeant Handy and Officer Logan Woodzell started to move towards Shiflett’s location,
and Handy radioed Shiflett to walk towards them. Woodzell’s body camera footage shows
Shiflett leaving 4th Street and jogging to the two officers. But she forgot to lock her car, so
Handy instructed her to go back and move her car. Shiflett hustled back to the car, got in,
and moved it out of the intersection to Market Street near the parking garage.
Officer Shiflett ultimately ended up with Lieutenant Jones as he handled the Deandre Harris
incident. Lieutenant Jones told us that he was asked by either Handy or Woodzell to let
Officer Shiflett stay with him because she did not have any protective gear. Neither Shiflett
nor Jones notified the traffic commander or the Command Center that she was no longer at




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her assigned post at 4th Street NE and Market Street. As a result, all that remained there
was a wooden sawhorse barricade.

                d.    False Alarm at Justice Park

Just as westbound counter-protesters moved toward McGuffey Park, numerous counter-
protesters had left in the opposite direction and regrouped at Justice Park. Around
12:20 p.m., CPD received a radio call about a large disorder near Justice Park. The
Command Center sent the east-facing CPD field force from Emancipation Park to Justice
Park in response. The CPD unit, led by Lieutenant Gore, was accompanied by one of the
VSP mobile field force squads. When these units arrived, there was no disorder. Lieutenant
Gore could see the presence of the officers in riot gear agitated the counter-protesters. As a
result, the police units left Justice Park and took up a position in the alley next to the police
station.

                e.    Protecting the Downtown Mall

Upon the declaration of the unlawful assembly, two VSP mobile field forces were deployed
to protect the Downtown Mall. One field force came from its staging area at the Omni
Hotel at the west and of the mall, while the other came from City Space at the eastern side.
Dressed in full riot gear, the VSP mobile field forces formed lines across the mall along 1st
Street and 2nd Street NE, respectively. Their positions prevented anyone moving south
from Emancipation Park from entering the Downtown Mall, funneling them instead south
toward Water Street.
Throughout the morning, the Downtown Mall had been relatively quiet. Sergeant Handy
and Officer Woodzell patrolled the area and visited businesses to hand out their business
cards in case anyone needed to contact them. When the unlawful assembly was declared,
they were standing near the intersection of East Main Street and 2nd Street NE on the
Downtown Mall. A large crowd moved behind them—from the west to east—which they
soon saw was being pushed by one of the VSP mobile field forces.
Neither Handy nor Woodzell had been instructed to gear up. When they observed their
VSP counterparts on the Downtown Mall putting on their riot gear, Sergeant Handy called
his supervisor and confirmed that they should be wearing their gear. Sergeant Handy and
Officer Woodzell then walked four blocks to the 6th Street secured entrance at City Space
and retrieved their gear. They put on their body protection equipment and ballistic helmets
and carried their shields and gas masks back to 2nd Street NE and Main Street.

                f.    Militia Group at Friendship Court

Incidents south of the mall occurred as counter-protesters pursued members of the militia
that were parked along Water Street. Video posted to social media shows one militia group
called American Revolutionary Warrior gathering at 1st and Water Streets after passing by
the VSP mobile field force lines across the mall. The militia group then patrolled west along
Water Street to “locate individuals being infringed upon” to protect their rights. They
circled back east by the Omni Hotel, crossed the Downtown Mall at Old Preston Avenue,
and walked through a parking lot to arrive back on Market Street. They walked east, where


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they passed by a large group of counter-protesters who had gathered at the southeast corner
of McGuffey Park, near 2nd Street NE and Market Street. 332
The militia group approached the CPD mobile field force line that was stationed at 2nd
Street NW and Market Street, preventing pedestrian access to Emancipation Park. They
spoke with Lieutenant Hatter, who advised them that everyone was remaining calm at that
time and they did not want any more altercations. 333 Lieutenant O’Donnell told us that
Christian Yingling, the commander of the Pennsylvania Lightfoot Militia, was with the
militia group that approached the CPD field force line. He told Yingling that the militia’s
presence was a “lightning rod” and encouraged them to leave. The militia group complied
and walked back toward the Downtown Mall.
After their encounter with CPD, the militia group decided to leave the area. They walked
across Water Street and entered the surface lot near 1st Street SE. As the militia members
attempted to enter their vehicles, a group of counter-protesters followed and yelled at them.
CPD received word of a disorder in the area, so United Command deployed the combined
CPD/VSP field force units that had taken up a position in the alley near the police station.
After one militia member experienced difficulty getting into his car and exiting the lot, the
other members opted not to get in their vehicles. Instead, they continued to walk east, away
from the crowd of counter-protesters. When they reached the intersection of South Street
and 2nd Street SE, they turned right, moving across the train tracks. The counter-protesters
followed. By that time, the police field forces had started to arrive along Water Street, but
they chose not to follow. Lieutenant Gore later explained in his after-action report that he
did not want to chase the angry groups farther away from law enforcement units on the mall
that could provide backup. 334
Witness Richard Goodin followed the group of counter-protesters that pursued the militia to
Garrett Street. He told us that he saw young men picking up and throwing rocks at the
militia as they crossed the railroad tracks near Garrett Street. Video provided to us confirms
the rock-throwing, as does the open source video showing the militia’s perspective. When
one of the militia members was hit in the head with a rock, they took up a position along the
wall near the Sultan Kebab restaurant at the corner of Garrett and 2nd Street SE. The
militia members apparently did not realize that they had stopped directly across the street
from Friendship Court, a predominantly African-American public housing complex. 335
Mr. Goodin told us that the counter-protesters continued to yell at the militia to leave, to
which the militia members responded that they were not being allowed to leave. Someone
approached the police and advised them that someone was injured. As the CPD forces
started to move towards the crowd, it dissipated, and the militia members made their way
back towards the parking lot on Water Street.
At 1:05 p.m., CPD requested medics to respond to the Water Street parking lot. In addition
to the militia member who had been hit by a rock, a woman apparently tripped and hit her
head on the ground. The combined field forces formed a semicircular wall to separate the
militia on one side from the counter-protesters on the other. Street medics cared for the
woman who hit her head until the ambulance arrived. At that point, the field force escorted
the militia to the western lot on Water Street. The ambulance left, and the police departed


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and headed towards City Space to hydrate. The militia got in their cars and prepared to
leave the area. Aerial footage shows that one of their cars accelerated to flee the counter-
protesters, nearly running one of them over. The crowd of counter-protesters reacted
angrily, kicking and swinging objects at the car. The car sped around South Street, then 2nd
Street, then west on Water Street, with counter-protesters chasing on foot.
Unbeknownst to the police, the counter-protesters who had followed the militia across the
parking lot believed that they were intentionally headed towards Friendship Court to harass
residents. The call went out through their communications channels that Friendship Court
was under attack. Large groups at Justice and McGuffey Parks began to mobilize.
VSP helicopter footage shows a group of more than 100 counter-protesters leaving Justice
Park around 1:20 p.m., walking south on 4th Street. As they passed through the
intersection at Market Street, there was no officer present and they passed the small plastic
sawhorse that stood to prevent southbound traffic. They crossed the Downtown Mall and
Water Street, went under the railroad tracks, then arrived at Garrett Street. Dan Haig, who
was with the group from Justice Park, told us that when they arrived someone from the
community ran out to tell them that the everything was safe and they should stop shouting.
The group stopped for a moment to regroup. At 1:30 p.m., the group continued west down
Garrett Street, then turned right on 2nd Street SE and moved back towards Water Street.




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    VSP helicopter footage showed the single sawhorse and no police presence at the
   intersection of Market Street and 4th Street NE at 1:23 p.m., as a group of counter-
                    protesters walked by to go to Friendship Court.
As the Justice Park group walked by the Water Street parking garage, the group that had set
out from McGuffey Park—which was larger than the Justice Park group—emerged at 1st
Street SE and Water Street. The two groups converged on Water Street and marched east.
Emily Gorcenski was in the McGuffey group, and she told us that when they reached the
intersection of Water Street and Fourth Street SE, those who had come from McGuffey
started to turn towards Friendship Court. They quickly learned that Friendship Court was
safe.
The group of several hundred counter-protesters paused for a moment as they decided
where to go. Some within the crowd started to move north up 4th Street SE, back towards
Justice Park. They maneuvered around two cars that appeared to be stuck at the
intersection after having driven south on 4th Street.



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               Locations related to the vehicle incident on August 12, 2017.

          6.    The Vehicle Incident at 4th and Water Streets

At 1:41 p.m., a gray Dodge Charger driven by Unite The Right demonstrator James Fields
sped down 4th Street SE, crossed the Downtown Mall, slammed into the crowd, and
plowed into the back of the two cars waiting at the intersection. Open source video footage
and photographs showed people were knocked out of their shoes and bodies went flying.
Emily Gorcenski told us she was fifteen feet from the car when it came down on the group,
and her first thought was that the driver was about to exit his car and open fire. But the car
went into reverse and quickly retreated back up 4th Street to Market. Once Fields reached
Market Street, he fled east. Officers saw the car speed by, noted the damaged bumper, and
called in its license plate number over the radio. The VSP helicopter followed the Charger
as it turned right on Avon Street, then left on Monticello Avenue. Officers gave chase, and
Fields pulled over and dropped his keys out the window of the Charger at 1:45 p.m.
Lieutenant Dwayne Jones, who had been at the police station all day, was one of the first
CPD officers to respond to the crash site. He told us that when the call went out about the
attack, he ran out of headquarters and saw the Charger moving back up Market Street. He
then grabbed another officer and made his way to the mall. As he passed the intersection at
4th Street NE and Market Street, he saw the plastic sawhorse catty-corner to the
intersection.



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Witnesses to the incident were running up 4th Street toward the Downtown Mall,
screaming for help. Jones ran down to the site and started to look at victims to see who he
could help. He noted some were severely wounded while others suffered less critical
injuries. Jones then helped the fire and EMS squads maneuver into the area. He estimated
between 400 and 500 counter-protesters were crowding the intersection.
Street medics provided first aid until the fire fighters and EMTs arrived. Deputy Fire Chief
Rogers, who was in the Command Center, ordered a fire engine to deploy from the CFD
Station on Rich Street. When the engine arrived a few minutes later, the fire fighters asked
the VSP troopers who had arrived to create a perimeter. Sergeant Handy responded from
the Downtown Mall and helped push people away to create a secure perimeter. Soon more
officers arrived and began taping off the area. The CPD SWAT team drove the armored
Bearcat vehicle down 4th Street to secure the roadway north of the injured counter-
protesters. Eventually, scores of National Guardsmen and field force officers arrived on the
Downtown Mall to block off the pedestrian intersection with 4th Street SE. A CPD squad
later brought metal barricades and remained on guard there throughout the afternoon and
evening.
CFD Chief Andrew Baxter told us that in less than thirty minutes, Charlottesville rescue
units triaged, treated, and transported twenty patients at the 4th and Water Street scene. He
related to us that any department could not expect to “do that in a drill on your best day.”
CFD used a triage system to categorize victims as red, yellow, or green, to indicate the
severity of their injuries. That system, along with the cooperation of street medics, allowed
emergency responders to quickly assist the injured. Baxter also credits the coordination
among regional fire departments that gave him access to additional engines and personnel.
In particular, Baxter noted the decision to go to neighboring jurisdictions to get an
“ambulance strike team” of five ambulances, which were deployed to the Water Street
scene.
The prompt response of CFD was not enough to save Charlottesville resident Heather
Heyer who had been fatally struck by Fields’s vehicle. Ms. Heyer had attended the event
that day as a counter-protester. She was present at 4th and Water Streets when Fields
plowed into the crowd. Ms. Heyer succumbed to her injuries at the scene. Chief Baxter
told us that she had already died when CFD arrived, but given the raw emotions of the
crowd fire fighters continued to perform CPR on her.
The Command Center began to pull various officers from rally duties to assist in the
investigation of the car crash. Forensic technicians and detectives were reassigned to work
the crime scene. Officers set up in the General District Courthouse to collect witness
statements. According to Sergeant Newberry, a team of VSP investigators provided
invaluable help with the technological ability to dump photographs and videos from
witnesses’ cell phones.




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          7.    Afternoon and Evening Developments

                a.   Skirmishes and Threats

After the car attack, many counter-protesters were on edge. Videos from the day show
residents screaming and crying hysterically and in shock from the crime they had witnessed.
Anger burned.
Witnesses related various stories to us about skirmishes in and around the Downtown Mall
after the car attack. One described a band of counter-protesters chasing an older female
wearing a Confederate flag. He also observed small bands of people wearing all black with
handkerchiefs covering their mouths—he presumed them to be Antifa—patrolling the mall.
Video footage shows a Unite The Right demonstrator giving a Nazi salute before being
chased west by angry residents and violent counter-protesters who were wearing masks,
cursing, and threatening to assault him with weapons. 336 Police later received a report of a
disturbance on the second level of the Market Street garage. Captain Shifflett responded,
but was told by a VSP unit that the incident was over when he arrived.
The First United Methodist Church flooded with counter-protesters after the car attack,
many of whom were at or near the site when the Charger plowed through the crowd.
People sought medical help. Someone saw a report on social media that someone had
threatened to burn down the synagogue. The Congregation Beth Israel leadership rushed to
the temple and were relieved to discover the rumor had been just that. 337
Around 2:00 p.m., witness Carrie Shaffer recalled a fight breaking out on High Street
between 1st Street and 2nd Street NE, near the First United Methodist Church. She heard
someone scream that one of the fighters had pulled a gun. Ms. Shaffer escaped and ran into
the church, which then went on lockdown. Diane Hueschen described a similar incident to
us, and noted everyone dropped to the ground. Hueschen did not see a gun, but there were
so many people in the area that she could not see what was going on. Ms. Hueschen
reported the incident to her commander. She noted that the state troopers gathered just
south of her position did not react to her radio call—which was the first time she realized
she could not communicate with VSP personnel on her assigned radio.
For the rest of the afternoon, angry crowds gathered at the barricade that had been placed at
4th Street on the Downtown Mall and accosted Charlottesville police for failing to protect
counter-protesters from the car attack. Body camera footage shows officers taking shifts
standing behind the metal barricades while the counter-protesters yelled. Over time, officers
rotated through the area in shifts and were able to hydrate and recuperate. Around
7:30 p.m., twelve hours after their post time in Emancipation Park, officers started to be
released from duty. Most units that had been present in Zones 1 through 5 were released by
8:30 p.m.

                b.   VSP Helicopter Crash

Earlier in the afternoon, City leaders decided to schedule a press conference. City
Communications Director Miriam Dickler told us the press conference was to take place at



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4:00 p.m., but it was pushed back to later in the evening when Governor McAuliffe
announced his intention to travel to Charlottesville.
As the Governor approached the Charlottesville area, the VSP helicopter that had been
providing aerial video responded to watch over his motorcade. At 4:49 p.m., a report went
out that the helicopter had crashed. The National Transportation Safety Board’s
preliminary report, released on September 5, did not posit the cause of the crash but noted
that there was no indication the helicopter collided with any other object. Lieutenant
H. Jay Cullen and Trooper-Pilot Berke M. M. Bates were both killed in the crash. 338 Our
review does not encompass the circumstances of the tragic helicopter crash, but we were
told that almost all of the VSP personnel in the Command Center left the Wells Fargo
building to go to the crash scene. 339 Deputy Fire Chief Mike Rogers described this as
leaving a “VSP hole” at the Command Center. Had the helicopter crash and car attack
happened in the opposite order, the response to Water Street would have been severely
delayed.

               c.    Press Conference and Cyber Attack

Shortly after 6:00 p.m., Governor McAuliffe and Mayor Signer gave statements at a joint
press conference. The Governor delivered a harsh rebuke of white supremacists and
implored them: “Go home. You are not wanted in this great commonwealth. Shame on
you.” 340 Mayor Signer, City Manager Jones, and Chief Thomas also spoke, each
condemning the violence and promising to help the community come together in the face of
the day’s events.” 341
With all the unfolding events, City Manager Jones suggested to City Attorney Craig Brown
that it may be necessary to impose a curfew. Brown quickly researched the requirements to
take such steps and concluded that City Council could meet without prior notice to adopt an
emergency ordinance that would grant Chief Thomas emergency powers to restrict the
movement of people and vehicles. Brown drafted the ordinance and sent it to Jones and
Mayor Signer for review. City Council held an impromptu meeting at 7:00 p.m., where
they adopted the ordinance. Chief Thomas never exercised his emergency powers.
Late that evening, the City of Charlottesville was subjected to a cyberattack, which appears
to have been the result of phishing e-mails sent to Captains Mitchell and Lewis.
Additionally, the City’s web site domain was disabled. Within a few days, the Virginia
Fusion Center identified a tweet from the hacker group Anonymous appearing to take credit
for the cyberattack on Charlottesville.

               d.    Kessler’s Sunday Press Conference

The next day, Sunday, August 13, Jason Kessler called a press conference in front of City
Hall on the Downtown Mall at 2:00 p.m. That morning, Lieutenant Steve Upman quickly
organized a security plan. He placed security personnel around City Hall near where
Kessler would stand. He also staged a VSP mobile field force at the Levy Opera House and
deployed CPD SWAT members in the alleyway right next to City Hall. Snipers and
observers stood on rooftops along the mall.



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A sea of angry people greeted Kessler as he approached the microphones that had been set
up for the press conference. He could not be heard over the crowd. Law enforcement stood
a good distance back from him, so no one was there to stop members of the audience from
approaching Kessler and screaming in his face. Kessler was quickly overwhelmed by the
crowd and turned to walk away. Someone in the crowd tried to punch him. Kessler turned
to the law enforcement officers for help, and they then formed up around him as he walked
through grass to the side of the building. Kessler told us that he thought the police intended
to allow him to get “roughed up” a little before stepping in to help him. 342

          8.    After Action Review

                a.   Charlottesville Police Department

An after-action meeting was held for the CPD zone commanders on August 17. In an e-
mail sent to the other command staff the day before, Captain Lewis suggested that they
schedule two or three after-action meetings. For the first one, they should not focus on
what would have been done differently but instead on what actually happened. She
recommended that zone commanders be asked to confer with their officers and discuss how
they intervened to stop disorders and whether they saw interventions by the VSP or
National Guard. She also suggested that zone commanders review body camera footage
from their squad members to create a list of instances when officers should have intervened.
She also suggested the creation of a timeline of events, photographs, information about
briefings and intelligence gathering should be compiled. 343
Whatever the command staff’s intentions for the August 17 after-action meeting, the
impression given to the zone commanders was that they were not invited to provide
constructive feedback to commanders. Lieutenants were ordered to review body camera
footage and specifically look for any evidence of a “stand down order.” Each commander
was also told to draft an after-action memorandum that documented what actually occurred
and whether there were particular instances observed where officers intervened. Lieutenant
Jim Mooney recalled that at the August 17 meeting, Captain Mitchell remarked that they
could not have sent in their younger officers into crowds on August 12 for fear that they
might have killed someone. Captain Shifflett reiterated that sentiment when we interviewed
him.
A few days later, Lieutenant Mooney asked Captain Shifflett via e-mail to clarify that the
after-action report he was told to prepare was to be “a summary of our zones and not a true
after-action report.” Shifflett confirmed. Mooney forwarded the message to fellow
lieutenants and added, “I’m thinking they don’t ever want to hear our opinions of what we
disagreed with.” 344 When Mooney e-mailed the officers assigned to Zone 2 and asked for
their recollections of the day, one responded, “I asked [Sergeant] Gibson if we were
enforcing assaults that we see, and he said ‘only if need be’ or something like that.” 345
Lieutenants completed their after-action reports and submitted them to Captain Mitchell by
August 23. They varied in length and detail. Some went on for six pages and included
photographs and body camera images. Another included a detailed scribe log for the events
for the logistics command. One report consisted of four paragraphs that took up half a page.



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Captain Shifflett told us that there was a second August 12-related meeting held with zone
commanders on August 28, but did not elaborate on the substance of the meeting.
On August 25, Chief Thomas called an all-hands meeting in City Council Chambers to
discuss the events of August 12. At the meeting, Chief Thomas said he was proud of how
the department had handled the event, particularly in light of the constraints ACPD and
UPD placed on their resources to the City. At this meeting, Lieutenant Mooney asked
Chief Thomas whether there was any explanation for the hour-plus delay between when
CPD officers were withdrawn from their zones and Emancipation Park was finally cleared.
Chief Thomas said he would get back to him with more information. Later, when Mooney
asked him the same question, Chief Thomas said the delay was attributable to the radio
interoperability issue between VSP and CPD. Thomas also shared that VSP encountered
difficulties walking to Emancipation Park, but did not elaborate about what that meant.

                b.   Virginia State Police

On August 17, Captain Mitchell e-mailed VSP Captain Craig Worsham to request
information from each of the VSP sergeants supervising squads assigned to zones on
August 12. He noted, “This is more about fact finding and observations than it is about
debriefing and making improvements. That is another discussion.” He requested
information on any disorders broken up, injuries responded to, or behaviors observed. 346 A
few days later, Worsham forwarded Mitchell’s request to twenty-four VSP officers asking
them to provide summaries as described in Mitchell’s e-mail. Worsham copied Mitchell on
the message as well as VSP’s August 12 incident command staff and Public Information
Officer. 347 Out of the two-dozen VSP officers, Mitchell received after-action responses from
seven. 348
Chief Thomas reached out to VSP and requested a debriefing meeting between agencies’
command staffs. The meeting was set for September 6, at the VSP Training Academy in
Chesterfield, Virginia. We learned from Captain Mitchell that, as a condition of the
meeting, VSP asked for assurances that the Charlottesville commanders would not relay any
information they learned to our independent review team. Mitchell claimed that Thomas
took that stipulation to Maurice Jones, and the City Manager agreed to it. But when we
asked Jones, we learned he never made that statement to Chief Thomas and did not agree to
allow Charlottesville officers to withhold information during the review. As a result, Jones
ordered all Charlottesville officers to answer all questions we had—including those posed to
the command staff about the VSP debriefing.
The debriefing at VSP was attended by Chief Thomas and his three captains—Mitchell,
Shifflett, and Lewis. There were between twenty-five and thirty representatives from VSP.
Chief Thomas began by thanking the state police for their help and participation, but
acknowledged there were some issues that required discussion. In particular, Chief Thomas
pointed out the issues with communication between the agencies. Thomas shared that he
did not know about the radio interoperability problem until halfway through the event, and
he did not know VSP had written its own operational plan until after they had left town. In
response, VSP First Sergeant Christopher Clark explained that a radio patch had been
created to allow the VSP and CPD communications channels to work together, but it was



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never installed on the morning of August 12. Per Captain Lewis’s recollection, Clark said
he could have “flipped the switch at any point” had he been told to do so.
VSP Lieutenant Jean-Paul Kouschel—an officer from one of the mobile field forces—
criticized VSP’s communication issues, claiming that “the right hand didn’t know what the
left was doing.” According to Mitchell, Kouschel said he understood why the public
thought there was a stand-down order. He wanted to know why the mobile field forces had
not been called out much earlier to quell disturbances on Market Street to allow the Unite
The Right event to proceed. VSP officials pointed out that they needed to extract their
undercover officers first, but no one explained why that process took as long as it did.
Lieutenant Becky Crannis-Curl—VSP’s ground commander inside of Emancipation Park
(referred to as “Venue Security” in VSP’s operational plan)—commented that that she and
Captain Shifflett created a “new zone” that morning. None of the CPD commanders knew
what this comment meant, but it may reflect the fact that VSP was using an outdated four-
zone version of the plan when they finalized their own document.
All four Charlottesville commanding officers corroborated what Crannis-Curl said next.
She recalled telling Shifflett that VSP was going “off-plan” and that she was not going to
send any troopers out into the crowds to make arrests. Mitchell looked over to Shifflett,
who seemed to shrug and acknowledge the conversation. Lewis recalls Crannis-Curl adding
that VSP intended to leave Charlottesville with the same number of troopers they brought
in. Colonel Steven Flaherty, the VSP Superintendent, interrupted her to say that VSP’s
primary role on August 12 was “park security,” and troopers were not going to “wade into
the mess on Market Street.”
Later in the meeting, Colonel Flaherty added that VSP had constructed a comprehensive
timeline that it combined with its dispatch log and information from the Virginia Fusion
Center. Chief Thomas asked for a copy to be sent to him. CPD still has not received VSP’s
timeline. Chief Thomas later told his assistant that VSP was refusing to cooperate with
CPD in an effort to remain blameless for the events of August 12.
On the drive back to Charlottesville, Lieutenant Crannis-Curl’s comment worried Captain
Lewis. She asked Shifflett if it was true. “Was that the ‘stand-down order?’” she asked.
Shifflett confirmed that the conversation took place, but downplayed its significance. In his
mind, the comment simply meant they needed to be smart about how they deployed
officers. He also reiterated his view that sending any law enforcement into the crowd to
deescalate violence on Market Street would have resulted in a deadly force situation. Lewis
said she understood, but wondered if he realized how significant it was for the VSP ground
commander to “change the plan”—and have the CPD ground commander agree to it—
without escalating it to the Command Center.

     D.   What Went Right and What Went Wrong

In this section, we evaluate the successes and failures of the City’s handling of the Unite The
Right event. While there were evident victories that protected public safety, we found a
greater number of failures in both planning and execution. These shortcomings contributed
to a chaotic series of events that led to violence and death. The mistakes made on


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August 12 have significantly undermined our community’s confidence in government’s
ability to protect public safety.

          1.   What Went Right

               a.    Despite the Presence of Firearms and Angry Confrontations
                     Between Protesters and Counter-Protesters, No Person was Shot
                     and No Significant Property Damage Occurred.

While August 12 was a horrific day for our community, it could have been much worse.
The presence of firearms during this intensely acrimonious event was particularly
dangerous, as people could have easily used lethal force against their enemies. Despite the
confrontational tone of the event, we found evidence of only a single gunshot being fired.
The shot easily could have hit any number of individuals who were in the immediate
vicinity of the man who fired. The shot also could have triggered additional gunshots in the
midst of this volatile event. It is not hard to imagine how someone with ready access to a
gun could use it offensively against another person with whom he disagreed. Indeed, many
people brandished weapons and specifically threatened to use firearms against others. The
angry rhetoric that characterized this event could easily have led someone to use a firearm
defensively against someone he or she perceived as a threat.
While there was some damage to property at the Unite The Right rally, such damage was
limited and confined to the immediate vicinity of Emancipation Park. There was no
damage to businesses or property on the Downtown Mall, just south of the protest event.
The operational plans devised by CPD and VSP specifically called for the protection of
downtown businesses during the event. This affirmative strategy was motivated by a desire
to prevent looting or other damage to the businesses in the commercial heart of our
community.

               b.    The Charlottesville Fire Department and UVA Health System Had
                     Effective Operations Plans That Allowed Rescue Personnel to
                     Extract and Treat a Large Number of Injured Persons Within
                     Minutes of a Violent Attack.

The Charlottesville Fire Department (CFD) had a thorough plan in place for the August 12
event. Their operational plan called for the rapid deployment of fire and rescue resources
should a need arise. They staged vehicles and personnel in locations that kept them safe
from violence or disruption yet allowed their dispatch to areas of need. The UVA Health
System also devised and executed an excellent plan in place to ensure available treatment
for persons injured on August 12. These agencies worked well together and with the IMT
planners, resulting in a coordinated emergency response strategy.
The CFD and UVA plans were tested by the vehicular collision at 4th and Water Streets.
When that event occurred, CFD was able to immediately respond with multiple ambulances
and rescue vehicles. Those injured on the scene were provided treatment by skilled EMS
personnel who arrived minutes after the vehicle incident. EMS personnel classified the
injuries according to severity and prioritized transport to hospitals accordingly. Seventeen
required hospitalization, and all 17 were transported to hospitals within 30 minutes of the


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first dispatch to EMS. Those taken to UVA were admitted through the main lobby, where
the treatment teams were standing by according to plan. The speed of the response is
particularly impressive given the large number of people crowded at the scene of the
homicide. 349
The rapid EMS response is a product of the thorough planning conducted by CFD and
UVA before the event. These agencies were prepared for the contingency that arose—a
violent event with multiple injuries. They executed their plans effectively, amidst dangerous
and fluid circumstances. The CFD/UVA success is evidence that thorough interagency
preparation leads to effective crisis management. This community benefited directly from
the careful planning done by the professionals within these organizations.

                c.   Law Enforcement Planning and Response Was Informed by
                     Thorough, Accurate Intelligence Before and During the Event.

The success or failure of any law enforcement operation often depends upon the quality of
information available to decision-makers. In the weeks before August 12, those tasked with
planning for the Unite The Right rally had ample information about the numbers, plans and
anticipated activities of potential attendees. During the rally itself, law enforcement leaders
in the Command Center could observe events on multiple video feeds which provided
accurate, real time information about conditions in and around Emancipation Park. As a
result, there was a wealth of accurate information to inform both planning for and response
to these events.
In the weeks before August 12, law enforcement received accurate information about
possible attendance and the potential for violence at the Unite The Right rally from multiple
sources. CPD investigators monitored social media and obtained useful information about
the Unite The Right event from both its promoters and opponents. The Virginia Fusion
Center and Federal Bureau of Investigation also provided important information that
guided event preparations through regular oral and written briefings. The information
gathered in advance made clear to CPD and VSP planners that this event was going to be
well-attended and potentially violent. They knew that various groups and individuals who
had participated in previous rallies were coming to Charlottesville for the Unite The Right
demonstration. They could not have been reasonably surprised by what occurred on
August 12. 350
Throughout the day on August 12, law enforcement leaders in the Command Center had
access to real time video of events occurring in and around Emancipation Park.
Commanding officers watched events unfold on pole cameras with direct views of the
entrances to the park, overhead footage from a VSP helicopter, multiple live feeds
broadcasting on social media platforms, and national television networks broadcasting live.
These images gave law enforcement leaders a comprehensive perspective of the events that
unfolded on the ground as they happened.
The fact that we live in an electronically interconnected world creates real benefits for law
enforcement decision makers. Both before and during the event, technology provided
important information to those tasked with protecting public safety. We found no evidence
of a “fog of war” effect—the uncertainty of conditions that leads to uninformed decisions.


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To the contrary, we believe officers who planned for and reacted to these events were armed
with reliable, accurate, and timely information. This information provided a sound factual
foundation on which to make critical enforcement decisions.

           2.   What Went Wrong

                a.    The Charlottesville Police Department Did Not Seek Input From
                      Law Enforcement Personnel Experienced In Handling Similar
                      Events.

The size and scope of the Unite The Right rally was beyond any similar event that had
occurred in Charlottesville for many years, perhaps ever. The resulting challenges to law
enforcement and other City planners were tremendous. That said, the men and women
tasked with preparing for the Unite The Right event did not sufficiently appreciate the
challenge presented. They did not ask for advice or assistance from fairly obvious potential
sources. They “didn’t know what they didn’t know,” which in part led to the inadequate
preparation for this event.
Despite the obvious similarity between these prior events and the Unite The Right rally,
CPD planners did not sufficiently consult with officials in other jurisdictions as they planned
for August 12. While they had brief discussions with officers in other jurisdictions, they did
not make any attempt to incorporate lessons learned in their own operational plans. They
did not travel to other jurisdictions, obtain other departments’ operational plans for similar
events, or share their thoughts about Unite The Right with counterparts with more
experience. This failure represents a tremendous missed opportunity.

                b.    The Charlottesville Police Department Did Not Provide Adequate
                      Training or Information to Officers In Advance of the Event.

Despite the complexity and unique nature of this event, CPD did not provide officers with
sufficient information to prepare them for the challenges of this event. They failed to
provide department-wide training, relying instead on information conveyed to officers at roll
calls and via e-mail. They did not provide their line officers with the substantial intelligence
that had been gathered about the event. They failed to convene an all-hands briefing on the
day before or morning of the event. As a result of these failings, officers approached this
volatile event with a sense of uncertainty about what they would confront in and around
Emancipation Park.
August 12 was the first time that many CPD personnel had ever become part of a mobile
field force. 351 The leader of the CPD field force, Lieutenant Michael Gore, had never before
commanded a mobile field force. Most officers had not trained in crowd dispersal, moving
as a group in a line formation, or the appropriate use of non-lethal weapons, with
Lieutenant Gore or any other commander. They had never responded to the military-style
commands that are used when field forces are put in motion. They had never gathered in a
field or large open area to practice as a field force. Many officers had never worn or even
tried on their “riot gear,” which consisted of ballistic helmets, plastic shields, and gas masks.
We heard numerous stories from officers regarding incomplete equipment, struggles to put
on gas masks underneath their helmets, and forced adjustment of sizes for equipment as


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they “geared up” in Emancipation Park. The fact that officers were doing this for the first
time on August 12 is a stunning and obvious failure in preparation.
Training failures contributed to the lack of coordination between CPD and VSP on
August 12. There was no “all-hands” briefing where all personnel were brought together
prior to the Unite The Right rally. CPD personnel also failed to participate in any trainings
with their VSP counterparts. There were no table top or joint field exercises. CPD officers
below the level of Lieutenant met the troopers who were also assigned to their zones in and
around Emancipation Park on the morning of the event. This lack of coordination or even
familiarity created uncertainty and diminished the chances of a consistent, unified
command.

                c.   The City of Charlottesville Waited Too Long to Request the
                     Specialized Assistance of the Virginia Department of Emergency
                     Management.

Once it was deployed, the VDEM Incident Management Team provided valuable assistance
to those planning for the Unite The Right rally. The IMT provided useful equipment,
including GPS trackers for CPD officers that showed commanders where they were located
during the event. 352 It consolidated separate and disconnected operational plans into a
single Incident Action Plan (IAP). Planners also held tabletop exercises that helped CPD
commanders prepare for the handling of particular scenarios.
The effectiveness of the IMT was limited, however, by a lack of fulsome cooperation by all
agencies involved in the Unite The Right rally. VSP did not participate in any of the IMT
briefings in advance of the final meeting at which the IAP was distributed. Their command
staff did not participate in the tabletop training exercise in which hypothetical scenarios and
responses were developed. IMT planners did not have the VSP operational plan as they
drafted the IAP. ACPD was similarly uninvolved in these meetings, and their resources
were never noted in the final IAP.
If the City of Charlottesville had heeded Chief Baxter’s advice and requested that VDEM
deploy an IMT several weeks before the Unite The Right rally, the IMT would have had
more time to access and incorporate information and create a more comprehensive plan.
The IMT did much with the limited information that was available. It could have done
much more with additional time and cooperation.

                d.   The Charlottesville City Council Unduly Interfered With
                     Operational Planning By Directing That the Event Be Moved to
                     McIntire Park Just Days In Advance.

In the days prior to the Unite The Right rally, many members of this community
encouraged City leaders to cancel the event. Business leaders, faith groups, neighborhood
associations, and other interested members of the community expressed concern about the
prospect of a large-scale disorder. They correctly predicted that the presence of a large
gathering of far-right groups would attract considerable opposition and create the potential
for violence, disorder, and a substantial threat to public safety. Accordingly, they brought



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considerable pressure on members of the City Council and the City Manager to deny the
permit for this event.
There were clear legal impediments to denying the Unite The Right event permit. The City
Attorney correctly advised Council and the City Manager that the First Amendment did not
allow a local government to deny a permit application based on the content of the speech at
an event. The Constitution allows time, place and manner restrictions on permitted events,
though those restrictions must be limited and guided by specific, credible evidence.
The intersection of free speech and public safety created a real dilemma for City leaders.
They wrestled with a solution that would both minimize the prospect of violence and
protect everyone’s First Amendment rights. They ultimately reconciled these competing
interests by granting Mr. Kessler’s permit application, but for an event in McIntire Park
rather than Emancipation Park. Their effort to move the event to McIntire Park was
ultimately overruled by a federal judge who granted an injunction that kept the Unite The
Right rally in Emancipation Park.

                      1)   Lack of Deference to Law Enforcement.

City Council should not have injected itself into the process of deciding where to hold the
Unite The Right rally. That decision was informed by both legal analysis and operational
planning, neither of which is the province of the elected City Council. The City Attorney
has the expertise to evaluate the requirements of law and identify the rules that govern time,
place and manner restrictions on free speech events. The Charlottesville Police Department
is the agency best equipped to protect public safety during large scale events. Conversely,
the City Council does not have such expertise. Their decision to take this important and
difficult decision away from the arms of City government most equipped to evaluate and
manage this event was a dangerous overreach with lasting consequences.
As elected representatives, Council should respond to public concerns like those expressed
in the days before August 12. But rather than micromanage professional staff and second-
guess their decisions, Council should have helped the community understand the rules that
govern these events. Rather than overruling law enforcement and forcing them to prepare
for a more complex event, Council should have helped the community understand the
public safety challenge and anticipate the law enforcement response to the event. Instead of
working as a team, City staff and City Council worked at cross purposes and stoked public
uncertainty about the event. This was a significant failure that has diminished the City’s
faith in its elected leaders.

                      2)   Timing of Decision to Move the Event.

The effort to move the rally to McIntire Park was initiated much too late. Despite the
ample notice of Mr. Kessler’s desire to hold a large gathering of white nationalists in
Charlottesville, the violence that had ensued at similar events around the country, and
accurate intelligence about the potential for violence here, City leaders waited until just days
before the event to act. Waiting until the week before the event to move it away from the
location requested by the organizer negatively impacted both planning and
communications. Law enforcement officials were suddenly forced to prepare for the


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possibility of protest activity in both McIntire and Emancipation Parks. Planners operated
with uncertainty the anticipated actions of protesters and counter-protesters regardless of the
outcome of the litigation. This uncertainty created distraction in the difficult days before
August 12.

                e.   The City of Charlottesville Did Not Provide Adequate Information
                     to The Public About Plans For the Event.

The late attempt to move the Unite The Right rally to McIntire Park also hampered
communications with the public. Uncertain as to where the event would ultimately take
place, City leaders were unable to provide specific details about street closures, safety
measures, and other important information. They left important questions from the
business community, neighborhood groups, and interested citizens unanswered. As a
result, many people were uncertain about whether to attend the protest event, and what to
expect if they did. That uncertainty created anxiety in this community. It has also
diminished confidence in City government in the weeks since the demonstration.
When City leaders did speak in advance of August 12, they sometimes sent conflicting
messages. Mayor Signer consistently discouraged attendance at the August 12 rally, much
like he and other City leaders had done prior to July 8. By contrast, Vice Mayor Bellamy
encouraged attendance and personally participated in a faith-based endeavor to visibly
oppose the Alt-Right event. While Council is a diverse body with differing perspectives on
various issues, the mixed messages to the public in the days leading to August 12 created
confusion and diminished confidence in the City’s ability to comprehensively manage this
event.

                f.   City Planners Mistakenly Believed That They Could Not Limit the
                     Possession of Certain Items Used as Weapons At the Unite The
                     Right Event.

Virginia Code § 15.2-915, first enacted in 1987, 353 preempts Virginia localities from enacting
local laws that regulate the possession of firearms. It provides, in pertinent part:
       No locality shall adopt or enforce any ordinance, resolution or motion . . .
       and no agent of such locality shall take any administrative action, governing
       the purchase, possession, transfer, ownership, carrying, storage or
       transporting of firearms, ammunition, or components or combination thereof
       other than those expressly authorized by statute. For purposes of this section,
       a statute that does not refer to firearms, ammunition, or components or
       combination thereof, shall not be construed to provide express
       authorization. 354
Thus, in the absence of a state law expressly authorizing local gun-control laws, localities
may not prohibit citizens from open-carrying firearms. There is currently no such state law,
which precludes Charlottesville and other localities from restricting the possession of
firearms at protest events. Because of this statute, Charlottesville could not have banned
guns or otherwise restricted attendees from openly carrying firearms. 355



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State law does not similarly impede localities from enforcing restrictions on the possession
or use of other weapons. Cities may restrict the possession of sticks, bats, shields, clubs,
poles, or other items that may be used as weapons at protest events. The City’s charter 356
and the uniform-charter-power provision of the Virginia Code 357 empower the City to
regulate and restrict the possession of weapons at demonstrations, provided that the City
determines that such regulation is appropriate to protect public safety. 358
CPD did not receive accurate information about the legality of restricting weapons other
than firearms before the Unite The Right event. On August 4, 2017, Captain Wendy Lewis
sent an e-mail message to Commonwealth’s Attorney Dave Chapman asking if law
enforcement could ban the possession of certain items that could be used as weapons—such
as bats, poles, or shields—from Emancipation Park on August 12. Mr. Chapman responded
that such a ban would be permissible only if there was a pre-existing restriction on the
possession of those items in the park. Captain Lewis reported this to Chief Thomas and
others on the CPD command staff. They proceeded with planning for August 12 under the
mistaken assumption that they could not ban the possession of any items at the Unite The
Right event.
Restricting weapons other than firearms would have been difficult to accomplish on
August 12. A prohibition on bats, poles, and shields would have required posting rules
regarding the possession of certain items and the ability to uniformly enforce such
restrictions. Despite the challenges to enforcing a ban on weapons other than firearms, we
believe that such a ban would have been advantageous. Weapons carried by Alt-Right
demonstrators and those there to oppose them increased both the quantum and seriousness
of violence on August 12. If the individuals engaged in those acts of violence had been
unarmed, there would have been fewer and less dangerous encounters. Accordingly, the
City should have prohibited the possession of these items.

                g.   The Owners of Private Property Adjacent to Emancipation Park
                     Refused Access to Their Facilities, Which Hampered Law
                     Enforcement Response During the Event.

Police planners relied upon access to buildings close to the event and used those buildings to
stage specialized units of officers and equipment. The farther from Emancipation Park
those resources were staged, the less responsive they could be in an emergency situation.
Both the Central Branch of the Jefferson-Madison Regional Library and Christ Episcopal
Church withdrew offers of access to their buildings. The loss of those facilities took away
law enforcement staging areas in close proximity to Emancipation Park and required the use
of buildings much farther away. The VSP field force staged at the Jessup House was one of
two such units that was called to Emancipation Park to disperse the crowd after an unlawful
assembly had been declared. It took this field force group longer to arrive and engage than
it would have had they been adjacent to the park. This delay came at a critical time, as
multiple fights occurred on Market Street before the field forces began clearing the park. As
a result, the withdrawal of access to the library and church buildings hampered law
enforcement response time and threatened public safety.




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                h.   The University of Virginia Police Department Refused Multiple
                     Offers of Mutual Aid Assistance from the Charlottesville Police
                     Department, Resulting in Violent Encounters That Emboldened
                     Protesters at the Unite The Right Rally.

The University of Virginia Police Department did not sufficiently prepare for the violence
that occurred at the Jefferson statue on Friday night. Despite ample warning that a large
group would march on Grounds with torches and confront counter-protesters, UPD failed
to take proactive steps to prevent violence. They did not attempt to separate the marchers
from those that came to confront them. They did not station any uniformed officers near
the statue, even after a confrontation was obvious. Most importantly, they failed to accept
multiple offers of assistance from CPD officers who were staged immediately across the
street. Instead, UPD waited for violence to occur before requesting such assistance. Even
then, they were disorganized and unfamiliar with the process of declaring an unlawful
assembly. Their response to the Friday night torchlight event was woefully inadequate,
even for a small campus police department.
The lack of police intervention on Friday night set a dangerous tone for the events of the
next day. UPD’s lack of intervention was obvious to everyone present, both among the
Unite The Right torch-bearers and the organized counter-protesters who were planning to
attend the larger Saturday rally. The Friday night event increased attendance at the Unite
The Right rally and stoked apprehension about what would occur. The seeming paralysis of
police infected the image of all law enforcement and created a general sense of inadequacy
and unpreparedness for the weekend’s events.
It also seems likely that the insufficient police response on Friday night emboldened people
who intended to engage in similar acts of violence on Saturday. Anyone who came to
Charlottesville to violently confront others was undoubtedly encouraged by what he saw in
person or on video at UVA. We believe that the police passivity on Friday night potentially
encouraged violence on Saturday. Had the Friday night event been handled more
effectively, it would have set a tone of control and discouraged possible confrontations at
Emancipation Park.

                i.   The Charlottesville Police Department Implemented a Flawed
                     Operational Plan That Failed to Protect Public Safety On August
                     12.

                     1)   Law Enforcement Did Not Adequately Ensure Separation
                          Between Alt-Right Protesters and Organized Counter-
                          Protesters.

Every law enforcement expert we have consulted (and many who have opined from a
distance) shares the view that law enforcement must endeavor to keep groups of protesters
and counter-protesters separated from each other at large protest gatherings. To protect the
safety of all attendees at these events, even willing combatants in violence, law enforcement
must at all times endeavor to create and enforce separation between various groups with
divergent perspectives.


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CPD and VSP planners failed to follow this important rule of separation on August 12.
While they spent many hours considering how to divide Emancipation Park into different
areas and keep the Alt-Right protesters separate from confrontational groups, they did not
sufficiently plan to protect public safety as attendees moved toward and away from
Emancipation Park. The Operational Plan was fundamentally flawed in its lack of focus on
areas adjacent to the park—the areas where violence predictably occurred on August 12.
Despite the knowledge that people would be approaching Emancipation Park from both the
east and the west along Market Street, law enforcement made no attempt to ensure
separation between groups along those crucial pathways. There was one officer positioned
between the Market Street garage and the southeast entrance to Emancipation Park—a
school resource officer stationed at 4th Street NE and Market Street—and she was relieved
from that post without any replacement shortly after the unlawful-assembly declaration.
There were several officers at the intersection of Ridge-McIntire and Market Street, though
no officers between that location and the southwest entrance to the park. Rather than
protecting people along the likely routes of travel, officers were stationed in Emancipation
Park, behind metal barricades. This represents a horrible misalignment of resources that left
our community unprotected.
These assignments did not change after the declaration of unlawful assembly. The protest
groups left Emancipation Park and walked back in the direction from which they would
come. Again, there was no separation between the Alt-right groups and counter-protesters
outside of the park as people streamed out of the park and returned to their vehicles or the
vans that had dropped them off.
The violence on Market Street could have been prevented by a more effective separation
strategy.   Instead of positioning hundreds of offices behind barricades inside of
Emancipation Park, planners should have spread officers along Market Street in the blocks
leading to the park. A more visible police presence along Market Street would have
deterred violence and allowed earlier, affirmative response when confrontations occurred.
There were ample law enforcement resources available to protect Market Street.
Commanders could have used field force personnel, SWAT resources, or other specialized
units to monitor ingress and egress. Officers could have been posted at specific locations or
moved along with crowds to and from the event, responding to conditions as they evolved.
These posts could have been established, moved or reestablished before and after the
declaration of the unlawful assembly. 359
No plan could have completely ensured separation between people who came to this event
with the specific intent to commit acts of violence. That said, there were many ways to
reduce the chance that such violence would occur and respond to it more forcefully when it
did. The law enforcement plan that was implemented was woefully inadequate in this area,
resulting in dangerous proximity between opposing groups and numerous acts of violence.

                     2)   Law Enforcement Failed to Intervene in Violent Disorders and
                          Did Not Respond to Requests for Assistance.

Over the course of our evaluation, we spoke to numerous citizens who reported instances of
police inactivity in response to specific acts of violence. Many people reported disorders


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and asked for police intervention. Others identified specific perpetrators of violence and
requested arrests or other police response. Despite clear evidence of violence, police
consistently failed to intervene, de-escalate, or otherwise respond. Upon review of police
body camera and open source video, we saw numerous examples of police failing to act
when requested to do so by citizens. The fact that officers made very few arrests also
supports the conclusion that law enforcement failed to intervene in violent encounters
between attendees of the Unite The Right event.
We did not find evidence of a direct order to officers to “stand down” and not respond to
fights and other disorders. Even if there was no explicit “stand down” order in place, CPD
and VSP both failed to “stand up” to protect human life. Supervisors devised a poorly-
conceived plan that under-equipped and misaligned hundreds of officers. Execution of that
plan elevated officer safety over public safety. The consequence was that many in the crowd
felt physically vulnerable despite intense law enforcement presence, a perfect recipe for
undermining the community’s faith in law enforcement.

                          a)    Areas Where Conflict Predictably Occurred Were Not
                                Occupied by Officers.

A number of factors led to law enforcement’s inability to prevent and respond to violence.
First, the CPD operational plan failed to deploy officers to areas where violent
confrontations were likely to occur. As described above, the plan placed an inordinately
large number of officers within designated zones inside of Emancipation Park, leaving areas
of ingress and egress relatively unprotected. Officers would have had to leave their
designated zones to respond to fights on Market Street, which could only be accomplished
with supervisory approval. The plan’s focus on the park rather than surrounding areas
resulted in the large majority of law enforcement personnel being some distance from the
violent confrontations that occurred.

                          b)    CPD and VSP Personnel Were Insufficiently Equipped To
                                Respond to Mass Unrest.

CPD and VSP personnel with whom we spoke cited the lack of protective gear as the main
reason they did not intervene in violent encounters during the Unite The Right rally. The
officers who were in a position to observe and respond to fights and aggressive acts were
insufficiently protected to safely intervene. CPD zone commanders consistently cited the
lack of protective gear as the main reason for not directing their assigned officers to
deescalate or interrupt disorders.
Chief Thomas explained to us that the decision to have officers in “soft” uniforms rather
than riot gear was motivated by “optics” and the desire to avoid alienating and intimidating
the crowd through a militarized officer appearance. There is support for a “soft” approach
to equipping officers during large events, as it more permits officers to interact informally
with members of the crowd, building communication, articulating expectations, and
encouraging participants to self-police. Often, this means walking through and with the
crowds, “meeting and greeting” participants, expressing both a commitment to support free
expression and a recognition that most participants are peaceful.



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Despite CPD’s soft uniforms, its officers did not prepare to engage protesters or engage
participants in those ways. The department did not train officers in crowd management or
de-escalation in the lead up to the rallies. Officers did not roam through the crowds and talk
with protesters. To the contrary, they lined up behind barricades in military-looking
formation and stood scanning the crowds.
CPD also failed to prepare adequately for the transition from soft strategies to “harder”
alternatives. Riot gear was stored too far from officers who might need it to respond to
unfolding events, requiring officers to leave the area just as disorder and violence most
required their presence. Since CPD officers were unfamiliar with riot gear and had not been
trained with it, they were inevitably slow to “gear up.” As a consequence, CPD left the
crowd under-policed when intervention would have been valuable. In these ways, CPD’s
strategy ensured that it would face the worst of both worlds: officers felt inadequately
protected when things went awry, and yet the department did not reap the benefits of
promoting peace and building civilian trust that a soft approach is thought to promote.

                           c)   CPD Commanders Failed to Deploy Available Law
                                Enforcement Resources to Quell Violence

CPD commanders could have deployed multiple specialized units to respond to the violent
skirmishes that occurred on Market Street. The CPD SWAT team was staged just blocks
away in the alley next to the CPD station. This specialized unit was more prepared to
respond to violent disturbances, as they had protective equipment and were trained as a
unit. The Albemarle County Police Department’s SWAT Team and mobile field force were
also staged just blocks from Emancipation Park. Like the CPD counterparts, these units
were standing by in full protective equipment, ready to deploy if requested by the CPD
incident commander. Despite their availability and clear utility, none of these specialized
units was mobilized to respond to the violence that occurred on Market Street. The failure
to utilize these specialized units was a clear failure that exacerbated the violence around
Emancipation Park.

                           d)   VSP Directed Its Personnel to Remain Behind Barriers
                                Within Emancipation Park.

VSP intended and instructed their officers to engage in a far more limited range of law
enforcement activities than CPD envisioned. As VSP ground commander Lieutenant Becky
Crannis-Curl told Captain Shifflett early on August 12, troopers were directed not to enter
large unruly crowds to make arrests. This was an “off-plan” decision that was unanticipated
and not adequately conveyed to CPD officers in the five zones. As a result, the agencies
approached the Unite The Right event with a dangerous inconsistency in approach to the
crucial issue of arrests. The “left hand” did not know what the “right hand” was doing,
which created danger to both officers and event attendees.
It is remarkable that VSP officials attended weeks of planning sessions with CPD and
weighed in on CPD’s operational plans without ever specifying in writing or verbally that
VSP did not expect its officers to police serious incidents of lawbreaking by participants.
Their inaction in the face of violence left the City unprepared—and unaware that it was
unprepared—to address one of the predictable risks of the event: brief but serious incidents


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of interpersonal violence and mutual combat. In the future, VSP should make clear the
limits of the aid it provides in writing and set consistent expectations so that communities
understand what aid is and is not available under particular conditions.

                           e)   Upon the Declaration of an Unlawful Assembly,
                                Protesters Were Pushed Directly Toward Counter-
                                Protesters Without Separation.

As the crowd dispersed, law enforcement failed to prevent and respond to violent
confrontations in and around the park. Those in the park at the time of the unlawful
assembly were pushed straight south, into the area on Market Street where counter-
protesters had assembled. Predictably, violent confrontations occurred as the Unite The
Right protesters streamed past the counter-protesters. Rather than separate the crowds and
break up individual fights, troopers stood behind barricades as people left the park. The
CPD officers who could have deescalated confrontations stood in the back of Emancipation
Park, acting as a rear guard for the VSP field force.
The inability to enforce separation during dispersal represents another planning failure.
Commanders knew when they declared an unlawful assembly that the Unite The Right
protesters had arrived at Emancipation Park from both directions on Market Street. They
should have expected that those same people would leave the park and return along the
paths by which they arrived. Nonetheless, CPD and VSP commanders failed to protect the
points of egress, instead pushing the conflicting groups directly into each other. The violent
conflicts that resulted were a predictable recurrence of what had led to the unlawful
assembly.

                     3)    The Traffic Plan Placed Insufficient Resources at Particular
                           Intersections and Left the Downtown Mall Vulnerable to a
                           Vehicle Used as a Weapon.

CPD’s traffic plan represented another misallocation of resources that had tragic
consequences on August 12. Planners put unarmed civilian employees at particular
intersections where violent confrontations arose. They also failed to sufficiently protect a
crucial intersection, allowing a vehicle to strike a large crowd of people and cause on death
and numerous injuries.
Officer Tammy Shiflett was in a vulnerable position at her assigned post at the intersection
of 4th Street NE and Market Street. Although she is a sworn police officer and carries a
firearm, Officer Shiflett is a school resource officer who works in an elementary school, and
she had just returned to active duty following more than two months of leave while
recovering from elbow surgery. In the face of the Market Street skirmishes that broke out
after the unlawful-assembly declaration, Officer Shiflett felt unsafe and radioed for
assistance. She was soon reassigned, and she moved her vehicle away from that
intersection.
After Officer Shiflett departed, all that remained at that crucial intersection was a wooden
sawhorse barricade. Lieutenant Steve Knick, the traffic supervisor, was not aware that
Officer Shiflett had been reassigned. No one in the Command Center thought to replace


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Officer Shiflett with other officers, or install any additional barricade. The lack of
protection of that intersection left it vulnerable to vehicle traffic southbound on 4th Street,
across the Downtown Mall. The sawhorse barricade blocking 4th Street was moved by
unknown persons, and several vehicles were able to travel southbound across the
Downtown Mall. James Fields exploited this vulnerability when he drove his Dodge
Challenger southbound along 4th Street into a crowd of counter-protesters, causing the
death of Heather Heyer.
The 4th Street incident is the most dramatic manifestation of the failed traffic plan
implemented by CPD on August 12. Rather than placing civilian employees and single
officers at perimeter traffic posts, planners should have placed officers or units prepared to
more affirmatively respond to disturbances. Had there been a team of sworn officers at each
traffic post, fights like the one witnessed by Diane Hueschen on 2nd Street could have been
prevented or interrupted. When Officer Shiflett radioed “there is no one here to help me” at
4th Street NE and Market Street, the Command Center should have reinforced rather than
abandoned that crucial intersection. Leaving that intersection unguarded was a tactical
error that should not have been allowed to happen.
As above, there were ample law enforcement resources available to assign to traffic posts
and physical assets offered by Public Works. Captain Mitchell rejected a suggestion to use
VSP troopers at traffic posts based on the view that the traffic posts were insufficiently
critical to merit VSP assignment. Public Works Director Paul Oberdorfer raised the
possibility of using water-filled jersey barriers or large dump trucks to block traffic at
particular intersections. All of these suggestions would have made the intersections more
secure and done a more effective job of preventing unauthorized access to the streets
designated as protected in the plan.

                     4)    The Charlottesville Police Department and Virginia State
                           Police Failed to Operate Under a Unified Command, Resulting
                           In Delayed And Ineffective Responses To Critical Events.

Another central principle that guides event planning for any large law enforcement response
is the concept of unified command. All experts agree that it is imperative for all agencies
contributing to an operational response to a large-scale event to coordinate activities and
operate under a single and well-established chain of command. The August 12 CPD and
VSP commanders ignored this fundamental lesson and failed to implement a unified
command. This failure slowed response time, confused officers on the ground, and greatly
diminished the effectiveness of the law enforcement response to this difficult event.

                           a)   Failure to Share VSP Operational Plan

Multiple law enforcement agencies coordinated in the planning process for the Unite The
Right rally. Commanders from VSP and CPD convened weekly meetings at which they
discussed intelligence, resource deployment, logistics and other operational details. Other
agencies participated in these meetings, including fire and rescue agency personnel and
other local law enforcement agencies.




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Despite the multi-agency commitment and numerous meetings in advance of August 12,
there were numerous failures of coordination. VSP and CPD had separate operational
plans for the Unite The Right rally. VSP never provided its plan to CPD during the
planning process. When we interviewed CPD incident commander Captain Mitchell, he
told us he has not seen the VSP operational plan to this day. The fact that the agency with
the largest commitment of personnel did not share its operational plan with the agency that
maintained overall command at the event is a stunning failure to align mission and ensure
mutual understanding.

                           b)    Lack of Unified Decision Making

Despite CPD’s role as the lead agency and Chief Thomas’s responsibility as incident
commander, there was no unified command on August 12. Chief Thomas admitted to us
that although Charlottesville had formal command authority he did not exercise functional
command over the law enforcement response, nor did he seem to understand fully the need
to do so. In the face of the resources VSP brought to the cooperative effort, Thomas
deferred to the point of dysfunction. He noted the presence of senior VSP and state
government leadership in the command center and indicated that the state officials
periodically left the Command Center for separate conversations. Unified command
requires soliciting and attending to the input and skills brought by other agencies, but it also
demands exercising authority and clear leadership. CPD failed miserably to effectively
establish a unified command and exercise the authority it nominally had been given.

                           c)    No All-Hands Briefing

There was no all-hands briefing between CPD and VSP personnel on August 12 or any time
prior to the Unite The Right event. CPD personnel reported to their zones at 7:00 a.m. on
August 12 to allow time for joint briefings with the VSP personnel assigned to their zones
before attendees began to arrive. When VSP showed up nearly two hours late on August 12
because it engaged in its own briefing, it left no opportunity for joint discussions before the
event. The fact that such a briefing took place without CPD’s knowledge or participation is
yet another manifestation of the lack of coordination between these two agencies.

                           d)    Lack of Interoperable Communications

The use of separate radio channels on August 12 undermined the concept of unified
command and delayed important tactical decisions. All communications between CPD and
VSP ultimately had to be conducted face-to-face, whether between officers and troopers on
the ground or CPD and VSP leadership in the command center. All CPD personnel, in the
command center and on the ground, told us that there were times when they could not
immediately locate their VSP counterparts, which delayed communications.
The use of separate communications delayed decision-making and the implementation of
specific resources during the event. As early as 10:21 a.m., zone commanders requested the
authority to declare an unlawful assembly. Nonetheless, the declaration was not made until
11:31 a.m. Captain Mitchell and Chief Thomas told us that the delay in declaring the
unlawful assembly resulted in part from VSP’s attempt to extract plain clothes personnel
from the various zones in Emancipation Park. Even after the unlawful assembly was


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declared, it took the VSP field forces almost 40 minutes to assemble and disperse the crowd
in Emancipation Park. During this delay, CPD officers were simply waiting in the public
safety area, rather than responding to disturbances. These significant delays were caused in
part by the necessity of relaying information along separate communications channels. If all
agencies had been given access to the same information on a unified communications
channel, decisions could have been made more quickly and plans executed more
immediately.
Our overall conclusion about the interagency coordination on August 12 is consistent with
that of Officer Otis Collier, who was assigned to Zone 3 during the Unite The Right event.
While he and every CPD officer with whom we spoke praised VSP for their substantial
commitment to the City on August 12, Officer Collier told us that it seemed to him that VSP
was “operating independently” on August 12.
VSP’s commitment of resources and support was indispensable on August 12. Nonetheless,
those resources were not sufficiently coordinated with those of CPD, the nominal “lead
agency” for the event. The disconnect in planning, communications, and operations had a
materially negative impact on the overall law enforcement response to this challenging
event. There was no truly unified command on August 12, which is a central failure of both
planning and execution.

               j.    Failure to Protect Public Safety Erodes Trust in Law Enforcement

The passive law enforcement response to violence on August 12 represents a tremendous
tactical failure that has real and lasting consequences. People were injured in violent
confrontations that could have been but were not prevented by police. Some of the
individuals who committed those violent acts escaped detection due to police inability or
unwillingness to pursue them. People who watched violence occur without police
intervention were alarmed and unsettled. Many individuals described to us a diminished
confidence in law enforcement which has potentially lasting consequences for this and other
communities.
Assessed by whether CPD’s efforts protected human life and free expression, indisputably
among the most important measures by which one can judge the success of law enforcement
response to a political protest, CPD and VSP failed miserably on August 12. Many things
could have gone worse: protesters could have caused each other additional serious injuries;
officers could have used excessive force in resolving disorder; property could have been
destroyed. But viewing those limited successes as evidence that the police response to the
event was successful indicates that both state and local law enforcement continue to
overlook the role of these goals in policing, a failure that undermines public faith in
government.




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RECOMMENDATIONS


In this section, we look prospectively at what the City of Charlottesville and other
municipalities can and should do in response to the summer protest events. Some of our
recommendations address issues that have arisen in our review, and others suggest
improved practices to manage future protest events. These recommendations follow
directly from the lessons learned during the July 8 and August 12 rallies. Some can be
implemented unilaterally by City agencies in advance of mass unrest events. Others will
require legislative change and political action.

I.   Preparation for Civil Disturbances

In advance of a large protest event, every municipality can take steps to protect both free
speech and public safety. We offer the following recommendations as a means to improve
the City of Charlottesville’s approach to future events. We hope other small cities will find
the suggestions useful as they inevitably confront volatile events of their own.

     A.    Emergency Management and Coordination

The City of Charlottesville should follow Incident Command System (ICS) procedures
implemented by the National Incident Management System (NIMS) in anticipation of all
future large protest events These nationally-recognized standards provide the crucial
blueprint for managing emergencies. The ICS standards use standard nomenclature and
help ensure a unified command structure to govern a multi-agency response.

       x   Provide training to all CPD and CFD personnel on NIMS and ICS processes in
           advance of large events.

       x   Use standard NIMS/ICS terminology when planning and creating event-specific
           roles to ensure common understanding among participating agencies.

       x   Designate the Charlottesville Fire Chief to serve as the City’s Emergency
           Management Coordinator and provide the Coordinator with sufficient resources
           to implement the NIMS process in anticipation of large protest events.

       x   Consider the utility of an Incident Management Team (IMT) and involve
           planners well in advance of large events.

       x   Adhere to any agreed upon Incident Action Plan during a major event.

     B.    Intelligence Gathering

Accurate information about large protest events is essential to effective planning.
Intelligence about attendees and anticipated activities at these events is critical. Police
agencies should develop the means to gather and vet intelligence and incorporate that
information into operational plans.



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As the events of August 12 demonstrate, not all attendees at protest events will coordinate
with law enforcement, either because they are too loosely organized to do so or because it is
incompatible with their ideology. Rather than ignore groups that do not cooperate with law
enforcement, agencies should plan for this resistance and prepare to anticipate gaps in
intelligence and in planning that result. Planners must also ensure flexibility to adjust when
certain groups and individuals do not keep promises or act in accord with previous
agreements.
In addition to gathering event-specific information, agencies preparing for large protest
events should endeavor to consult with law enforcement agencies in other parts of the
country where similar events have occurred. While each demonstration will present unique
facts and circumstances, small police agencies like CPD would be well served by learning
from the experience of peers in other jurisdictions. The Department of Justice or a national
police organization could facilitate information sharing between agencies, creating a
clearing house of plans, after-actions, and other guidance to agencies preparing for
situations of mass unrest.

       x   Improve the intelligence gathering capabilities of CPD through enhanced
           technology, including software to aggregate and sift open sources of information
           and drones to monitor demonstrations as they occur.

       x   Access intelligence available through the Virginia Fusion Center and
           participation in the FBI-led Joint Terrorism Task Force.

       x   Develop lines of communication with protest organizers and representatives of
           groups likely to attend when possible to ensure clear expectations and inform
           operational planning.

       x   Cultivate relationships with community members through effective outreach,
           including groups critical of law enforcement.

       x   Gather information from law enforcement agencies in other communities where
           large protest events have occurred.

       x   Develop a national means for gathering and sharing information about law
           enforcement responses to mass unrest and connecting cities facing volatile events
           with officials elsewhere with relevant experience.

     C.    Law Enforcement Training

Officers charged with protecting public safety during protest events need specialized
training. Planners should provide information about standards of law that govern these
events. Officers should also receive field training and become familiar with tactics and
equipment to be used during civil unrest situations. Training should be coordinated among
agencies to ensure seamless coordination during these events.




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      x   Implement periodic training of CPD personnel on incident management,
          including table-top and classroom exercises, and field work in crowd control/civil
          disturbance.

      x   Ensure officer familiarity with the capabilities and intended use of riot gear, gas
          masks, helmets, and non-lethal means of controlling large crowds.

      x   Provide First Amendment training and discussion of the role of law enforcement
          in facilitating free expression.

      x   Create event-specific training to provide officers with intelligence information,
          applicable laws and ordinances, operational goals and objectives, interagency
          coordination, and contingency plans.

      x   Ensure regular training on de-escalation techniques and use of force policies and
          engage in training before a planned event on application of those techniques and
          policies to the circumstances likely to arise.

      x   Conduct joint training with partner agencies prior to the event, including field
          training, table top exercises and all-hands briefings regarding specific operational
          plans.

      x   Complete thorough after-action reports to document lessons learned,
          identification of what went right and what went wrong and overall assessment of
          agency effectiveness.

     D.   Communications

City leaders should provide comprehensive information to the public about plans for future
large demonstration events. Elected officials and City staff should ensure coordination in
timing and content of public messaging. CPD should endeavor to provide information
about potential threats and anticipated responses to protect public safety. City officials
should engage effectively with community groups, businesses and a full range of interested
organizations and individuals.

      x   Enhance City’s communications capacity with increased professional staff,
          technology and equipment.

      x   Increase use of social media and electronic means of disseminating information.

      x   Communicate overall public safety goals, potential threats, expected crowd
          control strategies, specific behavior that will result in arrest, and overall
          expectations to the public well in advance of the event.

      x   Engage dissenting voices and open channels of communication outside times of
          crisis to build relationships and trust.




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     E.    Protecting Both Public Safety and Freedom of Speech

In addressing large political protests, City officials, including law enforcement, must both
protect public safety and facilitate free expression. Though many find the belief of the
protesters in these events hateful, the City is legally obliged not to allow such views to affect
its planning. Strategies used on objectionable speech today could be used to suppress other
kinds of critical speech tomorrow. Thus, both command staff and field officers should
prepare for events with both of these paramount goals in mind. Operational plans should
make both goals plain, and specific tactical decisions should be mindful of the need to
ensure security and to protect free speech.
Law enforcement should not plan to declare an event unlawful and disperse crowds before
an event begins or permit violence that is likely to disrupt a planned event. Nor should it
plan to arrest aggressively as a means to create order. Although arrests are sometimes
necessary to protect public safety, they are also costly for individuals, can be frustrating for
communities, and increase liability for cities. Rather, command staff should make every
effort to ensure that a permitted event takes place in a manner that protects the safety of all
attendees. Preventing violence and addressing individual acts of violence quickly when they
do arise are the best ways to protect both public safety and free speech. Rather than wait for
large assemblies to be declared unlawful, law enforcement should attempt to create
conditions that ensure lawful behavior.
In navigating the complicated terrain of political protest and public safety, law enforcement
needs effective legal advice. The City Attorney and Commonwealth Attorney should have
access to specialized expertise in these nuanced and evolving areas. Rather than proscribing
bright lines and dictating strategy, lawyers advising police agencies should present data
points reflected in case law, describe the minimum constitutional requirements at issue in
free speech events, and help evaluate specific tactics that attempt to reconcile these
competing interests. This approach will allow law enforcement to develop proactive plans
that both protect the core value of free speech and prevent disorder.
The Charlottesville City Attorney’s office and other small city attorneys would benefit from
centralized expertise and guidance at the state level. These issues will inevitably affect other
cities and towns in Virginia, many of which have far fewer available municipal legal services
than Charlottesville. The Secretary of Public Safety and Homeland Security or the Attorney
General’s office could mitigate this problem at low cost by providing well-researched
guidance across the state. Creating a mechanism to guide planning for these volatile protest
events would be consistent with the goal of preparing Virginia for emerging issues like the
unique public safety threats that arise at events with mass unrest.

       x   In policing future events, CPD should demonstrate clear commitment to
           protecting individuals from physical harm and promoting the exercise of
           constitutional rights.

       x   CPD should use the event mission to guide planning and preparation.




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       x   Beyond any specific event, CPD should embrace facilitating free expression and
           ensuring the safety of all attendees at protest events as a critical part of the
           department’s mission.

       x   The Secretary of Public Safety and/or the Attorney General’s Office should
           monitor relevant state law and federal constitutional law on policing First
           Amendment activities and issue annual legal updates to towns and cities in
           Virginia.

II.   Effective Management of Protest Events

During large protest events, law enforcement agencies must work closely together in a
unified command structure. Such unity should include an agreed-upon, clearly-articulated
response to disorders and plans for arrests. Law enforcement agencies should plan for
attendees’ entry to and exit from these events and position resources sufficient to facilitate
separation beyond the permitted area. Any operational plan should be flexible enough to
accommodate unexpected events and quickly direct officers and other resources to problem
areas.

      A.   The Stadium Approach

When crowds are likely to be large, groups have conflicting agendas, and intelligence
indicates that violence is probable, security at large protest events may be best served by a
stadium-type security plan. Under such circumstances, CPD should create and enforce a
secure perimeter around the location of the permitted event. The area within the perimeter
should be broader than the park or other location at which an event will take place and be
large enough to accommodate expected crowds with diverse perspectives.                  Fixed
checkpoints should be established to allow entry into the secure perimeter, much like the
gates to a stadium. These points of entry should facilitate prohibitions on items that can be
used as weapons. The enforcement of a hard perimeter will require law enforcement
personnel and physical barriers that encircle the designated area and ensure that attendees
can only enter at designated locations.
Law enforcement planning should extend beyond the secure perimeter and fixed points of
entry. Officers must protect likely paths of entry to and exit from the permitted event.
Effective separation between groups must extend from staging areas to the location of the
event itself and minimize the potential for opposing groups to come into contact and
conflict. Within the perimeter, conflicting groups should be funneled into designated areas
separated by barricades. These zones should connect to designated points of entry for
protesters and counter-protesters. In addition to the positioning of individual officers,
planners should consider the use of hard barricades, vehicles, and landmarks to enforce
separation. Planners should also ensure the availability of enforcement resources well
before and after the time designated for a protest event.
Although creating a stadium can consume city resources and impose some additional
burden on protesters, the stadium approach has important benefits. Enforced separation of
protesters and counter-protesters could minimize conflicts of the kind experienced on



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August 12 in Charlottesville. Lessening violence both protects lives and ultimately permits
more speech, as the event will be less likely to be declared unlawful and dispersed. With
fewer weapons inside the perimeter, officers can adopt a less militarized approach, engage
more positively with crowds with less fear for their physical safety, and potentially reduce
the need for arrests. We encourage CPD and other agencies to begin planning for a large
and potentially volatile protest event by considering the “stadium” approach described here.
Plans for each protest event will depend upon the resources available to responding
agencies, the unique features of the location of each event, and intelligence about expected
threats. When these and other conditions make the “stadium effect” impractical or
unnecessary, planners should endeavor to maximize law enforcement’s ability to protect the
core values of public safety and free expression. All operational plans should allow
individual officers to engage with attendees at protest events. They should strategically
intervene in potential or actual conflicts, and de-escalate or arrest when appropriate.
Officers should have be given thorough training, adequate equipment, and clear guidance
on goals and strategies for engaging the crowd.

       x   If large events raise the potential for violence, law enforcement planners should
           create a secure perimeter surrounding the location of a protest event, using law
           enforcement personnel, hard barricades, buildings and natural boundaries.

       x   Assign officers to areas outside the secure perimeter along likely routes of ingress
           and egress, and equip officers with capacity to respond to disorders.

       x   Designate secure points of entry for protesters and counter-protesters at which
           attendees are screened for prohibited items.

       x   Direct attendees from secure points of entry into zones within the event dedicated
           to particular groups, using barricades and buffer zones to promote separation
           between zones within the perimeter.

       x   Regardless of whether a plan enforces a secure perimeter, officers should engage
           with crowds and strategically respond to actual and potential threats.

     B.    Unified Command

A relatively small police agency like CPD will always rely upon partnerships with other
agencies to manage large scale events. Given the necessity of a multi-agency response, it is
imperative that all participants clearly understand their respective roles and report to a
unified structure of command. Supervisors and officers from different agencies must be able
to communicate via patched radio systems to ensure common understanding of conditions
and timely reaction to events. Coordination should be rehearsed rather than spontaneous.
Without a unified command and true integration of resources, the effectiveness of a multi-
agency response is severely handicapped.
The breakdown in coordination that occurred during the summer protest events in
Charlottesville raises serious concerns about Virginia’s law enforcement preparedness in the
future. As the state’s largest law enforcement agency, VSP will provide substantial


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resources and experience to Charlottesville and other localities in future planned and
unplanned major events. Given the certainty of their repeat role in these events, VSP must
do a better job of coordinating with local agencies. In anticipation of any large protest
event, planners should ensure that all personnel clearly understand their respective roles and
report to a unified, central decision-maker.

       x   Design a command structure that clearly identifies decision making authority
           across agencies.

       x   Designate an overall incident commander, operational and tactical commanders
           with well-defined responsibilities, and field commanders with discretion to
           respond to conditions that evolve on the ground.

       x   Use standard NIMS/ICS terminology when staffing these roles so that all
           agencies are speaking the same language.

       x   Create and distribute a unified operational plan and ensure total transparency
           between participating agencies/departments.

       x   Connect communications equipment to allow all personnel within a unified
           command to directly communicate with each other and share important
           information.

       x   Ensure that contingency plans are part of the overall operational plan and that
           those approaches and considerations are incorporated in pre-event training.

     C.    Responses to Disorders

Policing mass demonstrations requires a continuum of resources and strategies. Adopting a
“soft” approach, wearing ordinary uniforms and avoiding militarized approaches to the
crowd can build community trust and reduce the likelihood that provocative law
enforcement tactics will themselves stir confrontation or lawbreaking. Nevertheless, law
enforcement must also be prepared to respond when protest turns to riot and the physical
safety of officers or others is at risk. When disorders do arise, agencies must have a clearly-
defined plan to guide response.
While each situation will be informed by unique facts, central principles must guide the
exercise of officer discretion. All agency personnel should be prepared to respond
immediately to violence of any kind without unduly jeopardizing officer safety. Planners
must define and train officers as to what categories of conduct will justify arrests. All
agencies within a unified command structure must apply a uniform approach to the issue of
response to disorders and arrest protocol.

       x   Use of force policies should be clear and communicated to all participating
           agencies.

       x   Deployment of less lethal devices should be used when appropriate, consistent
           with guidance provided to all personnel pursuant to the unified operational plan.


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       x   Educate law enforcement on relevant statutes and regulations, including direction
           as to what violations shall be immediately enforced and other categories of
           conduct where discretion shall be used.

       x   Encourage de-escalation and intervention before violations occur, facilitated by
           officer interaction with rally participants.

       x   Provide officers with sufficient personnel and protective equipment to safely
           prevent and interrupt disorders.

       x   Prepare for arrests and assign personnel specific to the processing, transportation,
           and housing of prisoners and coordination with courts, corrections and
           prosecutors.

     D.    Contingencies

Regardless of best efforts of planning and coordination, it is likely that conditions will
evolve during large protest events that require flexible response. Groups will not act in
accordance with posted direction or individual officers’ commands. They may fail to follow
plans that were pre-arranged with law enforcement. Some individuals or groups may
affirmatively attempt to disrupt these events and take steps to thwart public safety efforts.
All of these contingencies arose in Charlottesville on August 12, which presented great
challenges to law enforcement.
The likelihood of disruptive conduct and unexpected conditions requires flexibility in
planning and resource deployment. Operational plans need to allow for the movement of
specialized units in response to emerging conditions. Unified commanders must be able to
monitor events in real time and make informed decisions in reaction to unforeseen events.
Forces must be nimble enough to respond to changing circumstances. The best operational
plans allow for immediate alterations without sacrificing overall security. Robust training
helps facilitate the goal of flexibility and help all personnel prepare for the challenges of a
volatile environment.

       x   Ensure operational plans are sufficiently flexible to allow for the rapid
           deployment and movement of specialized units without sacrificing overall
           security.

       x   Develop a mechanism by which unified commanders receive actionable
           intelligence about conditions that require response and are able to immediately
           convey direction to all agencies.

       x   Train for contingencies in advance of large protest events, using table top
           exercises in which all personnel can anticipate and prepare for complex, volatile
           events.




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III. State Support for Local Jurisdictions

Charlottesville could soon face significant protests again, and even if it does not, other
jurisdictions will. Since any small town or city is likely to confront such events only rarely,
promoting public safety around Virginia requires state support for local jurisdictions. While
the Virginia State Police routinely make officers and specialized services available to local
agencies, additional state efforts to ensure better, more regularized, coordination with local
agencies is necessary. The Commonwealth should also increase state support for
equipment, training and enhanced emergency management services.

       x   The Department of Criminal Justice Services should develop model policies and
           in-service training standards for promoting free speech and managing large-scale
           events.

       x   VSP should develop written procedures and practices for working with local
           agencies, including, but not limited to written advisories for local agencies on
           working with the state police on planning, command structure, training,
           communication, sharing information, command structure, and the use of force.

       x   VSP should be given adequate resources to ensure that all of its officers are
           trained and prepared to assist local jurisdictions as necessary.

IV. Changes in Law

     A.    Permitting

Planning for these events is constrained by various sources of law – local policies and
ordinances, state statutes, and the United States Constitution. Local ordinances should give
law enforcement authority to enforce appropriate time, place and manner restrictions on
permitted events, including the restriction on the possession of certain dangerous items and
the use of open flames. State law should give localities the autonomy to enact specific
restrictions on the possession of firearms, consistent with the Second Amendment. Specific
measures to protect public safety at large protest events should be codified in statutes that
clearly state possible restrictions and ensure content-neutral application.
While we believe the City could have banned the possession of some items that could be
used weapons at the summer protest events, we recommend that the amendment of the
City’s special events regulations to make this prohibition clear. Specifically, the City should
explicitly provide law enforcement with the ability to restrict the possession of certain
weapons to protect public safety. Codifying this rule in a regulation ensures its uniform,
content-neutral application.
With regard to open flames, the City should modify its existing regulation and require the
issuance of a permit for all events at which they will be used. The permit should be
conditioned upon the applicant’s provision of a fire safety plan, approved by the Fire
Marshal. We also recommend that the General Assembly consider broadening the intent
standard for the criminal prohibition on the use of open flames to threaten or intimidate.
The current statute requires a showing that the defendant’s use of an open flame “in a


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manner having a direct tendency to place another person in reasonable fear or apprehension
of death or bodily injury.” This statute should be altered to track the language of statutes
that proscribe the use of swastikas and burning crosses and include the use of fire with the
intent to intimidate.

       x   Modify the Charlottesville City Policy 100-04, the Special Events Regulations, to
           provide City officials with the ability to prohibit certain items that may be used as
           weapons and the ensure events are held at locations with sufficient space and to
           protect public safety.

       x   Create a more robust process of review of permit applications that ensures the
           involvement of all relevant agencies, including CPD, CFD, Public Works, Parks
           and Recreation, and the City Manager.

       x   Modify the open flame ordinance, Charlottesville City Code Section 12-32(a)(8)
           to require a permit application and submission of a fire safety plan to the Fire
           Marshal for any special event or demonstration at which open flames will be
           used.

       x   Amend Va. Code Section 18.2-423.01 to make criminal the use of an open flame
           “with the intent to intimidate any person or group of persons.”

     B.    Firearms

As explained above, current Virginia law prevents localities from restricting citizens’ right to
possess firearms in any circumstance. The General Assembly should change this rule and
empower all municipalities to enact reasonable restrictions on the right to carry firearms at
large protest events. If the state law provides local governments with the authority to restrict
gun possession, the Charlottesville City Council should enact an ordinance that prohibits
the possession of firearms at large public gatherings.

       x   The Virginia General Assembly should pass a law repealing or modifying Va.
           Code § 15.2-915 to specifically allow local governments to restrict the possession
           of firearms at large protest events in the interest of public safety.

       x   The Charlottesville City Council should pass an ordinance outlining the
           conditions which will allow for the prohibition of items that may be used as
           weapons at large protest events, including firearms.

V.   Restoring Faith in Government

Over the course of our work on this review, we repeatedly encountered community
frustration with Charlottesville City government. Many people expressed frustration with
various City agencies and officials and provided specific information about ways in which
they felt underserved by the City’s response to these protest events. As detailed above, we
spoke to a number of witnesses who were critical of the processes used to consider and grant
permits, the lack of communication and information provided prior to the event, the late



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attempt to move the Unite The Right rally, and the law enforcement response to the protest
events.

Community skepticism of City government handicapped our ability to gather facts and
develop relevant information. Representatives of various anti-racist groups told us that our
attorney-client relationship with the City was the basis for their refusal to provide us with
information. These individuals wanted us to keep information received confidential and not
share it with the City, and they asked us to guarantee the public release of our full report.
The distrust of City officials was palpable in our conversations with those groups. We have
also witnessed a lack of faith in City officials at City Council and other public meetings.
Community criticism of the Charlottesville Police Department is particularly acute. Some
of this skepticism is a reflection of the actions of CPD and other law enforcement agencies
during these protest events. We heard strong criticism of the deployment of tear gas on
July 8 and the seeming police inaction in the face of violence on August 12. Some people
see those actions as part of a broader pattern of law enforcement inability or unwillingness
to protect public safety, particularly in communities of color. Skepticism about CPD is also
informed by concerns over racial profiling, drug enforcement, and other systemic issues
beyond the protest events.
Not everyone shares the concerns outlined above. We spoke to a large number of people
who praised the police response to these protest events. Witnesses described the patience
and restraint shown by officers in the face of extreme animosity directed at them on July 8.
CPD officers reported strong support in the community and described repeated expressions
of gratitude at and after the protest events. Other witnesses expressed similar support for the
City Manager, City Council, and professional staff within City government. This
information suggests that there is a diversity of opinion within our community about the
effectiveness of CPD and City government more generally. Our community is divided with
respect to belief in the efficacy of government, which has lasting consequences if left
unaddressed.
We recommend an increased effort to restore confidence in City government through a
focus on the issues that have arisen in the wake of these events. Community engagement is
paramount for proactive, effective policing. CPD must commit on an ongoing basis to
being a citizen-centric partner in promoting community well-being rather than a reactive,
independent force. As one manifestation of that commitment, CPD needs to understand
and respond to community concerns. City Council needs to find constructive ways to solicit
community input and identify specific areas of potential change.
Citizens share the responsibility to facilitate communication and strive for improved
understanding. Everyone interested in contributing to a better Charlottesville must
approach that effort with patience and flexibility. We must involve all voices in this effort
and affirmatively encourage the participation of a diverse array of stakeholders. We must
listen to each other, not yell at each other. The division that exists in our community will
make this spirit of cooperation both difficult and essential.




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If we do not recognize and endeavor to address community concerns, we will remain a
community divided. If, however, we use these events as an impetus to confront difficult
issues and learn from each other, we can emerge a stronger, more united community.

      x   The City Manager should evaluate and endeavor to implement the resource
          recommendations of our independent review and report to the community about
          changes that will improve response to future protest events.

      x   The Charlottesville Police Department should work with the Police Citizens
          Advisory Panel to more regularly and effectively solicit and address community
          concerns.

      x   CPD should develop and implement training for all personnel emphasizing
          community engagement through accountability, customer service and diversity,
          shifting the culture from action oriented to cause oriented.

      x   The Charlottesville City Council should identify opportunities for citizen
          feedback beyond open Council meetings.

      x   City government should encourage broader participation in government,
          including the formation of diverse working groups to advise Council and City
          staff on policies and solutions to particular issues.




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TIMELINE


STATUES
March 22, 2016           Initial press conference seeking removal of Jackson, Lee
                         statues
May 28, 2016             Charlottesville City Council creates Blue Ribbon Commission
                         on Race, Memorials, and Public Spaces
November       10,       Blue    Ribbon      Commission  delivers   draft   report,
2016                     recommending retention of the Lee and Jackson statues and
                         addition of context
January 31, 2017         Mayor Mike Signer holds “Capital of the Resistance” press
                         conference on Downtown Mall
February 6, 2017         City Council votes 3-2 to remove the statue of Robert E. Lee
                         and to add context to statue of Stonewall Jackson
February       21,       Corey Stewart holds rally to protest pending removal of Lee
2017                     statue
March 22, 2017           Lawsuit filed to enjoin removal of the Lee statue
May 2, 2017              Judge Richard Moore issues injunction preventing City from
                         removing Lee statue
June 6, 2017             City Council votes to rename Lee Park as Emancipation Park,
                         and to rename Jackson Park as Justice Park




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MAY 13 AND MAY 14 DEMONSTRATIONS
May 13, 2017   11:00       Supports of Richard Spencer enter Festival of Cultures,
               a.m.        attracting attention of Festival supervisors and the
                           Charlottesville Police Department
               12:00       Richard Spencer, Jason Kessler, and nearly one hundred
               p.m.        white nationalist supporters gather in McGuffey Park
               12:30       Spencer and Mike Enoch begin speaking in Jackson Park
               p.m.
               1:30 p.m.   Spencer event disrupted by counter-protesters
               3:30 p.m.   Spencer followers re-enter Festival of Cultures, engage
                           “Germany” table in discussion regarding Hitler
               9:00 p.m.   Spencer-led group reassembles in McGuffey Park
               9:05 p.m.   Spencer-led group lights torches, marches to Lee Park
               9:15 p.m.   CPD Sergeant Bradley Pleasants observes Spencer’s group in
                           Lee Park, reports presence to CPD
               9:20 p.m.   Officer E.A. Maney investigates reports of torches made to
                           Charlottesville-Albemarle      Regional         Emergency
                           Communications Center
               9:30 p.m.   Additional CPD officers arrive, dispersing Spencer and his
                           followers
May 14, 2017   12:09       Rev. Erik Wikstrom circulates e-mail from parishioner noting
               p.m.        that Stand Up for Racial Justice Charlottesville, Black Lives
                           Matter, Antifa, and the Public Housing Association of
                           Residents were organizing a counter-protest at Lee Park
               2:44 p.m.   Charlene Green notifies Charlottesville City Manager
                           Maurice Jones and Assistant City Manager Mike Murphy of
                           protest plans
               9:00 p.m.   Candlelight event begins in Lee Park
               9:45 p.m.   Jason Kessler arrives in Lee Park, removes signs covering Lee
                           statue
               10:00       CPD officers order crowd in Lee Park to disperse; three
               p.m.        arrests made for disorderly conduct and other offenses.




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JULY 8, 2017 KU KLUX KLAN RALLY
May 24, 2017                    Amanda Barker drives to Charlottesville to identify
                                locations for protest and files application for permit on
                                behalf of Loyal White Knights of the Ku Klux Klan
                   11:02        Special Events Coordinator Michelle Christian forwards
                   a.m.         Barker application to Special Events Committee
                   1:04 a.m.    Director of Parks and Recreation Brian Daly forwards
                                Barker application to City Manager Maurice Jones and
                                CPD Police Chief Al Thomas
June 2, 2017                    City Manager Jones informs City Council of Barker
                                application
                                CPD Captain Wendy Lewis instructs subordinates to begin
                                gathering intelligence for Klan event
June 8, 2017                    Amanda Barker agrees to CPD request to move KKK event
                                to Justice Park
June 14, 2017                   CPD Detectives Nick Rudman and Blane Cosgro present
                                initial intelligence report to Chief Thomas.       Thomas
                                requests a more comprehensive intelligence gathering
                                operation, including personal visits to potential protesters
                                and anti-racist activists
June 20, 2017                   CPD holds press conference to advertise alternative
                                programming options for City residents on July 8
June 20-21, 2017                CPD Detectives meet with Jason Kessler and counter-
                                protester groups about July 8
June 22, 2017                   Attorney Pamela Starsia writes to Chief Thomas and holds
                                press conference criticizing CPD intelligence efforts
                                CPD Lieutenant Joe Hatter completes CPD Intelligence
                                Report for July 8
June 29, 2017                   CPD Major Gary Pleasants sends request for assistance to
                                APD and University of Virginia Police Department
                                regarding July 8
July 5, 2017       .            APD confirms offer of assistance to CPD
July 6, 2017                    CPD Lieutenant Steve Upman distributes information
                                regarding road closures to the public
July 7, 2017       9:00 a.m.    VSP-only briefing at VSP Division III headquarters
                   4:45 p.m.    Captain Shifflett circulates final CPD Operational Plan
                   9:22 p.m.    Charlottesville Public Works grants CPD permission to use
                                Avon Street bus lot to park and organize the Klan



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July 8, 2017   10:00        CPD-VSP-CFD “all hands” briefing at Albemarle County
               a.m.         Office Building
               11:49        Unified Command Center opens
               a.m.
               12:00        CPD Officers arrive in zones at Justice Park; traffic closures
               p.m.         pursuant to traffic plan; VSP officers sweep Justice Park for
                            explosives
               1:02 p.m.    Klan members arrive in Waynesboro, Virginia
               2:15 p.m.    Antifa spotted in gas masks, padded clothing, and body
                            armor
               2:30 p.m.    CPD Lieutenant Tom McKean and CPD Rapid Reaction
                            team dispatched to Avon Street bus facility to meet Klan
                            vehicles
               2:30 p.m.    Members of Clergy Collective arrive in Justice Park
               2:56 p.m.    Zone 1 fills with bystanders and counter-protesters
               3:00 p.m.    CPD allows media to enter buffer area between barricades
                            at Justice Park
               3:13 p.m.    Klan members arrive at Avon Street bus facility, begin
                            preparing for trip to Justice Park
               3:16 p.m.    Counter-protesters lock arms and obstruct anticipated point
                            of Klan members’ entry into Justice Park
               3:18 p.m.    VSP Tactical Field Force departs JDR Court, begins
                            clearing path for Klan to enter Justice Park
               3:30 p.m.    After repeated warnings, CPD arrests activists blocking
                            entry to Justice Park
               3:30 p.m.    Klan departs Avon Street with CPD escort
               3:39 p.m.    Albemarle County Sheriff’s deputy directs Klan vehicles
                            into JDR Court garage
               3:45 p.m.    CPD escorts Klan from JDR Court garage to Justice Park
               3:50 p.m.    Klan begins demonstration in Justice Park
               4:00 p.m.    CPD advises Klan they have twenty minutes remaining
               4:22 p.m.    CPD Lieutenant Hatter informs Barker that time has
                            expired
               4:25 p.m.    Klan begins exit from Justice Park; crowd streams down 4th
                            Street, toward JDR Court garage
               4:30 p.m.    Lieutenant Hatter requests assistance on 4th Street from
                            APD Mobile Field Force
               4:30 p.m.    Command Center orders CPD Lieutenant Brian O’Donnell
                            to move zone 2 officers to JDR Court garage entrance


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              4:30 p.m.   Klan enters JDR Court garage; lead Klan vehicle breaks
                          down
              4:30 p.m.   Six University of Virginia Police Department officers
                          deployed to JDR Court
              4:32 p.m.   Counter-protesters block exit of     JDR Court garage;
                          Lieutenant Hatter requests permission to declare unlawful
                          assembly
              4:32 p.m.   Chief Thomas gives Lieutenant Hatter permission to declare
                          unlawful assembly; Command Center orders all available
                          officers to assist Lt. Hatter
              4:35 p.m.   Lieutenant Hatter gathers CPD, APD, and VSP personnel
                          into line in front of JDR Court garage; declares unlawful
                          assembly
              4:38 p.m.   Major Pleasants leaves Command Center to assume ground
                          command
              4:40 p.m.   Officers push crowd away from garage exit
              4:45 p.m.   Klan vehicles begin to exit JDRF Court garage
              4:49 p.m.   Chief Thomas orders all CPD units to return to zones in
                          Justice Park
              4:56 p.m.   CPD Officer Eric Thomas kicked in groin while attempting
                          to make arrest; counter-protesters lock arms and interfere
                          with Thomas and other officers
              4:59 p.m.   Command Center orders all units to vicinity of JDR Court
              4:59 p.m.   Officer Thomas deploys OC spray; officers make several
                          arrests
              5:00 p.m.   Chief Thomas denies VSP request to deploy chemical
                          agents
              5:02 p.m.   Major Pleasants approves VSP request to deploy CS
                          dispersal powder, declares unlawful assembly, warns crowd
                          that chemical agents will be used
              5:07 p.m.   VSP Tactical Field Force deploys 3 CS dispersal canisters
              5:12 p.m.   Major Pleasants back in Command Center, confirms
                          deployment of chemical agent
              5:22 p.m.   Unlawful assembly declared in Justice Park; crowd
                          continues to disperse
              6:02 p.m.   High Street opened to traffic
              6:06 p.m.   All remaining roads opened to traffic
              6:38 p.m.   Command Center closed




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AUGUST 12, 2017 “UNITE THE RIGHT” RALLY
May 30, 2017                Jason Kessler files permit application for “Unite The Right”
                            rally on August 12
July 5, 2017                CPD Detective Braden Kirby speaks with Kessler, who
                            indicates that the Unite The Right event will include music
                            and speakers. Kessler declines to provide information on
                            attendance and says that speakers will have separate security
July 13, 2017               Walt Heinecke files permit applications for Justice and
                            McGuffey Parks on August 12
                1:00 p.m.   VSP meets with CPD to begin discussions about August 12;
                            VSP provides recommendations on best practices for
                            managing large events
July 14, 2017               Deputy City Attorney Lisa Robertson delivers memorandum
                            setting forth legal standards for denying or modifying permit
                            application
                11:53       CPD detectives assigned to research alt-right and anti-racist
                a.m.        groups
                1:19 p.m.   Virginia Fusion Center notifies CPD that Kessler will hold an
                            event on Friday night, August 11
July 17, 2017               Lisa Robertson tells Mayor Signer that Council involvement
                            with operational function like location of Unite The Right
                            raises prospect of personal liability
July 18, 2017   .           Mayor Signer sends e-mail to City Manager and City
                            Attorney regarding Unite The Right rally, noting the size of
                            the crowd is “another reason to have the event elsewhere.”
July 19, 2017   .           City Attorney Brown meets with City Manager Jones to
                            discuss potential plans by City Council to move the Unite The
                            Right event
July 23, 2017               Captain Lewis sends Chief Thomas a proposed plan to
                            request that all protest groups attending Unite The Right rally
                            commit to non-violence
July 24, 2017               VSP and CPD conduct walk-through at Christ Episcopal
                            Church
July 25, 2017               John Halliday of Jefferson-Madison Regional Library notifies
                            Captain Mitchell that the library is revoking consent for CPD
                            to use facility on August 12
                12:00       Downtown Area Business Association meets with City
                p.m.        Manager regarding plans for August 12
July 26, 2017               City Director of Parks and Recreation Brian Daly requests
                            CPD feedback on whether Heinecke permits should be
                            granted


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July 27, 2017    10:23       City Manager Jones notifies City Council that the Special
                 a.m.        Events Committee has approved the Kessler permit
                             Mayor Signer receives letter from Allan Cadgene and forty-
                             three other downtown business and property owners
                             requesting cancellation of Unite The Right event
                             Major Pleasants notifies Brian Daly that CPD does not object
                             to granting the permits to Walt Heinecke for McGuffey and
                             Justice Parks on August 12, but notes that CPD will be unable
                             to provide officers
                 1:59 p.m.   Mayor Signer e-mails City Attorney asking if City Council
                             can “give ourselves” authority over permitting through a new
                             permitting ordinance
July 28, 2017    8:20 p.m.   City Attorney again warns Mayor Signer that Council
                             involvement in administrative functions raises prospect of
                             Councilors’ personal liability
July 29, 2017    10:04       Mayor Signer sends e-mail to City Attorney informing him
                 a.m.        that City Council would like to “move ahead with a narrowly
                             tailored capability to relocate” the Unite The Right event
                             based on logistical concerns
                 4:22 p.m.   City Manager Jones sends e-mail to City Council with
                             communications plan for August 12
July 30, 2017                Captain Victor Mitchell forwards CPD Operational Plan to
                             VSP for review
July 31, 2017    8:01 a.m.   Mayor Signer recommends to City Attorney Brown that City
                             retain outside counsel to prepare for potential move of Unite
                             The Right to McIntire Park.
                 1:30 p.m.   City Council holds call to discuss potential options for
                             moving Unite The Right event, including retention of outside
                             counsel.
                 9:14 p.m.   Joan Fenton e-mails Mayor Signer on behalf of Downtown
                             Business Association, complaining about lack of public
                             information about August 12
August 1, 2017               Virginia Secretary of Public Safety Brian Moran recommends
                             that Governor McAuliffe call Mayor Signer and make
                             recommendations to ensure public safety
                 1:43 p.m.   Joan Fenton sends e-mail to Mayor Signer and Chief Thomas
                             requesting distribution of information regarding August 12
                 2:55 p.m.   Assistant City Manager Murphy sends e-mail to City Council
                             that delay in communications is attributable to pending
                             action by City Council on moving the Unite The Right event




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                 8:23 p.m.   Tom Berry distributes University of Virginia Hospital System
                             Incident Action Plan for August 12
August 2, 2017               Governor McAuliffe calls Mayor Signer and suggests certain
                             safety measures on August 12, including legally impermissible
                             ban on firearms; Governor tells Signer that VSP will provide
                             list of recommendations; list never delivered.
                 8:00 a.m.   VSP Tactical Field Force training for August 12; no CPD
                             attendance
                 4:00 p.m.   Closed session of City Council regarding moving the Unite
                             The Right rally to McIntire Park
                 7:00 p.m.   City Council takes poll that shows four councilors support
                             moving Unite The Right event; City Manager requests
                             twenty-four hours to consider options
                 7:38 p.m.   Captain Mitchell notifies VSP First Sergeant Clark that Christ
                             Episcopal Church has withdrawn its offer to allow VSP to use
                             the facility on August 12
August 3, 2017               VSP    Tactical    Field     Force     Training   continues;
                             Commonwealth’s Attorney Dave Chapman provides
                             guidance to VSP on legal obligations; no CPD attendance
                 8:22 a.m.   Councilor Galvin sends e-mail reminding Mayor Signer of
                             Council’s obligation to seek advice of City’s professional staff
                             on matters of policy
                 8:49 a.m.   City Attorney Brown sends e-mail to Mayor Signer that he is
                             stepping into “operational” details of City government.
                 11:33       CPD finalizes intelligence report for August 12
                 a.m.
                 2:00 p.m.   City Manager Jones advises City Council he has decided to
                             move the rally to McIntire Park
August 4, 2017   8:00 a.m.   VSP Tactical Field Force training for August 12 continues; no
                             CPD attendance
                 2:38 p.m.   Captain Mitchell circulates revised CPD Operational Plan for
                             August 12, incorporating large footprint at McIntire Park
                 3:48 p.m.   Mayor Signer distributes announcement of alternative
                             programming for August 12 hosted by University of Virginia
August 5, 2017   7:42 a.m.   VSP provides Captain Lewis with intelligence information
                             about Antifa filling soda cans with concrete for August 12
                 2:41 p.m.   Mayor Signer sends e-mail to Chief Thomas and City
                             Manager Jones, indicating that Governor McAuliffe has
                             recommended restrictions on firearms and pledged to provide
                             recommendations for August 12 from the VSP



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                 2:45 p.m.   City Attorney Brown responds to Mayor Signer’s e-mail,
                             indicating that Virginia law prevents Charlottesville from
                             restricting firearms on August 12
August 7, 2017               VSP finalizes Operational Plan for August 12; not distributed
                             to CPD
                 11:00       Michelle Christian and City Manager Jones meet with Jason
                 a.m.        Kessler and propose move to McIntire Park; Kessler refuses,
                             indicates his group will pursue litigation and march to
                             Emancipation Park regardless of outcome.
                 3:30 p.m.   City press conference announcing efforts to move Unite The
                             Right to McIntire Park
August 8, 2017               Kessler meets with Chief Thomas, Captain Lewis, and
                             Captain Mitchell at CPD headquarters, informing them that
                             he intends to hold rally at Emancipation Park regardless of
                             City action
                             Col. Flaherty meets with Brigadier General Timothy
                             Williams, Adjutant General of the Virginia National Guard,
                             resulting in agreement that VSP would assume command of
                             the Guard’s military police company in Charlottesville on
                             August 12
                 9:00 a.m.   CFD Chief Andrew Baxter informs Chief Thomas that he has
                             requested that VDEM deploy an Incident Management Team
                             for August 12
                 9:04 a.m.   Commonwealth’s Attorney Dave Chapman sends Captain
                             Mitchell the requirements for a declaration of an unlawful
                             assembly
                 11:00       VDEM IMT holds Agency Administration Meeting at
                 a.m.        Fontaine Fire Station
                 12:45       Virginia Fusion Center sends intelligence report to CPD;
                 p.m.        document suggests Unite The Right organizers planning torch
                             rally at Darden Towe Park in Albemarle County on August
                             11 at 9:30 p.m.
                 1:16 p.m.   CPD Lieutenant Cheryl Sandridge circulates guidelines on
                             First Amendment and civil unrest for CPD officers to review
                 1:20 p.m.   ACLU sends demand letter to City Manager Jones and City
                             Council, demanding rescission of efforts to move rally to
                             McIntire Park
                 3:41 p.m.   Captain Mitchell circulates copy of revised CPD Operational
                             Plan incorporating move to McIntire Park with three CPD
                             squads assigned there
August 9, 2017   8:01 a.m.   IMT holds Command and General Staff Briefing



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               8:30 a.m.   Meeting between local business owners and City Manager
                           regarding plans for August 12
                           City Attorney responds to ACLU letter, denying request that
                           City cease and desist in efforts to move the Unite The Right
                           event.
               11:40       VSP Captain Craig Worsham sends e-mail noting that CPD
               a.m.        and VSP will need to “settle” the issue of the Wells Fargo
                           parking lot on August 11
               11:35       Miriam Dickler e-mails City Manager and Chief Thomas
               a.m.        requesting consent to distribute information to public about
                           street closures and logistics for August 12
               4:00 p.m.   Mayor Signer conveys request from Congregation Beth Israel
                           to CPD for security protection on August 12
               9:09 p.m.   Captain Shifflett provides Chief Thomas with summary of
                           IMT meetings, notes that “IMT will be of great assistance to
                           us.”
               11:00       Captain Lewis contacts Doug Ehrman of Charlottesville
               p.m.        Department of Parks and Recreation, requesting additional
                           225 feet of barricades for Zone 5
August   10,               Jason Kessler and allies complete operational plan for Unite
2017                       The Right event
               9:00 a.m.   IMT logistics meeting with CPD and CFD
               10:30       IMT planning meeting with CPD and CFD
               a.m.
               1:00 p.m.   IMT meets with Captains Shifflett and Mitchell to conduct
                           tabletop exercises on contingency plans
               3:19 p.m.   City Manager Jones sends e-mail to Albemarle County
                           Executive Doug Walker to formalize Mutual Aid Agreement
                           for August 12
               3:30 p.m.   Chief Thomas briefs Mayor Signer and City Manager on
                           security plans for August 12
               3:47 p.m.   Miriam Dickler distributes traffic plan and parking restrictions
                           for August 12
               4:00 p.m.   IMT      holds    “tactics”    meeting; based   on     IMT
                           recommendations, oversight of CPD traffic plan shifted from
                           Lt. Tito Durrette to Lt. Steve Knick
               4:30 p.m.   Chief Thomas provides briefing on August 12 preparations to
                           City Council
               6:08 p.m.   ACLU files lawsuit against City of Charlottesville over
                           attempts to move Unite The Right Event to McIntire Park



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August   11, 7:01 a.m.    CPD Lieutenant Steve Knick sends e-mail to Captain Lewis,
2017                      confirming that Officer Tammy Shiflett will replace Officer
                          Jeff Sandridge at 4th Street and Market Street on August 12,
                          and Sandridge will be Traffic Supervisor
              8:30 a.m.   Final IMT meeting to prepare Incident Action Plan
              8:30 a.m.   Doug Walker sends e-mail to Maurice Jones, confirming
                          activation of Mutual Aid Agreement with APD
              10:26       APD Lieutenant Miller Stoddard distributes briefing and
              a.m.        operational plan for APD on August 12
              11:00       CPD meets with Parks and Recreation and Public Works to
              a.m.        set up barricades in Emancipation Park
              12:00       CPD Lt. Hatter and Sgt. Tony Newberry meet with Jack
              p.m.        Piece, security manager for Unite The Right, to arrange
                          speaker entry on August 12
              12:08       Virginia National Guard arrives in Charlottesville
              p.m.
              1:00 p.m.   Activation of Emergency Operations Center at Zehmer Hall
              2:00 p.m.   Multi-agency briefing on August 12 plans for CPD, VSP,
                          ACPD, CFD, VDEM, National Guard and other agencies
              2:30 p.m.   Hearing before United States District Judge Glen Conrad
                          regarding ACLU motion for preliminary injunction
              3:13 p.m.   University of Virginia Vice Provost Louis Nelson receives tip
                          that Kessler will hold rally with torches on the University
                          Grounds that evening
              3:23 p.m.   University of Virginia Vice Provost Anda Webb circulates an
                          e-mail to University administrators and UPD Chief Michael
                          Gibson regarding plans for torch lit march on UVA grounds
                          later that night
              3:33 p.m.   UPD Chief Gibson sends e-mail to Chief Thomas and APD
                          Chief Ron Lantz about the planned torch lit event at UVA
              4:00 p.m.   Final IMT briefing at Fontaine Fire Station
              4:18 p.m.   CPD Lieutenant Michael Gore requests that all shift
                          commanders ask officers to patrol Congregation Beth Israel
              4:57 p.m.   Chief Thomas notifies UPD Chief Gibson that he is aware of
                          reports about Kessler holding a torch march, and asks Gibson
                          to keep him posted
              5:00 p.m.   Kessler and Christopher Cantwell meet in McIntire Park to
                          discuss plans for the march that evening; Cantwell insists that
                          Kessler contact law enforcement; Cantwell calls CPD and is
                          redirected to UPD Lieutenant Angela Tabler



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             7:00 p.m.   Interfaith service begins at St. Paul’s Memorial Episcopal
                         Church
             7:41 p.m.   UPD discovers social media post announcing Kessler march;
                         UPD Chief Gibson circulates information to Chief Thomas
                         and APD Chief Lantz
             8:00 p.m.   Judge Conrad issues order granting injunction preventing
                         move of Unite The Right rally to McIntire Park.
             8:10 p.m.   Kessler’s representatives contact CPD regarding the march at
                         the University, and state that the march will begin at
                         Nameless Field
             8:19 p.m.   Captain Lewis circulates final IMT Incident Action Plan for
                         August 12
             8:43 p.m.   ECC receives anonymous call from male threatening
                         automatic weapon attack on St. Paul’s
             8:56 p.m.   ECC receives second anonymous call from male threatening
                         to murder parishioners at St. Paul’s
             9:00 p.m.   CPD Lieutenant Dwayne Jones and Sergeant Bradley
                         Pleasants ask UPD officers if UPD requires assistance; UPD
                         declines request
             9:02 p.m.   UPD Chief Gibson receives notification from University
                         Student Council Vice-President, notifying him that the
                         Kessler march would occur at 9:30 p.m.
             9:14 p.m.   Chief Thomas sends e-mail to Assistant City Manager Mike
                         Murphy, indicating that CPD will be repositioning barricades
                         and demobilizing McIntire Park throughout the evening and
                         shifting officers from McIntire Park to Emancipation Park for
                         August 12
             9:15 p.m.   Demonstrators begin assembling around the statue of Thomas
                         Jefferson in front of the University Rotunda
             9:30 p.m.   Kessler’s associate informs UPD that the march would begin
                         at Nameless Field at 10:00 p.m. and march up University
                         Avenue to the Rotunda
             9:45 p.m.   Kessler march begins
             10:00       Sergeant Bradley Pleasants observes volume of torches and
             p.m.        asks UPD again if they require CPD assistance; UPD again
                         declines request
             10:07       Kessler march reaches the Rotunda
             p.m.
             10:14       Disorders break out in front of the Rotunda
             p.m.



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              10:16       UPD requests mutual aid from CPD
              p.m.
              10:17       UPD officers reach the steps in front of the Jefferson statue
              p.m.
              10:22       UPD Sergeant Stuart requests that CPD disperse crowds
              p.m.
              10:24       UPD declares Unlawful Assembly
              p.m.
              10:25       UPD and CPD          disperse crowds from the area of the
              p.m.        Jefferson statue
August   12, 6:00 a.m.    Sunrise service at First Baptist Church
2017
              6:30 a.m.   City Public Works employees set up traffic barricades for
                          Unite The Right event
              6:30 a.m.   VSP briefing at John Paul Jones arena
              7:00 a.m.   CPD officers arrive at Emancipation Park
              8:00 a.m.   Members of Clergy Collective gather at Jefferson School,
                          begin march to McGuffey Park
              8:20 a.m.   Members of Clergy Collective arrive at McGuffey Park
              8:30 a.m.   VSP officers begin arriving in Emancipation Park
              8:31 a.m.   Militia groups enter Emancipation Park
              8:45 a.m.   Unite The Right demonstrators begin gathering in McIntire
                          Park
              8:55 a.m.   Clergy arrive at Emancipation Park from First Baptist
                          Church, form line on Market Street
              9:05 a.m.   Jack Pierce informs Sergeant Tony Newberry that Unite The
                          Right speakers are refusing CPD escort into Emancipation
                          Park
              9:42 a.m.   Eli Mosely leads Identity Evropa into Emancipation Park.
                          Mosley’s group is instructed by CPD officers to exit the
                          “public area” and move to the “Unite The Right” area
              10:00       Disorder breaks out at intersection of East Jefferson Street
              a.m.        and 2nd Street NE
              10:20       VSP troopers arrest a Unite The Right supporter for throwing
              a.m.        rocks
              10:26       Fight breaks out in Market Street after Antifa member
              a.m.        attempts to grab flag from Unite The Right attendee; militia
                          member separates the group initially. Lt. Hatter, VSP
                          troopers, and CPD Officer E.A. Maney de-escalate incident



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             10:28       Members of clergy block entrance to public area in
             a.m.        Emancipation Park
             10:38       Unite The Right supporters push through clergy and enter
             a.m.        Emancipation Park
             10:40       VSP Tactical Field Forces begin to mobilize
             a.m.
             10:41       National Guard departs from the Charlottesville armory
             a.m.
             10:43       CPD officers in Zone 5 ordered to move to lobby of Wells
             a.m.        Fargo Building to access riot gear
             10:44       CPD logistics base relocates from Levy Opera House to City
             a.m.        Yard
             10:52       Large group of counter-protesters lock arms, block entrance to
             a.m.        park; large group of Unite The Right attendees, including
                         members of the League of the South, approach from East on
                         Market Street and engage in fights with antifa counter-
                         protesters
             10:59       Captain Shifflett recommends declaration of unlawful
             a.m.        assembly
             11:01       All CPD officers in Zones 1-4 ordered to withdraw to Zone 4,
             a.m.        put on riot gear
             11:08       City declares Local State of Emergency
             a.m.
             11:21       All CPD officers dressed in riot gear
             a.m.
             11:31       CPD declares Unlawful Assembly in Emancipation Park
             a.m.
             11:33       National Guard deploys to East Market Street and 15th Street
             a.m.
             11:35       Crowds begin dispersing from Emancipation Park onto
             a.m.        Market Street;
             11:44       VSP Tactical Field Force enters Emancipation Park
             a.m.
             11:52       Corey Long fires improvised flamethrower at Unite The Right
             a.m.        attendees
             11:52       VSP Tactical Field Force deploys OC spray in Emancipation
             a.m.        Park
             11:52       Mayor Signer texts Chief Thomas, complaining that he was
             a.m.        not admitted to Command Center
             11:54       Richard Preston fires a single shot at the feet of Corey Long


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             a.m.
             11:56       CPD officers ordered to form rear guard to VSP Tactical Field
             a.m.        Force
             11:57       VSP Tactical Field Forces mobilized, move from City Space
             a.m.        and Omni Hotel onto downtown mall
             12:06       Governor McAuliffe declares State of Emergency
             p.m.
             12:07       League of South members engage in fights with counter-
             p.m.        protesters near Market Street Garage; Deandre Harris strikes
                         Unite The Right attendee with flashlight
             12:07       Unite The Right attendees chase Deandre Harris into garage,
             p.m.        assault him with clubs and sticks
             12:08       Sheriff James Brown assists Deandre Harris; CPD Lieutenant
             p.m.        Dwayne Jones requests assistance at CPD headquarters due
                         to large crowds
             12:13       CPD Sergeant Russell Handy’s unit arrives to assist
             p.m.        Lieutenant Jones
             12:14       Officer Tammy Shiflett requests assistance at 4th Street and
             p.m.        East Market Street; Command Center reassigns Officer
                         Shiflett to Sgt. Handy; Officer Shiflett moves to area near
                         parking garage.
             12:20       Large group of Unite The Right attendees arrives in McIntire
             p.m.        Park
             12:20       CPD field force led by Lt. Gore sent to Justice Park after
             p.m.        report of disorder.
             12:28       CFD EMS unit transports Deandre Harris to EMS staging
             p.m.        area
             12:51       Militia members confronted by counter-protesters in Water
             p.m.        Street surface parking lot; CPD mobile field force responds;
                         Antifa members communicate that militia moving toward
                         Friendship Court housing area
             1:20 p.m.   Group of more than one hundred counter-protesters leaves
                         Justice Park heading South on 4th Street
             1:36 p.m.   Counter-protesters from McGuffey and Justice Parks merge
                         with others leaving Water Street parking lot; groups converge
                         at intersection of 4th Street and Water Street
             1:41 p.m.   James Fields drives vehicle into crowd at 4th Street and
                         Water Streets, killing Heather Heyer and injuring dozens.
             1:44 p.m.   CPD and UPD officers conduct traffic stop, arrest James
                         Fields



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              1:50 p.m.   CFD declares collision on Fourth Street as a Mass Casualty
                          Incident
              2:00 p.m.   Report of altercation on High Street
              2:07 p.m.   VSP and National Guard sent to secure 4th and Market Street
                          crime scene
              2:20 p.m.   All injured persons from 4th Street and Water Street
                          transported to University of Virginia Medical Center, Martha
                          Jefferson Hospital, or triage area at COB-McIntire
              2:32 p.m.   Twitter posts urges firebombing of Congregation Beth Israel
                          at 3:00 p.m.
              4:40 p.m.   VSP helicopter crashes near Farmington Country Club; 2
                          troopers killed
              6:00 p.m.   Mayor Signer and Governor McAuliffe hold joint press
                          conference
              7:00 p.m.   CPD officers begin demobilization
              7:00 p.m.   City Council holds emergency meeting, adopts ordinance
                          giving Chief Thomas power to declare curfew
              11:54       Mayor Signer notices Chief Thomas and Maurice Jones of his
              p.m.        intent to speak on national news shows on Sunday morning
August   13, 2:00 p.m.    Jason Kessler holds press conference
2017
              2:04 p.m.   Crowds charge Kessler
              2:07 p.m.   Detectives Mark Frazier and Mark Jones escort Kessler into
                          CPD Headquarters




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REVIEW TEAM


Hunton & Williams LLP

Timothy J. Heaphy is a partner at Hunton & Williams LLP and chairs the firm’s white
collar defense and internal investigations practice. From 2009 through 2014, Mr. Heaphy
served as United States Attorney for the Western District of Virginia, a position for which
he was nominated by President Barack Obama and unanimously confirmed by the United
States Senate. Before being appointed United States Attorney, Mr. Heaphy was a partner at
an international law firm in Richmond, Virginia and served as an Assistant United States
Attorney in Charlottesville, Virginia and Washington, DC. Mr. Heaphy brings his vast
experience as a prosecutor and a defense lawyer to his diverse practice and helps clients
manage crises of varying scope and complexity, conduct confidential internal investigations,
and implement effective compliance programs. He attended the University of Virginia and
its law school and currently resides in Charlottesville.

Trevor T. Garmey is an associate at Hunton & Williams LLP in the firm’s white collar
criminal defense and internal investigations practice in Washington, D.C. Before joining
the firm, Trevor served as a law clerk to United States District Judge Irene C. Berger, and
also practiced for two years as an associate at Cahill Gordon & Reindel in New York City,
where his practice focused on international criminal investigations and complex civil
litigation. A native of Lynchburg, Trevor is a graduate of the University of Virginia School
of Law, and the College of William and Mary.

Kevin Elliker graduated first in his class at William & Mary Law School then clerked for
Judge John A. Gibney, Jr., of the U.S. District Court for the Eastern District of Virginia and
Judge Robert B. King of the U.S. Court of Appeals for the Fourth Circuit. He handles a
broad spectrum of trial and appellate litigation at Hunton & Williams.

Jonathan Caulder is an associate in the energy and environmental law practice at Hunton
& Williams in Richmond, VA. Jon is a commercial litigator who handles post-M&A
disputes, products liability issues, environmental challenges, and appellate litigation. A
native of Franklin, Virginia, he is a graduate of the Washington and Lee University School
of Law and the University of Virginia. Before law school, Jon worked in the education field
as a sixth grade math teacher for Teach for America.

The Police Foundation

Kim C. Dine is a forty-one-year veteran of federal, major city, and local policing. Mr. Dine
started his police career with the Metropolitan Police Department (MPD) in Washington,
DC, where he spent twenty-seven years and rose to Assistant Chief. After retiring from
MPD, Mr. Dine served as Chief of both the Frederick, Maryland Police Department and
the United States Capitol Police. Dine holds a BA from Washington College, in
Chestertown, MD and an MS from American University in Washington, DC. Dine is a
graduate of the FBI National Academy . He is a member of the Police Executive Research
Forum and the International Association of Chiefs of Police.



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Eddie Reyes is a Senior Law Enforcement Project Manager at The Police Foundation. His
work involves overseeing a diverse array of law enforcement research projects involving
gunshot detection technology, unmanned aircraft systems, community policing and open
data. He retired as Deputy Chief of the Alexandria Police Department after 25 years of
service, then became Deputy Chief with the Amtrak Police Department. He is also a
member of the International Association of Chiefs of Police and serves as the current
chairman of the IACP Communications & Technology Committee.

Additional Consultants

Chris Perkins served as Roanoke Police Department from 2010-2016. His professional
affiliations include the: Blue Ridge Chiefs of Police, President 2015-2017; the Virginia
Association of Chiefs of Police (VACP), Second Vice President; International Association
of Chiefs of Police (IACP) – member of the Police Investigative Operations Committee; the
FBI National Academy Associates; Public Safety Work Group for the Governor’s School
and Campus Safety Task Force in 2013. He has been an instructor for the Virginia Center
for Policing Innovation (VCPI) since 2007. He has provided classroom instruction,
influencing hundreds of professionals in law enforcement, local and state government,
emergency management, and communities across the nation. He holds a Bachelor of Arts
from the University of Tennessee, a Masters of Arts degree from Hollins University, and a
Graduate Certificate from the University of Virginia.

Rachel Harmon is the F.D.G. Ribble Professor of Law at the University of Virginia, where
she teaches and writes on police regulation, criminal procedure, and civil rights. Harmon
consults and advises nationally on policing and currently serves as a law enforcement expert
on the court-appointed Baltimore Police Department Monitoring Team; as associate
reporter for the American Law Institute’s project on policing; and on a National Academy
of Sciences committee to review research on police policy and practices. Before becoming a
law professor, Harmon served for eight years as a prosecutor at the U.S. Department of
Justice. After a stint at the U.S. Attorney’s Office in the Eastern District of Virginia, she
worked in the Civil Rights Division, Criminal Section, prosecuting hate crimes and official
misconduct cases, many of which involved excessive force or sexual abuse by police
officers. Harmon received her law degree at Yale Law School and clerked for Judge Guido
Calabresi of the U.S. Court of Appeals for the Second Circuit and Justice Stephen Breyer of
the U.S. Supreme Court.




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ENDNOTES



1
  Letter from Timothy J. Heaphy to Maurice Jones (Aug. 24, 2017).
2
  Id.
3
  Letter from 1st Sergeant David Ostwinkle to Timothy J. Heaphy (Nov. 3, 2017).
4
  Letter from Jennifer Nikolaisen, Chief, Information and Privacy, to Barbara Butler (Oct. 5, 2017).
5
  Letter from Timothy J. Heaphy to Colonel W. Steven Flaherty (Sept. 15, 2017).
6
  Letter from Timothy J. Heaphy to Secretary of Public Safety Brian Moran (Sept. 15, 2017).
7
  CPD and VSP use slightly different terminology—mobile field force and tactical field force, respectively—to refer
to the law enforcement units that are trained to respond to civil disorder. We use mobile field force for the sake of
consistency and clarity.
8
  Letter from Richard Spencer to Timothy J. Heaphy (Nov. 20, 2017).
9
  Letter from Sam Dickson to Timothy J. Heaphy (Nov. 20, 2017).
10
   E-mail from Walter Heinecke to Timothy J. Heaphy (Nov. 2, 2017).
11
   Letter from National Lawyers Guild to Timothy J. Heaphy (Oct. 27, 2017).
12
   Letter from Timothy J. Heaphy to Andrew Mahler, Central Virginia Chapter of National Lawyers Guild (Nov. 2,
2017).
13
   Letter from Pamela Starsia, Esq. to Charlottesville Police Chief Al Thomas (June 23, 2017).
14
   The City’s lawsuit against various white nationalist and militia groups was filed on October 12, 2017. The suit
was filed without notice to our review team and without evident consideration of its impact on our fact-gathering
process.
15
   Letter from Police Foundation President Jim Bueermann to Timothy J. Heaphy (Sept. 14, 2017).
16
   Letter from Timothy J. Heaphy to Chris Perkins (Sept. 20, 2017).
17
   Letter from Timothy J. Heaphy to Rachel Harmon (Sept. 20, 2017).
18
   City of Charlottesville Charter, Section 5(a).
19
   City of Charlottesville Charter, Section 5(b).
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   City of Charlottesville Standard Operating Procedure § 3.2.
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   Id.
22
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   Charlottesville Mayor Holds Rally to Declare City Capital of Resistance, NCB29 (Jan. 31, 2017),
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   Charlottesville Mayor: Permit Rule Not Enforced on Downtown Mall, NBC29 (Feb. 15, 2017),
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   Chris Suarez, Charlottesville City Council Votes to Remove Statue from Lee Park, The Daily Progress (Feb. 6,
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park%2Farticle_2c4844ca-ece3-11e6-a7bc-b7d28027df28.html.
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49
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   Allison Wrabel, Candlelit counter-protest follows ‘alt-right’ torch bearers in Lee Park, The Daily Progress, May
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2017), http://www.c-ville.com/lee-park-scene-white-nationalist-demonstration-counter-protest/.
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   Reporting Officer Narrative by Officer E.A. Maney, May 13, 2017, 10:55 p.m.
61
   Report of Emergency Communications Center, Call for Service 173, May 13, 2017.
62
   Reporting Officer Narrative by Officer E.A. Maney, May 13, 2017, 10:55 p.m.
63
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64
   Media Release, Charlottesville Police Department, May 14, 2017.
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   Allison Wrabel, Candlelit counter-protest follows ‘alt-right’ torch bearers in Lee Park, The Daily Progress (May
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   E-mail from Anne Coughlin to a large distribution list (May 14, 2017, 10:53 a.m.).
70
   E-mail from Erik Wikstrom to a large distribution list (May 14, 2017, 11:55 a.m.).
71
   E-mail from Erik Wikstrom to a large distribution list (May 14, 2017, 12:09 p.m.) (emphasis added).
72
   E-mail from Mike Murphy to Charlene Green (May 14, 2017, 3:02 p.m.).
73
   E-mail and attachment from Eric Pendleton to Wendy Lewis (June 9, 2017, 5:47 p.m.).


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80
   Although there are various independent groups that take on the label of the Ku Klux Klan, we refer to the Loyal
White Knights in our report as “the Klan.”
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   CPD Intel Report for KKK Rally (June 14, 2017).
82
   City Council meetings are held at City Hall, not the Charlottesville City Circuit Courthouse.
83
   Amanda Barker Permit Application (May 25, 2017).
84
   E-mail from Michelle Christian to Special Events Committee (May 24, 2017, 11:02 a.m.).
85
   E-mail from Brian Daly to City Manager, Assistant City Managers, Chief of Police, and Director of
Communications (May 24, 2017, 11:04 a.m.).
86
   E-mail from Maurice Jones to City Council (June 2, 2017, 3:33 p.m.).
87
   E-mail from Gary Pleasants to City Leaders (June 9, 2017, 1:04 p.m.)
88
   E-mail from Amanda Barker to David Shifflett (June 8, 2017, 7:52 p.m.)
89
   E-mail from Gary Pleasants to City Leaders (June 9, 2017, 1:04 p.m.).
90
   E-mail from David Shifflett to Amanda Barker (July 7, 2017, 8:50 p.m.).
91
   Id.
92
   E-mail from Amanda Barker to David Shifflett (July 1, 2017).
93
   E-mail from Wendy Lewis to CPD Personnel (June 1, 2017, 7:20 p.m.).
94
   CPD Intel Report for KKK Rally (June 14, 2017).
95
   Letter from Pamela Starsia to Al Thomas (June 23, 2017).
96
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stifle/article_4d4ac5e6-587a-11e7-8400-b352d4520a81.html.
97
   E-mail from Joe Hatter to CPD Personnel (June 20, 2017, 12:32 p.m.).
98
   E-mail from Greensboro, NC Police to Al Thomas and Wendy Lewis (June 22, 2017, 10:28 p.m.); E-mail from
Greensboro, NC Police to Victor Mitchell and Gary Pleasants (July 7, 2017, 4:57 p.m.).
99
   E-mail from Wendy Lewis to CPD Command staff (June 19, 2017, 8:04 p.m.).
100
    CPD Intel Report for Klan Rally (June 20, 2017).
101
    CPD Intel Report for Klan Rally (June 22, 2017).
102
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103
    E-mail from Steve Upman to CPD Command staff June 27, 2017, 12:40 p.m.).
104
    Virginia Fusion Center’s Special Event Assessment (June 30, 2017).
105
    E-mail from Steve Upman to CPD Command staff (June 30, 2017, 4:24 p.m.).
106
    E-mail from Greensboro, NC Police to Al Thomas and Wendy Lewis (June 22, 2017, 10:28 p.m.).
107
    E-mail from James Mooney to CPD Officers (June 29, 2017, 2:40 p.m.).
108
    E-mail from Wendy Lewis to Joe Hatter and Steve Upman (June 7, 2017, 2:53 p.m.).
109
    CPD Police Officer Training List (Sept. 10, 2017).
110
    E-mail from Emily Lantz to Ron Lantz (June 28, 2017, 1:34 p.m.).
111
    E-mail from Mike Rogers to David Shifflett, Andrew Baxter, and Emily Pelliccia (June 13, 2017, 6:13 p.m.); E-
mail Invite from David Shifflett re Meet with Fire Dept - KKK Event Planning (June 15, 2017).
112
    CFD Incident Action Plan for Klan Event (July 7, 2017).
113
    E-mail from David Shifflett to Mike Rogers (July 5, 2017, 3:50 p.m.).
114
    CFD A-Shift Briefing Presentation (July 3, 2017); CFD Stand-By Group Briefing Presentation (July 6, 2017).
115
    E-mail from Jason Pedone to David Shifflett and Kirby Hutto (June 8, 2017, 4:12 p.m.).


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116
    Parks and Recreation Director Brian Daly told us that the bike-rack barricades were chosen because they were
“what we had available.”
117
    E-mail Invite from David Shifflett re KKK Logistics Meeting - Parks and rec-Public Works - CP5 (June 27,
2017).
118
    E-mail Invite from David Shifflett re KKK Logistics Meeting - Parks and rec-Public Works - CP5 (June 27,
2017).
119
    E-mail from James Brown to David Shifflett (June 27, 2017, 9:30 a.m.).
120
    E-mail from Chris Allen to David Shifflett (June 22, 2017, 12:34 p.m.).
121
    E-mail from Craig Brown to City leaders (June 7, 2017, 5:23 p.m.).
122
    E-mail from Dave Chapman to David Shifflett and Wendy Lewis (June 26, 2017, 10:16 a.m.); Memorandum
from Dave Chapman to July 8th Preparation (June 26, 2017).
123
    E-mail from Dave Chapman to Maurice Jones and Mike Signer (June 30, 2017, 3:16 p.m.); E-mail from David
Shifflett to Dave Chapman (June 30, 2917, 2:18 p.m.).
124
    E-mail from Dave Chapman to David Shifflett (July 6, 2017, 12:22 p.m.).
125
    E-mail Invite from David Shifflett re KKK Planning Meeting – CA’s Office (June 27, 2017); Interview with
David Shifflett (Sept. 21, 2017).
126
    E-mail from Dave Chapman to CPD Command staff (June 28, 2017, 10:15 a.m.).
127
    E-mail Invite from David Shifflett invite re Meeting with VSP (June 20, 2017).
128
    E-mail from David Shifflett to Large Distribution List (June 30, 2017, 4:14 p.m.).
129
    E-mail from Chanthu Phauk to Dale Sturdifen (July 5, 2017, 12:28 p.m.); E-mail from David Shifflett to David
Cooper (July 6, 2017, 9:58 a.m.); E-mail from David Shifflett to David Cooper (July 7, 2017, 6:25 p.m.).
130
    E-mail from David Shifflett to David Cooper (July 7, 2017, 3:44 p.m.); E-mail from David Shifflett to David
Cooper (July 7, 2017, 6:25 p.m.).
131
    E-mail from David Cooper David Shifflett (July 6, 2017, 9:51 a.m.).
132
    VSP Operational Plan for July 8 KKK Rally.
133
    E-mail from Gary Pleasants to Ron Lantz and Michael Gibson (June 29, 2017, 2:26 p.m.).
134
    E-mail from Steve Upman to CPD Command staff (July 7, 2017, 11:21 a.m.).
135
    E-mail from Miller Stoddard to David Shifflett (July 5, 2017, 4:36 p.m.); E-mail from Steve Upman to CPD
Command staff (July 7, 2017, 11:21 a.m.).
136
    E-mail from Doug Walker to Maurice Jones (July 7, 2017, 3:32 p.m.).
137
    E-mail from David Shifflett to Chip Harding (June 15, 2017, 7:43 p.m.).
138
    E-mail from Chip Harding to David Shifflett (June 19, 2017, 6:55 p.m.); E-mail from David Shifflett to Chip
Harding (June 26, 2017, 3:09 p.m.).
139
    E-mail from David Shifflett Tom Hanson (June 13, 2017, 10:24 a.m.).
140
    E-mail from David Shifflett to Allison Farole (July 7, 2017, 4:10 p.m.).
141
    E-mail Invite from David Shifflett re Ops Plan - KKK Protest (June 12, 2017).
142
    E-mail from Tito Durrette to David Shifflett (June 12, 2017, 3:27 p.m.); E-mail from Tito Durrette to CPD
Command staff (June 22, 2017, 1:34 p.m.); E-mail Invite David Shifflett re KKK - Traffic Assignments (June 26,
2017)
143
    E-mail from David Shifflett to Wendy Lewis and Victor Mitchell (June 27, 2017, 7:51 p.m.).
144
    E-mail from Steve Knick to David Shifflett (June 28, 2017, 3:53 p.m.).
145
    E-mail from McGuireWoods to David Shifflett (June 26, 2017, 11:24 a.m.).
146
    E-mail from David Shifflett to Victor Mitchell and Wendy Lewis (June 12, 2017, 8:18 p.m.); E-mail from David
Shifflett to Victor Mitchell (June 20, 2017, 2:46 p.m.).
147
    E-mail from David Shifflett to Victor Mitchell (June 27, 2017, 9:56 a.m.).
148
    E-mail from Gary Pleasants to CPD Command staff (June 22, 2017, 11:41 a.m.).
149
    David Shifflett invite re KKK Event Logistics Meeting (June 26, 2017).
150
    David Shifflett invite re Interior and Exterior Command Meeting - KKK Planning (June 27, 2017).
151
    David Shifflett invite re KKK Operations Meeting – Zone Commanders (June 28, 2017).
152
    E-mail from David Shifflett to Wendy Lewis and Victor Mitchell (June 27, 2017, 1:51 p.m.); E-mail from David
Shifflett to CPD Command staff (June 30, 2017, 6:27 p.m.).
153
    E-mail from David Shifflett to CPD Police Department (July 5, 2017, 11:22 p.m.).
154
    E-mail Invite from David Shifflett re Zone Commander and Rapid Response Unit Meeting - KKK Event (July 7,
2017); E-mail from David Shifflett to CPD Command staff and Lieutenants (July 7, 2017, 4:45 p.m.).
155
    Jim Mooney Zone 4 After-Action Report (July 13, 2017).


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156
    Id.
157
    E-mail Invite from David Shifflett re KKK Planning Meeting and Update - Department Head & Managers (June
28, 2017).
158
    E-mail from David Shifflett to Large Distribution List (July 6, 2017, 1:56 p.m.); E-mail from David Shifflett to
Large Distribution List (July 7, 2017, 4:31 p.m.).
159
    E-mail from Al Thomas to David Shifflett (July 7, 2017).
160
    Tito Durrette After Action Report (July 19, 2017); Memo from David Shifflett to Gary Pleasants (Sept. 11,
2017).
161
    E-mail from Black Student Alliance to Large Distribution List (July 7, 2017, 1:47 p.m.).
162
    E-mail from Charlottesville Communications Office re Media Advisory for June 20 Press Conference (June 19,
2017, 2:50 p.m.).
163
    E-mail from Mike Signer to Community leaders (June 19, 2017, 4:57 p.m.); E-mail from Mike Signer to City
Council (June 19, 2017, 11:53 a.m.).
164
    E-mail from Heritage Center to Large Distribution List (June 30, 2017, 10:40 a.m.).
165
    E-mail from IX Art Park community picnic organizer to Maurice Jones (June 27, 2017, 5:55 p.m.); E-mail from
Maurice Jones to IX Art park community picnic organizer (July 5, 2017, 8:56 a.m.).
166
    E-mail from David Shifflett to CPD Command staff (July 6, 2017, 7:30 p.m.).
167
    E-mail from Steve Upman to Large Distribution List (July 6, 2017, 5:25 p.m.).
168
    E-mail from Steve Upman to Large Distribution List (July 7, 2017, 10:22 a.m.).
169
    CPD Final Operational Plan (July 7, 2017).
170
    In June, the City received a permit application for a “CareBear Stare” event, where hundreds of stuffed bears
would be lined up in front of the Klan’s protected area. That application was denied because it required leaving the
bears unattended, which CPD refused to allow due to safety concerns.
171
    E-mail from David Shifflett to CPD Police Department (July 5, 2017, 11:22 p.m.).
172
    Jim Mooney Zone 4 After-Action Report (July 13, 2017).
173
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
174
    Id.
175
    E-mail from Maurice Jones to City Council (July 8, 2017, 1:10 p.m.).
176
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
177
    Jim Mooney Zone 4 After-Action Report (July 13, 2017).
178
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
179
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
180
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
181
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
182
    Id.
183
    Id.
184
    Id.
185
    Id.
186
    Id.
187
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
188
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
189
    Id.; Joe Hatter Zone 1 After Action Report (July 17, 2017).
190
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
191
    Command Center’s KKK Rally Scribe Log (July 8, 2017); Joe Hatter Zone 1 After Action Report (July 17,
2017).
192
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
193
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
194
    Tito Durrette After Action Report (July 19, 2017).
195
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
196
    E-mail from Waynesboro Chief of Police to Al Thomas (July 10, 2017, 1:40 p.m.).
197
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
198
    Id.
199
    Id.
200
    Id.
201
    E-mail from Maurice Jones to City Council (July 8, 2017, 3:45 p.m.).


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202
    E-mail from Maurice Jones to City Council (July 8, 2017, 3:51 p.m.); Command Center’s KKK Rally Scribe Log
(July 8, 2017).
203
    Jim Mooney Zone 4 After-Action Report (July 13, 2017).
204
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
205
    E-mail from Maurice Jones to City Council (July 8, 2017, 4:00 p.m.).
206
    E-mail from Maurice Jones to City Council (July 8, 2017, 3:59 p.m.).
207
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
208
    Id.
209
    Id.
210
    Command Center’s KKK Rally Scribe Log (July 8, 2017); E-mail from Maurice Jones to City Council (July 8,
2017, 4:25 p.m.).
211
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
212
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
213
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
214
    Id.
215
    Joe Hatter Zone 1 After Action Report (July 17, 2017); Tito Durrette After Action Report (July 19, 2017).
216
    Command Center’s KKK Rally Scribe Log (July 8, 2017); E-mail from Maurice Jones to City Council (July 8,
2017, 4:45 p.m.).
217
    E-mail from Maurice Jones to Kristin Szakos (July 8, 2017, 6:04 p.m.); E-mail from VSP Public Relations
Director to Miriam Dickler (July 11, 2017, 1:21 p.m.); E-mail from Al Thomas to Miriam Dickler (July 8, 2017,
8:41 p.m.).
218
    Pete DeLuca, et al., KKK Group Holds Rally in Charlottesville Park, NBC 29 (July 8, 2017),
http://www.nbc29.com/story/35839823/kkk-group-holds-rally-in-charlottesville-park.
219
    Joe Hatter Zone 1 After Action Report (July 17, 2017); Jim Mooney Zone 4 After-Action Report (July 13, 2017);
Command Center’s KKK Rally Scribe Log (July 8, 2017).
220
    Joe Hatter Zone 1 After Action Report (July 17, 2017).
221
    Jim Mooney Zone 4 After-Action Report (July 13, 2017).
222
    E-mail from Maurice Jones to City Council (July 8, 2017, 5:29 p.m.).
223
    Command Center’s KKK Rally Scribe Log (July 8, 2017).
224
    E-mail from Al Thomas to Maurice Jones and Miriam Dickler (July 9, 2017, 9:12 a.m.).
225
    E-mail from VSP Public Relations Director to Miriam Dickler (July 11, 2017, 1:21 p.m.).
226
    E-mail from David Shifflett to CPD Command staff (July 14, 2017, 11:07 a.m.).
227
    Only one individual faced two charges: assault and disorderly conduct. Thus, the “disorderly conduct” line and
the “assault” line each have one-half point.
228
    E-mail from Miriam Dickler to Large Distribution List (July 9, 2017, 9:28 a.m.); E-mail from David Shifflett to
CPD Command staff (July 10, 2017, 4:14 p.m.); Interview with Miriam Dicker (Aug. 28, 2017).
229
    Letters from Legal Aid Justice Center, National Lawyers Guild, ACLU, and the Rutherford Institute to City and
State Officials (July 17, 2017).
230
    E-mail from Al Thomas Miriam Dickler (July 8, 2017, 8:41 p.m.).
231
    E-mail from David Shifflett to Wendy Lewis (July 11, 2017, 10:45 a.m.).
232
    Memorandum from Dave Chapman to Maurice Jones and Mike Murphy (July 19, 2017).
233
    See Heffron v. Int’l Society for Krishna Consciousness, Inc., 452 U.S. 640, 655 (1981) (“The First Amendment
protects the right of every citizen to ‘reach the minds of willing listeners and to do so there must be opportunity to
win their attention.’ “) (quoting Kovacs v. Cooper, 336 U.S. 77, 87 (1949)).
234
    We tried to contact some of the individuals who have been most critical of the use of tear gas on social media
platforms and in public meetings. Unfortunately, many of those individuals refused to meet with us or otherwise
provide us with their perspective on the use of tear gas. As described in the Methodology section above, we
consider the lack of cooperation from these individuals to be an unfortunate missed opportunity. It is hard to know
if access to these individuals and an understanding of their objections to the use of tear gas would have impacted our
evaluation.
235
    Detectives researched the speakers associated with July 8 (the Loyal White Knights of the Ku Klux Klan) and
August 12 (Richard Spencer, Mike Enoch, Jason Kessler, Tim “Baked Alaska” Gionet, Augustus Invictus,
Christopher Cantwell, Matthew Heinbach, John “Johnny Monoxide” Ramondetta, Pax Dickinson, and Dr. Michael
Hill). Detectives also researched groups associated with those speakers as well as groups or associations that might
protest against the events: the Traditionalist Worker Party; the Proud Boys; The Daily Stormer; the One Percenters;


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Occidental Dissent; Vanguard America; Identity Evropa; the League of the South; 3 Percent Rising; the Oath
Keepers; the Sons of Confederate Veterans; the Hells Angels; Warlocks; the One Percenters; the Virginia Flaggers;
Solidarity Charlottesville; Charlottesville Stands United Against Hate; Together C’ville; Standing Up for Racial
Justice; Black Lives Matter; and Antifa.
236
    E-mail from Wendy Lewis to Joe Hatter (Aug. 9, 2017, 6:35 a.m.).
237
    About Us, SOLIDARITYCVILLE, http://solidaritycville.com/About/.
238
    How to Prepare for August 12 (and action in general), SOLIDARITYCVILLE (Aug. 5, 2017),
http://solidaritycville.com/2017/08/05/First-Time-Preparation-Tips-for-August-12/.
239
    Alan Zimmerman told us that the promised community service officer never arrived on August 12. The front
steps of CBI overlook the intersection of 3rd and Jefferson Streets; CPD’s traffic plan did not call for an officer to be
stationed at that intersection, but there were officers one block north (3rd Street NE and High Street) and one block
east (4th Street NE and Jefferson Street). Although it is possible that CPD told Zimmerman that the community
service officer would be stationed at the intersection in front of CBI, it may be that the message was unclear or
misunderstood that officers would be at nearby intersections, just not directly in front of the synagogue.
240
    Walter Heinecke Permit Application (July 13, 2017).
241
    E-mail from Walt Heinecke to Local Media (July 14, 2017, 2:17 p.m.), forwarded by Amanda Williams to
Miriam Dickler (July 14, 2017, 2:23 p.m.).
242
    E-mail from Walt Heinecke to Al Thomas (Aug. 11, 2017, 11:19 p.m.); E-mail from Al Thomas to Walt
Heinecke (Aug. 12, 2017, 12:52 a.m.).
243
    Operation Unite The Right Charlottesville 2.0, available at https://www.unicornriot.ninja/2017/leaked-planning-
meetings-led-neo-nazi-terrorism-charlottesville/.
244
    Id.
245
    Id.
246
    Id.
247
    Id.
248
    Those events started as scheduled, but were cancelled at noon when Nelson learned of the local state of
emergency.
249
    There were also concerns raised by citizens that Kessler’s event insurance had been cancelled, but that
requirement applied only to “special events,” as defined by the City’s standard operating policy for special events.
Unite The Right had been explicitly designated a “demonstration,” a particular type of event that is carved out of the
definition of “special events.” For that reason, Council was advised that Kessler’s voluntary compliance (or not)
with the special events policy was not a basis for revoking the permit. E-mail from Craig Brown to City Council
(July 30, 2017, 10:39 p.m.).
250
    E-mail from Michael Signer to Craig Brown (July 29, 2017, 10:04 p.m.).
251
    E-mail from Michael Signer to Paige Rice (July 31, 2017, 2:24 p.m.).
252
    E-mail from Michael Signer to Craig Brown (July 31, 2017, 8:01 a.m.).
253
    E-mail from Michael Signer to Craig Brown, Maurice Jones, and Samuel Kaplan (Aug. 1, 2017, 4:56 p.m.).
254
    Councilor Galvin was the sole counselor to defer to Chief Thomas and oppose moving the event.
255
    Engagement letter from Samuel Kaplan to Maurice Jones (Aug. 2, 2017), executed by Michael Murphy (Aug. 4,
2017).
256
    E-mail from Craig Brown to City Council (Aug. 6, 2017, 6:14 p.m.).
257
    E-mail from Maurice Jones to Allyson Davies (Aug. 8, 2017); Interview with Mike Murphy (Aug. 30, 2017).
258
    Letter from Maurice Jones to Jason Kessler (Aug. 7, 2017).
259
    Charlottesville Leaders Ask Kessler to Move Unite The Right Rally, NBC29 (Aug. 7, 2017),
http://www.nbc29.com/story/36079665/charlottesville-press-conference-8-7-2017.
260
    Kessler v. City of Charlottesville, Case 3:17-cv-00056-GEC (filed Aug. 10, 2017).
261
    Affidavit of Chief of Police Al S. Thomas, Kessler v. City of Charlottesville, Case 3:17-cv-00056-GEC (Aug. 11,
2017), ECF No. 10-2.
262
    Memorandum from Brian Moran to Governor Terence McAuliffe (Aug. 1, 2017).
263
    E-mail from Wendy Lewis to Victor Mitchell, David Shifflett, Gary Pleasants, and Al Thomas (July 23, 2017,
6:07 p.m.).
264
    E-mail from Cheryl Sandridge to a large distribution list (Aug. 8, 2017, 1:16 p.m.).
265
    E-mail from Victor Mitchell to Christopher Clark (July 25, 2017, 7:55 p.m.).
266
    E-mail from Victor Mitchell to Christopher Clark and Craig Worsham (July 30, 2017, 5:43 p.m.).
267
    E-mail from Victor Mitchell to Christopher Clark and Craig Worsham (Aug. 4, 2017, 2:39 p.m.).


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268
    E-mail from Victor Mitchell to Christopher Clark and Craig Worsham (Aug. 7, 2017, 10:13 p.m.).
269
    E-mail from Victor Mitchell to Emergency Operations Center Director Allison Farole (Aug. 8, 2017, 2:37 p.m.);
E-mail from Victor Mitchell to Albemarle County Police Department Lieutenant Stoddard (Aug. 8, 2017, 8:23
p.m.); E-mail from Victor Mitchell to CPD Lieutenants (Aug. 9, 2017, 3:52 p.m.).
270
    E-mail from Otis Collier to Brian O’Donnell (Aug. 8, 2017, 11:46 a.m.)
271
    E-mail from Steve Knick to Wendy Lewis (Aug. 11, 2017, 7:01 a.m.).
272
    E-mail from Wendy Lewis to Victor Mitchell (Aug. 11, 2017, 7:36 a.m.).
273
    E-mail from Sean Reeves to Victor Mitchell (Aug. 9, 2017, 4:10 p.m.).
274
    E-mail from Al Thomas to Sean Reeves (Aug. 10, 2017, 10:02 a.m.).
275
    E-mail from Sean Reeves to Al Thomas (Aug. 10, 2017, 11:01 a.m.).
276
    VSP instructed officers to bring arrestees to a Mass Arrest Team organized by the Bureau of Criminal
Investigation, while the CPD plan makes no mention of BCI and indicates arrestees should be taken to the unit
overseen by Lieutenant Jones at the Charlottesville General District Court.
277
    Lieutenant Tito Durrette submitted his proposed design for McIntire Park on July 31; Thomas did not agree to
use the IMT until August 8.
278
    E-mail from Wendy Lewis to Victor Mitchell (July 16, 2017, 7:29 a.m.).
279
    E-mail from Victor Mitchell to Wendy Lewis (July 16, 2017, 10:36 a.m.).
280
    Virginia Fusion Center, Unite The Right Daily Situation Report (Aug. 8, 2017).
281
    Jack Striping, Inside the U. of Virginia’s Response to a Chaotic White-Supremacist Rally, The Chronicle of
Higher Education (Nov. 20, 2017), https://www.chronicle.com/article/Inside-the-U-of-Virginias/241832.
282
    Operation Unite The Right Charlottesville 2.0, available at https://www.unicornriot.ninja/2017/leaked-planning-
meetings-led-neo-nazi-terrorism-charlottesville/.
283
    Id.
284
    Id.
285
    E-mail from Anda Webb to Michael Gibson, Marge Sidebottom, and Anthony de Bruyn (Aug. 11, 2017, 3:23
p.m.); see also University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
286
    University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
287
    E-mail from Ron Lantz to Michael Gibson and Al Thomas (Aug. 11, 2017, 4:10 p.m.).
288
    E-mail from Ron Lantz to Michael Gibson and Al Thomas (Aug. 11, 2017, 8:08 p.m.)
289
    Interview of Casey Landrum, September 4, 2017; see also http://archives.forusa.org/blogs/osagyefo-uhuru-
sekou/ferguson-cnn-lying-were-facing-police-again/13011. We attempted to communicate with Rev. Sekou through
his publicist on September 5, 2017, but did not receive a response.
290
    Defense Strategy: UVA prof fends off white supremacy invasion, Lisa Provence, C-Ville Weekly, August 23,
2017.
291
    About, Redneck Revolt, https://www.redneckrevolt.org/about.
292
    University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
293
    E-mail from Michael Gibson to Al Thomas and Ron Lantz (Aug. 11, 2017, 7:52 p.m.).
294
    E-mail from Maurice Jones to Leslie Beauregard (Aug. 11, 2017, 8:07 p.m.).
295
    Police Mutual Aid Agreement, August 16, 1995, at 1.
296
    Dwayne Jones After-Action Report, August 11-12, 2017.
297
    University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
298
    E-mail from Al Thomas to Victor Mitchell, Wendy Lewis, David Shifflett, James Mooney, and Dwayne Jones
(Aug 11, 2017, 8:13 p.m.).
299
    E-mail from James Mooney to Al Thomas (Aug. 11, 2017 8:16 p.m.).
300
    E-mail from Michael Gibson to Rick Lantz and Al Thomas (Aug. 11, 2017, 8:11 p.m.).
301
    E-mail from Maurice Jones to Pat Hogan (Aug. 11, 2017, 8:01 p.m.).
302
    Text message from Mike Signer to Maurice Jones and Al Thomas (Aug. 11, 2017, 8:21 p.m.).


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303
    Dwayne Jones After-Action Report, August 11-12, 2017.
304
    Id.
305
    Id.
306
    Id.
307
    E-mail from Alex Cintron to Michael Gibson (Aug. 11, 2017, 9:02 p.m.).
308
    E-mail from Michael Gibson to Alex Cintron, (Aug. 11, 2017, 9:17 p.m.).
309
    We have attempted to contact several individuals who believe were part of this group; our efforts have been
unsuccessful. Therefore, we cannot provide any details about their intentions, or how they learned about the march.
310
    University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
311
    University Police Department (UPD) – Timeline: August 11, 2017, available at
https://content.law.virginia.edu/news/201709/working-group-recommends-improvements-releases-police-timeline-
aug-11.
312
    See https://www.youtube.com/watch?v=hVc1hvD6mCw.
313
    See https://www.youtube.com/watch?v=hVc1hvD6mCw.
314
    See https://www.youtube.com/watch?v=hVc1hvD6mCw
315
    Defense Strategy: UVA prof fends off white supremacy invasion, Lisa Provence, C-Ville Weekly, August 23,
2017.
316
    Id.
317
    At 11:49 p.m., Mayor Signer texted City Attorney Brown and suggested that the Friday night events at UVA
provided justification for reopening the federal court litigation over the Unite The Right rally location. In response,
City Attorney Brown indicated that it was likely too late to return to court with these new facts and attempt to move
the rally. Accordingly, the City did not bring those facts to the federal judge who had earlier granted the injunction.
318
    The University’s Response to August 11, 2017: Observations and Improvements, available at
http://response.virginia.edu/documents.
319
    E-mail from Walt Heinecke to Al Thomas (Aug. 11, 2017, 11:19 p.m.).
320
    Command Center’s Unite The Right Rally Scribe Log (Aug. 12, 2017).
321
    We requested an opportunity to speak with Lieutenant Crannis-Curl about her comment and overall impressions
of August 12. VSP denied our request and would not make her available for an interview.
322
    @cvillenews_desk, Twitter (Aug. 12, 2017, 9:15 a.m.),
https://twitter.com/cvillenews_desk/status/896359466807042050; C-VILLE Weekly (@cvillenews_desk), Twitter
(Aug. 12, 2017, 9:18 a.m.), https://twitter.com/cvillenews_desk/status/896360160205185024; Allison Wrabel
(@craftypanda), Twitter (Aug. 12, 2017, 9:56 a.m.), https://twitter.com/craftypanda/status/896369731506188289l.
323
    Unite The Right All Day Livestream (Charlottesville, 8/12/2017),
https://www.youtube.com/watch?v=iZF9TvgsKyc.
324
    Grounds of conflict: “Unite The Right” rally Charlottesville, Va.,
https://www.youtube.com/watch?v=4nCnMwAyf84.
325
    Letter from Sam Dickson to Timothy J. Heaphy (Nov. 20, 2017).
326
    Video shows man firing into crowd in Charlottesville, https://www.youtube.com/watch?v=C2ro7U_Yoc4.
327
    This incident resulted in a criminal charge against Dennis Mothersbaugh, an Ohio man who traveled to
Charlottesville to participate in the Unite The Right Rally. Mothersbaugh pleaded guilty to a misdemeanor charge of
assault and battery. He was sentenced to the maximum allowable prison term of 360 days in jail.
328
    Charlottesville Unite The Right Rally Charlottesville VA August 12 2017,
http://www.youtube.com/watch?v=bcNBoGoFnVk.
329
    Conclusive evidence that DeAndre Harris ATTACKED protesters,
https://www.youtube.com/watch?v=33R_MqZQCVI.
330
    Full Video Deandre Harris, https://www.youtube.com/watch?v=3P9jho86s4Y.
331
    Full Video Deandre Harris, https://www.youtube.com/watch?v=3P9jho86s4Y.
332
    American Warrior Revolution, What’s happening in Charlottesville, Virginia,
https://www.facebook.com/americanwarriorrevolution/videos/1428969810526013/.
333
    American Warrior Revolution, What’s happening in Charlottesville, Virginia,
https://www.facebook.com/americanwarriorrevolution/videos/1428969810526013/.
334
    American Warrior Revolution, What’s happening in Virginia,
https://www.facebook.com/americanwarriorrevolution/videos/1429012537188407/.


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335
    Michael Gore Zone 4 After Action Report (Aug. 21, 2017).
336
    Guy proclaims himself happy with people getting cut down by car at Unite The Right rally gets roughed up,
https://www.youtube.com/watch?v=LsEA5iBK5dc.
337
    When Mayor Signer got word of the threat on CBI, he sent a text message to the Governor, who responded with a
promise to send the National Guard to protect the synagogue.
338
    National Transportation Safety Board Aviation Accident Preliminary Report (Accident No. ERA17FA274),
available at
https://app.ntsb.gov/pdfgenerator/ReportGeneratorFile.ashx?EventID=20170813X82426&AKey=1&RType=Prelim
&IType=FA.
339
    While we have not examined the reasons for the helicopter crash, we believe some consideration should be given
at future events to the use of drones rather than manned aircraft to provide images of large protest events.
340
    Virginia Governor McAuliffe Holds Press Conference 8-12-2017,
http://www.youtube.com/watch?v=lse0nQ0jvQ.
341
    Id.
342
    Four individuals have been criminally charged with assaulting Jason Kessler at his press conference. Their cases
remain pending at the time of this report.
343
    E-mail from Wendy Lewis to David Shifflett, Victor Mitchell, and Al Thomas (Aug. 16, 2017, 9:10 p.m.).
344
    E-mail from Jim Mooney to Dwayne Jones and Michael Gore (Aug. 21, 2017, 6:20 p.m.).
345
    E-mail from Charles Davis to Jim Mooney (Aug. 22, 2017, 5:57 p.m.).
346
    E-mail from Victor Mitchell to Craig Worsham (Aug. 17, 2017, 842 p.m.).
347
    E-mail from Craig Worsham to VSP Officers (Aug. 21, 2017, 9:50 a.m.).
348
    E-mail from Eric. King to Victor Mitchell (Aug. 21, 2017, 10:11 a.m.); E-mail from Anthony Nicely to Victor
Mitchell (Aug. 21, 10:47 a.m.); E-mail from Scott VanLear to Victor Mitchell, Aug. 21, 2017, 3:41 p.m.); E-mail
from Donald Jones to Victor Mitchell (Aug. 24, 2017, 11:02 a.m.); E-mail from Gregory Mitchell to Victor Mitchell
(Aug. 24, 11:13 p.m.); E-mail from James Hopkins to Victor Mitchell (Aug. 24, 1:38 p.m.); E-mail from Matthew
Patterson to Victor Mitchell (Aug. 25, 4:47 p.m.).
349
    The Charlottesville-Albemarle Rescue Squad ultimately treated 40 individuals on August 12. 38 were injuries
related to the Unite The Right event, and 2 were unrelated. They responded to multiple scenes and provided care that
ranged from first aid to emergency services.
350
    Some of this intelligence regarding threats of violence before the rally informed the City of Charlottesville’s
attempt to move the Unite The Right rally to McIntire Park, rather than Emancipation Park. While information
regarding potential violence continued to mount in the days immediately before the event, there was ample
information regarding threats well before the move to McIntire Park was initiated. The tardiness of this attempt to
move the rally is described more fully below.
351
    While the July 8 plan called for a CPD Field Force to be deployed, conditions occurred too rapidly for that to
occur.
352
    VSP personnel did not use the GPS trackers. Colonel Flaherty expressed concern that the use of these devices
would put troopers in danger, as information regarding their whereabouts could be intercepted and used to disrupt
their activities.
353
    1987 Va. Acts ch. 629.
354
    Va. Code Ann. § 15.2-915(A) (2012).
355
    As noted above, Governor McAuliffe advised Mayor Signer to ban firearms from the Unite The Right event in a
phone call some days before. We find this suggestion puzzling, as state law clearly precludes such a prohibition. We
do not fault City planners for disregarding this advice, as following it would have violated Virginia law.
356
    See City of Charlottesville Charter, § 14, ¶ 10 (granting City Council the power “to regulate or prohibit . . . the
discharge of firearms . . . and the carrying of concealed weapons”), ¶ 16 (granting City Council the “power to make
such other and additional ordinances as it may deem necessary for the general welfare of said city”), 1972 Va. Acts
ch. 184, at 213-14.
357
    Va. Code Ann. § 15.2-1102 (2012) (“A municipal corporation shall have and may exercise all powers which it
now has or which may hereafter be conferred upon or delegated to it under the Constitution and laws of the
Commonwealth and all other powers pertinent to the conduct of the affairs and functions of the municipal
government, the exercise of which is not expressly prohibited by the Constitution and the general laws of the
Commonwealth, and which are necessary or desirable to secure and promote the general welfare of the inhabitants
of the municipality and the safety, health, peace, good order, comfort, convenience, morals, trade, commerce and
industry of the municipality and the inhabitants thereof. . . .”).


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358
    The Virginia Code specifically criminalizes the carrying in public of specified “concealed weapons,” including
“any dirk, bowie knife, switchblade knife, ballistic knife, machete, razor, slingshot, spring stick, metal knucks, or
blackjack,” “flailing instruments” like nun chucks, and throwing stars and similar weapons. Va. Code Ann. § 18.2-
308 (Supp. 2017).
359
    As described more fully in the Recommendations section, below, we believe that a more effective separation
strategy would have involved creating a broad secure perimeter covering multiple City blocks and funneling all rally
attendees through designated secure points of entry.




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